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October      9 2020

Craig Owens

City Manager

City Hall

6E 6th St
PO Box 708
Lawrence KS 66044


                                                                      Ethics      Complaint


To The     City Manager



                                                                           Introduction



            Im writing the City Manager                      regarding           a complaint against Community Police Review                      Board

CPRB member Tonia Salvini The complaint alleges Salvini has violated the boards set of ethics
while acting as a public figure in the Lawrence                              community            A subsidiary complaint is also being lodged
related to the             response of the board when the complaint was presented directly to the                          CPRB

                                                       Complaint Against Tonia                      Salvini



           While Tonia Salvini operates as a Lawrence                                public figure serving          as    a board member on the

Community Police Review                       Board    she    is   also    a Lawrence         public figure as the         Vice President of Student

Services        at   Haskell       Indian    Nations    University          HINU While                I   do not credit Salvini with the creation of

the   systems in place that oppress my identity as a mixed race student at HINU                                              she   has made the

conscious decision to not engage                      with   me and act as an agent protecting                    these     systems and furthering
the   disenfranchisement                  of my racial identity and abusing her position of authority



            I   understand that these             allegations        take    place outside the institution              of the City of Lawrence       but

hold firm that any public action has consequences                                  that   can either erode or build public trust and with

any other role or job you are a sum of all                          your partsactions                 outside the   workplace       affect   individuals

all   the time        It   is   for this reason   I   hold Salvinis           actions     accountable         the City Managers        Office to the
Ethics   Policy            Resolution      No 7269 and to CPRB bylaws and affirm that she           has eroded public       a
trust    b      she    has treated        me differently on the basis of race    that upholding   c
                                                                                                a system of racial

prejudice       poses           a conflict with the goals of her position on the CPRB for reviewing completed racial

or other bias based policing                  investigations and                 d   is   antithetical      to the ideals   of the board to have

members demonstrate understanding                         of racial bias which               is   in discussion     for city    ordinance     no 9324


                                                                   Complaint Background


           Haskell Indian Nations University HINU has violated my right to self identify my race has
violated     my FERPA rights by reporting racial and gender information to the US Census Bureau without
my consent            and has created a system that doesnt offer identification                                 of racial biases and racial

protections          for multiracial         students    Board member Tonia Salvini acts as the Vice President of

University           Services       for   HINU   and supervises            all   departments involved            with the complaint and whom               I


continue to reach out to



            For six months Tonia Salvini and other                               HINU     faculty     have    ignored    my requests to provide my
own racial           identity to the        school The       intent   was to have          this information         used for the 2020 Census          but

the neglect          and disregard          by Tonia Salvini Vice                President    of University Services            Ronald       Graham
President Stephen                  Prue Office of the President and Ernest Wilson Acting Supervisor of Student
Housing has shown a systemic problem with how HINU handles racial                                                 identities    and has resulted in

me being marginalized and                     disenfranchised         as    a student      who identifies as multiracial




                                                                                                                                                               U SA000529
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              Despite multiple attempts to engage                               with Salvini and             HINU          before   and during the 2020 Census

I    found   out on August 28 2020 that HINU                               filed   on behalf of students without engaging                          me or capturing
my self reported racial                  identity        which        is   a question on the census                    The completion           of this census        also

indicates         a violation of my rights under The                         Family Educational                  Rights       and Privacy    Act    FERPA 20
USC          §    1232g      34    CFR Part 99 since              I   gave       no prior permission to release information with                           my race
ethnicity or gender



              Currently          and historically Haskell                  Indian Nations           University              HINU violates federal guidance
for reporting racial               and ethnic data to the              US Department of Education 72 FR 59266 This standard
was implemented in 2007 but goes back                                  to standards            set in    1997 that HINU              would still   be in violation

of today twentythree                    years later      This guidance stipulates that HINU                                 a will be      required    to collect

racial   and ethnic data using a twopart question on the educational                                                  institutions     or other    recipients

survey instrument and                    b should              allow students             parents and staff to self identify race and

ethnicity unless selfidentification                       is   not practicable             or feasible



             HINU          currently       does not have          a survey instrument for students to self identify their racial

identitythere               is   no two part questionnaire                  on admissions applications                        or housing    applications    Both
overseen by Salvini HINU                            instead    uses students             Certificate          of Degree of Indian Blood             Which        is    not a

racial   identity to             provide    observer            identification             and reports          all   students as      Native    American with no

secondary racial identities                    It   should also be noted that the practice                            of observer       identification      of race

has historic problems in Native                        American populations and                         is   an inappropriate          policy The Integrated

Postsecondary Education                        Data System IPEDS shows                              HINU          has never         reported     a student as two

or more races since its                    oldest  report from 2001


              I   do not identify as only Native                  American and yet the school        reported me as only Native

American in previous semesters according                                   to   IPEDS The malignant neglect not collecting students                                     self

identified racial            identities     not only affects               US Census data but also university reports along                             racial        lines

If   every student          is    considered the same on paper                      it    is   impossible to identify patterns of systemic racism

along the lines of students marginalized racial identities                                        For example many students including myself

feel that         Student Rights supervised by Salvini has racially biased disciplinary practices for multiracial

Black students on campus                       however         their       Black identities are not recorded by HINU and thus there                                    is


no traceable bias or accountability


              I   have     engaged       Tonia Salvini multiple times to have                                my racial identity represented             and it    is   her

decision          to not   engage       with    me that furthers these                   systems already in place to marginalize multiracial
identities         Ive     already      been misrepresented                 on the 2020 census                  and    I   am set up to be misidentified
again when Salvinis                 subordinate          reports racial            data for the university to the                   IPEDS system for fall
enrollment           Her passive           actions      to     ignore      me are an active                  hurdle for me in being recognized                    as

multi racial and                 why I dont feel she is fit                  for   additional           community             duties to    hold the Lawrence

Police       Department accountable                      since    she cannot              engage with a student on their personal racial
concerns


                                 Subsidiary          Complaint Against Community Police Review                                          Board


              I   would also like to lodge a complaint with the City Managers                                                 Office   on the behavior     of the

Community Police Review                        Board      CPRB with how they handled the the presentation of my complaints
directly to the            board    I   admit to my lack of knowledge                           to the operation             of city committee       meetings and

suggest to add a section to the bylaws                           to instruct        those       of us with grievances                where they can be filed                I


understand           now that I inappropriately aired my grievance                                 in the public             comments not knowing          this was

supposed to go to the City Manager                             That being said                 Im upset that Chair Member Tonia Salvini did not
provide       a statement of where                  my grievance could be filed or that the board did not assign staff to
provide       information for how to file                a grievanceboth of which Ive now discovered are common

practice         with handling          public       comments that need additional information To me this is just another




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hurdle   that Salvini         has used to protect her from being held accountable                             for her actions        by not providing
an option to        file   a complaint and further embarrassed                       me with my continued          use of public comments to

incorrectly try        and find justice for her actions



          Not only was there a lack of direction for my complaint but in the initial                                      meeting on August
27th where      I    presented       my first grievance              in public     comments board members William Graybill and
Jane Gibson broke what                I   understand       is   decorum          to discuss   my complaint and choose                to   do so with

language that was dismissive of the nature of my complaint and gaslit my complaint saying                                                    it   didnt

concern the board in an effort to silence                       my grievance             See the summary of meetings and actions below



                                      Summary of Complaints Already Presented to the CPRB


          Complaints against Salvini were presented directly to the board during the August 27th and

September 30th meetings                   Documents on file with CPRB Agendas                          as public    comments I present                the

following   summary of those meetings                       related         to   my complaint


          During the August 27th Meeting                             the   agenda included       my initial    complaint letter           My letter was
          not acknowledged                during public comment                    section   of the agenda      Before    adjournment board
          member William Graybill asked                         the        board to acknowledge       my letter I dont really want to
          wake up tomorrow and read the newspaper accusing this board or myself of white washing
          material Board member Jane Gibson responded I dont see how it is even marginally
          relevant to the board               So   I    dont see any reason to respond to it because                     its   not about what we

          do

          For the September 30th meeting                         I    rewrote      my complaint which          held criticism for Graybill and

          Gibsons responses to my letter                        at   the previous        meeting Graybill presented dialogue that

          relegated          my complaint to a public image issue rather then acknowledging                                    the    nature      of my

          complaint           I    also brought        attention      to the White       privilege present in   Gibsons response where
          she   a          refused to view     my complaint from my perspective                       as a racially marginalized member

          and       b      invalidated     and gaslit my complaint dismissing it as something                         that      doesnt concern the

          board Additional                information was provided                  in   my letter expanding      on my original complaint

          against          Tonia    Salvini   After presenting               my complaint to the board board member Marie Taylor
          posed questions to City Attorney Toni Wheeler                                  which   resulted in the    advisement to present my

          ethics       complaint to the City Manager




Thank you       for handling          my complaint




Cc   Diane Stoddard                Casey Toomay Brandon                     McGuire       Tonia Salvini   Jennifer       RobinsonWilliam

Graybill Stephanie Littleton Sanjay Mishra Jane Gibson Marie Taylor                                             U World




                                                                                                                                                            USA000531
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          DECLARATION                   OF            RONALD JOSEPH GRAHAM

          Title      President

          Location               Haskell Indian Nations University                           Lawrence       Kansas
          Date of Interview January 13 2021
          Case Number                  D0121HCI011BIA

I       Ronald       Joseph          Graham hereby make this Declaration

I   understand          that     I
                                     am making this statement                      under penalty of perjury that         it   is   the equivalent          of a



sworn statement                  made        under oath and that              it
                                                                                   may be filed in proceedings           in   accordance               with or



before the Merit Systems Protection                                  Board   MSPB or the Equal Employment Opportunity

Commission              EEOC             in   the grievance            process or before an Arbitrator             in   court or         in     any other


similar proceeding This                       statement         is   voluntary      and no promises of any kind have been made to                                me

and       I   have    not   been subjected            to   any threatening             or coercive     behavior for the purpose of obtaining



this declaration             I       understand      that this declaration             is   part of an official   management                investigation



and       that this investigation              is   not part of the Equal              Employment         Opportunity     EEO process

    1         This interview and              the subject            matter discussed including            the identity       of the individuals

              mentioned          are confidential          in   nature       You should         not   discuss any information                   divulged   during
              this   interview        with    any other person               Do you understand


              Response

              Yes

    2         For the record please state your full                          name

              Response

              Ronald        Joseph Graham


    3         Please state your


              Address


                       Ave
              155 Indian
              Lawrence KS 66046


              Telephone          Number


              7857498497


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      Email Address



      RonaldGrahambieedu

4     Please identify your position with Haskell Indian Nations University



      Response

      President



5     How long have you held this position


      Response


      Eight   months


6     How     long   have you been with the Agency


      Response


      Eight   months


7     Please      identify   your role and       responsibilities associated    with the Indian    Leader newspaper



      Response


      Absolutely nothing             I   have a faculty      member who does the oversight    dont get   I




      personally          involved   in it   I
                                                 just learned  am in charge of their bank account
                                                                I




8     Describe your professional             relationship     with Jared   Nally pertaining   to his role as Editor         in
      Chief of the Indian Leader newspaper



      Response


      Absolutely nothing


9     Describe       in   detail the purpose      of the Indian Leader     newspaper


      Response

      I   really dont       know     Apparently       it   is a paper that reports the news like any other


      paper       Its for the BIA and Native               American kids here They have a journalist
      instructor that guides and directs them They just report the news The University of
      Kansas has the same thing and the faculty and students work together They want to

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       partner with         us and work with our journalist department but Im going to hold off and
      see how things are going        dont know what is going on with the paper how its being
                                                I




       handled or the relationship The paper itself starts a lot of drama It has a lot of
       irritating stuff instead of reporting Jared made it his own personal paper    dont read                                           I




      it or have any contact with it The Indian Leader has in the past received a lot of
      awards and had a large journalist department It is not that way now      dont really                                 I




       know anyone who works on that paper


10     If   not   previously      addressed     identify   the individualsentities to whom the Indian Leader                                         is


       circulated



       Response

       I
            honestly     dont know        Im guessing just the University               It      might go outside                              Its also

      online


11     Did    you send the         Directive   dated October     16 2020      to   Mr Nally


       Response

       I    probably did


12     Was anyone else involved in the decision                  to   send the Directive        to    Complainant                        If   so identify
       them by firstlast          name and position         Describe their involvement               in       detail



       Response

       No

13     Explain      in   detail   why you sent the Directive to Mr Nally


       Response

       I    think   what
                    really triggered it was when Jared stalked my female Vice President Tonia

       Salvini  He was basically harassing her and following her to meetings downtown at
       Lawrence where she is a chair on a committee He stood up during a meeting and
       called her a racist   He is a student and referred to the Student Conduct
                                                                  I                wrote a                                              I




       long response and sent it to the BIA Solicitors regarding                            why           I   sent the Directive                          I




       laid out several student violations Jared was doing and                          I       wanted           it    stop         I   also think

       Jared was recording one of my Deans and he did a few other things too am a                                                   I




       retired homicide cop and my background in Law has been criminal Jared said                                                                I




       violated      his First Amendment              I   sent a retraction    notice to Jared             guess because he
                                                                                                                  I




       is    a journalist or serves as a leader he felt                he could go to all            these meetings and do
      what he does due to               his position with       the Indian Leader      had a Student Conduct
                                                                                            I




       Committee that was going to remove him from the Indian Leader and they had enough

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      information to                  remove him from campus and                            I
                                                                                                stopped            it   I   asked   to    handle            it   from my
      end           This   is    not against        the First Amendment                was only going by Student Conduct
                                                                                                I                                                                       I




      was basically               telling      him to knock            it   off do your job as student and quit what youre
      doing

      He contacted FIRE                        NAJA and SPLC                  They accused                      me of violating his First
      Amendment                  right     I   sent the    letter to         our solicitors                 I   worked with them and

      subsequently                I   sent a letter to FIRE                 NAJA and SPLC retracting                              the Directive


14    Was the Directive                 intended      as a reprimand               to   Mr Nally


       Response

       No      It   was a Directive             to stop what he was doing                              Stop the abuse and the things he
      was doing             to the Vice President               and the Deans                        He didnt have that right


15     In   the Directive             you stated     Mr Nally routinely                 attacked       Haskell employeesofficials with                             letters

       and attacked              a Haskell      official   during a community                       event        Please describe              in   detail your basis

      for these           comments        specifically dates                when this occurred who he attacked                                     how      he attacked

      them etc


       Response

       He was attacking the Vice President almost constantly   She actually went to an
       attorney and was going  to have  him served with a cease and desist order She was so
       scared of him that she had it stopped My Dean did the same thing      have women                                                   I




       scared         to   death of him on             campus               He goes after anybody                       with authority                   He will go
       after    an Indian leader and write horrible things about                                                them        Thats why              I   sent the
       Directive



16     In   the      Directive        you referenced          Mr       Nally       contacting         the police            department             on behalf       of the

       University           Please       describe      this   incident        in   detail



       Response

      We had a person die on campus                                I     was actually there                       Jared contacted the police
       department               and said he was a journalist and he was not asking  but demanding the

       name of the deceased                 They basically blew him off and hung up on him They were
       nice about           it    but they dont give out that kind of information think he was                                I




      representing                       Leader from Haskell Indian University We have a
                                 himself as the Indian

      person who contacts newspapers and gives out information with the permission of the
      family   had already given this person that information
                      I




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17     In   the       Directive      you         directed    Mr Nally            to not attempt                to      countermand     decisions          of Haskell

      personnel           assigned by you or anyone else to positions                                         in   an   effort   to replace   them        Explain in

      detail      why     directed         Mr Nally to not do this

      Response

      The Acting Vice                 President            of Academics Jim Rains reassigned                                        Josh Falleaf as
      Advisor to the Indian Leader and he was doing                                                     it   because       we are doing a lot of
       restructuring                Faleaf went             in   as the new Advisor                            Jared did not like that and he and
       his colleagues                got together and voted                          him out  They dont have that authority
       because           its   a university position                       It   is   not for Jared or any other student to vote

      anyone out               I
                                    basically           told him he could not do that



18     In   the Directive you directed                      Mr Nally to not record anyone at Haskell in his interviews                                           unless

       he advised them first and they granted him permission                                                    Explain in detail      why you directed Mr
       Nally not to do this



       Response

       He was recording the conversation of one of the employees on campus You cant do
      that  Under Kansas law if one side knows they are recording the other side you can
       do that What he failed to understand was                                          that      if        you record a person unbeknownst to
       the other person                on Federal property you have committed                                          a felony act His side was

       claiming          Kansas law                  but they failed to understand                             he did it on Federal property                      This

       is   Federal property


19     Do you recall               receiving           a letter dated October 26 2020 from Lindsie Rank Program                                                 Officer

       FIRE           Francine      Compton              President    NAJA and Sommer Ingram Dean Staff Attorney                                                SPLC
       If   so    did   you respond               to   the letter     If    so       state   when

       Response

      Yes forwarded
                  I                        it   to   my Solicitors for advice                       I    said      I   was not going under               First

      Amendment but                    I    was going under Student Conduct                                            After the Solicitors said the

       Directive         was a First Amendment                        violation              I   wrote a letter of retraction                    I   dont       recall

       the date           I
                              signed            the letter and sent             it   to the Solicitors to send to                     them

20     Did Complainant ever tell you that he found your behavior unwelcome                                                          offensive inappropriate
       etc        If   so state the date                 describe    in    detail      what he told you describe                     in detail       your response
       if
            any


       Response


       Only via the newspapers He wrote a big newspaper                                                            article   that   was outlandish                I




       didnt respond to anything

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21     Have you attended             training     regarding anti harassment                           If    so state the dates


       Response

       Yes       I   took an online course through                      DOI     I   also did          it    several times when               I    was in the
       military


22     Are you aware           of the school        having       an   anti   harassment policy


       Response

       Yes       The policy covers the harassment of students                                     by faculty and administration


23     Is   the policy posted anywhere               on the school property                      If    so state where          it   is   posted


       Response

       Ive seen it on the intranet                   Especially          in   between           semesters when                we work with
       Faculty and staff               I   mention     it   in   my cabinet meetings

24     Are you aware of anyone else who may have information relevant                                                    to    the       issues      we have
       discussed     If so identify them by firstlast name and position and                                              describe            in    detail   what
       relevant information you believe they have



       Response


       Tonya Salvini
       Carlene Morris


25      Do you any additional               information      or documents           that might             be relevant to the issues referenced
       in this       matter or that        may be   helpful      in   this   investigation         so please
                                                                                                           If            provide the information
       andor copies           of the       documents        with an explanation             of each



        Response

        No

I   declare under penalty of perjury that the foregoing                             is   true   and        correct   to the best of my

knowledge            and   belief   This declaration             including     this
                                                                                         page    consists        of       pages



                              11
Declarants           SignatUre



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President

Position




Date




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         DECLARATION              OF                James        W Rains Jr
         Title      Dean        of the    College          of Humanities                and     Arts Currently detailed as Acting
         Director of Special Projects
         Location          Haskell       Indian Nations University                         Lawrence           Kansas
         Date of Interview January                   14 2021
         Case Number             D0121HCI011BIA

I        James    W Rains Jr                  hereby      make this Declaration


I   understand      that    I   am making        this      statement        under penalty of perjury                     that       it    is    the   equivalent


of a sworn        statement       made        under oath and that                  it
                                                                                        may be filed         in   proceedings                   in   accordance


with      or   before      the    Merit       Systems           Protection         Board        MSPB              or    the    Equal                 Employment


Opportunity         Commission           EEOC             in   the     grievance        process          or before an Arbitrator                      in    court or


in
        any other   similar proceeding               This statement           is     voluntary           and no promises of any kind have


been made to me and                I   have    not   been subjected             to      any threatening           or coercive              behavior for the



purpose        of obtaining       this    declaration             I   understand         that      this    declaration         is        part     of an        official




management           investigation            and    that       this    investigation         is    not    part    of    the    Equal                Employment


Opportunity         EEO process

    1      This   interview      and     the subject           matter discussed               including       the identity               of the       individuals

           mentioned       are confidential           in       nature     You should               not    discuss       any information                    divulged

           during   this   interview with           any    other       person        Do you understand


           Response

           Yes

2          For the record please state your full                        name

           Response

           James    W Rains Jr
3          Please state your


           Address


           155 Indian Ave
           Lawrence         KS 66046


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    Telephone           Number


        7858139630


    Email Address



    JamesRainsbieedu

4   Please    identify         your position with Haskell Indian Nations University


    Response

    Dean of the College of Humanities and Arts Currently detailed as Acting                                               Director

    of Special Projects


5   How     long   have you held            this   position



    Response

    I   have been Dean of the College of Humanities and Arts since May 2018                                        I   had been
    acting    in   this position   November 2017
                                           in      was detailed as Acting VPA and
                                                                        I                                                   Acting
    President       off and on since November 2018



6   How     long   have you been                with the   Agency

    Response

    I   started    in   August 2014


7   Please        identify          your   role    and     responsibilities     associated    with    the   Indian          Leader

    newspaper


    Response

    The     only        role    I    played       was    that   of Acting     Vice   President       in   that   role            I   was
    responsible           for identifying           a faculty    advisor      This   was in   the    summer of 2020                   in


    perhaps July


8   Describe       your professional              relationship   with   Jared   Nally pertaining     to his role as Editor

    in   Chief of the      Indian      Leader newspaper



    Response




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     None            He is a Haskell student                     but Ive never had him as a student                              I    dont provide
     oversight             for    the    newspaper               which        independent            from the           University             except to
     identify the faculty                 advisor


9    Describe         in   detail       the   purpose of the Indian Leader newspaper


     Response

     We        regard       it    as a student                club
                                                               an independent student organization that
                                                                       It    is


     reports news                 for    the benefit of students  It is written by students and edited by
     students


10   Are you aware of a Directive dated October                                     16 2020         that   Dr Graham sent to Mr Nally


     Response

     Yes

11   Did you have                any involvement              or input into the       decision to      send the Directive                 to   Mr Nally
     If
          so    describe your involvement                       or input      in   detail



     Response

     I    assisted         the     President             with    the    editing         My PhD         is    in        English        I
                                                                                                                                          helped with
     grammar etc                   but    I   didnt change             the content          of it


12   Do you know why Dr Graham sent the Directive to Mr Nally                                                     If
                                                                                                                       so explain in detail why


     Response

     Yes        In   February 2020 our Acting President was Dr Daniel Wildcat and he suffered
     a medical condition    assumed the Presidents role until Dr Graham arrived
                                                    I




     sometime in May 2020    During that time on March 23 2020 we evacuated  the

     campus  because   of Covid19  so our  students would not be infected A few
     students          remained on              campus               less than       100      Jared Nally remained on                           campus
     Jared was always looking                                for stories      and information               We were in an information
     lock      down         everything          we reported                 to the media or inquiries had to be referred to

     Tony Deermans office BIE Director in DC When Jared solicited information from
     us we were not allowed to reply because he was regarded as a separate media
     enterprise                  We     forwarded              his   inquiries        to    Mr Deerman                    I   think       Jared  grew
     frustrated with                this      and       in   my opinion            he became         kind of harassing                    towards the
     administration and antagonized                                  us about not being able                  to       respond       directly to his

     requests for information                            I
                                                             began     to get      FOIA requests            for things not related in                  any
     way to the events at time                           We responded to the requests Many of them were about
     Jared and our not responding                                directly to his inquiries                 and releasing information to



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him      We felt we were being antagonized                            by him      Later      in       the       summer Jared had
some animosity towards the Vice President University Services Tonia Salvini
She is on the Police Review Board Jared would show up at those city meetings
and     basically   antagonize her and try to embarrass her on behalf of the Indian
Leader      I   understand he was unhappy with Ms Salvini because during the census
he was not allowed                  to represent           himself as white        as well as Native                      American               I




think    that       was     the    basis of his complaint              against     Ms Salvini                        Russell     Parker a
student had been expelled because                            he became belligerent with a Haskell employee

during     the       pandemic              Jared         representing himself as the editor of the Indian

Leader      took        exception          to that disciplinary action            and used the Indian                           Leader          to

complain      about and pursue that   Mr Parker was given plenty of opportunity to
appeal     his disciplinary action  The Indian Leader became an advocate   for Mr

Parker and this may have created some of the animosity     think Dr Graham felt                        I




Jared was sort of exploiting his position as the Editor of the Indian Leader to
represent           himself at the Police Board meetings to antagonize                                          Ms Salvini

Allthe student clubs have sponsors We had a sponsor for the Indian Leader

Rhonda LeValdo an instructor who had been in place for quite some time All our
faculty    had        to begin       to prepare           for fall   classes online  During that time as the
Acting    Vice        President           and with the advice           and permission of Human Resources
we      asked         all    faculty        to     discontinue         their    sponsorship                      with     the         student

organizations and prepare to improve their classes online The Indian Leader was
one of those organizations   The fall was going to be a full 15 weeks online We
invested        a lot into getting               onlineand improving the quality of our courses   The

sponsor         at   that time        Rhonda         LeValdo was asked  to step away  from the Indian

Leadership sponsorship role to prepare for online teaching    was Acting Vice                                    I




President and Josh Faleaf replaced me as the Dean of Humanities While  was in                                                         I




the Presidents office                 I   asked Josh         Falief to serve     as the Acting Director of Special
Projects        I    also asked           Josh          as the faculty advisor for the Indian Leader
                                                  to serve

He did    not have           teaching        duties because  he was in an administrative role Jared
took exception              because         he wanted         Ms LeValdo to stay in place                             He rejected our
explanation           that    Ms LeValdo had to prepare for courses                                        In   an email        to        me he
called    me a liar               because        he said Josh Faleaf was not a faculty                                 person That              is

Joshs position of record however


There     was a court             settlement        in    1989 where the President                    at the         time had tried to
interfere       with     the content         of the       Indian     Leader     The        ACLU            brought       a court              case
The settlement              was that        administration           could     exert no      influence                over the Indian
Leader          We      do have           administrative influence              over       who        the       advisor      is           but the

settlement           indicates      the     Indian       Leader does not have               to follow the                advice            of the

advisor         Indian Leader rejected our naming Josh                            Faleaf for no particular reason
except Jared wanted the former advisor For that reason   think Jared adopted an                   I




attitude of antagonism towards the administration   think what Dr Graham was           I




trying to do with the Directive                     was to get Jared to not attack                         the administration




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     There was an incident with Carlene Morris Jared recorded a conversation                                                                             with her

     and posted         it   on social media without her authorization                                              She felt       violated            and there
     was an inquiry to see if he broke any laws                                                  was apparently no legal issue
                                                                                              There
     but journalistically                     it   was      not proper             I   saw an email where Ms Morris told Jared
     she did not appreciate                           it    but he was unapologetic                     I     think the President                      felt      Jared
     was          exploiting            his        position       as        Editor       of    the      Indian              Leader         to     harass           the
     administration                 I   think        it    was just the one letter that Jared received                                     and not a series
     of events that would                          constitute     harassment


13   Have you attended                       training       regarding       anti   harassment                If
                                                                                                                  so state the dates


     Response

     Yes Im not sure of the date but                                   it   was at least three years ago


14   Are you aware of the school having an                                   anti      harassment policy


     Response


     Yes      I   am aware               I    dont have any specific                      experiential              knowledge               of    it   based       on
     direct       experience of it                  in     my duties

15   Is   the policy posted                  anywhere          on the school property                   If
                                                                                                              so state where                it   is    posted


     Response

     It   seems there was some signage around the campus                                                          but   I   cant say with certainty


16   Are you aware of anyone else who               may have information relevant to the issues we have
     discussed          If
                             so identify them by firstlast name and position and describe in detail what
     relevant       information               you believe they have


     Response

     Josh Faleaf Acting                            Dean of Humanities                   He is probably one                     of the best writers on

     thecampus and would have been great in the advisor position            think the most                                             I




     beneficial thing about being on the Indian Leader staff is to get writing experience



17   Do you any             additional              information        or    documents           that   might               be relevant          to    the    issues

     referenced        in    this       matter or that          may be helpful            in   this   investigation               If
                                                                                                                                       so please provide
     the information           andor copies                   of the   documents           with an explanation                   of each



     Response

     Email from Jared




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I   declare   under   penalty   of perjury   that   the   foregoing    is   true   and   correct   to   the    best      of   my
knowledge      and    belief   This declaration     including   this   page    consists   of        pages




Deklarants     Signature




Dean of the College of Humanities and Arts
Position


       1152021

Date




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          DECLARATION                       OF TONIA SALVINI

          Title    Vice President                    of University            Services
          Location            Haskell             Indian Nations University                      Lawrence               Kansas
          Date of Interview January                          15        2021

          Case Number                   D0121HCI011BIA

I       Tonia Salvini             hereby           make this Declaration


I       understand      that       I
                                        am making               this    statement         under        penalty          of   perjury        that       it     is        the



equivalent        of a sworn                statement        made        under oath and               that   it
                                                                                                                  may be filed         in   proceedings


in      accordance          with       or    before       the    Merit     Systems        Protection              Board      MSPB or the Equal

Employment              Opportunity                Commission             EEOC            in    the    grievance             process        or     before               an



Arbitrator        in   court           or   in
                                                  any other      similar proceeding               This statement               is   voluntary                and no


promises of any                   kind       have     been        made        to    me and        I   have        not    been subjected                      to     any


threatening        or coercive               behavior for the purpose of obtaining                             this     declaration         I    understand


that       this   declaration                is    part    of    an      official    management                   investigation            and      that            this




investigation          is   not    part of the            Equal Employment                Opportunity             EEO process
    1      This    interview                and     the    subject        matter      discussed              including         the     identity              of         the

            individuals        mentioned               are       confidential        in   nature             You        should       not    discuss                 any
            information        divulged during                  this   interview with          any other person               Do you understand


            Response

           Yes

2           For the record please state your full                             name

            Response

           Tonia       Salvini



3           Please state your


           Address


            155 Indian Ave
            Lawrence           KS 66046


           Telephone          Number

                                                                                                                                                Declaration         F
                                                                                                                                                                          Initials   775
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     7857498457


      Email Address



     ToniaSalvinibieedu

4     Please      identify        your position with Haskell Indian Nations University


      Response

     Vice President of University                         Services



5     How       long   have you held this position


      Response

      Five years and around eight                         months


6     How       long   have you been with the Agency


      Response

      Five years and around eight                         months


7     Please       identify        your role      and      responsibilities   associated     with   the   Indian       Leader

      newspaper


      Response

      None

8     Describe         your professional             relationship    with   Jared   Nally   pertaining    to    his   role       as
      Editor in Chief of the               Indian    Leader newspaper



      Response

      None

9     Describe         in   detail   the    purpose of the Indian Leader newspaper


      Response

      Its   a school             newspaper        and a student run newspaper                 It   probably should               be
      reporting             on    issues     of     the    University   and    providing       some       assistance             to

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      students          to inform              them as    they        achieve            their       academic                 success             such               as
       resource          support           services        and        reporting                on     activities               and        events                 that

      contribute         to the student academic                      life    on campus            They should present issues
      that      affect      Native        populations           There           could          perhaps be advocacy  centered

       information            Im not sure their role is to do advocacy                                      but this is an observation
       I   have    We dont have a journalism program so                                          I   dont know how it fits                             into          an
      academic program                    in    terms of honoring                  and respecting journalist ethics                                           That
      is my observation




10    Are you aware               of a Directive        dated October               16 2020            that        Dr Graham sent                           to    Mr
       Nally


       Response

      Yes

11     Did you have           any involvement            or input        into      the   decision           to    send        the Directive                 to    Mr
       Nally      If
                       so     describe your involvement                      or input     in   detail



       Response

       No

12    Do you know why Dr Graham                          sent the Directive to Mr Nally                                  If
                                                                                                                              so explain              in    detail


      why


       Response

       I   dont know              The President        my supervisor and
                                                         is                  reported to him some of    I




       my concerns             that   I   have had with Mr Nally that are not based in the University

       but with         the    city        I   volunteer       on a Police               Review             Board              I    reported               to        Dr
      Graham my concerns             my privacy as a
                                                 about                    Nally was             citizen           because                Mr
      encroaching      my private life My role on the board was as a citizen and
                               on                                                                                                                                     it


      had nothing  to do with my role with the University My work with the board is
       public and on record   My concern was that Mr Nally sought me out       is not                                                                 It


       publicknowledge                    with the     University             what       my private               life    is       off   campus               with

       my family and with                      the    community                I   dont know                 how          he found                me and
      although          my board involvement                     is     definitely             public        it    is    hard to          find             on the
      website            He inserted            himself into the              work       that        were doing which he clearly
      didnt understand                    He got on the agenda                     with the Police         Board We take public
      comments              and     invite      the   public    in     on the work were doing                                      which         is    online
      We are working on an ordinance He inserted himself into the situation just to
       harass and           stalk    me He had the right to do that as a citizen but he represented
       himself as part of the newspaper at Haskell                                        It   caused             confusion              with     some of
      the       board    members                Our    protocol         is    to allow          community members                                 to voice


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      concerns                       about the work were doing                                            but           we dont act                  on    it    We just hear                              it


      and     if        we can fold                   it   into          our work                we do             It   is   a specific             separate exercise                                     He
      signed up to do                             this and               he had a document on letterhead                                             for the Indian                          Leader

      suggesting wasnt fit to be on the board
                                       I                                                                           I    have read             it   several times and                              I   still

      dont understand what his complaint is                                                                             The complaint                 was        relevant                     to the

       University                     and         not       the          board               I   think            he     tried     to    maybe             conflate                 what               his

      concern was here on campus concerning not feeling he was truly represented
      of all his ethnicity but counted in the census as a tribe member    That is
       between                  the census
                                       bureau and the registrar  dont really know what they                                    I




      asked             about ethnicity   just know we wanted our students counted and there
                                                                     I




      was         a         way        to        do that                 We worked                     with       the        census           bureau and had census
       people on campus                                    all       the time                He had               a chance          to meet with                 them                    He was
       upset that his full ethnicity was not represented on the census bureau
       Because   didnt allow for that he suggested it was my fault and
                                 I                                     was not                                                                                                  I




      capable  of being on a Police Board that dealt with racial profiling    sought                                                                                                I




      private counsel to get another persons perspective    hired a local attorney to                                                     I




      guide me through what constitutes harassment and what constitutes stalking
       I    was prepared                          to get             a protective                     order if          the    behavior              escalated                      Mr Nally
      filed       a formal complaint                                     against             me to the city in November 2020 and                                                         I   had          to

       respond                  to it       in   December 2020                               This has been going on since probably August

      2020              I   was            invited         by the City Attorney staff to respond to the complaint and
       I    did             I   told        them           ifthey didnt think    was fit to be on the board   I would                                                                    I




       respectfully                         leave                I   still      wasnt                 sure        what        the        concern                was    but                   it       was
      completely                      dismissed and found there was no cause                                                              for        pursuing         it




13     Have you attended                              training               regarding            anti   harassment                      If
                                                                                                                                                   so state the dates


       Response

      Yes          It       was            civility        training which                         identified                 harassment                   It    was   a couple                            of

      years             ago

14    Are you aware of the school having                                                         an    anti   harassment policy


       Response

      Yes          I    dont know whether                                     it   is       for students                 faculty         andor administration


15     Is   the policy posted                          anywhere                    on the school property                           If
                                                                                                                                         so state where                    it       is       posted


       Response

       It   was at my former office                                          but        I
                                                                                            just moved




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16       Are you aware of anyone else who                                      may have       information             relevant to the issues               we
         have discussed                         If   so identify          them by firstlast     name and              position       and describe              in


         detail     what       relevant              information          you believe they have


         Response

         No

17       Do you any additional                          information          or documents       that might            be relevant      to    the    issues

         referenced            in    this       matter or that             may   be helpful         in   this    investigation         If
                                                                                                                                             so please
         provide the information                          andor copies of the documents                         with an explanation            of each



         Response

         Ill    provide relevant                      document


I    declare under penalty of perjury that the foregoing                                       is    true       and   correct   to   the best of           my
knowledge and                 belief            This declaration              including this    page            consists   of          pages


    TONIA           At    t                 i9ned
                                    CigitaIly          TON1A    St11A11

                                    Date 20210115     163Cf35   060


Declarants           Signature




    VicePresidentUniversity            Services


Position



    January    15 2021

Date




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                                                                                                                                            Declaration

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From                   Jared Nally

To                     craiaowenslawrenceksorq
Cc                                                       bmcauirelawrenceksorq2Pli                                                             P
                                                                                             i

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                       ctoomaylawrenceksorq
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                       smishrakuedu iwac13cimailcom
Subject                Ethics   Complaint Against       Community      Police   Review     Board

Date                   Friday     October   9 2020 33038        PM

Attachments            Letter to   City   Manacierpdf

                       Untitled    attachment     00116txt




City   Manager Craig Owens


Please see the attached      ethics   complaint      letter   for   the    Community Police Review Board                   I   was told to deliver

complaints   against   the   Community Police           Review Board            to
                                                                                     you   and     would like instruction       if    I   am to submit      this


             otherwise Please keep          in   contact     with how            will            the complaint
complaint                                                                  you           process



Thank You

Jared Nally




                                                                                                                                 Declaration            F

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October      9 2020

Craig Owens

City Manager

City Hall

6E 6th St
PO Box 708
Lawrence KS 66044


                                                                    Ethics       Complaint


To The     City Manager



                                                                          Introduction



            Im writing the City Manager                      regarding          a complaint against Community Police Review                              Board

CPRB member Tonia Salvini The complaint alleges Salvini has violated the boards set of ethics
while acting as a public figure in the Lawrence                             community            A subsidiary complaint is also being lodged
related to the             response of the board when the complaint was presented directly to the CPRB



                                                       Complaint Against Tonia                     Salvini



           While Tonia Salvini operates as a Lawrence                               public figure serving              as    a board member on the

Community Police Review                       Board    she   is   also a     Lawrence        public figure as the             Vice President of Student

Services        at   Haskell       Indian    Nations    University         HINU While                I   do not credit Salvini with the creation of

the   systems in place that oppress my identity as a mixed race student                                        at   HINU       she    has made the

conscious decision to not engage                      with   me and act as an agent protecting                       these    systems and furthering
the   disenfranchisement                  of my racial identity and abusing her position of authority



            I   understand that these             allegations       take    place outside the institution               of the City of Lawrence but

hold firm that any public action has consequences                                 that   can either erode or build public trust and with

any other role or job you are a sum of all                         your partsactions                 outside the workplace              affect     individuals

all   the time        It   is   for this reason   I   hold Salvinis          actions     accountable         the    City Managers           Office to the
Ethics   Policy            Resolution      No 7269 and to CPRB bylaws and affirm that she           has eroded public         a
trust    b      she    has treated        me differently on the basis of race    that upholding  c
                                                                                                a system of racial

prejudice       poses           a conflict with the goals of her position on the CPRB for reviewing completed racial

or other bias based policing                  investigations and                d   is   antithetical      to the    ideals    of the board to have

members demonstrate understanding                         of racial bias which              is   in discussion        for city    ordinance        no 9324


                                                                  Complaint Background


           Haskell Indian Nations University HINU has violated my right to self identify my race has
violated     my FERPA rights by reporting racial and gender information to the US Census Bureau without
my consent            and has created a system that doesnt offer identification                                of racial biases and racial

protections          for multiracial         students    Board member Tonia Salvini acts as the Vice President of

University           Services       for   HINU   and supervises           all   departments involved                with the complaint and              whom I
continue to reach out to



            For six months Tonia Salvini and other                              HINU     faculty     have    ignored        my requests to provide my
own racial           identity to the        school The intent was to have this information used for the 2020 Census                                         but

the neglect          and disregard          by Tonia Salvini Vice               President    of University Services               Ronald         Graham
President Stephen                  Prue Office of the President and Ernest Wilson Acting Supervisor of Student
Housing has shown a systemic problem with how HINU handles racial                                                   identities    and has resulted in

me being marginalized and                     disenfranchised        as    a student      who identifies as multiracial

                                                                                                                                     Declaration    F

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              Despite multiple attempts to engage                                with Salvini and             HINU          before   and during the 2020 Census

I    found   out on August 28 2020 that HINU                                filed   on behalf of students without engaging                           me or capturing
my self reported racial                   identity which               is   a question on the census                    The completion of this census                        also

indicates         a violation of my rights under The                          Family Educational                  Rights       and Privacy    Act     FERPA 20
USC          §    1232g      34    CFR Part 99 since               I   gave       no prior permission to release information with                                my race
ethnicity or gender



              Currently          and historically Haskell                   Indian Nations           University              HINU violates          federal      guidance
for reporting racial               and ethnic data to the               US Department of Education 72 FR 59266 This standard
was implemented in 2007 but goes back                                   to standards            set in    1997 that HINU              would still    be in violation

of today twentythree                    years later       This guidance              stipulates that            HINU         a will be      required        to collect

racial   and ethnic data using a twopart question on the educational                                                   institutions     or other    recipients

survey instrument and                     b should              allow students             parents and staff to self identify race and

ethnicity unless selfidentification                        is   not practicable             or feasible



             HINU          currently       does not have           a survey instrument for students to self identify their racial

identitythere               is   no two part questionnaire                   on admissions applications                        or housing    applications          Both
overseen by Salvini HINU                             instead    uses students             Certificate          of Degree of Indian          Blood Which                 is    not a

racial   identity to             provide    observer             identification             and reports          all   students as Native        American with no

secondary racial identities                     It    should also be noted that the practice of observer                                 identification            of race

has historic problems                   in Native       American populations and                         is   an inappropriate          policy The Integrated

Postsecondary Education                         Data System IPEDS shows HINU                                       has never         reported    a student as two

or more races since its                    oldest   report from 2001


              I   do not identify as only Native                   American and yet the school        reported me as only Native

American in previous semesters according                                    to   IPEDS The malignant neglect not collecting students                                           self

identified racial            identities     not only affects                US Census data               but also university reports along racial lines

If   every student          is    considered the same on paper                       it    is   impossible to identify patterns of systemic racism

along the lines of students marginalized racial identities                                         For example many students including myself

feel that         Student Rights supervised by Salvini has racially biased disciplinary practices for multi racial

Black students on campus                        however         their       Black identities are not recorded by HINU and thus there                                          is


no traceable bias or accountability


              I   have     engaged        Tonia Salvini multiple times to have                                my racial identity represented                 and   it    is   her

decision          to not   engage        with    me that furthers these                   systems already in place to marginalize multiracial
identities         Ive     already       been        misrepresented          on the 2020 census                  and    I   am set up to be misidentified
again when Salvinis                 subordinate           reports racial            data for the university to the                   IPEDS system for fall
enrollment           Her passive           actions       to     ignore      me are an active                  hurdle for me in being recognized                          as

multi racial and                 why I dont feel she is fit                   for   additional           community             duties to    hold the Lawrence

Police       Department accountable                       since    she cannot              engage with a student on their personal racial
concerns


                                 Subsidiary           Complaint Against Community Police Review                                          Board


              I   would also like to lodge a complaint with the City Managers                                                  Office   on the behavior          of the

Community Police Review                         Board      CPRB with how they handled the the presentation of my complaints
directly to the            board    I    admit to my lack of knowledge                           to the operation             of city committee        meetings and
suggest to add a section to the bylaws                            to instruct those              of us with grievances                where they can be filed                      I


understand           now that I inappropriately aired my grievance                                  in the public             comments not knowing                 this was

supposed to go to the City Manager                              That being said                 Im upset that Chair Member Tonia Salvini did not
provide       a statement of where                    my grievance could be filed or that the board did not assign staff to
provide       information for how to file                 a grievanceboth of which Ive now discovered are common

practice         with handling           public       comments that need additional information To me this is just another

                                                                                                                                            Declaration      F

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hurdle   that Salvini         has used to protect her from being held accountable                           for her actions     by not providing
an option to        file   a complaint and further embarrassed                      me with my continued         use of public comments to

incorrectly try        and find justice for her actions



          Not only was there a lack of direction for my complaint but in the initial                                    meeting on August
27th where      I    presented       my first grievance             in public     comments board members William Graybill and
Jane Gibson broke what                I   understand      is   decorum          to discuss   my complaint and choose            to    do so with

language that was dismissive of the nature of my complaint and gaslit my complaint saying                                                    it   didnt

concern the board in an effort to silence                      my grievance             See the summary of meetings and actions below



                                      Summary of Complaints Already Presented to the CPRB


          Complaints against Salvini were presented directly to the board during the August 27th and

September 30th meetings                   Documents on file with CPRB Agendas                        as public    comments I present the

following   summary of those meetings                      related         to   my complaint

          During the August 27th Meeting                            the   agenda included      my initial    complaint letter           My letter was
          not acknowledged                during public comment                   section   of the agenda     Before    adjournment board
          member William Graybill asked                        the        board to acknowledge      my letter I dont really want to
          wake up tomorrow and read the newspaper accusing this board or myself of white washing
          material Board member Jane Gibson responded I dont see how it is even marginally
          relevant to the board              So   I    dont see any reason to respond to it because                    its   not about what we

          do

          For the September 30th meeting                        I    rewrote      my complaint which         held criticism for Graybill and

          Gibsons responses to my letter                       at   the previous        meeting Graybill presented dialogue that

          relegated          my complaint to a public image issue rather then acknowledging                                  the nature           of my

          complaint           I    also brought       attention      to the White       privilege present in Gibsons           response where
          she   a          refused to view     my complaint from my perspective                     as   a racially marginalized member
          and       b      invalidated     and gaslit my complaint dismissing it as something                       that     doesnt concern the

          board Additional                information was provided                 in   my letter expanding     on my original complaint

          against          Tonia    Salvini After presenting                my complaint to the board board member Marie Taylor
          posed questions to City Attorney Toni Wheeler                           which resulted in the advisement to present my

          ethics       complaint to the City Manager




Thank you       for handling          my complaint




Cc   Diane Stoddard                Casey Toomay Brandon                    McGuire       Tonia Salvini   Jennifer      RobinsonWilliam

Graybill Stephanie Littleton Sanjay Mishra Jane Gibson Marie Taylor                                           U World




                                                                                                                          Declaration        F

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                                                                                                                                                          U SA000554
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                                          City of Lawrence
                                                                                                                                                                                    CITY COMMISSION


                                                                                                                                                                                         MAYOR
                                                                                                                                                                                  BRADLEY R FINKELDEI

                                                                                                                                                                                    COMMISSIONERS
                                                                                                                                                                                   COURTNEY SHIPLEY

                                          CITY              ATTORNEYS                                      OFFICE                                                                    STUART
                                                                                                                                                                                      LISA
                                                                                                                                                                                                  BOLEY
                                                                                                                                                                                             LARSEN
                                                                                                                                                                             JENNIFER     ANANDA      JD MSW


              CRAIG     S OWENS                                            City     Offices                                            6 East EP
                CITY   MANAGER                                             PO Box 708 660440708                                    7858323000

                                                                           wawIawrsnceksorg                                 FAX    7858323405




         December 17 2020




         Mr Jared Nally
         Delivered Via               Electronic        Communication                          to

             Address            iarednally©gmailcom


         Re Correspondence                      to City Manager                       Craig Owens                     Concerning Tonia Salvini



         Dear Jared


         I    am       writing       to   follow       up on your                    correspondence                         to    City        Manager Craig Owens                         referenced

         above           At the        outset      we wish to                  express our appreciation                                 to you      for       your patience             as        we have
         carefully        considered           the concerns                you          raised            in    your     letter




         Your       letter          concerns       a    member                 of     the          Community                 Police          Review          Board      CPRB Ms Tonia
         Salvini          In    your      letter       you complain                   that          Ms         Salvini      in    her role as an administrator at                                  Haskell

         Indian         Nations           University          HINU                  along            with        other       HINU          faculty           ignored        your        requests           to

         provide         your        own      racial        identity           to     the          school           in   certain         reports         made         by     HINU             You         also

         complain          that       Ms Salvini did not engage                                with            you when           you made multiple                    attempts              to
                                                                                                                                                                                                  engage
         with      her and other              HINU          officials      regarding your concerns



         After         careful        consideration                 I   find          that           the        allegations              stated         in    your      complaint                 even      if




         everything             in   the letter        is    true       are not violations                            of the      Citys        Ethics        Policy    or the bylaws of the

         CPRB The               actions       of which             you complain                     largely         concern            policies practices               or actions of               HINU
         The     allegation            that    Ms       Salvini           in       her        role       as a         HINU       administrator                did     not    engage           with        you

         regarding             your       concerns            is    not        a     violation                 of     the    Ethics           Policy     or     the     CPRB bylaws The
         conclusion             I    have     reached              should           not        be interpreted                     to    mean       that        the    concerns            you       raised


         regarding          HINUs            reporting             and communication                                protocols          are     not valid            The     City     of Lawrence

         however           is       not the    proper forum to address those concerns



         In
              your letter            you also      expressed dissatisfaction                                     with the          manner          in   which         the Community Police

         Review          Board        handled          the     presentation                    of your              complaint                 Jared we           appreciate           your honest

         feedback           on        this    matter The                  board               is         not    tasked           with        or    responsible              for    addressing               or

         investigating               complaints              made         against                  its    members                      City    staff     will       endeavor          to      assist        in



         directing        persons making complaints                                  in       the future to the appropriate                              City office




                                                                                                                                                                      Declaration     F

IV                                                                                                                                                                    rage 10 of 11
       We are committed to providing                         excellent         city     services               that   enhance          the quality       of life     for the Lawrence               Community
tuft




                                                                                                                                                                                                            USA000555
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Mr Nally
Dec 17 2020
        2
Page


Thank       you again    for   contacting   the   City   We   wish   you   the   very   best   as you       continue   your

studies



Sincerely




Toni   R Wheeler
City Attorney




C Craig Owens           City Manager




                                                                                               Declaration       F

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                                                                                                                         USA000556
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October      9 2020

Craig Owens

City Manager

City Hall

6E 6th St
PO Box 708
Lawrence KS 66044


                                                                      Ethics      Complaint


To The     City Manager



                                                                           Introduction



            Im writing the City Manager                      regarding           a complaint against Community Police Review                      Board

CPRB member Tonia Salvini The complaint alleges Salvini has violated the boards set of ethics
while acting as a public figure in the Lawrence                              community            A subsidiary complaint is also being lodged
related to the             response of the board when the complaint was presented directly to the                          CPRB

                                                       Complaint Against Tonia                      Salvini



           While Tonia Salvini operates as a Lawrence                                public figure serving          as    a board member on the

Community Police Review                       Board    she    is   also    a Lawrence         public figure as the         Vice President of Student

Services        at   Haskell       Indian    Nations    University          HINU While                I   do not credit Salvini with the creation of

the   systems in place that oppress my identity as a mixed race student at HINU                                              she   has made the

conscious decision to not engage                      with   me and act as an agent protecting                    these     systems and furthering
the   disenfranchisement                  of my racial identity and abusing her position of authority



            I   understand that these             allegations        take    place outside the institution              of the City of Lawrence       but

hold firm that any public action has consequences                                  that   can either erode or build public trust and with

any other role or job you are a sum of all                          your partsactions                 outside the   workplace       affect   individuals

all   the time        It   is   for this reason   I   hold Salvinis           actions     accountable         the City Managers        Office to the
Ethics   Policy            Resolution      No 7269 and to CPRB bylaws and affirm that she           has eroded public       a
trust    b      she    has treated        me differently on the basis of race    that upholding   c
                                                                                                a system of racial

prejudice       poses           a conflict with the goals of her position on the CPRB for reviewing completed racial

or other bias based policing                  investigations and                 d   is   antithetical      to the ideals   of the board to have

members demonstrate understanding                         of racial bias which               is   in discussion     for city    ordinance     no 9324


                                                                   Complaint Background


           Haskell Indian Nations University HINU has violated my right to self identify my race has
violated     my FERPA rights by reporting racial and gender information to the US Census Bureau without
my consent            and has created a system that doesnt offer identification                                 of racial biases and racial

protections          for multiracial         students    Board member Tonia Salvini acts as the Vice President of

University           Services       for   HINU   and supervises            all   departments involved            with the complaint and whom               I


continue to reach out to



            For six months Tonia Salvini and other                               HINU     faculty     have    ignored    my requests to provide my
own racial           identity to the        school The       intent   was to have          this information         used for the 2020 Census          but

the neglect          and disregard          by Tonia Salvini Vice                President    of University Services            Ronald       Graham
President Stephen                  Prue Office of the President and Ernest Wilson Acting Supervisor of Student
Housing has shown a systemic problem with how HINU handles racial                                                 identities    and has resulted in

me being marginalized and                     disenfranchised         as    a student      who identifies as multiracial




                                                                                                                                                               U SA000557
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              Despite multiple attempts to engage                               with Salvini and             HINU          before   and during the 2020 Census

I    found   out on August 28 2020 that HINU                               filed   on behalf of students without engaging                          me or capturing
my self reported racial                  identity        which        is   a question on the census                    The completion           of this census        also

indicates         a violation of my rights under The                         Family Educational                  Rights       and Privacy    Act    FERPA 20
USC          §    1232g      34    CFR Part 99 since              I   gave       no prior permission to release information with                           my race
ethnicity or gender



              Currently          and historically Haskell                  Indian Nations           University              HINU violates federal guidance
for reporting racial               and ethnic data to the              US Department of Education 72 FR 59266 This standard
was implemented in 2007 but goes back                                  to standards            set in    1997 that HINU              would still   be in violation

of today twentythree                    years later      This guidance stipulates that HINU                                 a will be      required    to collect

racial   and ethnic data using a twopart question on the educational                                                  institutions     or other    recipients

survey instrument and                    b should              allow students             parents and staff to self identify race and

ethnicity unless selfidentification                       is   not practicable             or feasible



             HINU          currently       does not have          a survey instrument for students to self identify their racial

identitythere               is   no two part questionnaire                  on admissions applications                        or housing    applications    Both
overseen by Salvini HINU                            instead    uses students             Certificate          of Degree of Indian Blood             Which        is    not a

racial   identity to             provide    observer            identification             and reports          all   students as      Native    American with no

secondary racial identities                    It   should also be noted that the practice                            of observer       identification      of race

has historic problems in Native                        American populations and                         is   an inappropriate          policy The Integrated

Postsecondary Education                        Data System IPEDS shows                              HINU          has never         reported     a student as two

or more races since its                    oldest  report from 2001


              I   do not identify as only Native                  American and yet the school        reported me as only Native

American in previous semesters according                                   to   IPEDS The malignant neglect not collecting students                                     self

identified racial            identities     not only affects               US Census data but also university reports along                             racial        lines

If   every student          is    considered the same on paper                      it    is   impossible to identify patterns of systemic racism

along the lines of students marginalized racial identities                                        For example many students including myself

feel that         Student Rights supervised by Salvini has racially biased disciplinary practices for multiracial

Black students on campus                       however         their       Black identities are not recorded by HINU and thus there                                    is


no traceable bias or accountability


              I   have     engaged       Tonia Salvini multiple times to have                                my racial identity represented             and it    is   her

decision          to not   engage       with    me that furthers these                   systems already in place to marginalize multiracial
identities         Ive     already      been misrepresented                 on the 2020 census                  and    I   am set up to be misidentified
again when Salvinis                 subordinate          reports racial            data for the university to the                   IPEDS system for fall
enrollment           Her passive           actions      to     ignore      me are an active                  hurdle for me in being recognized                    as

multi racial and                 why I dont feel she is fit                  for   additional           community             duties to    hold the Lawrence

Police       Department accountable                      since    she cannot              engage with a student on their personal racial
concerns


                                 Subsidiary          Complaint Against Community Police Review                                          Board


              I   would also like to lodge a complaint with the City Managers                                                 Office   on the behavior     of the

Community Police Review                        Board      CPRB with how they handled the the presentation of my complaints
directly to the            board    I   admit to my lack of knowledge                           to the operation             of city committee       meetings and

suggest to add a section to the bylaws                           to instruct        those       of us with grievances                where they can be filed                I


understand           now that I inappropriately aired my grievance                                 in the public             comments not knowing          this was

supposed to go to the City Manager                             That being said                 Im upset that Chair Member Tonia Salvini did not
provide       a statement of where                  my grievance could be filed or that the board did not assign staff to
provide       information for how to file                a grievanceboth of which Ive now discovered are common

practice         with handling          public       comments that need additional information To me this is just another




                                                                                                                                                                                U SA000558
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hurdle   that Salvini         has used to protect her from being held accountable                             for her actions        by not providing
an option to        file   a complaint and further embarrassed                       me with my continued          use of public comments to

incorrectly try        and find justice for her actions



          Not only was there a lack of direction for my complaint but in the initial                                      meeting on August
27th where      I    presented       my first grievance              in public     comments board members William Graybill and
Jane Gibson broke what                I   understand       is   decorum          to discuss   my complaint and choose                to   do so with

language that was dismissive of the nature of my complaint and gaslit my complaint saying                                                    it   didnt

concern the board in an effort to silence                       my grievance             See the summary of meetings and actions below



                                      Summary of Complaints Already Presented to the CPRB


          Complaints against Salvini were presented directly to the board during the August 27th and

September 30th meetings                   Documents on file with CPRB Agendas                          as public    comments I present                the

following   summary of those meetings                       related         to   my complaint


          During the August 27th Meeting                             the   agenda included       my initial    complaint letter           My letter was
          not acknowledged                during public comment                    section   of the agenda      Before    adjournment board
          member William Graybill asked                         the        board to acknowledge       my letter I dont really want to
          wake up tomorrow and read the newspaper accusing this board or myself of white washing
          material Board member Jane Gibson responded I dont see how it is even marginally
          relevant to the board               So   I    dont see any reason to respond to it because                     its   not about what we

          do

          For the September 30th meeting                         I    rewrote      my complaint which          held criticism for Graybill and

          Gibsons responses to my letter                        at   the previous        meeting Graybill presented dialogue that

          relegated          my complaint to a public image issue rather then acknowledging                                    the    nature      of my

          complaint           I    also brought        attention      to the White       privilege present in   Gibsons response where
          she   a          refused to view     my complaint from my perspective                       as a racially marginalized member

          and       b      invalidated     and gaslit my complaint dismissing it as something                         that      doesnt concern the

          board Additional                information was provided                  in   my letter expanding      on my original complaint

          against          Tonia    Salvini   After presenting               my complaint to the board board member Marie Taylor
          posed questions to City Attorney Toni Wheeler                                  which   resulted in the    advisement to present my

          ethics       complaint to the City Manager




Thank you       for handling          my complaint




Cc   Diane Stoddard                Casey Toomay Brandon                     McGuire       Tonia Salvini   Jennifer       RobinsonWilliam

Graybill Stephanie Littleton Sanjay Mishra Jane Gibson Marie Taylor                                             U World




                                                                                                                                                            U SA000559
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       DECLARATION                    OF JOSHUA               LEVI FALLEAF


       Title         Acting              Dean         College       of   Humanities               and    Arts Instructor of English
       position of record
       Location    Haskell Indian Nations University Lawrence                                                        Kansas
       Date of Interview January 19 2021
       Case Number                   00121HCI011BIA

I    Joshua Levi Falieaf hereby make                                this Declaration



I    understand      that       I
                                     am       making        this    statement        under        penalty           of   perjury      that        it    is    the



equivalent     of a      sworn statement made under oath and                                      that   it
                                                                                                              may be filed in proceedings

in   accordance          with       or   before the Merit             Systems         Protection              Board      MSPB or the Equal

Employment Opportunity                         Commission            EEOC             in    the    grievance             process      or     before            an


Arbitrator     in   court           or in     any other      similar proceeding               This statement               is   voluntary and no



promises of any                kind      have     been        made       to    me    and      I   have        not    been       subjected              to     any


threatening     or coercive                 behavior for the purpose                 of obtaining          this     declaration        I   understand



that    this   declaration               is    part    of    an     official    management                    investigation        and        that            this




investigation       is   not    part of the Equal              Employment             Opportunity             EEO process

        This    interview             and       the    subject       matter      discussed               including         the     identity            of     the

        individuals         mentioned                 are    confidential       in    nature             You        should      not    discuss                any
        information        divulged during                  this   interview with          any other person               Do you understand


        Response

        Yes

        For the record please state your full                            name

        Response

        Joshua       Levi           Faleaf


        Please state your



        Address


        166 Indian Ave
        Lawrence           KS         66046


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Declaration           Joshua   FaIleaf

Page      2




     Telephone         Number


     7858135915


     Email Address



     ifalleafAhaskeliedu


     Please identify your position with Haskell Indian Nations                    University



     Response


 Currently Acting               Dean     College of Humanities            and Arts    My position of record
     is   Instructor of English


     How      long   have you held this position


 Response


 Ibecame an Instructor in the spring of 2012    became Acting Dean in aboutI




 2014  returned to being an instructor for a couple of years but
               I                                                 returned to                       I




 Acting            Dean


 How long have you been with the Agency

 Response

 Since spring of 2012                     I   was        a contractor   for one   or two    semesters           when
 provided            parttime teaching adjunct                 work


 Please            identify   your role       and    responsibilities   associated   with   the   Indian        Leader

 newspaper


 Response

 I
      supervise         the faculty      Advisor          Rhonda   LeValdo


 Did you replace Rhonda LeValdo as Advisor for the Indian                            Leader


 Response


 There             was a         summer 2020 when there was a Directive for
                           short time         in   the

 faculty to focus on their teaching   This was our first fully online semester

 following the emergency  transition we made in the Spring There was a lot of

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     Declaration           Joshua    Falleaf

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          training        and preparation             Dr Rains issued           a Directive that                  all          faculty        and       their

          advisor         roles to any       student          clubs         as well      as other               duties               needed            to    be
          nullified       for the   time being to prepare for classes                                I   believe the directive                              was
          temporary for a month or two                              This    was my         reading              of        it     I
                                                                                                                                      replaced              Ms
          LeValdo during this time


9     Are you aware              of a   Directive       dated October           16 2020              that       Dr Graham                  sent        to   Mr
          Nally


          Response

          I   am

10        Did you have          any involvement          or    input into the      decision              to   send         the Directive               to   Mr
          Nally      If
                          so   describe     your involvement           or input    in   detail



          Response

      I       did not



11    Do you know why Dr Graham sent the Directive to Mr Nally                                                       If
                                                                                                                           so explain            in    detail

      why

      Response

      I       believe the President            felt   Mr Nally was overstepping                               or presenting                 Haskell           in

      an        unfairly bad        light   and wanted             to correct    that but thats                      only        my perception
      from the outside                  That     was my reading               of the     directive                There               was concern
      about         Mr Nallys ongoing                 harassment            of Vice     President Tonia                         Salvini         in     some
      of her public             roles within          the     community            He tried to                 clarify          that the             Indian

      Leader is not entitled to                  certain information                 can be provided to any who
                                                                                   but     it


      use and represent it accurately                          I   think it was to make Nally understand he was
      a student and he had to uphold certain code of conduct and journalistic ethics
      That was my interpretation                       However          I   dont think it was expressed                                 particularly

      well


12    Did       replacing      Ms LeVaido as Advisor to the Indian Leader have                                             anything         to   do with
      the Directive            Dr Graham        sent    Mr     Nally or the incidents                that occurred                   that resulted            in


      the Directive            being issued


      Response

      No The replacing of Advisers was campus wide                                              I   dont have                  readily available
      the       initial    communiqué            but the followup clarification with                                       Mr Nally and Ms
      LeValdo                  included               dates        from     July      31            2020         President        Grahams
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      Declaration           Joshua      FaIleaf

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        memodirective to                     Mr Nally dates Oct 16 2020                         which was written and issued
        on  his own timeline in conjunction   with whoever he was seeking guidance
        from at the time The July 31st really earlier directive was made to streamline
        faculty focus on the delivery of their online classes The President made his
        October 16th 2020 directive without                              my knowledge              or input         So   I   cant speak             to

        his motivation             or purpose            The intersection          of these matters are not matters to
        which     I   am aware

13      Have you attended                    training   regarding       anti harassment                 If   so state the dates


        Response

        Yes The typical                 BIE or DOI Talent training that we do annually


14      Are you aware              of the school having            an anti harassment                   policy



        Response

       Yes

15      Is   the policy posted anywhere                    on the school property                  If
                                                                                                        so state where             it   is   posted


        Response

        I   believe    it    is   on the website


16     Are you aware               of   anyone      else   who may have information                          relevant    to the issues             we
        have discussed                  If
                                             so identify    them by firstlast           name and position and describe                               in


        detail   what       relevant         information    you believe they have


        Response

        Dr Graham Dr Rains                         Ms Salvini Mr Nally

17      Do you any additional                   information       or   documents        that might           be   relevant    to the issues

        referenced           in this    matter or that        may be        helpful        in   this investigation            If
                                                                                                                                     so       please
                                                 andor copies           of the   documents                    an explanation                 of each
        provide the information                                                                     with



        Response

        The      Directive         regarding            faculty        temporarily          not    having         Advisor          roles        with

        school student organizationsclubs


I   declare    under penalty of perjury that the foregoing                            is    true   and       correct    to the best of             m
knowledge and               belief      This declaration           including     this      page    consists        of    5    pages

                                                                                                                                                     Page

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Date




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Joshua Faleaf


From                                               Jim Rains

Sent                                               Friday July 31 2020           416 PM
To                                                 Rhonda Levaldo           Jared Nally

Cc                                                 Joshua Failed          Mona    Franklin


Subject                                            Teaching      summer work and the                Indian     leader




Rhonda    and Jared

By directive     all    Haskell faculty     have    been   asked    to    focus exclusively        on preparation          for teaching        online this fall     program
reviews Blackboard training and other University                          business no faculty          is   excluded from this directive Teaching                   is   the

Universitys core         mission In a related matter per the The Settlement                          Agreement        between the University                and The Indian

Leader United          States   District   Court For the       District    of   Kansas     Entered September              11 1989 the              University    holds the

exclusive     right to    appoint a     Faculty Adviser to       assist students           in   the publication     of the Indian           Leader       p 5 The
Settlement     Agreement and the            Plan    of Operation     contain      no language         granting     students          the right to select the Faculty

Adviser As      in   the recent past Haskells          current     administration          is   indifferent to     how The Indian Leader chooses                   its   own
student   leadership       and   it   remains generally     disinterested         in its   editorial     content          and   it   has at no point demonstrated

any attempt to censor edit or modify the contents of the Indian                                 Leader       p1       I   hope this email           clarifies   any ambiguity
on your summer duties                 Rhonda   with   respect    to this    matter If you have any questions                         regarding     these two points        either

I   or Josh   Faleaf     your    current   supervisor would be more than                   happy    to      respond


Jim Rains       PhD

Acting Vice President           of Academics

Haskell Indian         Nations University

155 Indian     Avenue
Lawrence       KS 66046


Phone     785 7498494




                                                                                                                                     Declaration   D
                                                                                                                                       Page 6 of 6




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         DECLARATION              OF CARLENE MORRIS

         Title     Financial Aid Officer

         Location           Haskell Indian Nations University                             Lawrence Kansas
         Date of Interview January                    15 2021
         Case     Number D0121HCI011BIA

I       Carlene Morris hereby              make this Declaration


I   understand that          I
                                 am making this statement               under penalty of perjury that                            it    is   the equivalent



of a sworn statement               made        under oath and          that       it
                                                                                        may be filed       in   proceedings                 in     accordance


with      or   before       the   Merit        Systems        Protection          Board         MSPB            or   the    Equal                Employment


Opportunity         Commission            EEOC          in   the grievance
                                                                                        process or before an Arbitrator                               in   court or


in
        any other similar proceeding                  This statement         is    voluntary and no promises of any kind have


been made to me and                 I   have    not   been subjected          to any threatening                or coercive             behavior for the



purpose          of obtaining      this   declaration          I   understand            that    this   declaration         is        part       of    an    official




management            investigation            and    that    this investigation            is    not part       of the      Equal               Employment


Opportunity         EEO process

    1      This interview         and    the subject         matter discussed               including       the      identity         of the          individuals

           mentioned        are confidential           in    nature    You should                not    discuss      any information                       divulged

           during    this   interview with           any other person                  Do you understand


           Response

           Yes

2          For the record please state your full                      name

           Response

           Carlene Morris


           Please state your



           Address


           155 Indian        Ave
           Lawrence KS 66046




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     Telephone              Number


     7858302702


     Email Address



     CarleneMorrisbieedu

3    Please identify your position                   with Haskell Indian          Nations University



     Response

     Financial Aid Officer



4    How       long    have you held          this   position



     Response

     I   was hired as a contractor                    in 2013      I   was hired fulltime February 2015

5    How long have               you been with the Agency


     Response


     February 2015


6    Please           identify       your    role    and   responsibilities         associated   with   the      Indian     Leader

     newspaper


     Response

     None

7    Describe your professional                     relationship       with    Jared Nally pertaining to his      role    as Editor
     in   Chief       of the Indian         Leader newspaper


     Response

     None         I
                      process his financial aid but thats about                         it



8    Describe          in   detail   the    purpose    of the   Indian        Leader newspaper



     Response




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      Just like any other                               newspaper         To share and disseminate                                               info to          our students               It



      goes                to the       alumni and community as well


9     Are you aware of a Directive                                dated   October                162020               that          Dr Graham sent to Mr Nally


       Response

       I    did hear about



10     Did you have any involvement                                or input into the decision to                            send the Directive                         to    Mr Nally
       If   so describe                      your involvement         or input         in   detail




       Response

       No             I       dont really tell            the    President what to                        do Dr Graham talked to me about an
       incident that                     happened               Someone I dont know who told him about an issue                                                                      I   had
      and         I
                          guess         it   all    started with      me when               Jared chose                    to        record our phone call                                He
       called                 me to ask about his financial                          aid             I   answered him                         to the     best of             my ability
       but    I           did not            know he recorded             the        phone               discussion                 until            one of my coworkers
       contacted me and said he recorded the call and posted      on Facebook      Once my                                               it


       coworker informed me and said     was on Facebook      looked    but couldnt
                                                                              it     find it                                    I




       The coworker then gave me the link and saw it      was a little upset that Jared did      I                    I




       not inform me prior that he was recording it   had worked with the Indian Leader                     I




       before and students have asked me      they could record our conversations and if                                                                                                          I




       usually told                    them yes Jared didnt ask       upset                   me and              I       was       a         little   bit                    I   emailed
       him after                 I   found out and asked him why
                                               didnt say anything inappropriate during           I




      the discussion he recorded but for me it was an issue of trust   asked him if he                                                                        I




      would ask me the next time and would probably say yes      wanted to understand
                                                                          I                                                                      I




      why he didnt ask me if he could                                     record            it       and post in on Facebook                                        He responded
      and said he didnt                                 really have    to          because               of the       law
                                                                                                                        was brought up that just
                                                                                                                                     I




       because        you can doesnt mean you should                                                        I   dont know Jared very well except
       that       hes with the Indian Leader He was a very                                                      nice       young                 man but right now my
       issue would                       be trust


11     Have you attended                            training     regarding          anti   harassment                      If
                                                                                                                                    so state the dates


       Response

       Yes                Not too long ago


12    Are you aware of the school having                                       an    anti   harassment policy


       Response


       Yes                I   think     it   is    in   our Policy Stats             We do training through BIE and DOI Talent
                                                                                                                                                                                     Page             3I
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13       Is the       policy posted          anywhere on the school property                                    If
                                                                                                                     so state where                 it   is   posted


         Response

         I   assume it          is     on the Intranet


14      Are you aware of anyone                           else     who may have information relevant to the issues we have
         discussed               If
                                       so identify them by firstlast         name and position and describe in detail what
         relevant       information           you believe they have


         Response

         No       I   had       a young        man who emailed me and                                  asked          if   I   would           make       a   comment
        about the situation that was going                                       on   I   did not respond to                            him Im not going to
        add more fuel to the fire                          I   believe people should be treated fairly                                          but just because

         you can doesnt mean you should As Native people we are taught to respect our
         elders and he could have asked told Jared this wanted him to learn something
                                                                            I                               I




         positive        out of           this situation                  Im good          with       Jared          right          now           Because            of the

         situation          I
                                 may ask           if    they are         recording         in   the       future              I
                                                                                                                                    may be leery                    Im    old

         fashioned              and its the way                I   was brought up                 I    think trust                 is   important especially
         in   journalism


15       Do    you      any           additional        information         or    documents            that      might         be       relevant         to   the    issues

         referenced             in this    matter or that            may be helpful in this investigation                                 If    so please provide
         the   information              andor copies               of the   documents        with          an explanation                 of each



         Response

         Email with             Jared


I
     declare      under         penalty      of    perjury         that     the   foregoing           is   true      and       corregt to the                 best   of   my
knowledge and               belief         This declaration                 including     this   page           consists            of   S        pages




Declarants            Signature




      FIAayka
    Position




Date

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       DECLARATION                    OF RHONDA LEVALDO


       Title         Faculty          Media Communication                        Humanities Department
       Location             Haskell            Indian      Nations           University Lawrence Kansas
       Date of Interview                   January 18 2021
       Case Number                   00121HCI011BlA

I    Rhonda LeValdo                       hereby      make this Declaration


     understand       that       I    am       makinn        this   statement           under       penalty        of   perjury        that       it    is   the



equivalent      of a sworn statement                       made under oath and                      that   it
                                                                                                                may be filed      in       proceedings


in    accordance          with       or    before     th      Merit     Systems           Protection            Board IVISPB or the                     Equal



     iiiployment      Opportunity               Commission             EE0C             in    the    grievance          process        or     before          an



Arbitrator      in   court or in any other similar proceeding                                   This       statement      is   voluntary and                  no



promise         of   any     kind          have     been         made        to   me and        I   have        not    been    subjected               to    any



threatening or coercive                    behavior        for   the purpose of obtaining                    this declaration          I    understand



that    this    declaration               is   part     of    an    official       management                   investigation        and          that       this




investigation        is   not part of the             Equal Employment Opportunity                              EEC process

         This    interview            and       the     subject        matter       discussed              including       inc   identity              of    the

         individuals         mentioned                ale confidential             in   nature             You        should   not     discuss               any
         infon nation        divulged           during       this interview        with      any other personS            Do you understand


         Response

         Yes


         For the record please state your                             full   name

         Response

         Rhonda LeValdo


         Please state your


         Address


         155 Indian          Ave
         Lawrence KS                      66046




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Declaration      Rhonda LeValdo
Page 2


 Telephone        Number


 7857498442


 Email Address



 RhondaLevaidobieedu

  Please identity your position with Haskell Indian Nations University



 Response


 Faculty Media Communication Humanities Department


  How long have          you held         this positic




 Response

 I   started as adjunct              in   2008       I   believe       I   became permanent in 20


  How    long   have you been with the Aeen



 Response

     have been working there since                               probably          2001


  Please      identity    your        role   and          responsibilities           associated       with    the   Indian        Leader

 newspaper


 Response


 I   am Advisor      to the      students


 Were you replaced              In    your role


 Response

 At the beginning of the summer Joshua Falteaf told me that because                                             we wore working
 on    projects    that    would           require          my time            I   would   not   have        time   to   advise       the

  newspaper        and    that        he would            be taking          the    Advisor    role   temporarily        through the

 slimmer until     fall   We were switching to online sCh0014                              and they had put us in a training
 course More at my lime would he focused                                    on training       Apparently that would require
 more    of   my   time than          usual      I       asked       for   clarification   because      I    didnt understand               I




  had done summer projects before that did not take that much                                          time from      me My work
 on the newspaper          it    is   basically           like   I   dont do anything unless they need                   clarification


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Dociaration                     Rhonda              LaValdo

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 about a story editing help or something                                                                about      vvriting               For the most part
 there           I
                          sign        any requests                to     be paid and thats                        just       about            It




  1   asked Jim Rains about this                                           I        asked         for   clarification               on the situation                          because              Mr
 Fatleaf              had a discussion                            with    Mr             Nally prior             to this       happening and                             it       wasnt very
 good            I     felt like because                        of their relationship                        I   would         notnave chosen                            hen to be the

 Advisor                    was some situation going on and
                            I
                                    thought           there  edvitired with Jirn He                                                                I




 said there was a Directive   said hadnt seen it and they sent me some entails that
                                                                   I                I




 Mr FaIleaf was to be the temporary Advisor until the fall                                                                                I    was kind             of   confused                  Al

 that       time            I       let       the   newspaper know what was going on and they decided to try and
 change                   their       plan of °pet ation because      they knew they did not have good discussiOns

 with       Mr Faneat                               Also our prior lawsuit said no                                administration                        would have oversight

 over the                  newspaper                       Mr      Faleaf                is   a   Dean           and    part        of administration                                 ROM my
 understanding                                 Mr     Nally reached                      out      to    Mr       Faleaf            to     invite             him    to        their         weekly

 meeting                   but        MI FaIleaf never attended                                        When        he didnt attend                           Jared decided                    they
 would           have                a meeting              for    a plan               of operation             and         not    have               Mr     Falteat voted                   in   as
 their      Advisor                           Mr     FaIleaf never                  responded                 He was never really their Advisor                                                    An
 Advisor must sign                                   to   get the students paid                         for
                                                                                                                 being on the newspaper                                           The banker
 was not cutting                               the checks         them The only time any checks were paid was to pay
                                                                   for

 an outstanding                                 debt       The students didnt get paid until last week Jeri Sledd the
 hanker               for           the        student bank              finally          acknowledged                       that    I
                                                                                                                                         was still             the       Advisor              She
 had not been acknowledging                                              any requests from Jared since June                                                   2020            I

                                                                                                                                                                                   guess      I    am
 Currently the Advisor but                                      no one has said anything about                                            it




 Are you aware                                 ot   a Directive          dated October 16                              2020         that           Or Graham                       sent to Mi

 Nally


 Response

 Yes


 Did you have                                 any involvement             or input into the                       decision               to    send the             Directive

 Nally               If    so         describe your involvement or input                                           in detail




 Response


 Nothing                        I   didnt            know     about            it       until     Jared got             it    and        called              me       He was                 really

 upset                Ican only imagine being a student and having an administrator tell                                                                                                      you
 that        I       felt terrible for him and told him to take a breather go for a walk                                                                                                      and
 calm down                                I   think       he was afraid he was going to get kicked                                                            out of school


 Do you know why Dr Graham sent                                                          the Directive             to    Mr Nally                       If
                                                                                                                                                             so explain in detail
 why


 Response




                                                                                                                                                                   Declaration         G
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          I   know Dr Graham was                          not happy       about          some stories                   that   were posted                   One
      which           gained     national        news           attention          was about               a student           who was             kicked        off

      campus            during         the    Covid            pandemic                There    was no                 hearing or anything                   like


          that he       was              on hearsay
                               just kicked               was picked up by a national
                                                          off   based                                It




      organization that helps students FIRE  The  story went national and was picked

      up by more media sites     made Haskell look bad You shouldnt kick a student
                                                          It



      off       campus based on hearsay                            It   was        a   bad situation


12    Have you attended training regarding artiiriarassmani                                                       If   so state the dates


      Response

      I       think   weve done online training

13    Ar e you         aware ot tne school having an anti harassment policy


      Response

      Not really



      Is the      Polley Posted             anywhere on tne sCnool property                                  It   so state where              it   IS   p015t4




      Response


      I       know     they    talk    about         it        Because    of the          situation           in       spring arid other things
      going on with myself                      Mr Rains                and       Mr Falleaf  began the process of writing
                                                                                                       I




      a       complaint but            I

                                            stopped because                   I   didnt want them to retaliate against ma
      This was            right       before     the           pandemic and               I   didnt         want         to    rock   the boat               so    I




      stopped           the    process           After the          pandemic4                 we sent        all       the students           home           and
      these           other things started happening


      Are you aware               of   anyone     else who may have information relevant to the issues we

      have        discussed            If   so identify them by firstlast name and position and describe in
      detail      what relevant information you believe they have



      Response

      Mr Falleaf and Mr Rains

      Do you any additional information                             or   documents              that       might be relevant            to         Inc issues

      referenced          in   this        matter ot that         may     be helpful            in   this         investigation          It        so piense
      provide the information                   andor copies of the documents                                 with       an explanation                 of each



      Response




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       The email regarding                     the Directive             i    am sending 4 e mails The 1 AIHEC                                story
       I   think        this        was       the     beginning                of       the        bad     relationship         between           the
       administration               and    the Indian          Leader              In   short AIHEC American Indian                           Higher
       Education            Consortium               is   a   spring conference                     that   students   compete against
       other       tribal    colleges          in   academic          cultural            and       athletic    events   have traveled
                                                                                                                            I




       with the students for four years                             In       2020        there      was some confusion                 over       who
       was       allowed       to   go on the         trip    and   at the time the students                     brought up the issue
       to then         interim      Vice President Rains                       Jared Nally               wrote a story about it and                 it



       was       not well received                  2 Distribution                 of Indian        Leader      PDF email Because                  of

       the   pandemic               we were         not printing the paper and were wanting                                     the    school to
       send       the students             via      email which    the had done previously and Mr Prue
       administrative               assistant        isone of the few people who could send out a mass e
       mail   you look at the
                  If
                                                     very start of the thread of e mails Jared had asked
       numerous times to send out and no response until Dr Rains stated they could
       no longer do this therefore stopping the Indian Loader from reaching all
       students          3     Initial        Directive        sent          out    by    Dr       Rains     about    faculty         no longer
       sponsoring            clubs        4
                            had asked some questions
                                               I                                                          about the    Directive        and this
       was the response from Mr Falleat


 declare under penalty                   of perjury       that the           foregoing        is   true   and   correct    to   the   best of m

knowledge and            belief       This declaration              including this             page consiSts          of          pages




Position




Date




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                      EXHIBIT 2




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                              THE INDIAN LEADER
                              HASKELL INDIAN NATIONS UNIVERSITY
        Volume 123              Issue     1                                            The   oldest   Native     American student newspaper                                                                            February          112020




                               An    arborist trims          a large   tree   branch                                                                                   A heap      of tree trimmings           piled   in front    of Tecumseh       ma
                                                                                                                                                                                                                       Photos by Zachary ArtFette




                                                                                                                                                                                   KTC plans to come back
Uprooted Decaying                                                                                                                                                                                                                        a month
                                                                                       ash borer      on white        ash trees         Originating in                  tree                                                       in                 to


                                                                                       Asia this beetle found               its
                                                                                                                                  way        to    Michigan             trim more

Trees Plan to be Repur                                                                 in    2002 through shipments and eventually
                                                                                       made its way        to    33   states      and    several          terri         The other trees that were taken down were
posed                                                                                  tories   in Canada             killing      millions           of white          considered              hazards         to   either     pedestrians          or

Zachary          Arquette                                                              ash    on the way Unfortunately                       there are       no         buildings              For instance            the     tree   in front      of

                                                                                       viable    means to bring back                a tree         already        in    Sequoyah Hall was severely damaged from
As you were on you way to                             class     in the                 fected with              beetle      Flanders spoke                  about                              Professor Tyler Kimbrell                      who was
                                                                                                        this                                                            a fungus
first   week of February you may have                                  no              the    condition    of the     trees       behind Pocahontas                     a crucial           decision maker               for this        project
ticed     numerous            aerial   lift        trucks    and   tree                Hall saying        the top branches were visibly                                 called        the      tree a    hotel         for   squirrels        speak
chippers hard            at work          The commotion                  was                           From a visible inspection of the
                                                                                       decaying                                                                         ing about              the   extent of the           damage          Since

hard     to    miss The Kansas Tree Care                           KTC                 pile   of wood      there      is   evidence of extensive                        this    is    an area        where       students          and    faculty

company was commissioned                              to remove          and
                                                                                       rotting    The emerald ash borer has no natural                                  frequently walk                  there was           no question on
trim various           trees    on Haskell            Indian       Nations
                                                                                       predators      on Turtle Island             It   became obvi                     the    fate       of this tree          A few healthy trees by
University IIINU                     campus           It    begs   the                 ous    that these   white       ash    trees      were going           to        Coffin Complex were                          also taken          down but
question        as    to the    reasoning behind such                         a        meet their demise sooner or later                                                for    a   different reasons                   their   proximity        im
decision         at   first   glance          it
                                                   may not seem               like
                                                                                                                                                                        posed a risk to the                    integrity of the building

they even needed                to   be   removed             For various              Besides being              down many trees were                                  because           of how         close               were allowed
                                                                                                            cut                                                                                                      they                            to

reasons         there    were 7 trees               in total    that were              also   trimmed Flanders               also       spoke       about               grow         to   it

taken down             The professional                    arborists     at            the   importance         of tree trimming                  in late

KTC have provided                    substantial            insight into               winter    This      is
                                                                                                                usually      to   slow        or stop       the         Now that these                  trees    are    taken      down they
the     root   of the problem                                                          spreading of any diseases                  the    trees       may have           are    considered             resources          for the      HINU cam
                                                                                       been infected with and even                      to   help     the   tree        pus    to     utilize        In fact         Kimbrell expressed

Kenny Flanders a Haskell alumnus was                                                   maximize their resources                     Essentially the                     how this was part of the plan                              for the    wood
one     of the workers           from         KTC He was able                          water and      nutrients       that    would have gone                           to    be repurposed               to    enrich       the   culture    here

to clarify       why trimming and cutting down                                         to the   decaying branches                 can now be used                       on    campus
certain        campus trees was necessary The                                          much more        efficiently        throughout               the   whole         Continued              on page    3
biggest        issue    was the impact of the emerald




                                                                                                                                                                                                                                   U SA000576
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IIINU SP20 Convocation                                                           Haskell Visited by Chaney                                                                New Beginnings
Jared Nally                                                                      Jared Nally                                                                              Jamie Colvin


                                                                                 A Night with Chris Chaney                                      Haskell      s event      Orientation            for   Haskell     Indian       Nations            Uni
                                                                                 welcoming              Chris Chaney                  Senior Counsel               for    versitys         new transfer and              returning           students

                                                                                 Law      Enforcement                   and    Information Sharing                        was a successful turn out Workshops ranging

                                                                                 part     of the    US Department of Justices Office                                      from advice panels                   class   scheduling            and a

                                                                                 of Tribal Justice brought students and                                      commu        lot    more were taking place over                      the       five    days

                                                                                 nity in to        discuss national                  crime information                    before      the    official     start   of classes           Students

                                                                                 including         the    Tribal Access                Program             TAP            were      settling      in taking        care of logistics               and

                                                                                 The event promised knowledge                                     door      prizes        finalizing        personal       affairs       but   there        were

                                                                                 and pizza                                                                                also    opportunities           for    engagement with other
                                                                                                                                                                          students         Familiarizing themselves                     with        their

                                                                                 Chaney           an enrolled             member of the Sene                              peers     allows        new students to             feel     comfortable

                                                                                 ca Cayuga              Nation           said   I   consider          it   an honor       Group       activities         were created          for this       specific

                                                                                 to   be here and              I    want to thank Haskell Indian                          reason       Game night dodge ball icebreakers
                                                                                 Nations University                      for asking         me to come out                and a trip        to    Main Event were just some of
                                                                                     want                                 students                           law                 many ways students had                           chance
                                                                                             to                                            to
                                                                                 I
                                                                                                   encourage                                     pursue              I    the                                              the                     to

                                                                                 also     want them                to   understand          that      law    affects      really understand               that   they have        now entered
                                                                                 everyday          lives      and        a career      in law         can help            the    Haskell         family Thanks           to    our Haskells
                                                  Leroy Buster         Silva
                                                                                 both communities                       and people                                                                and student
                                      Photo by Connor MacDonald                                                                                                           faculty         staff                     ambassadors                   Haskell

                                                                                                                                                                          welcomed           105 students          that started their jour

                                                                                 Junior Laravie                    a Haskell        student           was part            ney here         for their spring         2020 semester To our
Be engaged Convocation                           speaker       and    Has        of the     group honoring                    Chaney with a song                          new       transfer and returning                students           have       a
kell    Indian Nations              University Alumni                 Mr         Laravie      said       I respect where hes at and what                                  wonderful          and       successful semester filled                   with

Leroy Buster Silva brought students and                                          hes trying to do and                     the       task   force       hes trying                                                              and
                                                                                                                                                                          excitement             accomplishments                       growth
faculty       to their feet         delivering a message to                      to   establish          Thats good                 We need           people       like   onward Haskell and make                      sure      to    go    to    class

engage        with your friends and                    neighbors here            that in there that are                   validating            our voice and
at    Haskell
                                                                                 giving strength               to       our people Laravie                   also

                                                                                 said he     thinks        that         ultimately              the   solutions

Silva started         his    Haskell journey through                       the
                                                                                 are   going       to    have           to come      from        us where
encouragement               of his family and                 community          we come from and then here                                at    Haskell
to    go and play basketball                     That journey was

made possible through                     the    connections          he

made along the way Silva                         arrived      in at the          Main Problems
airport in Kansas              City not          knowing        how he           Jared Nally
was going          to get     to   Haskell but           a stranger         no
ticed   him and saw him already                         as part      of the      Haskell      Indian Nations                                                              and                             down on backed               up dishes
                                                                                                                                                                                             to    cut
                                                                                                                                Universitys                plumbing              cutlery
Haskell       community and offered                                   him
                                                         to    give              requires         the   water           main    for the         entire      campus        as   well   as    an assortment of bottled                   beverages
a    ride That       was a start to a shift              in his atti
                                                                                      be turned                    when working                 on a single               since                                                werent work
                                                                                 to                      off                                                                        the    beverage dispensers
tude that Haskell             was more than an                  outlet     for
                                                                                 buildings          plumbing This weekend                                  attempts       ing
him to pursue sports but                    it   was a connection                to fix     plumbing in Navarre                       Hall required            a
that led      him to be the person he                         today and                            two hour window                               repairs The re           What worried students the most was their in
                                                         is
                                                                                 projected                                             for

impactful          in the    work he does
                                                                                 ality    was that campus water was shut off until                                        ability     to   shower and            after the     first    few        visits

                                                                                 12    pm   3 hours past the 7 am  9 am window                                            not having access               to   a clean    toilet       Students
His     message        is   encouraging            to   students         that
                                                                                                                                                                          were      actively      checking        water       taps     to   see if      the

through       the    activities      he had students and                         Curtis Hall            the        student cafeteria                  could only          water had been               restored It       was a literal             relief

staff                in                          his   talk they were
                                                                                                                                       morning with                              some when they were
        engage              throughout                                                        a partial menu                   that                                       for
                                                                                 provide
                   community                             connections
building       a                          fostering                              out water they couldnt                         make gravy or wash
and    that   those     will       help   you succeed This is                    dishes This impacted                                  cooks
                                                                                                                              their                   and bakers
the    magic       of Haskell         the   Haskell           community          Students were given disposable plates
                                                                                                                                                             cups




                                                                                                                                                                                                                                       U SA000577
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AIHEC Uproar                                                                               The main points
                                                                                           club disagreed with excluding
                                                                                                                               in the   letter    were        that the


                                                                                                                                                       students
                                                                                                                                                                                     misunderstandings

                                                                                                                                                                                     the      meeting            which
                                                                                                                                                                                                                                  were taken care

                                                                                                                                                                                                                                 allowed
                                                                                                                                                                                                                                                                of at

                                                                                                                                                                                                                                                   for previously


Jared Nally                                                                                based on academic probation                              that      didnt                  excluded              AIHEC              Club      members            to   be     con
                                                                                           factor in their              cumulative             grade point           aver            sidered             for the       final         student selection

Students            in the   American            Indian       Higher         Ed            age     that active            AIHEC members                      were not

ucation        Consortium Club were upset with                                             prioritized            and     that        AIHEC Clubs                  coaches           Daniel             Wildcat             PhD acting President
Haskells Administration                          This clubs focus                          were     limited in the                  decision     making The                          said         we            are    attempting             to    make sure we

is    to prepare Haskell                   students          to participate                AIHEC Club also felt                         that   the unspoken                          have          the    broadest student and university

and     or compete            in   American            Indian         Higher
                                                                                           attitude        spurring            these changes            stemmed                      participation                   possible         in as        many competi
Education               Consortiums Annual                    Student                      from an expectation                       for   Haskell       to   bring                  tions         as    possible            I   have       full    confidence             that


Conference                 The clubs order of operations                                   back    trophies                                                                          the      process and determination                               of student

includes           eligibility      and requirements                   for                                                                                                           participation                   will    be      fair    We     should expect

attending           AIHEC Years prior AIHEC Club                                           A preliminary                list    of approved student
                                                                                                                                                                      par            nothing             less We             do appreciate            the   AIHEC
                    selected       active       club members                to             ticipants        was      sent       out to prospective                 confer            student club participation                               and    are    thankful
sponsors
take     to   AIHEC conferences                        the    club
                                                                       per                 ence    attendants             that       echoed      the    concerns           of        for their enthusiasm


ceived        that this      year Haskells administra
                                                                                           the    club      it    excluded            many      active       members

tion was           removing         the    clubs       ability to self                     and included             students            who were not part of                         What was not answered were questions

elect    participants            and      was making                student                the    campus          organization                                                       regarding                the     legitimacy of the Student

selections              outside of the          club   regardless of                                                                                                                 Goverrunent                     Association             approving           the

active        club participation                                                           Concerns from students necessitated                                     further           sanctioning                 packet          that      included     AIHECs
                                                                                           meetings with administration                              The      results      of        policies             alluding to their authority to orga

AIHEC Club members were disappointed                                                       the   talks     created           explicit       outlines         for   student           nize and             oversee            Haskell         student partici

Many members who                        have      been       active       par              selection             Students           would be required                to              pation             at the       AIHEC           Student Conferences

ticipants          and     involved        in   previous            semesters              have    a 20 cumulative                      GPA as well as good                          This         raises the           question of whether                      the


and leadership               of the club         were concerned                            social   standing              considerations               would         be              student government                              has    the    authority to del

they     would be excluded from the                            list    of                  made for active AIHEC Club members and                                                    egate          to    a student organization                      the   authority


approved students                                                                          students        at     sophomore             status      or above                         to    oversee student                       interests         when funding
                                                                                                                                                                                     is   provided              by the administration who                             is



The AIHEC Club reached                            out to Jim Rains                         When pressed with questions                               the      admin                  wanting              the    most bang for its buck

PhD expressing their concerns                                 in a letter                  istration defaulted                   and answered              that     all




                                                                                      and vegetable plants a project
Uprooted                                                                                                                                                                                                                     not just be            embers in the
                                                                                                                                                                      in
                                                                                                                                                    currently                   yet their legacy                     will
                             Continuedfrom cover
                                                                                      the       planning          phase                                                         wind         It    is   our responsibility                   to    make     sure
Zachary        Arquette
                                                                                                                                                                                that    is   not        the     case        The      re purposing           of the

                                                                    wood              All       that remains            is     the    question on          the     re           ones      who have               looked           down upon            us   will
One     of the obvious              ways        to   use     the                 is


                                                                                      placement             of the        fallen trees or if             they should            without            a doubt            enrich our HINU
for fires       The        fire pit in front           of the Audito                                                                                                                                                                                  experi
                                                                                      be replaced                at all    Kimbrell            expressed the                    ence The framework                               for the     re purposing
rium can           directly      benefit         Some other ways
                                                                                      desire for there to be                        a geographic                                of decaying                           can be implemented                        in the
                                            firewood                                                                                                       represen                                        trees
the    campus            can use     the                       is   for   sweat
                                                                                      tation       of the        many          tribal   students        that attend             future       when          others           eventually meet             their
lodges and              even Native         American               Church
                                                                                      HINU          This         would         entail      reaching        out to               demise Yet it                        even        more important to care
                        was made clear that with collabo                                                                                                                                                        is
services           It

                                                                                      tribal      communities                  to potentially           have       trees        for the           ones     that are          still
                                                                                                                                                                                                                                      standing because
rative    planning           and predetermined                      intention
                                                                                      from various geographic areas Yet                                                         many times                           damage can be mitigated
the    wood can have                boundless           uses
                                                                                                                                                              there are                                   the                                                         or

                                                                                      also       many       native        Kansas trees that can be                              even avoided                  altogether              The next time you
                                                                                                                               trees would
For instance               some of the thicker                 logs are
                                                                                      propagated                 These                              have      the    best       come across                   a campus            tree      or any for that
          dried out so they can be turned
                                                                                      chance        of thriving                in the      clayey      soil   type of           matter remember                         to       embody graciousness                       in
being                                                                  into

                                                                                      eastern       Kansas After all much of the reason                                         their predetermined
drums Drums Kimbrell hopes can be                                      in    use                                                                                                                                            presence

                                                                                                                                     because
at    HINU         for years to         come He also antici
                                                                                      trees start to              decay        is                the     trees were


                                                                                      stressed in           some way Whatever                          the    decision              solemnly acknowledge                              Tyler Kimbrells
                                                                          some                                                                                                  I
pates    other          projects     that    could require

              be turned          into     lumber One proposed                         it   is    of utter importance                    we be mindful of the                    leadership               and planning                 in   ensuring these
logs to


project       is    raised    garden beds              for    medicinal               implications                                                                              trees     were          taken care               of in a     respectful         way
                                                                                      Overall         it   is     sad   to      see our      elders      leaving




                                                                                                                                                                                                                                                     U SA000578
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Red Racism                                                                                        students           Stegman and                 Phillips       say that     mas            2020 Career Fair
                                                                                                  cots    create        cultural          bias    from these derogatory
Jared Nally myaamia                                                                                                                                                                         Jared Nally
                                                                                                  and stereotyped                  images representing                  Na
                                                                                                  tive   Americans                 this affects          views       of Native
Red racism                is   more than               just    a football          game
                                                                                                  Americans             both past and present and                        affects
       its     systemic           and       the    attitudes             of profes
                                                                                                  students           education             surrounding           Native      Peo
sional         sports       teams and              fans       are    an indicator
                                                                                                  ple This warping of historical contexts grows
of disproportionate                        racial       issues Native               Ameri


                                                                                                                                                                                                                                   jrA
                                                                                                  up    from a playground                    prejudice          to   prejudice

                                                                                                                                                                                                                                                                   R
cans      face outside                of the       stadium
                                                                                                  being fought               in the        courts in the         workplace             in


                                                                                                                              and                               Natives
                                     National                                      Amer
                                                                                                  the    stadiums                    in the       streets                     are the                                              F1
According              to      the                       Congress of
                                                                                                  last race          to still      receive        this   type of overt           rac
jean      Indians website                      the      NCAI         has been
                                                                                                  ism in sports and                        shows        in racial     statistics
                                                                                                                                                                                                                                   J11                 Fi
                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                  lei2110


                                           use of Indian
                                                                                                                                     it


                    against       the                                      mascots
fighting                                                                                                                                                                                            One      of the   representatives         at   the Haskell      Career Fair

since        it     launched         its    campaign               efforts       in    1968                                                                                                                                                             Photo by Jared Nally
                                                                                                  While racial               disparities          show up across the
Fiftytwo years later tensions                                      are   still    high
                                                                                                  board the most significant                             statistics    are   those
                                                                                                                                                                                            Over 30 businesses and organizations
between Native American                                  communities                   and                                                                                                                                                                          made an
                                                                                                                 to    public        safety        Public                prob
Kansas Citys football                           franchise            who                won
                                                                                                  relating                                                      safety
                                                                                                                                                                                            appearance           at the       2020 Haskell Career Fair
                                                                                 just
                                                                                                  lems     are largely             caused         by non natives             a
                                                                                                                                                                                            The event included                                 a resume
the     Super         Bowl                 fans    were dressed                  in    insult                                                                                                                                   raffles                            contest
                                                                                                  direct    result           of prejudice          coming        out of the
                                                                                                                                                                                            and                                                The booth setups
                                                                                                                                                                                                   a best dressed              contest
ing     costumes               including           redface           and partici
                                                                                                  stereotypes and dehumanization                                 of Native
                                                                                                                                                                                            contained           a wide                   of occupations                   and
pating         in    demeaning behavior                            Celebrating              a                                                                                                                                variety

                                                                                                  people
win theyve been waiting 50 years for while                                                                                                                                                  organizations              that   gained student                interest


were still            waiting           for    ours
                                                                                                  Native        Americans                 have    a higher       rate of     death
                                                                                                                                                                                            One booth had a message                           that     both graduates

                                                                                                  among         police          shootings than any                other      race
The NCAI has seen the bigger                                       picture         sur                                                                                                      and undergraduates                     could appreciate                 Kathryn
                                                                                                  according            to    CNN                                                            Holler           PhD Director               of Community                 En
rounding             mascots            something              few fans are
                                                                                                  Counties consisting                       of a majority of Native
willing to            see      now The publication                         Touch                                                                                                            gagement and Diversity Outreach                                  for    Har
                                                                                                  land and subject
                                                                    they have                                                                                                                                                                                             You
                                                                                                                                    to    federal jurisdiction             for
down Wire              credits          fans saying                                                                                                                                         vard University               wanted         to    tell
                                                                                                                                                                                                                                                       students
                                                                                                  homicide             are      reported         by the Department               of
                                                                                                                                                                                            shouldnt
no    issue with               the controversial                     Airowhead                                                                                                                                 let    your    financial            situation      dictate

                                                                                                                      have        rates for homicides                 of Native
                                                                                                                                                                                            your dreams
                                                                                                  Justice       to                                                                                                     The lesson is that                                 fund
chop These                                                                                                                                                                                                                                                  there
                               fans     fail      to                that this                                                                                                                                                                                        is
                                                        grasp                          single
                                                                                                  American women up                               10 times higher than
                                                              problem with Na
                                                                                                                                            to
action         is                     of a larger                                                                                                                                           ing    to   provide        education         to    Native            students
                    just part
                                                                                                  the    national           average
tive    Americans                 being negatively                   stereotyped
                                                                                                  The DOJs 2008 report says Native                                    Amer                  Havards            endowment income goes directly to
being        dehumanized                    and having               culturally             sig
                                                                                                  ican women                 are   significantly               more likely                  student                  aid which can provide a full
                                                                                                                                                                                                             financial
nificant            items and customs appropriated                                     This
                                                                                                  to                                      in their lifetime at rates
                                                                                                       experience             rape
affects           Native       American                communities                in                                                                                                        ride    scholarship              including         housing for Native
                                                                                       very
                                                                                                  higher        than both White                  and African          American              students                               Harvard            for their     under
measurable                ways                                                                                                                                                                                accepted        to

                                                                                                  women                                                                                                                  School of Engineering                       and
                                                                                                                                                                                            graduate          in the

                                                                                                  According             to    a    2016 report from Urban Indian
Erik      Stegman              and    Victoria Phillips reported                                                                                                                            Applied Sciences                  Harvard          offers        extensive
                                                                                                  Health        Institute          only      002 of reported cases                                                                            for Native
                               for American                                                                                                                                                 other financial            aid
for the           Center                                                         that                                                                                                                                          options                             Students
                                                              Progress
                                                                                                  of Missing and                   Murdered Indigenous                   Women              this also         includes a graduate program that pays
stereotypes created                        by these mascots                      create
                                                                                                  and    Girls        were logged                into    the   DOJ system                   Native       students        in    Science         and Engineering
hostile           environments                 for Native           American
children            and                                                                                                                                                                     Thats pays students                         not just having              tuition
                            these      mascots negatively                          affect
                                                                                                  All    acts    of red racism               are
their     selfesteem and mental health Their ar
                                                                                                                                                    significant
                                                                                                                                                                                            paid for Harvard                  has    also     come out with a
                                                                                                                                                                                            law school scholarship                      and    many of the other
ticle     Missing the Point                            credits       suicide           as

                                                                                                                                                                                                               schools        offer their own                forms of
the    second          leading          cause          of death          for     Native                                                                                                     discipline

                                                                                                                                                                                            financial         assistance
American youth ages 15                                  to    24          a rate that

is   25      times higher than                     the       national       aver
                                                                                                                                                                                            The career fair offered many options                                          stu
age This                                                                                                                                                                                                                                                           for
                      is    the      highest           rate   among          all    ethnic
                                                                                                                                                                                                                                                                    dream
groups according                      to    the    NCAI                                                                                                                                     dents       to   start their      next      steps       or begin

                                                                                                                                                                                            ing of the         future              a future        that     doesnt need

These                                                                nonnative                                                                                                              to be       limited to       what they can pay for today
              mascots           are also affecting

                                                                                                                                                                                            because          there     are    options     out         there for      them




                                                                                                                                                                                                                                                                 U SA000579
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                                                                                                          head coach                                                                 3 Tanner described the atmosphere
Fightin Indians
                                                                                           Haskells                                 and    another of their                   ary                                                                              of that

                                                                                           players      knocked Macaulay                    Brown         the     assis       game      as really         good on both sides but                              neither
Jared Nally
                                                                                           tant    coach       to     the    ground Both coaches                  were        team wanted            to   lose        The game was close

                                                                                                                                                                                                                                                               6160
ESPASIOLA NM December
                                                                                           trying to      stop        the    fight                                            with Haskell           edging out             the    Eagles          in a
                                                           15         Tensions
                                                                                                                                                                                             In not      winning        the                        showed
were high           last   semester at the Northern                         New                                                                                               victory                                              Eagles
                                                                                           Haskells       own Fightin Indians got their                                       great poise said            Tanner
Mexico         College and              Haskell       Indian Nations
                                                                                           share    of penalties too                 thirteen      in total       Num
University           mens basketball game Through
                                                                                           ber    11 Gino Tones was suspended                              for the
                                        game players
                                                                                                                                                                              Inter nation al
out the        course of the                                       from both
                                                                                           remainder         of the         season numbers 2 and 3
sides racked                                                       fouls
                        up over
                                        five   technical
                                                                                           Robert       Wesley and             Tristan      KeahTigh were                     Jared Nally
Ryan Cordova Northern                          New Mexicos ath
                                                                                           suspended           for 5    games no            5 Edward Cham
letic      director        said that      by the second                half        a
                                                                                           bers was suspended                      for   two games no 10                      How many institutions
loose ball         was enough                                                                                                                                                                                          can boast over                     150
                                          to set the            players      into      a

                                                                                           Bryon Elledge was ejected from the game                                            nations        attending      their university                   Acting
fullfledged             fight    according           to    an    article     in the


Santa       Fe New Mexican
                                                                                           for two      technical           fouls     and suspended             for           President           Dan Wildcat PhD frames Haskell
                                                                                           one    game and players                    14 12 14 15 20                          Indian  Nations University as an inter na

Ted Breidenthal commissioner                                for the        Asso
                                                                                           21     and   23     Elias        Her Many Horses Antwon                            tion   al institution made up of the diverse
                                                                                           Winn        Justin       Curley         Kobey ORourke                  Rue         tribal   nations        of Haskells students
ciation      of Independent               Institutions             qualified
                                                                                           ben    LaSarge           Jordan         Goodwill        and     Xavier
this    event      as the       worst     hed        seen       in his      13

                                                                                           Littlehead          left    the    bench       during the                  and
years working              for this       conference              He did                                                                                   fight              Haskell        is   looking       to   add     to    student diversi

                   commend some of Haskells ath
                                                                                           were suspended                   for one      game Player no               14
                                                                                                                                                                              ty through           an exchange          partnership                 with Te
however
letes      and coaches           for their behavior                in trying
                                                                                           for    Haskell      was also reported                  as   leaving     the        Whare Wananga o Awanuiarangi The                                            Mao
                                                                                           bench       but did not           show up on the             roster                                                               This partnership
to   stop    the     fight      Haskell        players          22 32 and                                                                                                     ri   Indigenous         University

                                                                                                                                                                              would         include                          program for Haskell
40 Aspen LaPointe Albert Dean                                     and Robert                                                                                                                             a graduate

                                                                                           A joint statement was released by the head                                         students        Te Whare Wananga
Beaulieu          were recognized                for being            on    the                                                                                                                                                     o    Awanuiarangi
                                                                                           coaches       from both Haskell and Northern
court                   the              and not participating                                                                                                                already has partnership                   programs              with        other
           during               fight
                                                                                           New Mexico               with a subsequent                  statement              schools and                                    add Haskell
                                                                                                                                                                                                    is   looking       to                                to that

                                                                                           by the Presidents of the Universities These                                        framework
The game ended                   with    8   minutes and              15    sec
                                                                                           statements do not                 condone        the    actions      of
onds       left    The clock stopped as players                             left

                                                                                                                    and address policy changes                       and
                                                                  The scuffle
                                                                                           their players
                                                                                                                                                                              University professor and                       Chief Executive                     Of
the bench          to   join their teammates
                                                                                           procedures          to     ensure       proper behavior           in    sim        ficer    Wiremu                         from Te           Whare Wanan
necessitated            police        escorts for          Haskells          safety                                                                                                                   Doherty
                                                                                           ilar   situations          When         asked    more about these
to   leave     campus however                    no       police      report                                                                                                  ga o Awanuiarangi                 visited       the       campus and
                                                                                                         Haskells Athletic Director Gary
was filed          says    the    Santa      Fe New Mexican                        A       policies                                                                           met with Haskells President                           Vice President

                                                                                           Tanner       said that       Coach Downing                   was doing             Academic
video of the            fallout       was reviewed by the                     A1I                                                                                                                 Deans and           the    Haskell           Foundation

                                                                                           a great job         with     the    players meeting              all   the         Director
which        set strict       penalties        for the          teams
                                                                                           requirements             of both        the    AII conference and
                                                                                           Haskell       He was             also   noted    as utilizing          this        The day ended with a presentation                                         Tom
    was disappointed with how                                                                                                                                                                                                                      in
I                                                     the       Northern
                                                                                                                      more than just punishment                       but a
New                                                                                        experience                                                                         maney Hall Doherty outlined
                                                                                                               as
           Mexico                                                                                                                                                                                                                       the                       and
                          team both coaches                     and                                                                                                                                                                           political
                                                                       students
                                                                                           tool    for training
handled        the      situation       said Breidenthal                   A total                                                                                            social      issues the       Maori have had                     to   overcome
                                                                                                                                                                                   have     Te Whare Wananga                       o Awanuiarangi
of    11   players        from the Northern                 New Mexico                                                                                                        to

                                                                                           Initially     the    AII required Haskell                     to forfeit
                                                                                                                                                                              as their university               and    for    it   to   serve           the    needs
Eagles       were suspended                  Three of the             play
                                                                                           their next     two games That was                       later    rescind           of their community                                    also
ers    were suspended                  for the   remainder              of the                                                                                                                                   Doherty                      highlighted
                                                                                           ed but by that time arrangements with the                                          the    similar narratives               both Native             Americans
season         three      more suspended                  for five      games
                                                                                           other teams could not be undone                              After for             and           Maori
and            were suspended
                                                                                                                                                                                      the                face   as    Indigenous              People
        five                                   for    leaving the bench
                                                                                           feiting      two games Haskells first                        game back
during       the    fight     which       required a one game
                                                                                           was going         to     be a home court rematch                     against       This opens           up many opportunities                       for       stu
suspension
                                                                                           Northern       New Mexico                  College            a show        of
                                                                                                                                                                              dents       especially       those studying                 Indigenous

                                                                                           sportsmanship                                                                      and American Indian                     Studies who              can explore
While reviewing                  the    tape     Breidenthal               not
                                                                                                                                                                              a broader           sense of what              means to be Indig
                                 New Mexico                                                                                                                                                                             it
ed    that   one North                                      player         tried
                                                                                           Both teams were no less than professional                                          enous
to   throw        a punch        at   Matthew         Downing               Jr
                                                                                           when they came head                      to   head again on Janu




                                                                                                                                                                                                                                          U SA000580
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Emotional Support                                                                         Student Retention                                               and                            Whats                        the Difference

Animal Spotlight                                                                          Attraction                                                                                     Delila            Begay

Joe Singh                                                                                 Joe Singh
                                                                                                                                                                                         Darla Harrison College                            Residential          Assistant

                                                                                                                                                                                         was attacked                  by an emotional                support       dog at
Brown Sugar                                                                               To keep            students           at   Haskell         until        they     com
                                                                                                                                                                                         OK hall but generally ESAs at Haskell                                         Indian
Brown      Sugar was adopted out of Layton                                        OK      plete    their           two year or fouryear degrees                                I

                                                                                                                                                                                         Nationa            University             are    not    a problem and              are
in November               2017            She     currently           resides at          would recommend uniting student                                           life    and
                                                                                                                                                                                         welcomed                if   you     need       them They are howev
Roe Cloud Hall and serves                             as an      emotional                offering a           wider           variety       of bachelor                 degrees
                                                                                                                                                                                         er     a responsibility for                     those    who have them
support animal                 to       her owner          Brown Sugar                    In   order         to attract             students here until                   their


helps her owner                 control         anxiety         and     depres            graduations               I    would suggest having                            a Masters
                                                                                                                                                                                         ESA stands                for      Emotional Support                 Animal
sion     Brown            Sugar          is
                                              very    sweet as her name                   Degree            program Changing                        the       name of the
                                                                                                                                                                                         people            who have           mental health             issues      use
states    but       is   also       very protective               She        likes        school and admitting Polynesian                                         and Maori
                                                                                                                                                                                         ESAs to             comfort them and help                          them    feel
to   play hide and              seek and go             outside but her                   people            These            are    seine        far out      ideas        but out
                                                                                                                                                                                         better        Whether              its    from social anxiety pan
favorite      thing is          to      cuddle with her morn                      She     of the box thinking                         is
                                                                                                                                           good
                                                                                                                                                                                         ic     attack      or    separation anxiety                   the   ESAs         are
is a   very    private          chihuahua             and       does not get
                                                                                                                                                                                         there        to   help       the    person calm              down In order
along with other animals                            very well           Her fa            Student                                          Many         people have
                                                                                                                          lonely                                                  seg
                                                                                                            life    is

                                                                                                                                                                                         to     get   an    ESA you must have                         a condition         that
vorite   food        is   chicken              especially        from Chick               regated           into    groups and               small cliques                  some
                                                                                                                                                                                         requires           one Then youd need                         to get      a letter
FilA                                                                                      of which           participate              in    damaging              activity         As
                                                                                                                                                                                         from your doctor                     or therapist            for   Dr Perry
When      interviewing                   Brown       Sugar        I    noticed            such     there           is   not     a uniting          thread         amongst stu
                                                                                                                                                                                         Graves            He is the one that will                     see if   all   the     pa
she    was wearing               a pink         sweatshirt            that   read         dents         I    would suggest an increased amount of
                                                                                                                                                                                         perwork            is   correct          Dee Hernandez has a cat                       as
mommys               little
                                princess and                I
                                                                thought        that       school sponsored events                                like   concerts            proms
                                                                                                                                                                                         her Emotional Support                           Animal She has stated
was funny           as    it   described            her personality               As      and parties

she
                                                                                                                                                                                         that her          cat        Sasha       helps to calm me down
       sat nestled             next      to   her    owner I could not
                                                                                                                                                                                         and helps           to talk         about       serious       topics
help but       feel that            I   was    in the      presence          of           Subsequently                    offering          more bachelors de

royalty        If   you happen                 across      Brown         Sugar       on   grees    would be progressive                                 We have En
                                                                                                                                                                                         ESAs are not commonly talked about like
campus         be sure to approach her slowly and                                         vironmental               Science                AIS Business and
                                                                                                                                                                                         service           animals          are    ESAs and            service      animals
gently    as    she       is   a precious and               valuable          service     Elementary                Education                I   would prescribe
                                                                                                                                                                                         are     very different
                                                                                                                                                                                                                                  service     animals        are    DOGS
animal         She       likes          Haskell      and    we like her              If   more programs                       that cater to          the sovereignty                of
                                                                                                                                                                                         that are                            trained       to
                                                                                                                                                                                                           specially                             perform tasks            that

you see any service animals on campus please                                              Indian     Country like health                           care       and       medicine
                                                                                                                                                                                         benefit a          person with              disabilities           Although
be    respectful          as    these         special   creatures            serve        biological           science               and    technology
                                                                                                                                                                                         ESAs and Service Animals may seem                                          similar
more purposes than we know                                                                We could be leaders in health                                  care       if   we ex
                                                                                                                                                                                         they receive                 different      treatment          from business
                                                                                          ercised           our sovereignty                 and      capital             stern cell
                                                                                                                                                                                         es     and    people Service animals                          are   allowed
                                                                                          research and application regenerative                                            medi
                                                                                                                                                                                         in buildings                 and businesses while                   ESAs are
                                                                                          cine and           DNA manipulation could be some
                                                                                                                                                                                         not always              allowed           in This       is   because       service
                                                                                          degrees            Offering Masters Degrees                                would be
                                                                                                                                                                                         animals           are     specially         trained      for their        own
                                                                                          key    in the        longevity              of a students                education
                                                                                                                                                                                         ers Since Service                        animals       are   working         when
                                                                                          Additionally                  it   would         also create            stronger and
                                                                                                                                                                                         with     their owners
                                                                                                                                                                                                                              you       are   NOT allowed              to
                                                                                          more prominent                       leaders
                                                                                                                                                                                         pet them they will                       see    you     as a threat        and     act

                                                                                                                                                                                         to protect          their       owners           An ESAs owner will
                                                                                          The name of the school is dated                                         We should
                                                                                                                                                                                            you if you are okay to pet their animal
                                                                                                                                                                                         tell

                                                                                          drop     the       Indian                and replace           it   with Indige
                                                                                                                                                                                         Remember ESAs are not service animals they
                                                                                          nous      1       think       it    would improve moral and help
                                                                                                                                                                                         are for comfort                    and    care    for the                    that
                                                                                                                                                                                                                                                        person
                                                                                          bring our true identities                          back         Then           we could
                                                                                                                                                                                         owns them
                                                                                          allow students                     like    Polynesians              Canadians

                                                                                          and    transfer           students from Indigenous                               commu
                                                                                          nities   here



                                                                                          We are The               People and should                       be     all     inclusive

                                                                                          If   Haskell         wants           to    changethen               I   believe      some
                                                                                          of these          suggestions               will       be helpful




                                                                                                                                                                                                                                                             USA000581
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The Unsung Heroes                                                         of                       get    to   work       Sometimes           the      weather does not            I    have   never been disappointed                             with        a Curtis

                                                                                                   permit       classes    to   be held and these                 essential        Hall breakfast                and      I   have         these    special         indi
Curtis Hall                                                                                        staff members           brave the          elements so          we may          viduals      to   thank        for that            The food               at Curtis is

Joseph Singh                                                                                       be nourished                                                                    diverse       abundant                and    made with love The

                                                                                                                                                                                   pizza always            hits         the   spot         along with           side

Being       hungry               sucks        I   am grateful                 for the              A great many thanks                 is   owed        to   Margaret              dishes      like mozzarella sticks jalapefio                                     pop
Curtis Hall                           and               food they prepare
                           staff              the
                                                                                                   Wermy Colin Medicinehorse                             Cheryl Gilles             pers and          mashed potatoes                        I    could not ask            for

In my life             I   have       gone without                    I   have       stolen        pie Richard          Allen Henry Pohocsucut                            Jason    more        There       is    so     much on the Curtis menu
food      and eaten out of the                           trash Life can be                         Pat    Thompson          Nia Schnexider                   Debbie       Grif     that   is   delectable           and delicious                   The        desserts

hard and          the        world can              get     cruel         I    am all       the    fin Roberta          Kay and Barbara Stumblingb                          ear    are to die        for     I
                                                                                                                                                                                                                  give        special praise                 to the    mag
more appreciative of having                                      a hot        healthy and          for    always    making            us   feel   at   home I know                 ic   bars better than sex                          cake         and       dirt   pud
                  meal            at Curtis Hall
                                                                                                                                           many a dark day for me
                                                                     For someone                                                                                                                                 some evidence
                                                                                                   they have
delicious
                                                                                                                   brightened                                                      ding        There    is                                        for the       freshman

that     does not have a home                               at least          I    can enjoy       personally Many               are       people behind          the     scenes   fifteen     myth and            it    has    to    do with           the    excellent
what I feel                is   the    best       home cooking                      in    Law      that    we never       see Nonetheless                    they do      their    spread that         Curtis Hall              produces

rence                                                                                              part for      us cooking            lifting         opening and                               Just      writing            this article          has       made me

                                                                                                   cleaning       are   not     the   most luxurious of tasks                      very hungry             and you            know what                  I    am head
One of the                 best   aspects           of Haskell                Indian               but they do          them and they do them                     for us                                                now            am trying to lose
                                                                                                                                                                               I   ing to      Curtis right                       I


Nations         University               is       the    Curtis Hall                cuisine        think       sometimes        as    students         we forget      these        weight but they make it                           difficult          to   only stick
and      their stellar             staff          The workers                 in Curtis            saints      of scrumptiousness                 Our lives       are     so       to the      salad bar          Thank you                  Curtis Hall staff

Hall do not                get    enough credit These people                                       focused       on working            studying and succeeding                     Keep up the          great           work          It    is   noticed

have      been         working              cooking              and serving                for    that    we forget that some of the loudest                           voices

many years They have                                the                        down                                     on are the same ones
                                                            recipes                        to      cheering us                                                that fill    our

a science             They         arrive         on     campus            around          5       bellies

am when most of us are                                  still    asleep and                they




Athlete Recognition
Jared Nally


Over      the     break Haskell Indian Nations

University student                      athlete          Nakia            Hendricks

was recognized                     as the         Association                 of Inde

pendent         Institutions                player of the                     week        for

the     week of January                     6 Hendricks                       previous

weeks score and rebound high was against
Northern          New Mexico                       college with                    16 points


and      22 rebounds along with the                                   win Haskell

also     played Wilberforce                         University                    that week


bringing Hendricks average                                       for the           week     to


155 points and 145 rebounds


Haskell         Athletics             also        recognized              Antwon

Winn and           Justine             Butterfield               both         as   a Hakell

Athlete         of the          Week Winn is credited                               with

leading

previous
                the        Fightin Indians

                  week and contributing
                                                                in   points

                                                                      to
                                                                                    the

                                                                              Haskells
                                                                                                                          WHEN YOU WANT FRY51ZEAP
                                                                                                                        BUT YOURE                                                      AT GOOKIN6
win against Crowleys Ridge College Butter
                                                                                                                                                                          f3AP
field     was recognized                    for         her contributions                   on

the     field     as       well    as   her soon to be                    status          of the

first
         triple       sport athlete                Haskells               had since

                                                                                                                                                                                                                  Comic        by Jared         Nally




                                                                                                                                                                                                                                                  U SA000582
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Haskell Horoscopes                                                                            surprised           by the          relief     you feel

JOE SINGH                                                                                                                                                                                        Libra

                                                                                              Gemini                                                                                             Sept 23             Oct         22

Aquarius
                                                                                              May 21                  June       20                                                              Take    time for yourself Libra                               Binge       watch

                   Feb 18                                                                     Hey Gems you are looking                                   good Keep on                            shows     you have been wanting                               to   see read that
Jan 20
                                                                                                                                                                                                 book you have been yearning
Happy          New Year Aquarius                              You have done                   top of your health                       Working            out and being                                                                                        to read      or write

                                                                                              physically active                    will     help         you   through       the   last          that   song       that has           only been           in your          head      Be
well      Though                large tasks             are   at    hand you
                                                                                              winter months                      Get good           at                                                                                       have        earned
have     what         it   takes        to   do    it     You have leveled                                                                                racquetball                            good    to   yourself                you                             it



up Be smart intelligent and compassionate
                                                                                              Cancer
with your new gifts Do not forget with great                                                                                                                                                     Scorpio

                                                                                              June 21                July 22                                                                     Oct    23         Nov 21
power comes great responsibility                                       Congratu
lations                                                                                            am so happy for you Cancer                                   The universe                     Time    to get          back         to   work     Scorpio               Time to
                                                                                              has blessed you with                          abundance            we hope you                     earn your next adventure                              You can do            it     Be
                                                                                              notice      it    and        are    grateful             Everyone        watching                  gracious and kind                     to others as            you charge
      Pisces

Feb      19         Mar 20                                                                    is   so proud of you                     Keep         it   up                                      ahead

You have done well as well Pisces                                          You have

          your emotional                     canteen           and                                                                                                                               Sagittarius
filled                                                                are   ready

for big        moves Be diligent and patient Your
                                                                                              Leo                                                                                                Nov     22         Dec 21

future        is   unfolding before                     your very          eyes
                                                                                              July 23          Aug 22                                                                            You will obtain advanced                            knowledge              this

                                                                                              Some people in your life                             might not be          at   your               month Sagittarius You feel ready for the                                           tests


Aries
                                                                                              level       Do not be afraid                    to politely         move on                        to   come         Trust your feelings                      and be excited

                                                                                                                                                                                                 Your growth                          hand        You are ready
Mar 21 Apr 19                                                                                 from toxic             relationships                or     any relationships                                                is     at

                                                                                              that are         not        in line     with    what you want                   Do
This     is   your month                 for      love Aries           Look       for

                                                                                              you know               what you          want
the    one     who         sees the          true       you Do you know                                                                                                                          Capricorn

who      that      is       Make sure you                     are   ready because                                                                                                                Dec 22             Jan     19
                                                        on its way                            Virgo                                                                                              Alright      Capricorn time to put your money
worthy companionship                              is

                                                                                              Aug 23                 Sept        22                                                              where
                                                                                                                                                                                                           your
                                                                                                                                                                                                                         mouth is           that     is   to   say match your
                                                                                              Careful          with your emotions                        Virgo they cannot                       works     with your big talk                          Take           advan
Taurus                                                                                                                                                                                                                                                          every
                                                                                              be replaced once hurt only grown                                    back         Be                       for aid                               and        Pisces
Apr 20              May 20                                                                                                                                                                       tage                     Aquarius                                   are   especial

Get a head            start Taurus                  Focus on the
                                                                                              on the lookout                    for energy         vampires         and      see                 ly helpful        this     month             Do not get frustrated
                                                                             ability

      do things                  soon as they                                                 people        by the works they do Refuse                                 to    be                 remember           that       everyone           is     on your side              Have
to                         as                             are       given   to    you
                                                                                              deceived                                                         from your past                                 of humor this                 month
Do not wait The universe urges you to stay                                                                           It    is   alright to learn                                                 a sense

                                                                                              Do not repeat                 mistakes
on top of things and you will be pleasantly



Steps Towards                                                                                                               September of 2014                                             by
                                                                                                   founded           in                                          and   is    funded                                                                                                75777


                                                                                                   the Equity grant from the National                                  Institute       of

Sustainability                                                                                     Food and Agriculture                           Joe     Brewer       Bill    Welton
Luisa Garcia                                                                                                                                                                                                                                           40
                                                                                                   and Megan Fisher were all                               advocates         for its    start                                                               faNi
                                                                                                                                                                                                                                                    IL


                                             5
                                                                                                   up
Americans             make up                      of the       worlds popu
                                                                                                                                                                                                                                                                    4abd
lation    and        consume             26 of            the      worlds energy                   Since             beginning               the                              Program
                                                                                                                                                    Sustainability                                                                9Risffa
                                                                                                               its


according            to    Point Park Universitys                          Fun Facts
                                                        5
                                                                                                   has    built a          greenhouse and research vegetable
about Sustainability                                            of the world goes
                                                                                                                                                                        program The
                                             Just
                                                                                                   garden        as       well    as   began        a recycling
               26 of
                                                                                                                                                                                                                                            Lalim

through                           the    total     energy Ouch thats                               program has                  also been          collecting      recyclables              at                                                                      eMo

hard     to   read isnt it               As reported from the                      US              events       like the          art market             or powwows            In   addi
Census         Bureaus website                          in the      United       States
                                                                                                   tion student                 interns      have        been hiredto manage

alone     the        college and                                    population          was              the work                                        The longterm vision

                                                                                                                                                                                                                                                  47
                                             university                                            all                          and services                                                                       171 141awul


                                             2018 As college students                                                                                                                                                    =irr11410
199 million as of fall                                                                             of the program                 is   to    grow        in    understanding           of                      I   =
Dur daily choices                     will   accumulate               to   make a                  what     sustainability                  and    environmental              resilience                           FZI



momentous mark on the planet Here at Haskell                                                       means on Haskells campus and to meet those
                                                                                                                                                                                                                         Pr
                                                                                                                                                                                                                   gEd
                                                                                                                                                                                                               r




                                                                                                                                                                                                               ICM nvrPa
there    is    the    Sustainability                   Program        to    help    the
                                                                                                   needs
university           and        its   students           This       program was                                                                                                                                           =AI




                                                                                                                                                                                                                                                                      U SA000583
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                      EXHIBIT 3




                                                                         U SA000584
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                                          THE INDIAN LEADER
                                       HASKELL INDIAN NATIONS UNIVERSITY
        C1111111111                                                                              The       oldest       Native               American           student newspaper                                                                         April     13 2020




VPUS Tonic             Salvini       addressing students Photo                 by Zachary Arquette


HINU Pandemic                                                          may potentially             be      held     on      campus                 Indian        Leaders               current        impression             were     addressed           Students belongings

                                                                                                                                                   that     HINU has been the only universi                                  left    on campus           would be packed                 and

Response                                                               Further information                was     given      through               ty to offer financial assistance                        in   secur        recorded         Any       illegal
                                                                                                                                                                                                                                                                   items      would be

                                                                       the Vice       President       of Student            Services                                                   bus                 lodging           turned     over       to                         and       there

Summary
                                                                                                                                                   ing plane           tickets                  fares                                                    authorities

                                                                       who      addressed          students            who             were        and gas cards              among           other     travel      aid      would      be    no        student     writeups             with
Jared Nally
                                                                       on campus           for   spring break                directly              for students              Salvini       said       The Uni                the    exception       of possession              of weap

                                                                       In    her   addresses          Salvini         presented                a   versity      is    assisting        financially           with      all   ons      Packed        belongings             would         only
March          12         Haskell         Indian     Nations
                                                                       message        of student           safety      as    a        prior        the    arrangements              on all transpiration                     be     shipped    to students          graduating           this


University             students           received             their
                                                                       ity     Salvini     wanted         students          to        know                                                                                                   and not       returning in the
                                                                                                                                                                                                                             semester                                                    fall

first   of many directives                  from     the       uni     that    actions      were informed                                                               time Danielle McKinney
                                                                                                                         through               a   During        this


versity        regarding             their         COVID19             continued                               with the           Doug             who      was
                                                                                        partnership                                                                   coordinating              transportation               Students        were        also     instructed        to    up
                                          This      email
pandemic             response                                    set
                                                                               County         Emergency                  Response                  arrangements               had        collected           roughly
                                                                       las
                                                                                                                                                                                                                             date      addresses           and      file      electronic
into    motion         many          questions       and        fur    Team                                                                        30 requests
                                                                                    This    information                provided                a                            for    aid   at   that     time             9    fund     transfer requests                with       the    stu
                                                                       safety window
ther    university           policies        to    act    on    the                              for student           travel               that                and     21
                                                                                                                                                   flights                        ground        transportation               dent bank        to    assist      with       financial      aid

changing            climate          of   the      pandemic                                                        identified                      That        number                                 after      the    3
                                                                       later
                                                                                public      statements                                        as                             quickly          rose                           and      student           work      payments               Stu
                                                                       of    March         17 where            until    then                stu    oclock            mandatory            student          meeting           dents     were        also       directed       to    update
The     email         extended         spring       break        an    dents       could    return        to
                                                                                                                campus                to
                                                                                                                                             get   later    that      day     Additional              funds      were                                               with
                                                                                                                                                                                                                             forwarding            addresses                   the       post
                     week                                      Uni                                              safety window
additional                                           the
                                  providing                            their    belongings            This                                         given       by     the    Haskell          Foundation            and      office    and    direct              additional
                                                                                                                                                                                                                                                           any                          ques
               time     to    create       the     infrastruc
versity                                                                was coupled           with         a    strong       message                Student           Government            voted        to      donate       tions     to     HINUs             new        information
ture      to        continue          courses            through       that    students      who       were       home                             their       remaining            $20000            in     student
                                                                                                                                  during                                                                                     line     phone        number           7858302770
distance         learning            This       email      origi       spring      break     should           remain        at    home             funds        to    help        HINU          has    not       made        and       email              infolinehaskelledu
nally     intended           to   have      student        safety      and     that    students         should         work            with        itself      available          to     comment           on     how
reevaluated             after     several          weeks        po     the     university        to       create       exit           plans        student           money         was        used      and       how        Contnued        on page      2
                 resuming            on campus             class       These exit                                                     make                                                                          aid
tentially                                                                                plans    were         created to                          many         students           received           travel

es        this      was      later    replaced       with       the
                                                                       sure students         had      a    safe    environment                     Students           were        able     to                    trav
                                                                                                                                                                                                 request
                that     distance                         would
message                                   learning                     to    return to     and to collect             students               fi    el    aid    up until          Monday March                   16th
continue         the    remainder of the                 semes         nancial      and personal              needs     for       HINU
        that    the     summer semester would
ter                                                                    to   assist in the students              return           It    is    the   Student            housekeeping                      questions
be      online          and       that      fall     semester




                                                                                                                                                                                                                                                                    U SA000585
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      2     THE             INDIAN            LEADER
                                                                                                            CAMtrig jefEWS                                                                                                                                               April 13 2020



Jude Thin Elk                                                            HINU          community                      with       this        devas         now         and     never           will       be      overlooked              memory of Jimboy                         his roommate and


                                                                         tating        news We                   can     remember and                      The     Haskell               family           is    proud        to           Jude just having                    good        time
Jamie Colvin                                                                                                                                                                                                                       say                                                               together

                                                                         never                        this time             of sorrow              but     he     was                                          himself while                                each others
                                                                                     forget                                                                               here           to    better                                     enjoying                                       company           while

                                                                         may bask            in the         wonderful memories                             proceeding               on        his    educational               path       walking           towards           Curtis           Hall        These
The       news of our very                    own         hits    tre

                                             Indian Nations
                                                                         of getting              to       know         this
                                                                                                                                 young        man                                                                                         memories that                 were         shared          with    this
mendously for Haskell
                                                                                                                                                           Jude         also    made                friendships               along       beautiful          soul       will       not        be    forgotten
Universitys                 community                but    direc

tions      towards                            and
                                                                         As    we know                    him Jude was                      here     at    the    way Many saw him as                                   a person          Jimboy        says        I just hope that                       other
                              healing                 rejoicing
                                                                         HIN1J         to    pursue          his       education              When         always                              and         laughing               Cur     people       got to see         Jude           for who       he was
need       to   be        lionized      On March                 16th
                                                                                                                                                                          smiling

                                                                                                                                                                                                                                  Jade                                        and        he
2020       the       HINU        campus         experienced
                                                                         being         accepted              into        this         university           rent    student           Trey           Jimboy             says               before       passing                                     wishes    for

                                                                         you    are     not       only       becoming                 a student            was     someone                he        could        always           talk                       to   remember that he was
and       received           word       of what            no     one                                                                                                                                                                     everyone

                                                                         you    are     becoming                  part      of the Haskell                 to     and        about            anything             They           met    just    a     kind        relaxed           person           who     al
wishes          to    hear our beloved                     relative

                                                                         family This                  cohort           of a      family will               when         Jimboys                 roommate                 brought          ways       seemed         to    be                          or   smil
and       Haskell           student      Jude        Thin         Elk                                                                                                                                                                                                              laughing


                                                on                       always have                  a place           for every            HINU          Jude         over         uniting              them          together          ing    and not letting               things          get    to   him
suddenly              passed         away                 campus
                                                                         student        on        their      journey              Judes            de

The                                 created          an
                                                                         termination              towards               self growth                and     Jimboy goes on to                        explain his          memo             May          Jude          forever              be         rejoiced
           catastrophe                                     uproar
                                                                         gaining        knowledge                     as a student            is   not     ries    and best moments                            with Jude one
and       sadness           sweeping           through            the




When Home Isnt                                                          sage     during the travel                      safety         window             now          HINU          is       also    home         for others            mised         or    having            a    family           member


Home
                                                                        students        were              required to            create       trav        during        this    time for various                        reasons          who      is    and       travel           exacerbating              the

                                                                        el
                                                                              safety         plans          Tonia           Salvini           Vice                                                                                       potential           of    infection              or        return    to

Jared     Nally                                                         President           of University Services                                told    Though          each           of these               students          has    hotspots           Health       safety           is   also    a   con
                                                                        students        that         if    going        home wasnt an                     their        own      personal              reasons            for       re    cern for those            coming from non reser
Haskell             Indian       Nations             Universi                                                                                      on                          on                                                                      communities                   Without
                                                                        option that              they       should          write        that             maining                         campus                 the      public         vation                                                        access

ty recently            came under             fire    after       re    their travel             plans           HINU administra                          should        understand                   that       many         break       to Indian Health                Services              they    would

leasing         a    statement         documenting                an    tion did not             make themselves                      available           the    mold of teenage                      college           students         not    have        access       to    healthcare             for    ex
on campus                  students           self reported             to    comment                 on    how         many           students           who      have        families              to    return        to       For    isting health            conditions              or assistance

positive            test    result     for     COVID19                  remained             on       campus            but      the        Indian        some         students               being        evicted        would          in the event            of a COVID19 infection

The       public           wanted        to    know          why        Leader         estimates                 that    number              to    be     mean         being         homeless                   the     Haskell

these students              werent        home              when        less    than         10 of enrolled                            students           community                 is    the        only         family           for   The COVID19 pandemic                                  is
                                                                                                                                                                                                                                                                                                    exposing
weeks       earlier          HIN1J       provided            both                                                                                         some And              in        others               their    families         all
                                                                                                                                                                                                                                               types        of privilege             While           students

financial           and personal          support          to     get   HINUs               pandemic                  policies          human             may be toxic                   containing              abusive           re    remaining on campus have                                  great   grat
students        back        to   their    families           This       ized     its    students                 in    creating          a    pro         lationships           and           dangerous            situations            itude    to    HINU and its                     faculty for         al

also   comes           during       Kansas mandated                     cess    that        was meaningful                       to the       safe        involving            drugs            and            other       safety        lowing them              to    stay       when many uni
stayathome                  orders        So    what         does       ty    of each            student              and     for      some         it    risks        Student            safety           considerations                versities      evicted          all       of their         students

home mean for these students                                     and    wasnt          being              sent        away            One         stu     dont          just         surround                    COVID19                 community                members should                      realize

why arent              they      with    their       families           dent 69         years old                 and in         the     vulner                                                                                          there   is    a privilege            in having             a safe al

                                                                        able     category                  for     COVID19                    said        For      others           there        were            health        con       ternative      to return         to       other than         HINU
First      to       contextualize            HINUs           mes        Haskell             is   a        good     place         to    be     right       cerns        either       being           immune compro



Continued from cover page                                               ing     on      campus                   Campus                facilities         Gipp         addressed              her     concerns            to      the    communicate                   with        all   students          rath

                                                                        adapted         to       the       challenge             of self iso              administration                      We          have          students         er than       relying           on    word of mouth

However              students         were     not        evicted       lation       Students               were        moved            to       sin     out     in    Indian           Country               hearing       from

from the campus                  as many institutions                   gle    occupancy                   rooms        in    two        dorms            their    friends           when             they        should           be    Acting         university                  President               Jim

had       done         HINU           noted      that       there       Winona              and           Blalock             and       a     one         hearing        from            you        all         Faculty           was    Rains         PhD         explained              that       the    Bu
would       be        a    population          of     students          in one out               rule       went        into      effect           for    blindsided            by        questions               from            stu    reau    of Indian Education                               needed    to

on campus              who       had    to    make an in                picking        up        to   go     meals            from       Curtis           dents        and     parents              after        students          on    approve            of    any         documents                before

fonned          decision         on    their    safety           and    Students            were           also       required          to    sign        campus         shared               information               from        a    they    are    made         public          and       said        You
situation            Exit    plans      were     a    strategy          an     updated                housing            contract                 and     dorm         hall    meeting               over         social          me     can     expect           the     information                 not    to

to prioritize             student     safety reduce               the   sign     medical                  releases          in    the        event        dia     This       information                  was     not    shared          come        out     as    quickly               as    you     would

on campus                 population           and         reduce       students            are       tested          for     COVID19                     with     the       faculty           and        did     not    go       out    like         Public        documents                  HINU          re

the    risk          of     spreading          COVID19                                                                                                    through        public           statements                   Off cam           leased        are       available            following             this



                                                                        Throughout                    these           policies              HINU          pus     students           shared           their        own        frus       article       on wwwtheindianleadercom

Additional                isolation      policies           were        has     been             criticized             for      its     ability          trations       One         student              commented                on

put    into         place     for     students        remain            to     communicate                        Instructor                 Freda        social       media         that       the       campus         should




                                                                                                                                                                                                                                                                                      U SA000586
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2020 Census                                                                          portant       then      to    make     sure that       HINU         The Haskell                                                         and          tear           Aging             and        maintenance

                                                                                     has     updated          contact       information         for                                                                          are      of course                 a factor              for              cam
                                                                                                                                                         Glow Up Coalition
Jared Nally                                                                                                                                                                                                                                                                                  any
                                                                                     students           so    students        may be          con                                                                            pus       and           is
                                                                                                                                                                                                                                                               managed                    wonderfully

                                    have        been
                                                                                     tacted      in case          additional information                 Marklin            Morales                                          by       HINU                facilities                  Unfortunate
Many          students                                      displaced
                                                                                     is   required           to    complete      the       census                                                                            ly      there          is    only            so     much           facilities
as a result of universities closing                                        their
                                                                                                                                                         The Experience                    of attending         Haskell      can      do amid                  their       various              duties       to
campuses                in    efforts     to    slow        the spread
                                                                                     While       HINU             has not   indicated         their                     Nations                                 HINU
of COVID19                                                                                                                                                                                                                                                                                       campus
                                                                                                                                                         Indian                            University                        this         magnificently                         active
                                   This    is all     taking           place
                                                                                     methodology for completing                        the    cen                                           no    other       There
                               US                                                                                                                             comparable              to                               are
                                                                                                                                                         is
right       as      the                  Census            Bureau               is

                                                                                     sus for students               There             two                                                                                    That              where                                         Glow Up
completing                   the    2020 census                  It    is    im                                               are            likely      many factors                that    go    into      this
                                                                                                                                                                                                                    expe                  is                    the        Haskell

                                                                                     methods        according           to the      US Census            rience         The          unique        academic           and    Coalition                              in This organization
               for students to know                         how they                                                                                                                                                                                steps
portant
                                                                                     Bureaua             student       housing                                                                   make up                                                   HINU
will    be counted                  and what            impact               be                                                       represen           social        atmosphere                               a    good    initiated           by                            instructor              Tyler

                                                                                     tative      will    complete             one form         list      portion            but    there    is   also   a great       deal   Kimbrell                aims            to    keep            the       overall
ing counted                   has on       their       community
                                                                                     ing   all   students           compiled         using     data      to     be     said        about     the    surroundings             HINU              experience                  up        to    par       by in

The     US Census Bureau                              wants           Amer
                                                                                     from administrative records The
                                                                                                                     rep                                                                                                     volving            who            better          than        HINU            stu

                        know
                                                                                     resentative         has the option          to   complete           The        HINU           campus           established         in   dents        and        staff          who        utilize          the    cam
icans         to                     that        though                many
                                                                                     a version          of this form           online        using       1884          is    rich     in    culture          containing      pus day           to    day The                   brilliance            of this
lives         have            been        impacted                by         the

COVID19 pandemic                                 it   is
                                                                                     a secure       portal          or to    have      a    census       architecture              designated           as   US His          concept            is       the        ability          to    respond           to
                                                            important
                                                                                     taker    pick up a paper               version          or the      toric National              Landmarks The                  expe     the observations                        of students                and staff
that    everyone                    complete            the           census

and understand                      their      residence               crite
                                                                                     representative                may give           each     stu       rience      one gains from being amongst                            who might                   see        the    need           for    campus
                                                                                                                          and collect        them
                                                                      cam                                                                                                                                           build
                                                                                     dent a questionnaire                                                these 12
ria                                                                                                                                                                         nationally        recognized                     improvements                           that       facilities             might
        College students                       living        off
                                                                                     after    they      are        completed          Then      the      ings    as well as the             approximately 640                not      due           to     their            busy            schedules
pus     should               complete            the    census               for
                                                                                     census taker            will    return    to pick       them        acres       of land       they     occupy              includ
their offcampus living                           arrangements
                                                                                     up    from     the       representative                HINU                 the        HINU          wetlands        recognized         The      starting agenda                          for the       Glow Up
These         students              may fill          out    the           cen                                                                           ing

                                                                                     and     off
                                                                                                  campus             students        have     until      as     a      National            Natural           Landmark        Coalition has been                            based on staff and
sus online               at
                               https2020censusgov
                                                                                     August        14th       to   complete      the       census               play just as           important a role than                 student           run cleanup                       activities             One

                                                                                                                                                         any     other        in the        overall      experience          such recent cleanup                                                has    been
Students            who            live    in    student               hous                                                                                                                                                                                                 activity

                                                                                                                                                                                                                             in                                                                      occur
ing     and        living           on    campus             on            Cen                                                                                                                                                       response             to        the        naturally

                                                                                                                                                         This       overall        HINU          experience         how      ring     fallen             branches               from        the       many
sus     Day             are     counted          with            college
                                                                                                                                                                     can      be                             when
university               student          housing             Howev                                                                                      ever                        downgraded                       the    robust trees                 throughout                  campus               that

                                                                                                                                                                                           show                of wear                         HINUs
                                                 of COVIDI9                                                                                              campus             starts   to             signs                    signify                                 extensive              history          It
er due           to      the       effects
                                                                                                                                                                                                                             was
shutting            down             campuses                 the            US                                                                                                                                                       important                 that        this          clean       up    be

                                                                                                                                                                                                                             done         while          the         winter           weather           was
Census             Bureau            has       issued            a     state
                                                                                                                                                                                                                             still    active             so     that           the    new         foliage
ment        that         college          students          will            still

                                                                                                                                                                                                                             could         properly                 grow         Other
be     counted                 as    living           on         campus
                                                                                                                                                                                                                                                                                                 activity

                                                                                                                                                                                                                                           in                               to       HINUs pro
                              were home on April 1st
                                                                                                                                                                                                                             goals                  response
even     if
               they
                                                                                                                                                                                                                             lific    history             have been                   to    touch      up
                                                                                                                                                                                                                             or      glow        up           the         campus            by        main
Parents            of     students          filling         out            their

                                                                                                                                                                                                                                                                         appearances                   add
own census                    should       not        include              their                                                                                                                                             taining           building

                                                                                                                                                                                                                             ing      a     community                      tree           swing            and
children           if
                         they       were       living       on a col
                                                                                                                                                                                                                                                                     structures                 in    need
lege        campus                  On campus                students                                                                                                                                                        helping            repaint


do     not     need            to    complete               a census
                                                                                                                                                                                                                             Still    in its        infancy                        Glow
                                                                                                                                                                                                                                                                          the Haskell
I 1111U       will           complete            the       census             on
the     students                behalf                                of     the                                                                                                                                             Up      Coalition                 is    a     HINU communi
                                                as     part
                                                                                                                                                                                                                             tybased                                                                 initia
                                                                                                                                                                                                                                                 organization                        taking
Group          Quarters              Enumeration                       oper
                                                                                                                                                                                                                             tive     to create            and fulfill                               for the
ation       with          the       US      Census            Bureau                                                                                                                                                                                                                  goals

                                                                                                                                                                                                                             enrichment                  of campus               life       The       ideas


                                                                                                                                                                                                                             being        generated                 can only enhance                       out
Its     important                  for   census         data           to     be
                                                                                                                                                                                                                             time together                     at    HINU             because              this
reported            accurately               because                  census
                                                                                                                                                                                                                             coalition                   in essence                       the students
                                                                            fed
                                                                                                                                                                                                                                                is
                                                                                                                                                                                                                                                                                 by
information                   affects      community
                                                                                                                                                                                                                             for      the       students                   The            possibilities
eral    funding                Its       vital       that    students
                                                                                                                                                                                                                             are     limitless            when our knowledge                                 is
are    counted               in the       communities                      they
                                                                                                                                                                                                                             shared to build a better                                                      for
                                                                                                                                                                                                                                                                                 experience
are    going to                school       in    because                  they
                                                                                                                                                                                                                             the next          generation                  to    enjoy which                 is
provide            funding               for     roads                public                                                                              7 7
                                                                                                                              Ntief161411Ellr77       e4141                                                                  an      integral            part        of Native               tradition
transit        and           health       clinics          according

to    the     US         Census           Bureau            It        is    im            Glow   Up Coalition poses            for
                                                                                                                                     picture Photo by Marklin Morales




                                                                                                                                                                                                                                                                                 U SA000587
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                                                                                      INDIAtiTurNo TRY                                                                                                                                                                                  April 13 2020



Decolonzing                                   Our                            to     the   elderly           making                 sure       everyone          Look          out        for         one       another                  if
                                                                                                                                                                                                                                              you
                                                                             was      fed        and        working                    together           the   see      someone                     without              then            share       Lets          take       this     time       to     exercise           and
Reaction to                                                                  responsibility                 was            shared           by the       col    The       recent              panic           buying                of       sup      learn          from         our     cultures                 like     tak


COVID19                                                                      lective        Each            person                or        group        had    plies        exemplifies                     the        selfishness             of    ing          time to       craft        Teach           or    learn         to

                                                                             their    task       yet        it    all       went        towards           the   the     modern                population                   We           do     not    bead          or     sew        celebrating               our        tradi


                                                                                                                                                                                                                                                                                                                      TEK
Kayla Bointy
                                                                             benefit       of        the         people                Each        person       behave            in     such          a     way         traditionally                tional         ecological           knowledge
                                                                             had a purpose                  and value                  to the      whole        reciprocity                   generosity                  and           humil
This      is   a letter to              my    Haskell           People
                                                                                                                                                                ity     are       statutes             of Native                   societies          Make            use       of     traditional              medicines
and      my people                 across          Indian       Coun
                                                                             Applying            that           ideology               into       our    sit    Act      with           the          community                     in     mind        like          cedar        teas              elder       berries           as
          Those         who know                   the    tight knit
try                                                                          uation       now             the     housing              staff are         do     Try     not        exposing                  yourself              to   poten         well          as    the     different             uses       for      bear
community               Haskell               Indian        Nations
                                                                             ing     more        than            their       part       in    ensuring          tial    danger               thus       endangering                     others        root          or liquorice             root         Perhaps           just
University             is     made            of         who         have
                                                                             the     safety      of the               students              those       who                                                                                           drinking            Navajo         tea or          eeyaka       brings
called          155         Indian            Avenue            home
                                                                             are     staying               those            who         are        return       Remaining respectful                                 despite            height        you          comfort            Learning             the      how          to
we     truly     are a        family            Some        refer to
                                                                             ing and          those             who         are        moving            The    ened      tensions                   there         is    no    reason           to    yet          also     knowing           the         cultural           sig
Haskell          as     The             Rez          with        affec
                                                                             elderly       staff          members are being pro                                 treat    each           other         less     than           you        would        nificance             as    well        as        how        these         af
tion       for    others                       a     safe       haven
                                                                                                          HINU
                                   it    is
                                                                             tected       The                              Administration                  is
                                                                                                                                                                normally                In     times          such            as    this       we     fect         your        health        are        all    important

                                                                             working        to        try        and protect                 everyone           should        treat      each         other with more                        com
Many of you feel we                           are in a current
                                                                                                                                                                passion We                   are     still    human beings do                         Despite              Social        Distancing                 we           are
state     of survival we are per   Perhaps
                                                                             Decolonizing                         our              reaction                to   not allow fear to control your behavior                                               still                                                                At     a
                                                                                                                                                                                                                                                                   standing           strong            together
haps we have always been But per
                                                                             COVID19                      means              we         are        choos                                                                                              personal            level       keeping            yourself           cen
haps      this   is    a return to             the    Indigenous
                                                                                     how        to        react        to        the                     sit    Stay connected                                          social      distanc           tered                important
                                                                             ing                                                        present                                                      despite                                                         is                            if
                                                                                                                                                                                                                                                                                                          smudging                is

Community               as         was        intended          to     be                        HINUs
                              it
                                                                             uation                                               Administration                ing     we can               still    build          and strengthen                   your go to do                   that     Whatever               it    is   to
those pre contact                  social        structures           that
                                                                             recognized                   and              took        the         danger       our     community                     The      live       singing             and     keep          your        peace        and         remain            calm
worked         so well for Indigenous                       Peoples
                                                                             seriously           then             acted            As        staff       and    dancing           videos             being     shared              on social          Doing          so    will       help    keep         others          calm

                                                                             students           do         the         same             rather          than    media are making us all feel connected                                                Remember                   we     are        the        descendants
For example              in Plains             Culture               tribe
                                                                                                                                                        edu                                                                                                                       who
                                                                la

                                                                             spreading           panic                and        fear        lets               to     one    another                which          boosts              morale        of      ancestors                       survived               genera
survived         and         flourished            by     all   mem          cate     ourselves                  and        instill
                                                                                                                                             positivity         Check         in       on      one another                    Talk               if   tions         of genocide               and          disease           We
bers     taking        care        of    one another from
                                                                                                                                                                someone            is   scared try to reassure                            them        are          strong        We     are        Haskell           Strong
taking         care    of the           children to tending




                                                                             Indian       country                is    filled      with       the       love
Lifting                 Spirits
                                                                             of     tradition             customs                 art       song         and

through Virtual                                                              dance        These            things            and        much           more


Powwows                                                                      are     being           showcased                    on        the     world

                                                                             wide     web through                          the    new Faeebook
Jamie Colvin
                                                                             group        the    Social               Distance               Powwow
                                                                             This     group          was         established                 on March
Even       though        we may be                   miles       apart
                                                                             17 2020 and is currently overflowing
we       are     closer        than           ever        With         the
                                                                             with     more than 140000                             members               and
touch      of our                                                    from
                             fingertips            people
                                                                             counting           Vogue                 says        this healing
around                 world            have                           in
                                                                                                                                                  ever
               the                                 access
                                                                                                                                                                                                                                                      Powwow
                                                                to
                                                                             act     is   more             important                   than                                                                             Social          Distance
teract         and     lately           have        been        doing
                                                                             this
                                                                                     group           is    celebrating                 and        spread
so    even       more With                 the      newest           pan
                                                                             ing     positivity                  The         people               are    not
demic            COVID19                           stayathome
                                                                             falling      into       a path            of sadness                 or    wor
orders         and      social            distancing                 have
                                                                             ry but       the    opposite being                             strong       and
been      recommended                     from           our    cities       resilient      through                   these        distant         times        in     less       than           a     month                        dancing           themselves               and      their talents              gifted        to

states         and     countries              to    take        action
                                                                                                                                                                and      singing                 specials                being            spon        each         other       May this be an                  inspiration

                                                                             This     group           is    intended                   as    an    online       sored        to    t   shirts         being             made        in       com      to   keep          our   heads high and stay Indig
However               this     has        not       stopped            In
                                                                             powwow              for       dancers                to    share           their   memoration                     of       this         joyous              unity        enous          strong       for    this       distance          physi
digenous             peoples             from            Turtle        Is
                                                                             footwork            artists              to    show        their       skills                                                                                            cally         keeping       us apart              from each oth
land       from         coming                together               With
                                                                             singers       to        bust         out        their          best       leads    Navajo            Times mentioned                          its          growth        er      it   will    never keep              our spirits             apart
the      wonders             of         the      21st       century          and most            of       all
                                                                                                                  healing              for the          peo     has      been            exponential                      in        a        good
                        and                                            we
technology                                           media
                                                                                                                                                                way
                                    social
                                                                             ple The            interactive                  Social           Distance                        and        the         group              mentions              that
have       been         doing             that       and        more
                                                                             Powwow                  has         accomplished                       much        this    is    a        space          for      all       to    showcase




                                                                                                                                                                                                                                                                                                   U SA000588
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                                                                                                                            ke
                                                                                                                                                             1                                                                          THE         INDIAN              LEADER                    5

 Erdrich Visits                                                        Achievement                      Award             for the         Writing

                                                                       of        Fiction           by     the        Library          of       Con
 Haskell                                                               gress           to    honor            her         work        In       addi

Hayley Wells                                                           tion       to    writing            she           promotes             learn

                                                                       ing        and        tradition              at    her       bookstore

March          11          There       was        a reason      for    Birchbark                       Books              in        Minnesota

Haskell        Indian Nations                                  stu
                                            University

dents to        stay in       Lawrence            over       spring    Erdrichs                  work          is
                                                                                                                         particularly           im
break Lawrence                  welcomed            acclaimed          pactful              for        HINU          students             as    she

                     author         Louise              Erdrich        often                           based on
Ojibwe                                                                              writes                                personal            expe
                                                                       riences              As an        author           of poetry            short

Erdrich             graced         HINUs             Auditori          stories          and            novels            she    has       brought

um stage with                 a    reading         of her      lat     life       and        attention              to    Native          Ameri
est      novel            The      Night          Watchman             can        literature            throughout                  her    career

which          is    based        on    her       grandfather          From            poetry            childrens                  stories       or

and      his fight          against         Native       dispos        complex               novels            there           is    something
session             This     incredible            event       was     for       every        reader           in    Erdrichs              canon

made       possible             through           the    collab

oration         of HINU             the      Raven           Book      Elementary                      education               majors          may     Louise         Erdrich     reading to      an audience           of 450 Photo by 73son       Logg
store      and        Lawrence            Public        Library        be interested                   in her        Birchbark House

                                                                       books            in    particular                  This        series      of

Erdrich         has       published over             two      doz      childrens              chapter           books           focus         on an    Home of the Living God the story of                                       not    shy away from difficult                       topics      Her

en     books          many of which                  are      best     Ojibwe           family            and        their experiences                 an Ojibwe              woman amid the chaos of a                          2012      National             Book        Award winner
sellers        and award            winners             In   2015      during           the       chaos        of the           1800s          Fans                          Earth Readers of Erdrichs                           The     Round House centers around                                 the
                                                                                                                                                       destroyed
Erdrich             was     awarded           the       Lifetime       of clystopian                   fiction       should          try Future        adult          work     should      be aware               she    does    sexual       assault          of an       Ojibwe          woman




Shining Elk
                                                                      time        of isolation and quarantine these                                    tainers         such       as Kalini           Queypo Prin                tion     made       available             to    Haskell          stu

                                                                      platforms              are       being used               as the        main     cess      Lucaj            and     Sheri        Foster        Blake       dents      via      staff       Tonia           Salvini            and
Productions                             Presents                      delivery               method                 of     entertainment               whos              extensive              film        credentials          Lori      Hasselman                  as        well        as    stu

                                                                      and         virtual              community                    gatherings         must be looked                    up due        to    the    brevi        dents        Joseph                            and         myself
        Virtual talking                                                                                                                                                                                                                                         Sing
its
                                                                                                                                                       ty    of this      article          for    weekly conver                  However            this        collaboration                is     not


Circle to Haskell                                                     One such               virtual           gathering             occurs       at   sations          that      are   known          to   reach        well    limited      to    people       interested            in the       en
                                                                      Haskell           every Thursday                         evening        from     beyond             film                             discussions           tertainment industry                      As Pena puts
                             Amid
                                                                                                                                                                                        industry                                                                                                     it

Students                                                                                                        form           of
                                                                      9     to    Ilpm            in    the                          a talking                                                                                   Thursday           is   a collaboration                  ofNative

                                                                      circle        that          is    providing               much need              Pena           notes     that     When           people           have    people       who        make themselves                         avail
Isolation
                                                                      ed         consistency              to        our        campus          and     good           intentions          others       can        feel    and    able     because         we      all      care        about        our
Mark Morales
                                                                      its         surrounding                       community                  The     see       it     and       that     makes            everything           tribal   communities For Native                                  peo
                                                                      Shining                Elk          Productions                     Virtual      come           together          Each          week    I    ask     an    ple community                  has        been       a    constant
During              these         times           amid         the
                                                                      Talking               Circle        is        the    brainchild            of    interesting person                  via Facebook                 Mes      throughout          history                           the       doors
COVID19                  pandemic           the     only      cer
                                                                                                                                                                                                                                                                      leaving

                                                                      Haskell           Alumni Patricia                         Pena          Patri    senger           and       they     are        always       up     for    open to      all    likeminded                 supporters           of
tain                 weve          had             uncertain
                                                                                             I
        thing                                is
                                                                      cia        says                  came         up    with       this      idea    the    idea        of people             helping          people          community based                      projects               Bring
ty     Uncertainty           of this        virus       and    the
                                                                      to         collaborate              with            artists         mostly                                                                                 ing    our   community                 together            through
endless        influx       of changing              news      re
                                                                      from          the           entertainment                      industry          Past       guests           have        included            Valente       projects      such       as the        Shining Elk               Pro
veals    how much we rely on                         stability
                                                                                                                                                       Rodriguez                  of     the      George            Lopez        ductions      Virtual          Talking          Circle      shows
From      this                                           a   need
                                            grows
                                                                                                                                                                                                                          Ex
                     uncertainty
                                                                      The        Virtual           Talking           Circle          is   a   mix      show            Tiffany           Smith          AnoaI                    that    during these times                 of uncertainty
for     something             to       remain        constant
                                                                      ture       of Native              American artists                      stem     ecutive           Vice           President           of     Global        some     things         will     remain          certain         and
and     this        need      has      been         answered
                                                                      ming          from           coastal           based           entertain         Inclusion             at    CBS and                 many         other    one     of them          is    the     Native            ability    to
over     the        airwaves           in    the     form       of
                                                                      ment          industries                 made            possible          by    contributors               in    Native         film       and     en     consistently            create    ways          to    keep each
broadcasts               through       telecommunica
                                                                      Penas            connections                  made            during      her    tertainment                 Another            contributor           is   other    strong         through           communication
tion    platforms           like       Zoom        or    Skype
                                                                      years        as       a press        credential                holder       at   Theda           Newbreast               of     the    131ackfeet

                                                                      the        Sundance                Film            Festival             Pena     nation           who        leads         the        syndication
Up     until        this    pandemic              these      plat
                                                                      along        with           DeLanna                Studi       niece       of    in    prayer            before          every        discussion
forms were               mainly used           for business
                                                                      actor        Wes        Studi and Michelle                              Shin
meetings            or   webinars        but      during      this

                                                                      ing        Elk        bring        together              native         enter    The        final        product           is    a     collabora




                                                                                                                                                                                                                                                                            U SA000589
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                                                                                                                                        111F41111
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                                                                                                                       LI0RESTIME                                                                                                                                                     April 13 2020



                                                                                 tonio         Texas         and                  on     the         Mexi
 Indigenizing
                                                                                                                        sits


                                                                                 co    border           Time says                  The          penalty

 Face Masks                                                                      for     violating           the       order       is    a      Class           C
 Jamie Colvin                                                                    misdemeanor                   punishable                 by         a    fine


                                                                                 up    to      $1000              This       fine        is    for       resi

 When           there           is   a will     there    is   a    way           dents         of Laredo               who         do         not        wear

 Multiple             orders           from     across the         US            a    face       mask         when            going            out        into

 have          instructed               individuals          to    wear          public          or    public               buildings               includ

 face      masks            in conjunction               with       tak          ing     transportation                 and pumping gas

 ing precautions                       to               the spread
                                             prevent

 of COVID19                            In    some cases            these         This       brings           an     opportunity                 for       the

 orders         will       be followed               through       with          Indigenous                community                to        use        their      Face    masks made by Kayla Bointy Photo by Kayla Bointy

 penalties             when             not     in    compliance                 creativity            and          include            their         style

                                                                                 Many            have        been            gathering               mate
                                                                                                                                                                    a    sense       of    identity       as    indigenous                  and    crafting                otu        own      experiences
 The      city       of Los Angeles                  has done just               rials      to    follow          these           orders            around

                                                                                         US even                                                                    people                                    our          cultural
                                                                                                                                                     med                             maintaining
 that     with        consideration                  of protecting               the                           if
                                                                                                                       they       are     non
                                                                                                                                                                    identity       of     who      we    are        as     indige           Bointy comments                            on    how       there    was
 its      people            The Los            Angeles            Times          ical       masks            Haskell              student            Kayla
                                                                                                                                                                    nous people             especially         through            the       a    need          to    sew         her        own    masks         be
 mentions              multiple              scenarios       when           a    Pointy          mentioned                   how        she         would
                                                                                                                                                                    current        pandemic             Haskell            student          came of the                    necessity           and gave          her
 fine or penalty                     would be engaged                For        utilize        her    Kookum scarves for going
                                                                                                                                                                    Jared     Nally        expresses          his    views            on    own preferred                   flair      to her      masks She
 example              if   a business will not provide                           out     in public           They           bring       a symbolic
                                                                                                                                                                    indigenous            artists    take      on         the    face       says        Other              native           people      who      are
 or reimburse their employees                                for pur                                       look
                                                                                 indigenized                                 Indigenous                  peo
                                                                                                                                                                    masks      pieces       that    he has          seen         Nal       beading             and using Pendleton                       to    make
 chasing           their own personal                   protective              ple      are     having           to    find       their        balance
                                                                                                                                                                    ly     says    I      feel    like    seeing           beaded          masks           I    think            is    awesome            It    just
 equipment                  it       would      result in a fine                 in    this      modern world                                 let    alone
                                                                                                                                                                    masks on         social      media for me shows                         shows          the       beauty            and     resilience            of
 or further                 not        complying         with           the      during this           time                 we strive to keep
                                                                                                                                                                    that     great     events       we   experience                   to   our     people             It       shows         we can always
 order could                result in a          misdemeanor                    these         traditions            and        customs               alive
                                                                                                                                                                    gether         like    COVID19                  pandemic               adapt           and        make             something              ours
                                                                                                                                                                    does     not     mean Indigenous                      erasure
 The                   of Laredo                is            a    little
                                                                                 Indigenous                 artists                                      may
                                                                                                                                                                                                                                  Na
           city                                       just                                                                   creativity
                                                                                                                                                                    These      are      symbols          for    me of
 over          150     miles           south     from San           An           come from                 within           and    demonstrates
                                                                                                                                                                    tive    Identity       being     present           resilient




                                                                                Taurus                                                                                                                                                                                     Have no fear and
April Horoscopes
                                                                                                                                                                    Blaze trails        and lead        the    way no                      on their way

                                                                                Apr 20                May 20                                                        matter what           anyone     says                                  look forward to new                              challenges         and
Joe Singh
                                                                                It   seems the work                    is   never        done but                                                                                          opportunities                  to     grow
                                                                                one day          it   will    be        Do not           give        up             Virgo
Aquarius
                                                                                or    let
                                                                                            up        So    many are cheering you                                   Aug 23    Sept 22                                                      Sagittarius
Jan 20 Feb 18
                                                                                from the          sidelines                                                         We all know you dont                  believe           in             Nov 22                   Dec 21
Make a homemade meal and take a
                                                                                                                                                                    horoscopes            but the universe                smiles           Someone              close to              you needs help
bath           Doing the small and simple
                                                                                Gemini                                                                              upon     you       Open your heart and be                              Give       it   but       do not           enable      someone
               will        keep        you grounded           and
                                                                                May 21
things
                                                                                                      June 20                                                       less critical       of others        You        are     some           to   not     change                 Know the difference
content
                                                                                Adventure             awaits                Go big or go                            of our greatest         leaders      if    you dont                    between             true love              and co depen

                                                                                home    Make your dreams come true                                                  get in your own              way                                       dence
Pisces
                                                                                and test yourself You can do it
Feb 19                Mar 20
                                                                                                                                                                    Libra                                                                  Capricorn
Life                                        in waves     Balance
          is
               happening
                                                                                Cancer                                                                              Sept 23          Oct    22                                             Dec 22                   Jan     19
and perseverance                        are    key     Great
                                                                                June 21               July     22                                                   Life    may seem difficult                right       now              When         people             are    rude       and negative
tasks await                with greater              rewards       to
                                                                                A relationship is blossoming                                    Use                 and it   is    Growth hurts               but    it    is   nec        remember that that                          is   only a reflec
                                                                                this experience               to       grow and learn                               essary to      become         stronger          Dont be                tion    of them and nothing                            to   do with

                                                                                more about             yourself              You        deserve            it       afraid to ask         for help                                         you Dont let someone                                hurt you        be
Aries
                                                                                                                                                                                                                                           cause       they         are     insecure          and unhap
Mar 2 Apr 19   I

                                                                                Leo                                                                                                                                                                                                         The ones who
                                                                                                                                                                    Scorpio                                                                py     Protect            yourself
                           to
It   is
          alright                let
                                        relationships         go
                                                                                July 23               Aug 22                                                        Oct 23           Nov 21                                                are    worthy of your love                          are     near
that      dont serve you                       This    your life
                                                                                Your intensity could                         be intimidat                           Enjoy the comfort of your life                              The
Choose peace                     and happiness
                                                                                ing to      some dont let this stop you                                             tests   and trials      to   the next       level           are




                                                                                                                                                                                                                                                                                              U SA000590
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Vol 123Iss 3                                                 ARTS                                         ENTAVAINMENT                                                                                    THE          INDIAN              LEADER         7


                                                                                                                                                             hardwork
Follow hinuarts                                                                                     around    they     will   be     filled   with    our                   Socks                  and Sandals
                                                                                                    ing   students      and     their     professor         once   again
Jamie Colvin                                                                                                                                                                Joe Singh




The      love     for       art    is    reaching             new        heights           Has                                                                                 A familiar place we have never been
kell     Indian       Nations            University

                                         offered
                                                                   has a

                                                             throughout
                                                                                 variety

                                                                                     the
                                                                                              of

                                                                                            Fall
                                                                                                                                 MEM                                        Classmates              that   become            family and friends

                                                                                                                                                                                                                              to and
art courses           that        are                                                                                                                                                        Squirrels that            hop                 fro

and      Spring         semesters                  Students              are     able       and                                                                                          To     classes         and Curtis we go

encouraged             to    participate                based         on       the     gener                                    tk                                           Laughter              in the night          echoes         across the

al     education            requirements                     in     the       Humanities                                                                                                                        grounds
and      Arts     section          of     a     twoyear              degree            check                                                                                In the           witching       hour there           are    only ghost
list     Various            courses           go        beyond            this
                                                                                     require                                                                                                                    sounds

ment                  ceramics                 drawing               and          painting                                                                                          Long           braided        hair and basketball

                                                                                                                                                                             We     are trained             and educated              to   stand   tall


The      finished          products           from        these          art   courses        are                                                                           Children of the Creator and                               great   Mother
                                                                                                                i       111

                 on        HINUs                                           new platform                                                                                        If   only we dont mess up at
displayed                                 campus               but    a
                                                                                                              Oh 1                                                                                                                      Brothers

has     the                                showcase                 these                                                                                                         Hand games and singing everyday
                potential           to                                           art
                                                                                        pieces
                                                                                                                                                                                     I am sad I have to
HINUs          Antonio            Martinez and David                          Tittterington                                                                                                             go away
                                                                                                                                                                             Make            the    grades        and prove           your worth
both     art    instructors              have        decided          these          students

               needed              be                                                                                                                                               Getting          ready        to inherit      the Earth
talents                      to            shared            with     more people
                                                                                                                                                                                    It       can be easy to              feel like      lesser

An      Instagram             page         was           recently              created        by                                                                              We seek guidance                         from    our ancestors

Martinez called               hinuarts that                  includes          all     things                                                                                                Find peace           in the      wetlands

art      for    HINU          and        already             has     an        astonishing
                                                                                                                                                                            Dance with              a cute       Lakota        girl
                                                                                                                                                                                                                                       in the    band

633      followers            This         page          displays              student        art                                                                                                                stand


pieces        themselves                guest        indigenous                artists      that                                                                              Night           conversations              and    the    unknown
visit
         campus            and     HINU         alumni art                as     well       This                                                                                    Some of us do not have a home
allows         the     opportunity                 to     be       interactive              with                                                                             The magic               of Haskell brings us together

current        HINU         art    projects             speakers          and        students                                                                                 Making good memories that will                                     last


                                                                          the                                                                                                                                   forever
as well        as indigenous              art throughout                          country
                                                                                                                                                                                                This       is
                                                                                                                                                                                                                just   beginning

Having         the     scope        focused             in     on    the       art    can    let                                                                                  Prepare            to    take   life    by the handles

Instagram            views         get    an    inside             look       of what        in                                                                                          I   will    leave       Haskell        grinning

digenous          art       can         fully      encompass                     Some        in                                                                              As I remember all the                        socks       and     sandals
                                                                                                     hinuarts       Instagram
                              illuminate                the                      in    action
teresting        posts                                             artists



working          on    their       pieces Allowing                        social       media

to     embark        on     this        realm of HINUs                         indigenous

art     can    really       demonstrate                  a    better       understand

ing     of what            indigenous              art       truly        signifies         and

represents           Art Instructor                Titterington                says        Our
students         are so       amazing                and          their    visions          and

voices         are    inspirational                and       benefit           everyone


The      most        recent        posts        on       the        Instagram              page
have been            the    current        Spring            2020         semester          stu

dents         unfinished            art    pieces              Because            the       uni

versity        decided        to    transition               into    online classes

students         were        not        able    to       fully       complete              their

artwork          There            will        be        additional               upcoming

posts     that    will       display          students artwork                        as    they

are sent        into       Titterington              Even           though           the    sep
aration        keeps       students           away from the                    studio        the


productivity               of the        art    is      being         accomplished

The      art    and     ceramics              room           are    at    a    stand still          Artroom   with unfinished paintings              Photo by Jared Nally

but     once         the     new         Fall      2020            semester            comes




                                                                                                                                                                                                                                            USA000591
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Cancelation                             of Spring Sports                                           versity           this         meant         that         its     student athletes                        would

                                                                                                   not        finish      their         softball         outdoor             track           or        golf        sea
Jared    Nally
                                                                                                                While                     NAIA                                students
                                                                                                                                                                                                                                        The Indian
                                                                                                   sons                           the                    restricts
                                                                                                                                                                                                        eligibili

                                                                                                   ty    to    play       a    specific         sport        only        4   seasons               exceptions
March       16           Due       to   precautions              to   avoid       the    spread

of   COVID19                  spring          semester           athletics      were        can
                                                                                                   are        being       made           for    spring             athletes            Other            eligibili                      Leader Staff
celed            the     National             Association             of                           ty    requirements                   will    still        be     in    effect         We            look        for
         by                                                                Intercollegiate
                                                                                                   ward                                                                                                                                               Editor
                 NAIA                                                                                                                                                                                   seasons
                                                                                                               to                          athletes                                     future
Athletics                          For        Haskell        Indian         Nations        Uni                       seeing         our                       compete             in



                                                                                                                                                                                                                                               Jared            Nally
Fastpitch                     Dreams                     Spring Clas                               lege Athletic Association                                  which          pulled          in    103       teams

                                                                                                                                                                                                                                        Assistant Editor
sic     and Season                             Wrapup                                              HINU         paired            up    against         7 different              teams            at   the    Fast
                                                                                                                                                                                                                                    Connor MacDonald
Jared Nally                                                                                        pitch       Dreams               Spring          Classic           averaging                   2     points        a

                                                                                                   game         with          opponents               averaging               a    10        point           victo
                                                                                                                                                                                                                                              Secretary
Before the            cancelation         of spring           sports        Haskell        Indi    ry    over        them               Due     to      postponements                        earlier in the

                                                                                                                                                                                                                                                 Treasurer
an Nations        Universitys                 softball team           traveled      to    North    season           and       a    cancelation               due     to      the       COVID19                     the


Myrtle      Beach         South          Carolina           Four       conferences            at   Fightin Indians                       season         only         consisted               of        17    games                            Jamie Colvin
tended    the event                the National Collegiate Athletic                         As     and        they    ended            their    season             with      a    314 win                   loss    re
sociation        Division          II   the     National          Collegiate Athletic              cord        We      hope            these        girls      are       safe      during              this    time                           Distribution

Association           Division          III     the    National            Association        of   and look forward                       to    a    new season                    Onward Haskell
                                                                                                                                                                                                                                                    Manager
Intercollegiate          Athletics             and     the National           Junior       Col
                                                                                                                                                                                                                                       Diamond Williams

Recognizing Records
                                                                                                   rebounds           in a single          game          23 most                  blocks          in a season


Jared Nally                                                                                        41 and most                     blocks       in a career               112           Bryon               Elledge                           Staff Writers

                                                                                                   also       a senior            holds    records            in most assists in a                          season
                                                                                                                                                                                                                                          Makayla                    Sloan
Not only         were     sports        seasons         cut      short      but     banquets
                                                                                                   I19 highest                    assist       average         in a season              41 most as
                                                                                                                                                                                                                                        Zachary Arquette
                       Haskell          Indian        Nation Universitys                    ath
                                                                                                   sists      in a career           365 and highest assist average in a ca
                                                                                                           34
recognizing

                              canceled          due                   COVID19 pan                  reer                Tristan          Keah Tigh senior holds                           the complexs                                         Joseph              Singh
letes   were      also                                 to    the

demic       Haskell           Athletics          has    been          using       its     social
                                                                                                   record       for the highest                scoring             average in a career                      133                               Kayla Bointy
media platforms               to    show        support          for their      athletes      as
                                                                                                   HINU         volleyball              saw     record             holders         this      year Sophia                                     Staff Advisor
well    as shining a           light     on some of their achievements
                                                                                                   Honahni            junior           now      holds         the record               for highest                 digs
                                                                                                                                                                                                                                        Rhonda LeValdo
Janee                                   was                                   two                  per     season         707             and    highest             digs        per    career              1681
         Bates          senior                  recognized             for               Coffin
                                                                                                   Haskell          Athletics            notes       that      Honahni             achieved                 this    re
Sports    Complex records most                          points in a single                game                                                                                                                            All    articles     recieved         are     subject      to edit


39 and most assists in a single game 13 Her team
                                                                                                   cord       over     previous            4 year athletes                   and        is    still         eligible
                                                                                                                                                                                                                          and                 of publication
                                                                                                                                                                                                                                 refusal
                                                                                                                                                                                                                                                                            By   submitting
                                                                                                   for another                season       Teammate                  Cailey        Lujan                a   senior
mate    Justine        Butterfield joins               her       on the      record       board

                                                             9
                                                                                                                                                                                                                          a article     you     are                    us   permission        to

                                                                                                                                                                                                             117
                                                                                                                                                                                                                                                         giving
                                                                                                   holds       the record               for the                          aces
with most blocks              in a single game                        Haskell       Athletics                                                         highest                      per career
                                                                                                                                                                                                                          publish      and    edit       You    also        acknowledge

gave    a shout         out    to Butterfield               as   currently          the    only                                                                                                                                                       author and accept
                                                                                                                                                                                                                   be
                                                                                                                                                                                                                          that                the
                                                                                                   HINU                                                                                                                          you    are                                            all

                                                                                                                    remains             proud           of     its        athletes            despite
freshman         to    hold    a    statistic         on their             record       board
                                                                                                   ing     unable         to       compete           this      season             We         look forward                 responsibilities            Your      full
                                                                                                                                                                                                                                                                        name Haskell

                                                                                                   to    new         seasons            and     new          records              Onward                Haskell           email and          contact      information              MUST
Mensbasketball                also hadrecordholders                    among their ath
                                                                                                                                                                                                                          accompany           all   sunrn      issions       and    are     sub
letes Senior          Nakia        Hendricks           holds      three     records most
                                                                                                                                                                                                                          ject   to verification




                               EARTH poes NATIVE                                                   TIK TOK                        GHALLENG                                                                                Please    contact         us   with     any concerns

                                                                                                                                                                                                                                     or suggestions for The
                                                                             IVAWN           Y JARGP                                                                                                                      issues                                                 Indian
                                                                                                           NALLY
                                                                                                                                                                                                                          Leader by eami                             by our                  on
                                                                                                                                                                                                                                                      or stop                      office



                                                                                                                                                                                                                          the    main   floor       gym level               of Tecumseh

                                                                                                                                                                                                                          Hall



                                                                                                                                                                                                                          indianleader10gmailcom
                                                                                                                                                                                                                          The      Indian Leader

                                                                                                                                                                                                                          155 Indian Ave                    Box 4999

                                                                                                                                                                                                                          Lawrence              KS 66046




                                                                                                                                                                                                                                                                              U SA000592
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                      EXHIBIT 4




                                                                         U SA000593
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                                                    Student Safety Jeopardized by
                                                    Violation of Fifth Amendment
                                           BY JARED NALLY            ON     APRIL 15 2020           IN    HASKELL INDIAN
                                           NATIONS        UNIVERSITY      NEWS      STORIES         WITH         3   COMMENTS




A Haskell Indian Nations University HINU student was vacated from the university dorms during the height
of theCOVID19 pandemic over allegations of intimidation and harassment of a Haskell employee without
due process            to   appeal the decision


HINU     athlete             received a HINU Action Notice for an Emergency
                       Russell       Parker                                  Level                                                    II




suspension                McKinney Student Rights Specialist that required Parker to leave campus
                   from Danelle

during stayathome orders from the state The notice outlined that Parker wasnt currently allowed to appeal

allegations against him but was allowed to appeal his Permanent   Loss of Housing Parker says he is

unaware      ofhow an appeal for housing would work at this time since there are policies in place to keep
students     who have left campus from returning among HINUs COVID19 response efforts and hes currently
required to be off campus                  until   his   hearing


Parkers suspension                is   based on allegations of harassment of Haskell                             employee           and intimidation            by
student     to    Haskell      employee These               allegations came as a shock                  for   Parker and contrasts                 the Report

Synopsis Overview               in   the   Incident      Reportwhich      states    that    the student              failed   to   comply with verbal
directives       from       Facilities Staff        The   referenced   directives          in   the report had asked               Parker to move           his   car and

golf mat and           move     onto the current          golfing   range


According         to   the   incident      report    Steven    LaCour      Acting     Facilities     Foreman stated                        I   noticed   that   he had a

golf club    inhand and was getting very agitated The surrounding text does not support that Parker who
                  his

was golfing threatened LaCour but mentions Parker accusing him of being on a power trip and calling him
an   ahole when he walked                     away        both protected     rights    under the         First       Amendment as well as the Code                    of

Student      Conduct           Parker feels LaCour embellished his report by describing                                 Parker as belligerent                   and

agitated          LaCour referred           to   himself as acting     kindly


In   addition     to   LaCours statement being taken in the incident report by Ernest Wilson Acting Supervisor
College Resident Assistant          LaCours account was also recorded in the activity logof Lead Security Officer




                                                                                                                                                                  USA000594
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James Yarnell who LaCour asked                               to    confront           Parker Yarnell wrote that                     after     asking       Parker              to    move     his        car
and     to    golf on      the   range the student                     packed up           his stuff     and    left      and did not say much                         to      me He did note
that Parker              seemed irritated


Parkers            own experience             was not documented                      by either the security activity                     log   nor the           Incident             Report used
to   determine Parkers                  suspension            Despite           his   best efforts to advocate                  for himself           Student                 Rights     is

not currently allowing                 him to appeal              their   allegations


As a federally funded school HINU is bound by constitutional rights including                                                                 the    right to          due process which
is also part of the Code of Student Conduct The code of conduct says every                                                                    student student                        organization
and campus                organization        is   entitled       to   due process and appeal                       in   every instance of disciplinary action                                  for

alleged       violation         of Haskell         expectations


This decision        and lack of due process puts Parkers life in danger Parker said its                                                              like    walking                around with a
bomb         strapped to my chest referring to him trying to find temporary housing off                                                            campus in the midst of the
pandemic Parker                  also    showed concerns                  for its       effects        on   his financial       situation          and how   will affect
                                                                                                                                                                       ithis

scholarships               Parker had         told   Tonia Salvini              Vice       President of University                  Services through                        email that        this

would leave               him homeless at the height of a pandemic

For Parker to be charged                      with   Intimidation or Threat                        outlined    in   the    Code of Student Conduct                                   LaCour would
have     to    have had          a fear of bodily harm or feel threatened                                   by word or action of a perceived                                        threat to   inflict


bodily       harm         In   Parkers        message         to   Salvini            he    told    her that these          allegations         simply arent true and that                                at
no point          did    he approach Mr LaCour or say anything that would imply a threat or violence                                                                            Allegations of
intimidation automatically trigger an additional                                      charge          of harassment due to               HINU        defining                 intimidation as a
form of harassment


Parker has been receiving                      support        from his peers who have witnessed                                 Parker        golfing        over the past few
weeks        during        isolation     before the       incident             Haskell          student       Michael       King said Haskell                 protects                their

employees more than they                        protect      their      students                The   climate    of the current             COVID19               pandemic               has
complicated              relationships between                students           and       staff      King said I         feel staff     is   targeting students                       and pointing
blame        at    them    for   COVID19 and that the staff thinks                                          their   health     is   at   a greater risk than                         students
One of LaCours coworkers                           commented              on an Indian Leader Facebook                             post that he            felt   it    was a very bad
choice        to   let   students      live   here and he feels                  like      staff arent        equipped        to    protect     themselves                      One of LaCours
relatives          also posted concerns               that essential                 staff have        families      too referencing                the    fact        that         students    who
are staying             on campus        put them the staff                    and    their       families at risk         see article When                   Home              isnt    Home

Not only is Parker up against a mindset that students                                               on campus            threaten    staff                    but Parkers
                                                                                                                                                safety                                    peer
Marklin       Morales           says I dont doubt race had something to do with it                                            Parker        told    Indian Leader                     that as a bi
racial   nontraditional               student he doesnt                   look like his peers and that has caused                                  challenges                  for    him including
this   incident



A study from the American Psychological                                   Association APA found that black men hypothetical situations                in


were perceived                 as more capable            of causing             harm Parker said I dont like playing the race card but he
finds    that      his    biracial status          affects    his life          even       in     Black and Native           communities              This        comes               several

weeks        after       multiracial     Black students                discussed            their     discrimination          on HINUs campus                          at      the    Black     History
Month Student                  Panel


According           to    a HINU       Resident      Assistant            Parker           is   one of at least five students                  who have been vacated
during       H1NUs         isolation     through       allegations of breaking                        the   Code       of Student        Conduct and                     it    is   unknown         if    the

others       were given          their   due process               and    if   there       was any consideration                   for their       safety during this                    pandemic
Parkers hearing                 for   Permanent Loss of Housing                            will    be Friday April 17 Parkers                       birthday




Notes
Vice President of Student                     Services        Toni       Salvini        Student Rights              Specialist Danele                McKinney and Acting
President Jim Rains                   were given an opportunity                       to    comment before                publication         with no response




                                                                                                                                                                                              USA000595
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There   is   a reference   to   an attached   police   report with the Action   Report   To Parkers knowledge         this is just

the security log from Yarnell Parker contacted             the Lawrence    Police   Department who has no record of this
incident




Following     the publication     of the article student   rights   organization Foundation    for Individual   Rights   in


Education     has gotten    involved   on behalf of Parker and the following        news   outlets   have   picked   up the   story




                                                                                                                          USA000596
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                      EXHIBIT 6




                                                                         U SA000597
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     FOIA from Jared Nally


    Webforms DOI <doiwebformsiosdoigov>
    Mon 4272020 1046 AM

    To     FOIA BIA <foiabiagov>

    Submitted        on    Monday April 27 2020                                        1047am

    Submitted        by anonymous                    user 16920324897

    Submitted        values        are

    Your Name Jared Nally

    Mailing     Address                                          Pll


    City Lawrence

    State    or Country Kansas

    Zip or Postal         Code 66046

    Address Type           Business


    Daytime Phone                Number 360 6002000
    FaxNumber

    Email Address            I
                                                     P   1   1




    Confirm Email Address
                                                                          P    1   1




    Your Organization               The        I




    Are you     filing    the request on behalf of another                                        party No
    If
         so who are you filing                     the request on behalf                         of
    Contact     Information Certification

    BureauOffice             Bureau of Indian Affairs BIA

    Relevant     park refuge              site       or other location                         Haskell        Indian   Nations                          of    the Bureau of Indian
                                                                                                                                     University

    Education

    Request Description               I

                                          request access                       to       and    copies of Haskell           Indian         Nations      University          HINU
    information that includes current                                   staff and                      directories        with job                                              chart
                                                                                             faculty                                       titles     organizational                       all



current        acting      positions               and a student                       directory that          includes   tribal      affiliations        I
                                                                                                                                                              would also           like


additional           information on how long HINU                                            has been operating with an acting president and                                       if   there    are

documents             on why a president has bot been selected                                                 yet
    Requesters        Communication Preferences                                             Electronic    communication via email

    Document         Disclosure           Preferences                    Electronic             copies via email
Select        the applicable          reason why you are requesting                                           expedited     processing
Justification          for       Expedited           Processing

Expedited            Processing Certification

                          the appropriate statement                                                                                   particular amount
Please        select                                                                    I

                                                                                            agree to pay fees up to              a                                       see my response
below
I

         agree to pay fees up to this particular amount                                            I

                                                                                                       agree to pay reasonable                   fees for the            processing         of this

request         up   to   $10 Please                notify me before                          incurring       any expenses           in   excess      of that    amount
To assist in determining                           my requester                    category       to assess       fees you should                know         that   I
                                                                                                                                                                         am a
representative             of the     news media and                               this      request     is   made     as part     of a     news      gathering           effort     and not for

commercial            use

Affiliated       Organization              I
                                                   am        the student                    editor for the Indian         Leader          Haskell       Indian       Nations         Universitys

student         newspaper
Please        explain      why your request                            for a   waiver of fees or a reduction                         in   fees   is   justified




The results of this submission may be viewed at




                                                                                                                                                                                                   U SA000598
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httpswwwdoigovinode32906submission606032




                                                                           USA000599
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                      EXHIBIT 7




                                                                         U SA000600
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                        United            States         Department of the Interior
                                           BUREAU OF INDIAN EDUCATION
                                                              School Operations
                                                1001 Indian    School Road        NW    Suite   150

                                                  Albuquerque         New Mexico        87104




  Date                 May 1 2020

  To                   Julia   Good fox

  From                 Janet   Ingersoll

                       BIE FOIA Officer


  Subject              FOIA Case number BIA 202000695                             Jared Nally


  Attached        is   a   copy of the above referenced request under the Freedom                              of Information   Act
  FOIA asking for documents that appear to be in your possession or control

  Please        review your files and send copies of the requested
                                                                   agency documents to our office for
  review         which may or may not include emails Only the FOIA Officer can make the
  determination to withhold                    a document        Therefore        all   documents     that meet   the request
  should be sent even  you believe that some all or parts of them should not be released In
                                   if


  forwarding the documents please identify documents that you believe should not be released
  and your reason for your claimed                       exemption


  If   you believe         that the request       will      be extremely burdensome               and cost the requester a sizable

  sum please inform me so that                    I   can    find out from the
                                                                                        requesterwhether they want us to go
  forward notwithstanding the estimated cost                            to them or if      they wish to narrow the request In
  such situations           you should supply me with an estimated time that                          it   would take   to search

  locate and copy the documents as well as the number of estimated                                         documents    If there are

  other      BIE components             that
                                               you do or do not routinely deal with in the normal course of
  canying        out your functions            that
                                                      you believe might have relevant documents notify me so
  that   I   may request the documents

  When this office receives FOIA requests we are required                                   under the FOIA to respond to the

 requestor        within 20 working             days This request should be processed with all                     deliberate   speed

  Thank you very much                   for your assistance          and cooperation




                        copy of FOIA request
 Attachment


 PS If the information            is
                                       generally available      to   the public   through your office please let us      know   so we

 can    close   the    FOIA    Request    and direct the requester         to   your public     repository




                                                                                                                                        USA000601
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FOIA from Jared Nally


Webforms DOI <doiwebformsiosdoigov>
Mon 4272020 1110 AM

To FOIA BIA <foia©biagov>

Submitted         on Monday April 27 2020                          1112am

Submitted         by anonymous                user 16920324897

Submitted        values are

Your Name Jared Nally

Mailing Address               155 Indian Ave          Box     4999

City Lawrence

State    or   Country Kansas

Zip or Postal          Code 66046
Address Type Business

Daytime Phone                Number 3606002000


                               P1
Fax    Number
Email Address

Confirm Email Address                                       Pll



Your Organization               The Indian        Leader

Are you       filing    the request on behalf               of    another     party No

If
     so who     are     you filing      the request on behalf                of
Contact       Information Certification

BureauOffice                Bureau of Indian Affairs BIA

Relevant       park refuge            site   or other location          Haskell         Indian   Nations   University        of    the Bureau of Indian

Education

Request       Description         I

                                      request access          to    and copies of emails from the Bureau of Indian                               Education     WE
to    Haskell Indian          Nations        University     HINU regarding actions taken by HINU                             for   COVID19 response               that

were not prior approved                  by B1E This should             include         any emails that reprimand HINU                        staff such    as Tonia

Salvini    Vice President of Student                   Services       for taking        action   without    BIE   approval          I   would     also     request

copies of any write ups for HINU                      staff       regarding    their     COV1D19 pandemic                response actions Relevant

dates     would        be    March 11 2020 to present

Requesters         Communication Preferences                         Electronic     communication via email

Document          Disclosure          Preferences         Electronic     copies via        email

Select    the applicable          reason why you are requesting                         expedited    processing

Justification      for Expedited             Processing

Expedited        Processing           Certification

Please    select the appropriate statement1 agree to pay fees up to a particular                                             amount see my response

below
     agree to pay fees up to this particular amount1                                                                                                          of this
                                                                                  agree to pay reasonable                               the processing
                                                                                                                       fees for


request up to $10 Please                     notify   me before        incurring        any expenses       in   excess      of that      amount
To assist in      determining           my requester              category    to assess      fees you should know                 that    I
                                                                                                                                              am a
representative              of the news media and this request                     is   made     as part   of a news        gathering effort and not for

commercial         use

Affiliated     Organization The                Indian     Leader

Please    explain       why your request              for a   waiver of fees or a reduction                in   fees   is
                                                                                                                            justified




The results of this submission may be viewed at




                                                                                                                                                                     U SA000602
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httpswwwdoigovinode32906submission606037




                                                                           USA000603
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                      EXHIBIT 8




                                                                         U SA000604
                          Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 77 of 386



                                                                        Its         Not Just $475
                                                                      BY JARED NALLY                     ON     JULY 10
                                                     2020     IN     COMMENTARIES                 OPINION STORIES                      WITH    6

                                                                                         COMMENTS




As a student              at   Haskell    Indian Nations             University          HINU        I   dont want           my concerns                 swept under the rug
because             its   just $475 and where are you going                                to find       a better        deal for your        education                This    kind    of

thinking        shouldnt          be used       to   invalidate       student           concerns


Students            at   HINU     have been very vocal about the change                                  in fall    semester fees which                    were updated               by the
university on June                25 but made public                  by an Indian Leader                  Facebook              post    The Student Government
Association               SGA promptly advocated                      for   students        by sending a                letter    to   the   HINU        administration             However
following           student      concerns           some      are insisting         that    students        should         be    grateful     for the       low cost of attendance



Haskell        Alumnus Stace Loca commented                                 and shared        an Indian Leader Facebook                              post Quit complaining                     or

go somewhere else find a better deal Move                                      on and addressed                           the current         students           who    are self

advocating                These     current         Haskell    students        are such           cry babies            they dont        appreciate          ANYTHING

The      narrative         appears       to   be that     us students               are just complaining about                         $475 which           is   far    from the truth
We are complaining                   that the school            is   adding        to   new COVID19                 related       financial        burdens        and that our school
doesnt communicate                      or work with          the students



HINU      reports          80 of students              live   on campus             during    a normal year and the HINU                                 Net Price
Calculator           shows       a yearly cost of attendance                       of   $8550      for those            living   on campus               The decision          to   close

down      residence             halls   has forced          an estimated            580 students           to   either live at           home       if   thats an option or get                an

apartment                The Net Price Calculator estimates an                             increase        of $1150          in    cost of attendance                  to   those   now
living    at    home and           an increase            of $8622          for those       whove         had      to    find their     own housing


That     is    80 of students who have seen or                              will    see an increase                to their      cost of attendance               at    HINU    just    from

shutting        down the dorms This doesnt even factor                                     intoCOVID19 related expenses The SGA wrote
                                                                                                  account

a letter       to   the    Haskell      Administration stating                 Since the COVID19 pandemic reached the United States
Indian Country has been                       hit   the   hardest      Combined with mass unemployment                                        every        dollar      counts       now more
than     ever




                                                                                                                                                                                      USA000605
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With dramatic increases                  in   yearly costs          of attendance            some estimated at as much as 101 many students
were looking         forward      to    the small concession                of getting        to pay off campus fees of $240 But in the recent

university update              online    fees    have increased             wouldbe          fees        by   198 totaling $715
Sudden        student     financial      burdens         cant be         alleviated    by student              loans either        When    I
                                                                                                                                               called       the Office of

Financial      Aid inquiring about student                    loans for myself         was told by
                                                                                         I
                                                                                                                    No we dont participate                   in   student    loans

at    Haskell The             school    fees     are so low there            is no rationale for that




Its   not just the financial            aspects        that have         students     concerned               the   lack    of   messaging to students              has
students       feeling    uneasy         Fall   semester fees were              silently          updated on the             university    website on June 25 and

they    did not issue a statement to students                            regarding       changes Some students have recently reached
                                                                                      these

out to the      Indian        Leader noticing that theyve been charged                    $360 for summer school fees despite the
website       listing   off   campus tuition           at   $120 during        that term HINU  is not being transparent or upfront updating
students


HINU     pitfalls    with     communication             and semester fees are only heightened                                by comparing         it   to   the response        by
Southwestern            Indian    Polytechnic           Institute       SIP     the only other Bureau                      of Indian     Education          B1E operated
Tribal   College and           University        TCU SIPI waived fees and                           is technology
                                                                                                         offering                        assistancefor their fall

trimester      This     has led to questions                as to how each           university may have received                        different      guidance        from the
BIE


Questions from students                   the    Indian Leader             Lawrence          Journal          World and the SGA have gone unanswered
prompting SGA Executive                       Vice President Will Wilkinson                   to   post Haskell              has an unhealthy               habit of being

silent whenever           people ask the tough questions That needs                                      to   end   now

All   these    numbers have             personal  consequences As Im entering my final year at HINU Im past the point of
changing       universities        I

                                       just signed a lease with two other HINU students because the dorms are closed and

my annual        cost of attendance              has jumped from $8550                       to   $17172              so its not just $475              I   have   to   cover
those    new costs somehow and                     I   wasnt prepared            for the          cost of      my education         to   double


These     new fees may also               impact the          Indian      Leader Removal                  of activity       fees which     help    fund the         Indian

Leader may mean                 we dont receive             fall   funding The Indian Leader has played a large part in getting
information to students                 and since the university has not been sending                                   students       statements           we are needed
now more than ever to break                     the silence             Decisions     by the HINU              administration have             rippling      consequences
that are most felt            by the students           and       its   time for students           to   feel   they       are supported       by their university




Authors Note            All   calculations       for the     Net Price Calculator were input with the authors                                   personal data and
does not represent every students                           estimated cost of attendance                        but allows a side by side comparison of the

difference      between         cost differences             In    addition    the Net Price              Calculator has not been                updated by the
university      to   show      current    academic          year estimates




                                                                                                                                                                         USA000606
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                      EXHIBIT 9




                                                                         U SA000607
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                                                 City of            Lawrence
                                                               MINUTES
                                        Community Police Review Board Meeting
                                      Wednesday  September 30 2020     700 PM
                                      City Commission Room City Hall 6 E 6th St

City of Lawrence                                       Lawrence           KS 66044


PRESENT       Salvini    Robinson     Graybill Littleton      Taylor     Mishra    and Gibson



ABSENT


A    APPROVE MINUTES
     1      Approve      meeting     minutes from 082720



                 ACTION             Approve      minutes

                 Motion             Mishra

                 Second             Littleton




                 RESULT             Motion carried     unanimously 70
                 Ayes               Salvini     Robinson       Graybill        Littleton   Taylor    Mishra     and

                                    Gibson



B    PUBLIC COMMENT
     The Commission heard            public     comment on     items and        issues not scheduled         on the

     agenda

     1       Communications



             Jared Nally provided         public   comment regarding             correspondence      he submitted

            to   the   board which was placed         on the agenda




C    AGENDA ITEMS


     1       DISCUSSION        OF ORDINANCE

    a     Continue     discussion    of proposed      alternative      draft   ordinance



          The board walked through each             section     of the    proposed     alternative   draft   ordinance



            ACTION           Broaden      the scope     of the board        as recommended by the
                                                   with the    changes      discussed      that would   limit
                             working     group
                             the complaints as received             to   community member
                             cornplaints




                                                                                                                      Page   1   of 3




                                                                                                                         USA000608
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     Motion     Gibson

     Second     Littleton




    RESULT      Motion carried          52
    Ayes        Salvini      Graybill       Littleton     Mishra      and    Gibson

    Nays        Robinson      and      Taylor

    ACTION          Add      the terms socioeconomic               status     and housing         status      to

                    the definitions

    Motion           Robinson

    Second           Littleton




    RESULT     Motion       carried     61

    Ayes        Salvini      Robinson         Littleton    Taylor      Mishra        and    Gibson

    Nays        Graybill

    ACTION          Include      a definition of the term enforcement                    action    in   the

                    draft    ordinance       and request      City staff     recommend appropriate
                    language       to   be reviewed        by Board

    Motion           Graybill

    Second           Littleton




    RESULT     Motion carried unanimously 70

    Ayes        Graybill      Littleton      Salvini      Robinson          Taylor    Mishra      and
               Gibson

                   Request       City Staff to draft language               based on the      intent     of

                   the    Board to incorporate            the City Attorneys          previous
                   recommendation             to strike    the phrase       or other laws from the
                   subcommittees             draft   ordinance

                    Graybill

                    Gibson




   ACTION          Add requirement for the Board                 to   hold    at least     one annual

                   comnflunitywide           forum for the purpose            of   building   trust

                   between       the    community and police under Section                    12504        A
                   Subsection          3
    Motion          Mishra

    Second          Taylor



    RESULT     Motion carried unanimously 70

    Ayes        Taylor      Mishra         Salvini   Robinson         Graybill       Littleton    and

               Gibson


                                                                   Community Police Review Board
                                                                                       September 30 2020

                                                                                                                   Page 2 of 3




                                                                                                                      USA000609
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          b       Continue       discussion of proposed             draft   ordinance



                  This   item was        grouped     into     a single discussion       under agenda           item       no 1




          c       Presentation          on the number of complaints against the Lawrence                            Police

                  Department received               and reviewed        by the     Office of Professional

                  Accountability from January 2017 to January 2020



                  This   itern   was grouped         into     a single discussion under agenda                 item       no   1




                  The board           did receive   the presentation         item    C and provided feedback
                  to staff   about the usefulness              of the   data being     not very       useful   in   its


                  current    format They discussed                 ideas    with   City staff   to   improve    the

                  usefulness          of the data




    2     SUBCOMMITTEE                 REPORT
          This   item was    deferred to the         October      8 2020 Board meeting

D   CALENDAR
    The Commission reviewed              calendar    items

    1     Next Scheduled         Meeting      Dates

                  Wednesday             October     21   at   600 pm
                  Thursday            November      12   at   700 pm



E   ADJOURNMENT
    The meeting adjorned         at   1001pm




                                                                                 Community Police Review Board
                                                                                                     September 30 2020

                                                                                                                               Page 3 of 3




                                                                                                                                   USA000610
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                                              City of                  Lawrence
                                                                 MINUTES
                                      Community Police                 Review Board Meeting

                                       Wednesday               October    21 2020         600 PM
                                     City Commission Room                    City Hall 6    E 6th St

City of Lawrence                                             Lawrence     KS 66044


PRESENT       Gibson     Mishra   Robinson Taylor Salvini              and Littleton



ABSENT        Graybill




A    APPROVE MINUTES
     1    Approve        minutes from September 30 2020 and October                         8 2020

               ACTION             The minutes were             deferred to the next       meeting       as they were
                                  not attached          to   the agenda




B    PUBLIC    COMMENT
     1    Public    Comment


          The Board heard public comment from Jared                          Nally and Steven       Watts




C   AGENDA ITEMS
     1    Continue       training   on bias based policing



          The Board heard from Kate Carter Deputy                         Attorney General        for   continued

          training on bias based policing




     2    Discussion       of Community Police                Review    Board   draft   ordinance



          The Board went          through     each section         of the ordinance       for   changes


              ACTION              Direct   staff   to    incorporate    the revisions as discussed           by the
                                  board and return at the November 12 meeting                       for further

                                  discussion

               Motion             Gibson

               Second             Mishra



              RESULT              Motion carried unanimously                    60
              Ayes                Gibson      Mishra           Robinson      Taylor     Salvini   and     Littleton


              Absent              Graybill




                                                                                                                       Page   1   of 2




                                                                                                                         USA000611
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    3       Election    of chair and vice chair          positions



                 ACTION             Move that    Salvini   and    Littleton    remain as Chair and Vice
                                   Chair

                 Motion             Gibson

                 Second             Mishra



                 RESULT            Motion carried         unanimously 60
                 Ayes               Gibson      Mishra      Robinson          Taylor     Salvini     and   Littleton

                 Absent             Graybill

    4       Board Member Mishra asked               for    an update    on the Consultant process


            Assistant City Manager             McGuire     provided    an update       for the     board




D   CALENDAR
    The Commission reviewed             calendar    items

    1       Next meeting           November 12 2020          at   700 pm


            Assistant City McGuire           reminded the Board they needed                  to    work on future

            meeting     dates       Board member Gibson            suggested      tabling     to   the   next meeting

            Board member Taylor asked              to    send out a Doodle         Poll of   available dates       for

            meetings      in   time for the next   meeting



    2       Discussion         of future meeting   dates




E   ADJOURNMENT
        ACTION            Move to adjourn
        Motion            Robinson

        Second            Mishra



        RESULT          Motion carried unanimously 60

        Ayes              Gibson      Mishra     Robinson         Taylor       Salvini    and      Littleton


        Absent            Graybill




                                                                                Community Police Review Board
                                                                                                         October   21 2020
                                                                                                                         Page 2 of 2




                                                                                                                            USA000612
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                     EXHIBIT 10




                                                                         USA00061   3
      Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 86 of 386




August     26 2020

Walthall

Community Police Review Board
City   Commission             Room
City Hall 6          E 6th St
Lawrence         KS 66044


                                                                         Public    Comment


Dear Walthall



           My comments are directed to board member Tonia Salvini whom Id like to address two
concerns      that     Salvini
                                 may be contributing                to    racial   disenfranchisement within her role as            Vice President
of Student      Services        VPSS at Haskell Indian Nations University H1NU                                     and therefore making her
unfit to   fulfill     her Community Police                  Review Board duties to minority communities


           The       first   concern    is    that    Salvini      appears    partially   responsible       in   preventing approximately    15
of Lawrences            Native   American Population from being counted                            on the 2020       census   by ghosting student
and press inquiries for information                      on how they may be counted                    on campus students cannot          self

report as    their     census data       is   to     be collected        by the university    as   part of the      Group Quarters Enumeration
Project



           My second concern                  is   that Salvini      who over sees        the Office    of Student      Rights does not track
racial   bias despite         student   concerns            that multi racial       students especially mixed race Black students

receive    bias treatment         by the office of Student                 Rights     While   HINU     is    an all Native institution      racial

identities    for mixed race students                  are not recorded      by the university and cannot be used to identify
racial   biases Its concerning                that     despite     serving two years on the board Salvini has not initiated any

public    attempt       to   bring accountability             to   her   own department and position of authority in a way                similar

to   how the board holds the Lawrence                        Police      Department accountable




          theindianleadercorn           1155       Indian    Ave Box 4999 Lawrence            KS 660461 t                     Pll




                                                                                                                                                     USA00061   4
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                     EXHIBIT 11




                                                                         USA00061   5
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Bobbie Walthall


From                                       Jared Nally                 Pll


Sent                                       Tuesday    September 29 2020 146 PM

To                                         Bobbie    Walthall


Subject                                    Public   Comment
Attachments                                Public   Commentpdf




External   Email      Be careful with     links   and attachments

 City of   Lawrence    IT   Helpdesk



aya   Bobbie    Walthall



Included   is
                my letter   for public   comment    for tomorrows      meeting   I   would also   like   to request   remote participation   in


the   meeting    seeing as   my public comment        last   meeting was almost insufficient      for    the   acknowledgment   of   my
complaint



neewe Thank        You
Jared   Nally




                                                                             1




                                                                                                                                             USA00061   6
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September                   29 2020


Community Police Review Board
City      Commission                       Room
City Hall 6                 E 6th St
Lawrence                KS 66044

                                                                                       Public       Comment


To the Community                             Police Review               Board


                                                                                          Introduction



               Im writing the Community Police Review Board CPRB as a follow up to my letter sent on
August 26th The purpose of this message is to                                                 a     correct         new     information       Ive come                across in   my
grievance related to board member Tonia Salvini                                                b           restate        my   grievance      with Ionia Salvini and                    c
bring     up       a    new        grievance            with how the                CPRB managed my complaint                        at    the   last      meeting While              my
initial    letter           was prepared for brevity                          this    message        is   prepared so as not             to   be as easily dismissed or

misinterpreted




Housinghad
                                                                                      Correction           of Facts


               In
                        my previous letter                      I   made      assertions       that       Haskell Indian Nations University                            HINU which
involves Tonia                    SalviniVice                   President of Academic Affairs                             and the supervisor over                 Student

       not completed the                           2020       Census         for    students This assertion was                    made with the understanding                        that

a HINU had never                                 contacted          me regarding          b no message was
                                                                                        the    census                                            sent      to    students   regarding

being counted                     or that the census                 had been completed and c      HINU can submit         while                                      directory
information                 without              the consent         of a student        it   is   a violation            FERPA regulations to release                     both race

ethnicity          information                    and gender          information         without          consent         of the studentimportant                      information           to

be given           to       the   census


               However            I found out on August 28th that HINU had completed the census earlier that summer

                                 engage the US Census Bureau requesting this information had resulted in a Legal wall
Prior attempts                    to


quoting        Title          13       US
                                      Code which prevents them from disclosing whether an entity had completed the

census HINU                       and Salvini            to    this   day have never responded                        to    my questions         about          the   census While            I


wish our school                        or Salvini      had been transparent about the census it is only from a census worker

violating          Title          13       that   I have been informed that HINU completed the census The same day I received

that   information                     I   sent    an apology            letter to    Salvini       regarding             my use of misinformation presented                          to the

CPRB As                 I   addressed              in   the    letter    I   felt   responsible           to   present      the correction        of this information

publicly           to       CPRB but I also noted that this new detail does not dissolve my complaint                                                                  and that   I   still



affirm that Salvinis                             actionsor           rather lack        of actionshave                     resulted in    my     racial     marginalization              It       is


for this    reason                Ive chosen              to   restate       my     original       complaint          and help connect           it   to   why Ive involved                   the

CPRB

                                                                                      Restated        Grievance



               In an effort                  to    reframe          my grievance         presented             to   the   CPRB regarding board member Tonia
Salvini        I    present                the    following


               That board member Tonia Salvini                                           is a Public Figure both in her position as Vice President
               of Academic                        Affairs at         HINU           and as a board member for the CPRB That acting as a

               public             figure Salvini should be subject to the Ethics Policy Resolution                                                               No 7269 for the
               CPRB which requires    Public Trust and               a
                                                           not treating any person differently on the      b
               basis of race Furthermore the bylaws of the CPRB involve reviewing completed racial




                                                                                                                                                                                                       USA00061   7
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        or other            bias based policing               investigations          that     board members            need to be familiar with
        the      Police Departments                      annual training            on racial or other bias based policing and
        there         are    current discussions on racial bias training specifically                                 for   board members All of
        this     is   moot           if   the   board member participates
                                                                 marginalization knowingly or not
                                                                                         in racial

        while acting as a public figure and eliminates the ethos that the board member can

        correctly            complete their obligations                    to the   community          It   is   for all of these   reasons that       I


        present         my grievance                      CPRB that the experience Im sharing with CPRB related to
                                                     to the

        Tonia Salvini                     as a public figure has left me feeling racially marginalized and that I have

        no public trust for Salvini to complete her role in representing                                             our community on the
        CPRB           and       I    would like actions taken              to    hold Salvini accountable              which may require an

        investigation                     andor removal        of her position        on the board


        As identification                       of racism requires perspective             taking I invite the              CPRB to share my
        experience trying to engage                           with board member Tonia Salvini about                          my multiracial
        identity            My main argument has been related to the 2020 Census My claims of racial
        marginalization stem from 6 months                                  of outreach        to   Salvini      and the university with
        concerns that I want to be able to                          fill    out the census with             my correct       racial identity     HINU
        does not collect racial identity on any forms and a Certificate of Degree                                               of Indian       Blood

        CDIB                 not a racial identity especially for those who identify as mixed race                                        See
                             A
                        is


        Appendix                          In that 6 month time window                I   have       not received a response and as such                 my
        concerns about  my racial identity and that of other mixed race students have been
        dismissed and ignored both Salvini and other HINU faculty members My concern                                                             has

        grown          after hearing that       ignored not only was         I             the whole         time but Student Housing
        under the direct supervision           completed the census without collecting my racial
                                                              of Salvini

        identity despite my attempts to engage with them and without my consent   to release

        FERPA protected data This is a huge issue of being able to have your own racial identity
        acknowledged                       and to not have your race assumed because                             we are an All Native           school

       which          marginalizes those of us that                        have more complex            racial identities       than just Native
        American


        This      ties      into          my next complaint that because                 the school         does not collect racial identity

        information racially biased policy and treatment cannot be tracked                                                   This   is   severely

        infuriating                many complaints from mixed raced students especially
                                 to find that after

        multiracial Black students Salvini who is the direct supervisor over Student Rights has

        sat on        a board that reviews racial bias policing policy for years now but has not taken any
       initiative        to offer the same checks  and balances to the department she oversees despite

        complaints               from students


        Salvini        is    a   common denominator among departments                                  that contribute to the racial

        marginalization of mixed race students Salvini operates as the Vice President                                                      of

       Academic              Affairs            and is the direct supervisor             for   Student Housing              Student Rights and is

       the acting Tittle                 IX coordinator I have tried to engage with Salvini to assert my identity as
        a mixed race                  student and to bring to light challenges we are facing because of her

        departments                   and her inability to acknowledge mixed race identities I have no public trust
       in the         way        Salvini         manages my racial identity              as a public figure for             HINU and my
        cynicism             extents to the           concern of her operating                      same systemic systems of
                                                                                               within the

        racism as a public figure for the                         CPRB           I want to see accountability and I want

        community representation                          that carries           my interest in mind

                                                               Additional         Grievance


       It   was       my understanding that a letter would stand in place                              of my public comment and be read or

addressed   in   the public    comment portion of the meeting agenda on August 27 It was a great

disappointment         that didnt occur and I am appreciative to board member William Graybill who                                              forced




                                                                                                                                                             USA00061   8
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public          acknowledgment                  at   the    end of the meeting However                          I    do still       have criticism that the apparent

reason          to   acknowledge               the   letter   was     to   avoid a tarnished reputation rather than                                       showing actual            concern

for the content                    I dont really want to wake                      up tomorrow             and read the newspaper                            accusing     this      board or

myself of white washing material


Furthermore                   board member Jane Gibsons response                                   I dont see how                   it   is   even marginally relevant to
the board So I dont see any reason                                  to    respond     to    it   because its not about what we                                do demonstrates              a

lack of perception taking choosing                                  to   use her     own         perspective             as   a means to say its               irrelevant rather

than attempting                    to   see    why I think      its      relevant      and a sense of White privilege                                 the privilege        to       use her

own        perspective              as the only correct or relevant perspective                             in this           situation        to     not    even acknowledge
the content            that        racially     marginalized             individual     has concerns                that a board member operating as a public

figure responsible for the oppression                                 of this individuals              racial        rights        feels      they will       continue         to   be

marginalized with                       that   public      figure   continuing         to    operate       in   other public               capacities          The board is not

perfect vacuum                     where       actions     taken    outside        of the board meetings dont have rippling effects


I   offer       this   criticism as            an opportunity            for the    board to discuss how they manage                                      complaints      and how

they       can avoid           their      own       implicit biases          I   understand         this   training           is   a topic      of discussion in these

meeting and find it contradictory                              that so      much attention is being focused                              internally           on how the board
can    show and demonstrate racial understanding and                                              racial   bias          and then completely dismiss a racial

critiqueof the board as irrelevant I understand that many of you may have dismissed my claim because

a  some of you have served with and developed professional and personal relationships with Ionia

Salvini but your experiences   with her dont invalidate my experiences with her or because bTonia
Salvini         is   a member of the                 same     racial
                                                                          group I claim she is oppressing which does not mean her actions
arent harmful or impactful                            to   me and other mixed                race     students            despite        our shared identities



I   think the          board needs to have deeper conversations                                   with     what          the responsibilities                and racial        attitudes

need       to    be on the board                I   dont think        personal accountability                       is
                                                                                                                         going to cut           it   after    taking implicit bias

training             because anyone                 who    has taken       it    learns that the       test     calls         them out on racial biases                   to    make
them aware               It   is    going to take outside correction                       to    continue       to       hold others accountable                    to racially

biased          actions        I   also think        your bylaws or other operational documents                                          need        to   outline a complaint

process          for   the     board itself           Im writing these letters because the bylaws dont offer any other guidance
and    I   would hope there                    is   a better process             to review complaints than                         someone           voting    to   not

acknowledge               the       complaint


nipwaahkalo




Jared Nally




                                                                                                                                                                                               USA00061   9
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                                       Appendix         A

       Inclusion     of   Student Forms that do not ask for racial

        identity     information Additionally                 1PEDS data that
      show 111NU          reporting    all   students as Native American
                          without mixed race options



       Note   Tribal Affiliations   and   Certificate   of   Degree   of Indian   Blood

              CDIB are not      full   representations       of racial identity




                                                                                          USA000620
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                                            Haskell               Indian               Nations              University
                                                            Office of Admissions


                                              AdmissionAppjFptiontroli
                                             All Sections          of this Application          Must      Be   Completed


              DEADLINES      for Application               Fall June          1        I

                                                                                             Spring       November         15th       I       Summer April             15th




What semester are you                planning to attend                 Haskell               0    Fall    20         El Spring             20           0 Summer 20

Legal     Name          as appears     on   legal   documents              ie     birth certificates           court documents




Last   Name                                              First   Name                                                      Middle Name




Maiden        Other Names                                                                      Social     Security   Number

Please select which           degree you are pursuing

O Associate of Arts AA Degree                                    0 Associate                of Science         AS Degree
O Bachelor of Arts BA Degree                                     113   Bachelor            of Science       BS Degree
Please write your desired major on the                           line




Permanent          Mailing Address




Street   or   PO Box                                                   City                                                       State                   ZIP




Telephone                                                                                      Email      Address



Please select your enrollment                     status

O Full Time Student             enrolled in 12 or more           credits                       O Part Time Student                        enrolled in   less   than   12 credits



Please select your housing                  status


O On campus must be              enrolled    in   12 credits                                   ▪      Off campus           please    list   local   address below




Street   or   PO Box                                                   City                                                       State                   ZIP




Emergency           Contact


                                                                           0 Parent          El Spouse          0 Other
Last     First   Name                                                                                                              Please Specify        Relationship




Street   or   PO Box                                                   City                                                       State                   ZIP




                                                                                               Email      Address
Telephone




Office of Admissions             155    Indian     Avenue Box 5031                 I       Lawrence       KS 66046     I    V 7857498454                              7851498429




                                                                                                                                                                              USA000621
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                                                          Page   2 Haskell    Indian Nations   University      Admissions   Application            OMB Control No 10780114              Confidential




Student Demographic Information


Date of Birth                                                                                           Place     of Birth




MM       DD YYYY                                                                                        City                                                               State



Gender                                                                  Marital Status

0 Male                 0 Female                                         0 Single              0 Married             0 Separated                      0 Divorced
Are you currently on or pending criminal probation or parole                                                           0 No            0 Yes
If
     yes please explain


if   more room   is   needed   please   use separate sheet of paper




Tribal      Information




Tribal   Agency                                                                                         Degree    of   Blood or Tribal             Rod Number




Name of Tribe Pueblo Corporation or Rancheria




High       School          Information




Name      of High       School                                                          City                                State                   Date From                   Date    To



Have      you graduated                 from high school                     0 Yes                                                    0 No
                                                                                        Date   of   Graduation                                      Anticipated     Date       of   Graduation




Have you taken the                      GED        0 No           0 Yes          0 NA                                                         If
                                                                                                                                                   you have taken        the   GED please
                                                                                                                                              submit               of your scores
                                                                                                 Date    of   GED exam                                  a copy




Have you taken the                      ACTSAT            0 No           0 Yes                                                        If
                                                                                                                                           you have taken    the    ACTSAT            please have

                                                                                                                                      your official     scores    sent to Haskell
                                                                                        Date   of   exam


                           School       Code 010438                          Haskell   ACT Code                1415           Haskell         SAT Code 0919




College or University Information

Have you ever attended                       a   class    at     another college or university                           0 No                0 Yes
Have you been awarded                           an Associates          Degree          or will      be completing             a       degree              0 No             0 Yes

Name      of College       or University                                               City                             State                 MMYYYY                       MMYYYY



Name of College or University                                                          City                             State                 MMYYYY                       MMYYYY
If   more room   is   needed   please use   separate sheet of paper




 Office of Admissions               I     155    Indian   Avenue Box 5031                      Lawrence         KS 66046          I
                                                                                                                                              7857498454             I    44        7857498429




                                                                                                                                                                                          USA000622
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                                                      Page   3 Haskell Indian Nations University     Admissions    Application    I
                                                                                                                                      OMB Control No 10760114   Confidential




Miscellaneous               Information


Please       list   any activities      in   which you would              like   to participate         in   at   Haskell        ie Haskell       Band    Basketball

High powered Rocketry                   Club Student               Senate        etc




Certification             of Information



 certify       that the information             given        on   this   application     is   correct        and complete and all               prior academic
work    is   accounted          for   on this application Incomplete                     applications will              not be considered



Print   Name                                                                                  Date




Student Signature




               Please mail the applicable                                 documents                  to the Office                     of Admissions




   O Completed Application

   O $10 Money Order

   O Official High School Transcript

   O Official ACTSAT Scores

   O Copy of GED Scores                       Of applicable



                                                                                                         Mailing Address
   O Official College Transcripts                                          Office      of Admission               Haskell        Indian    Nations
                                                                                                              I
                                                                                                                                                      University

         Immunization Records Showing                                         155 Indian      Ave       Box 5031             Lawrence         KS 660464800

   El    Measles           Mumps        and Rubella

         MMR          I   and   MMR     II



                     of Tribal       Enrollment
   o Copy
         Documentation


   O Admissions Entrance Essay




Office of Admissions             I    155    Indian   Avenue       Box 5031       1    Lawrence       KS 66046          I
                                                                                                                            12    7857498454          e 7857498429


                                                                                                                                                                  USA000623
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                          Haskell Indian                   Nations University                                Housing fees are to be paid after you


            ON CAMPUS HOUSING APPLICATION                                                                    have received            an acceptance                letter




PERSONAL DATA
                                                                                                             Division of Residential                    Housing


 Last    Name                                  First                        Middle                           155 Indian        Ave Box 5032

                                                                                                             Lawrence KS 660464800

 Address
                                                                                                             Phone     785 7498460
                                                                                                             Fax    785 8326618
 City                                         State                         Zip   Code



 Area Code                                    Telephone                     Email Address
                                                                                                                        FACILITIES           AND SERVICES

                                                                                                             Each     residence           hall    has professional

EMERGENCY CONTACT                                                                                            staff   and student aides to assist with

                                                                                                             college    life       Most      halls       contain

                                                                                                             television       rooms          In    addition vending
 Last    Name                                 First                         Relationship                     machine         services       are        available to the

                                                                                                             residents         All   rooms are equipped twin

 Address                                                                                                     sized    beds wardrobe                    closets     drawer

                                                                                                             space     desks         and chairs

 City                                         State                         Zip   Code
                                                                                                             Residential        Halls       are smoke            free

 Area Code                                    Telephone
                                                                                                             Meals     are served           in    the    campus       dining

                                                                                                             hall    Curtis          Students residing              in the


 Applying    for                     Fall                 Spring                  Summer                     residence        halls       are entitled          to three

                                                                                                             meals per day Monday through                            Friday

                                                                                                             and two meals on week ends and
 Male       r7                                        Female
                                                                                                             holidays



                                                                                                             Each    student         at   Haskell             assigned     a
                                                       Date of                                                                                           is
 Age                                                             Birth

                                                                                                             mailbox and           will    pick    up their mail at
                                                                                                             the campus         post       office        located    in


 Have you ever attended Haskell                            before          Yes                 No            Navarre        hall




                                                                                                             Disclaimer         Residential              Hall   programs
 If
      yes please          list       the date     last   attended and which dorm you reside in
                                                                                                             will   not be responsible                  for any    damaged
                                                                                                             lost    or stolen personal                 property

                                                                                                             Personal        property        must be removed

                                                                                                             from the residential                 hall    on the    last    day
COLLEGE CLASSIFICATION
                                                                                                             of the students               occupancy             Personal

                                                                                                             property        remaining            in    residential      halls
      Freshmen        I          1     Sophomore                     Junior                Senior
                                                                                                             after the student              is   no longer residing

                                                                                                             there    will    become             property       of the


SPECIAL ACCOMODATIONS                                                                                        University and donated to charity or

                                                                                                             stored    at    the owners                expense
Handicap    accessible                  rooms are available          Please notify   our office   if
                                                                                                       you
have such a request                         You may also contact         Perry Graves    Disabilities


Coordinator      at       785 8326607




                                                                                                                                                                               U SA000624
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Please read the enclosed                Housing        Contract thoroughly          before        leared     and approved      by
signing
                                                                                                   Admissions
The contract and       application             should be returned to the following

address                                                                                            Student       Conduct


Haskell    Indian   Nations          University                                                    Business Office

Residential      Housing

155 Indian       Ave   Box 5032                                                                   Money OrderCashiers Check

Lawrence       KS 66046                                                                            Enclosed        Yes           No

                                                                                                  Forwarded
Fees can    be   mailed to           Haskell     Business Office

                                       155    Indian     Ave    Box 5026                           Business Office

                                       Lawrence KS 66046                                          Payment can       also   be made    in   person

                                                                                                  using   cash    andor    creditdebit     cards
On Campus Fee $71500 includes                            the $18000        Housing    Fee         Please make sure to print your name

                                                                                                  and address on the
Off Campus       Fee $24000                                                                                                 money order


                                                                                                  Approved        for Housing        Yes       No

DISCLAIMER

Residential       Housing       will    not be held legally responsible               should
                                                                                                   By
an incident occur         for    any false or inaccurate                information   that   is




provided     by the student            in    reference to this contract            including
                                                                                                   Date
but not limited to personal                  history personal           property or prior

criminal   convictions          Should        critical   information       in   the contract

be falsified     by an applicant             Residential       Housing     reserves   the right

to   take action    against      said       individual




 Signature




 Date




FOR OFFICE USE ONLY



 Application       received      on



 Check one

 New     n     Transfer          I   Readmitted                Double           Continuing




                                                                                                                                                U SA000625
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  CaLEGENavigator


   Haskell        Indian Nations           University
   155   Indian   Ave    Lawrence       Kansas 560454800


   General    Information               785 74943404
   Webs its                             wwwheskeilierk

                                        4
   Type                                     year primarily        associates        Public

   Awards     offered                   Less than          one year certificate
                                        Associates          degree
                                                                                                                                            View     on Gurgle Maps
                                        Bachelors           degree

   Campus     setting                   City Small

   Campus housing                       Yes

   Student    population                789 all         undergraduate

   Student   to faculty       ratio     25    to    1

                                                                                                                                 PHA ID 155140
                                                                                                                                 OPE32    01049555




   °GENERAL         INFORMATION


   °TUITION        FEES AND ESTIMATED                       STUDENT          EXPENSES


   °FINANCIAL           AID


   D NET PRICE




    TOTAL ENROLLMENT                  ALL UNDERGRADUATE                                                                                                               789



     Undergraduate        transfer in       enrollment                                                                                                                 63




                               ATTENDANCE                  STATUS                                                             STUDENT     GENDER


                                              904
                                             Part

                                             Woe


                                                                                                                                                          44
                                                                                                                                                          Male




                                                                                                                   Female




                                                  97
                                                   Frill

                                                   trme




                                                                              STUDENT       RACEETHNICITY


                                       10e
                              190




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                                      Alaska                      Artarloan                  of   otlulf             Was       unknown      also



                   UNDERGRADUATE                        STUDENT      AGE                                    UNDERGRADUATE           STUDENT        RESIDENCE




                                                                                                                                                                            U SA000626
                            Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 99 of 386



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                                        Residence       data    am     reported    for   firsttime degreecertificateseeking               undergraduates                 Fall   2018


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                                        Haskell   Indian   Nations        University      does   not offer distance       education      courses       at this time




                                     Fp ADMISSIONS



                                     RETENTION           AND GRADUATION                   RATES


                                     CO OUTCOME MEASURES



                                     0 PROGRAMSMAJORS
                                       SERVICEMEMBERS                  AND VETERANS

                                     CI VARSITY    ATHLETIC            TEAMS

                                     0 ACCREDITATION
                                     °CAMPUS        SECURITY           AND SAFETY

                                      COHORT DEFAULT                   RATES




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                      EXHIBIT 12




                                                                          U SA000628
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From Jared Nally<i                              Pll




Date     Fri   Oct      9 2020    at   330 PM

Subject        Ethics    Complaint Against Community Police Review                          Board

To <craigowensPlawrenceksorg>

Cc <ctoomaylawrenceksorg>                             <bmcguirelawrenceksorg>                   <                  Pll




                                                                           Pll



                                        <dstoddardlawrenceksorg>                        <smishraPkuedu>                    P    1    1




City Manager            Craig   Owens


Please    see the        attached      ethics   complaint       letter   for   the    Community Police Review Board         I
                                                                                                                                was told to deliver

complaints against              the    Community       Police    Review        Board to you and would      like   instruction       if   I
                                                                                                                                             am to submit
this   complaint otherwise Please keep                   in   contact     with       how you will   process the complaint



Thank    You
Jared Nally




                                                                                                                                                    USA000629
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October        9 2020

Craig    Owens

City Manager

City Hall
6   E 6th St
PO Box 708
Lawrence            KS 66044


                                                                Ethics Complaint



To The City Manager


                                                                    Introduction



           Im writing the City Manager regarding a complaint against Community Police Review Board
CPRB member Tonia Salvini The complaint alleges Salvini has violated the boards                                                           set   of ethics

while acting         as a   public       figure in the   Lawrence     community A subsidiary complaint                               is   also being     lodged
related to the response               of the board     when the complaint was presented                            directly   to   the    CPRB

                                                      Complaint Against Tonia Salvini


           While Tonia Salvini operates                  as   a Lawrence         public        figure serving as a board                 member on the
                                                                                                                                    President of Student
Community Police Review Board she is also a Lawrence                                      public          figure as the Vice

Services       at   Haskell Indian Nations University               HINU While                      I   do not credit Salvini with the creation                of

the   systems in place          that       oppress   my identity as a mixed race student                      at    HINU      she has made the

conscious       decision to not engage               with me and act as an agent protecting these systems and furthering

the disenfranchisement                of my racial identity and abusing      her position of authority



           I   understand           that   these allegations take place           outside the institution               of the City of Lawrence               but

hold film that any public action has consequences                              that can    either erode or build public trust                      and with

any other role or job you are a sum of all your partsactions outside the workplace
                                                                                      affect individuals

all the time It is for this reason I hold Salvinis actions accountable the City Managers Office to the

Ethics   Policy            No 7269 and to CPRB bylaws and affirm that she
                       Resolution                                                   has eroded public                         a
trust    b     she has    metreated
                             differently  on the basis of race    that upholding a system      e
                                                                                          of racial

                a conflict with  the goals of her position on the CPRB for reviewing completed racial
prejudice poses

or other bias based policing                  investigations     and      d      is   antithetical         to the    ideals   of the board        to   have

members demonstrate                  understanding       of racial bias which             is   in   discussion for city            ordinance      no 9324


                                                              Complaint Background


           Haskell   Indian Nations University HINU has violated my right to self identify my race has

                  FERPA                                        information to the US Census Bureau without
violated       my        rights by reporting racial and gender

                     and has created                           doesnt offer identification                        of racial biases and          racial
my consent                                    a system that

protections for multi racial                 students    Board member Tonic                Salvini         acts    as the   Vice President of

University          Services    for    HINU     and supervises      all   departments               involved with the complaint                  and whom     I


continue       to   reach out       to


           For six months Tonia Salvini and other HINU                                faculty           have ignored my requests to provide my
                                                                                have                              used for the 2020 Census but
own    racial       identity   to    the   school The intent was          to            this    information

the neglect       and disregard by Tonic Salvini Vice President of University Services Ronald Graham

                 Stephen Pro Office of the President and Ernest Wilson Acting Supervisor
                                                                                              of Student
President

Housing         has shown a systemic problem with   how HINU   handles racial identities and has resulted in

me being marginalized and disenfranchised                        as a student           who      identifies        as multi racial




                                                                                                                                                                    U SA000630
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              Despite           multiple attempts                     to engage with    Salvini and HINU before and during the 2020 Census

I   found out on August 28 2020                                 that       BINU filed on behalf of students without engaging me or capturing
my self reported racial identity which is a question on the census The completion of this census also
indicates a violation of
                         my rights under The Family Educational Rights and Privacy Act FERPA 20
USC § I232g 34 CFR Part 99 since I gave no prior permission to release information with my race
ethnicity          or gender



              Currently              and historically Haskell Indian Nations University                                          HINU violates federal                       guidance

for    reporting          racial      and ethnic              data        to    the   US Department of Education 72 FR 59266 This standard
was implemented                      in   2007         but goes            back       to   standards     set   in    1997 that HINU            would     still    be   in   violation

of today twentythree                          years
                                                             later   This guidance              stipulates      that   HINU       a will         be required           to   collect

racialand ethnic data using a twopart question on the educational institutions or other recipients

survey
       instrument   and     should                b
                                   allow students parents and staff to selfidentify race and

ethnicity         unless selfidentification                           is       not practicable or         feasible


              HINU           currently            does not           have a survey instrument for students                             to   self identify        their racial


identitythere      no two part questionnaire on admissions applications or housing applications Both
                              is



overseen by Salvini HINU instead uses students Certificate of Degree of Indian Blood Which is not a

racial identity to provide observer   identification and reports all students as Native American with no

secondary              racial    identities             It   should also be noted                 that    the practice        of observer identification                     of race

has    historic         problems in Native American populations                                           and is an inappropriate policy The Integrated

Postsecondary                 Education                 Data System                   WEDS shows                          has never reported                 a    student as two

or more races                since        its     oldest        report from 2001


              I    do not identify as only Native American and yet the school reported me as only Native
American            in previous semesters according to WEDS   The malignant neglect not collecting students self

identified         racial       identities             not only           affects      US Census data but also university                       reports along           racial     lines

If every      student           is   considered               the    same on paper it              iS
                                                                                                        impossible       to    identify       patterns    of systemic racism

along    the       lines     of students marginalized                                racial   identities       For example many students                    including         myself
feel   that       Student        by Salvini has racially biased disciplinary practices for multi racial
                                 Rights           supervised
Black students on campus however their Black identities are not recorded by HINU and thus there is

no traceable             bias or accountability



              I    have engaged Tonia Salvini multiple times to have my racial identity represented and    is her                                                             it



decision          to                me that furthers these systems already in place to marginalize multi racial
                       not engage with

identities         Ive already been misrepresented on the 2020 census and I am act up to be misidentified

again    when Salvines                    subordinate                reports          racial   data for the university            to    the   IPEDS system for fall
enrollment Her passive                            actions            to    ignore          me are an     active      hurdle for me in being recognized as

multi racial             and why              I   dont feel she is fit                      for additional          community duties             to   hold the Lawrence

Police Department                         accountable                since        she      cannot engage with a student                       on their personal             racial

concerns


                                     Subsidiary Complaint Against Community Police Review Board


              I    would also             like     to    lodge        a complaint with the City Managers                               Office   on the behavior of the

Community                Police Review Board                          CPRB                 with how they handled              the the presentation               of   my complaints
directly      to       the   board        I   admit to          my        lack       of knowledge        to the operation          of city committee meetings                       and

                       add a section              to   the     bylaws           to    instruct those      of us with grievances                where they can be filed                I
suggest       to

                                                                                                                                   comments
understand              now     that      I   inappropriately
                                                                                aired
                                                                                           my grievance         in   the public                       not knowing            this   was

             go to the City Manager That being said Im upset that Chair
                                                                             Member Tonia Salvini did not
supposed           to

                                                                        board
provide a statement of where my grievance
                                             could be filed or that the       did not assign staff to


provide information for how to
                                file a grievanceboth     of which  Ive  now discovered  are common

practice          with handling public                        comments that need additional information To me this is just another




                                                                                                                                                                                           USA000631
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hurdle that Salvini has used                 to     protect her from being                     held accountable                 for her actions         by not providing
an option    to file     a complaint          and further embarrassed                          me with my continued                       use of public comments to

incorrectly      try   and find justice for her actions


           Not only was there a lack of direction                                 for    my complaint but in the initial               meeting ou August
27th   where I presented           my       first      grievance          in     public    comments              board        members William Graybill and
                                                                                                                                      and choose to do so with
Jane   Gibson broke what 1 understand                           is   decorum to discuss                 my complaint
language     that      was dismissive of the nature of my complaint and gaslit my complaint saying it didnt
concern    the   board in an       effort         to   silence       my grievance               See the summary of meetings                             and actions below



                                   Summary of Complaints Already                                      Presented          to    the   CPRB


           Complaints against                Salvini         were presented               directly     to    the board           during the August 27th               and

September        30th    meetings Documents                      on       file    with    CPRB Agendas                   as public         comments         I
                                                                                                                                                                present    the

following    summary of those meetings related                                    to   my complaint

           During the August 27th Meeting                             the        agenda        included
                                                                                                             my initial          complaint         letter       My letter was
           not   acknowledged               during public comment section                              of the agenda                 Before adjournment board
           member William Graybill asked the board                                        to   acknowledge              my letter I           dont really want to

           wake up tomorrow                 and read the newspaper                         accusing         this      board     or    myself of white washing
           material Board member Jane Gibson responded I dont see how it                                                                    is   even    marginally

           relevant to the         board So             I   dont see any reason                  to   respond to          it    because its not about what we

           do


           For the September 30th meeting                             I    rewrote        my complaint which held                          criticism     for    Graybill    and

           Gibsons responses         my     to              letter at the         previous      meeting               Graybill presented           dialogue        that

          relegated       my complaint to a public image issue rather then acknowledging the nature of my
           complaint        I   also   brought attention                   to    the    White privilege present                      in   Gibsons response where

           she a        refused   my complaint from my perspective as a racially marginalized member
                                   to view

           and b  invalidated and gaslit my complaint dismissing   as something that doesnt concern the          it



           board Additional information was provided in my letter expanding on my original complaint

           against      Tonia Salvini After presenting my complaint                                         to    the    board board member Marie Taylor

          posed        questions       to   City Attorney             Toni Wheeler which resulted in the advisement                                         to   present    my
           ethics      complaint       to   the City Manager




Thank   you for handling           my complaint




Cc Diane  Stoddard Casey Toomay Brandon McGuire Tonia Salvini Jennifer RobinsonWilliam
                                           Jane Gibson Marie Taylor LI World
Graybill Stephanie Littleton Sanjay Mishra




                                                                                                                                                                                  U SA000632
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                     EXHIBIT 13




                                                                          U SA000633
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                                                                                                                                                                              CITY COMMISStON




                                         City of Lawrence
                                                                                                                                                                                   MAYOR
                                                                                                                                                                            BRADLEY  R FINXELDEI

                                                                                                                                                                              COMMISSIONERS
                                                                                                                                                                             COURTNEY      SHIPLEY

                                         CITY            ATTORNEYS                                     OFFICE                                                                  STUART BOLEY
                                                                                                                                                                                LISA LARSEN

                                                                                                                                                                       JENNIFER   ANAN     DA JD   MSW


              CRAIG S OWENS                                               Clly Officas                                            6 East   6
               c4ry mANAQER                                               PO    Box 708   66044708                           7658323000
                                                                          wwwiawrencaksorg                             FAX   7135632340$




         December            17 2020




         Mr Jared Nally
         Delivered       Via Electronic             Communication                        to

             Address                              Pll




         Re    Correspondence                 to City       Manager               Craig          Owens Concerning Tonle                             Salvini




         Dear Jared



         I    am    wilting        to    follow
                                                    up on your correspondence                                         to     City       Manager          Craig        Owens        referenced

         above        At the outset               we wish            to     express             our appreciation                   to   you     for      your patience            as   we     have

         carefully      considered           the concerns                 you raised                 in   your       letter




         Your       letter        concerns      a       member            of      the          Community               Police         Review            Board      CPRB Ms Tonia
         Salvini       In     your letter you               complain               that         Ms        Salvini      in    her role as an                administrator              at   Haskell

         Indian       Nations           University         HINU                  along          with       other       HINU           faculty           ignored        your       requests           to


         provide       your own             racial       identity           to     the         school          in    certain        reports         made         by    HINU            You       also

         complain        that       Ms Salvini           did     not engage                    with     you when             you made              multiple       attempts to engage
         with her and              other    HINU         officials        regarding               your concerns



         After      careful         consideration                I    find         that          the       allegations             stated          in    your      complaint               even      if




         everything          in    the     letter   is    true       are not violations                         of   the     Citys Ethics Policy or the                       bylaws        of     the

         CPRB The actions                   of which        you complain                       largely         concern           policies       practices          or actions          of   HINU
         The       allegation        that    Ms Savini                 in       her role as               a     HINU        administrator did not                      engage          with you

         regarding           your        concerns          is    not        a    violation                of    the    Ethics           Policy      or     the     CPRB        bylaws            The

         conclusion           I    have     reached             should           not      be interpreted                    to    mean         that      the     concerns         you       raised


         regarding           HINUs         reporting        and communication                                  protocols         are not valid                  The    City    of Lawrence

         however         is       not the proper forum to address                                    those concerns



                                                                          dissatisfaction                  with the manner in which the Community Police
         In   your letter you also expressed
         Review       Board         handled         the     presentation                   of your complaint                            Jared       we appreciate               your honest
         feedback            on     this    matter          The           board           is      not      tasked           with        or     responsible            for    addressing              or


         investigating             complaints             made         against                 its    members                    City      staff    will        endeavor        to     assist        in


                                           making        complaints              in    the future to the appropriate City office
         directing      persons




IV     We are committed to providing                      exceilert         city   services             that    enhance          the quality        of   life   for the     Lawrence        Community
Tioy




                                                                                                                                                                                                          USA000634
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Mr Nally
Dec 17 2020
Page    2




Thank       you   again   for   contacting   the   City   We   wish   you   the   very   best as   you   continue   your
studies



Sincerely




Toni   R Wheeler
City Attorney




   Craig     Owens    City Manager




                                                                                                                           USA000635
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                                  City of Lawrence
                                                                                                                                                         CITY COMMISSION


                                                                                                                                                              MAYOR
                                                                                                                                                   JENNIFER   ANANDA      I   MEW

                                                                                                                                                           COMMISSIONERS
                                                                                                                                                        FIRAULEY R FINKELDE

                                  CITY             ATTORNEYS                              OFFICE                                                         COURTNEY   SHIPLEY
                                                                                                                                                           STUART BOLEY
                                                                                                                                                            LISA LARSEN




             CRAIG    S OWENS                                   City   OSo                                   6 East   EV

               CITY   MANAGER                                   PO Sox 708 660440703                       78548S23000
                                                               MAY lawrnciaksin                      FAX   7856323105




        December          8 2020

        Tonia Salvini Chair

        Community Police Review                       Board
        725 Sheldon Place

        Lawrence KS             66046


        Dear Tonia



        This     letter   serves to      inform you that a complaint has                            been    filed      against          you by Jared Nally who

        alleges        that   you have        violated      the        Citys applicable               ethics       rules          The complaint               along     with

        Resolution 7269 which sets forth the Citys Ethics                                      and Professional Conduct                           Policy      is   enclosed

        for your       review


        The City Commission                   is    currently     working            toward a procedure                    for   handling complaints against

        advisory board members alleged to be in violation                                     of the Citys Ethics and Professional                                 Conduct

        Policy under Resolution 7269 ha the meantime before                                         such procedure                 is   memorialized in writing

        the City Commission has directed                       my office to conduct                  a cursory investigation of the complaint to

        determine whether           it   is   credible      and whether              it   alleges   a violation            of the City policy



        Notice        of the complaint         is   to   be provided to you so that you have an opportunity to respond to                                                     me
        if   you wish         in writing within           seven        7          calendar   days of your receipt of this notice                              Please note

                                                                   be an                                                          Kansas Open Records                   Act
                                                                                   open record
                                                           will                                                    to the
        that    any response you provide                                                             subject


        Upon receiving           any response from you I will finalize my review



        Please        do not    hesitate       to    contact      me         if
                                                                                   you have any questions                        regarding        this    complaint           at


        twheeler tglawreneeksorg



        Sincerely




        Toni Wheeler

        City Attorney



        Encl




Ink
      We are committed to providing                 excellent     city   services that        enhance        the   quality        of life   for   the   Lawrence       Community
re4




                                                                                                                                                                                    U SA000636
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                     EXHIBIT 14




                                                                          U SA000637
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Census 2020


Jared Nally                       Pll




Thu 20204X16        938 AM

To toniasalvinibieedu        <toniasalvinibieedu>   Ernest Wilson   <ewilsonHASKELLedu>


aya ceeki



Could   I

            please get information on     how   Haskell   will   be counting   me in the 2020 census


Thank you

Jared       Nally




                                                                                                       USA000638
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Fw Census recruiting in Lawrence

Salvini Tonia                <toniasalviniBIEEDU>

Fri   4172020 1027 AM

To jnallyhaskelledu                <jnallyhaskelledu>

Cc     Melissa    Holder         <mholderHASKELLedu>                 Tina   Tourtillott   <ttourtillottHASKELLQdu>


Jared        The University is working with several                                   folk in preparing                for

educationinformationdirection                                 re census             2020


Meanwhile              if   you could put this word out below                                via    the Indian         Leader     we have had           folks    on

campus quite                 often this academic year                        for    meetings and recruitment mostly Curtis Hall



If    you could         assist in        any way it would be greatly appreciated


Many thanks
Tonia




Tonia     L Salvini
Northern Paiute

Pronouns           sheher

Vice President                   University     Services

Haskell      Indian Nations                University

Pushmataha Hall                   Lawrence        KS 66046
7858302753


From Robert            R Evans      Jr   CENSUSPFLD            FED <robertrevansjr2020censusgov>
Sent Friday        April         17 2020 949 AM
To     Salvini Tonia

Subject     Census recruiting             in    Lawrence



Hello     Ms Salvini

Maria      Boyd provided                 me with your email address                         in    introducing us yesterday                     Actually Frankie

Foster Davis had suggested                         I   contact you through Maria to see                           if   you could        help    us


Frankie      is   out of state and so not able to do recruiting                                      work for the            census    until    she returns      I



have     tried to           follow up on her efforts here especially                               in    one   tract    bound by Barker in the north
Louisiana         in     the west and Haskell Avenue                          in the      east      It   extends south          into   Baker wetlands


This tract needs                  one more applicant                 for    the Census           Taking     position to reach the halfway                goal set

by the Census                Bureau        In   fact with the possibility that some of those                                  who have         already applied

may not be available when operations resume after the current shut down we may need a
number of additional Census Takers for this tract am not able to do anything on the ground soI                                                                        I



have     tried to           reach people through social                       media


If    you know of anyone who might be interested                                          in this    parttime flexible scheduling                    work they
should apply                at   2020censusgovjobs                    now          The training and work will not take place                          before    mid
May or later but applications                          are   still   being processed                     Applicants      need    to    be 18 and have      a    social




                                                                                                                                                                     USA000639
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security number       It
                           pays $15 an hour Anyone   with questions   is       welcome    to   contact   me at this
email address     or by text message to   7857270414


Thank you for your time and any assistance you can lend         Also       I   would welcome any suggestions
for how   I   might reach interested people in this tract or anywhere           in   Lawrence     I   hope you dont
mind my reaching       out like this



Best regards



Robert




Robert Evans
Census    Response    Representative
US Census Bureau
2020 Census

7857270414
htLpsmy2020censusgov




                                                                                                                      U SA000640
          Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 113 of 386




Original Message
From The Indian     Leader                     Pll


Sent Saturday June 20 2020         1132   AM
To rgraham©haskelLedu        rgrahambieedu Graham Ronald           <RONALDGRAHAMOBIEEDU>
Cc ewilsonhaskelledu         Salvini   Tonia   <toniasalvini©BIEEDU>   tsalvini©haskelLedu

lgoombihaskelledu

Subject     HINU 2020 Census Efforts


Dear President Graham



Please see the attached   letter   from the Indian Leader



Sincerely



Jared Nally

Editor for The Indian Leader




                                                                                             USA000641
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                                                The Indian Leader
                                               The oldest Native American Student                        Newspaper


    June 20 2020



    Ronald Graham          EdD
    President

    Haskell Indian Nations University

    155   Indian Ave


    Lawrence         KS 66046


                                                              HINU 2020            Census Efforts



Dear President Graham



               The Indian Leader has reached                   out    to    Haskell     Indian Nations          University             HINU administration
regarding the          2020      Census with no responses                   or action taken        towards getting students counted                           for the

census123            Under your new leadership and with your involvement                                   the Indian             Leader would          like   to   see

efforts to       collect   student      census     information




I    HINU       is
                     responsible for reporting            on campus           student     census     data



               Group housing           for   students     living    in     residential    dorms shall have                their   census information

collected        and reported by IIINU              as part of the          Group Quarters Enumeration Project4 Students                                  to   be

counted        are those    that      would have been living                in   the   dorms April 1 2020                    students       who were off

campus April 1 as a result of COVID19 pandemic response                                          efforts    are still       to    be   counted     if   they under
normal circumstances                  would have been living on campus                         on April 1 which              is   an estimated          500

students56




II    HINU       does not       have sufficient         information         on file to report without            student          outreach



               Information collected             by admissions and other HINU                      departments             do not paint a full           picture     of

student        information       to   be reported to the United States Census Bureau                                 For example           HINU         does not




I
    Email from the     Indian    Leader to Ernest Wilson        and   Tonia Salvini      Mar 24 2020 on file with author

2   Email from the     Indian    Leader to Lenora       Goombi     Mar 25 2020 on file with author

3
    Email from Jared Nally to         Ernest   Wilson   and   Tonia Salvini      Apr 16 2020 on file            with      author


4
    Group Quarters Enumeration               https2020censusgoviencondlictingthecountgqgqehtml


5   Census Bureau       Statement     on Modifying 2020 Census              Operations   to   Make   Sure College         Students are     Counted       Mar 15
2020 littps2020censusgoviennewseventspressreleasesmodgthi                                     g02 0opexationshtml

6   Estimate   made from fall      2019 enrollment       numbers and        HINUs      website   which   says   80 of students           live   on campus      https
wwwhaskelledudegistrailenrollmentdata                         httpswwwbaskelleduadmissionswhyhaskell




           theindianleadercom            I
                                             155 Indian   Ave Box 4999             Lawrence       KS 66046       I   ti                  Pll




                                                                                                                                                                          U SA000642
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                                                               The Indian Leader
                                                              The oldest Native American Student                                 Newspaper


    collect         racial   data other than                  tribal    affiliation7         If   HINU     reported             all   students      as   Native American they

    would overlook those that are mixed race and would either self identity                                                                  as   more than one race or

    identify         singularly as another                     race other than              Native American




    III    HINU        failure       to   report      would have significant impacts



                    There     would be significant impacts if                               HINU      did not collect census                      information             There are

potential legal implications                              since        everyone       is    legally required to fill                  out the     census        and as part of the

    Group Enumeration Project                                 that   responsibility          falls    on H1NU              to   report      for   on campus students 89 There

may be additional                    impacts          in      Lawrences              Native       community           if    HINU           does not report student               census

data Indian Health Services                                   IHS       service      populations are based on official                             census data10            Lawrences

current Native population                            is       estimated       by the US Census Bureau at around 2500                                            not reporting         500

students             would     significantly                  impact     service       populations estimates and potentially                                               for IHS       until
                                                                                                                                                              funding

the        2030       census1112



IV Closing



                    Indian     Leader has previously                      tried       to    engage with          HINU           administration           to    collect     student

census data which personally                                   affects    Indian       Leader staff writers who are part of the student population

to        be reported by HINU13 Indian Leader as a result of HINU                                                      ghosting Indian               Leader emaiIs has since

published              an article         to   spread          awareness         on how students                should be             counted      and outlining           the


responsibility                HINU         has   to   its       studentsm This is our final attempt to engage with HINU                                                   administration

to        collect     and report census data by the extended                                      deadline       The Indian Leader will be covering                               this   story

again and hopes that it will be on actions the                                              HINU      administration                  has taken     to
                                                                                                                                                         report student           census

data          and not on the              failure     by HINU            to    do so Please remain                   in    contact         with the the Indian             Leader as

you take             actions        towards reporting The Indian Leader would                                          like      fulfill     our role     in   informing students

and the HINU                  community               by sharing any public statements                               or releases            by the administration                which

may inform students                        on how they can work                       with        HINU     to    be counted             during the        2020 census




7Adinissions           Application         napswwwhaskelledudownloadsadmissionAdmissions20Applicationproof271813pdf


8    Who       is   Required    to   Respond https2020censussovienatmirequiredhtml

9
     surpct    Note    4



HI
      Overview         of the Indian       Health     Services         Program        h t         w   ih         v         11   1      I          ions   tree s       9    vD V1101



II    US Census Bureau Quick Facts Lawrence                                   city   KS Intpswww                censusgoviquickfactslawrencecitylcansas


12

      sttrpa   Note     6



13
      surpa    Note        1 Note    2 and Note           3



14    Indian    Leader Article            2020 Census Apr 13 2020 httpwwwtheindianleadcrcom202004132020census



               theindianleadercom                1
                                                      155 Indian         Ave Box 4999 Lawrence                        KS 66046                                  P11                      i




                                                                                                                                                                                                 U SA000643
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                                       The Indian Leader
                                      The oldest Native American Student          Newspaper


           Thank    you for your partnership and pride with working             with the Indian Leader the oldest

                                newspaper and one of HINUs oldest legacies
Native    American student




Sincerely




Jav6d    Nally

Editor    for The   Indian   Leader



Cc         Steven   Prue Office      of the President

           Tonia Salvini Vice President of Student             Services

           Ernest Wilson      Acting    Supervisor     Student      Housing

           Lenora Goombi University              Services   Staff




         theindianleadercom     I
                                    155 Indian   Ave Box 4999 Lawrence        KS 66046   I   indianleader10gmai1com




                                                                                                                      U SA000644
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    FW HINU 2020 Census Efforts

Salvini             Tonia         L   <toniasalviniBIEEDU>

To       Graham Ronald                J   <RONALDGRAHAMBIEEDU>
Cc       Ernest Wilson            <ewilsonHASKELLedu>               Stephen   Prue BIE      <stephenprueBIEEDU>               Ionia       Salvini


L                           Pll




0    2   attachments              264 KB

2020 Census Group Quarters eResponse                          Invitation   HINU   2020 Census Efforts




Ron


I    have been working                       with   Maria Boyd       and Malinda Green from the Census                      Bureau          2020


We are filing                a    Group        Quarters      eResponse        through my office and the                 registrar




The attached                     email was received          on the 10th and were waiting                 for a      revision   and       just      received   the go

ahead          to use this eprogram



Lou Hara             is
                           drawing          out the data      from   CAMS for each of the            Hails      to encode            I

                                                                                                                                         spoke with her this

morning to begin work on the encoding                                   and offered to        assist her       to complete           this



This      is   the       first    time Haskell        has comprehensively           participated         in   the    Census



As soon             as    we are completed                   ensuring      we are   fuily   loaded   I    can respond           to       whomever       at   the Indian

Leader



If
     you have any questions please                            let   me know


      Tonia




Tonia          L   Salvini


Northern             Paiute

Pronouns                  sheher

Vice      President                   University    Services

Haskell            Indian         Nations      UnHiersity

Pushmataha                  Hall          1Lawrence     KS   66046

7858302753
Haskell            Indian Nations              University      Viewbook

Haskell            Indian Nations              University



    The mission of Haskell                     Indian    Nations     University     is   to build   the       leadership capacity             of our students       by

serving as the leading                        institution    of academic       excellence      cultural        and    intellectual         prominence and
holistic           education              to address the needs        of   Indigenous       communities




                                                                                                                                                                    USA000645
Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 118 of 386




                     EXHIBIT 15




                                                                          U SA000646
                   Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 119 of 386

11132020                                                                                            Mail    Jim Rains        Outlook




      Deans                 please forward this message to your faculty


      Jim Rains               <jrainsHASKELLedu>
      Fri   7102020 1132 AM

      To    Carrie Cornelius              <ccorneliusHASKELLedu>                    Joshua     Falleaf     <jfalleafHASKELLedu>             Julia   GoodFox

      <jgoodfaxHASKELLedu>                           cherylchuckluckbieedu                   <cherylchuckluckbieedu>                   tracypargeetsbieedu

      <tracypargeetsbieedu>
      Cc    tracypargeetsbieedu                      <tracypargeetsbieedu>


      Deans and Faculty


      The remainder of the summer weeks                                 will   be an especially            busy time for Haskells           faculty       We are again       preparing

      for   a fully         online       semester      and we want to ensure                  a   high quality     learning experience              for   our   students     Appearing
      below        is   a   list   of activities that        many of you           will    be asked to participate in


                   Department program reviews
                   Course           migration to the          new     Blackboard           platform

                   Training          and    certification      on the new Blackboard                  platform

                   Library textbook               alternative       training

                   Presidential            Strategic       planning     committees
                   Various          DOI Talent       training
                   Various department                  activitiesnew            program development                    program improvements                etc


      All   of these         activities      are designed         to contribute            to the   improvement of the student experience                        at Haskell

      especially            during the       COVID19 pandemic                  and the Universitys              transition       to online course         delivery    In the     days
      ahead you              will    be receiving          more scheduling            information          about these activities




      Due     to    the      urgency        of these       activities    and the need to focus on the successful                         completion of these           tasks     Haskells

      administration                is
                                         directing   all
                                                            faculty to temporarily            step    down from         faculty sponsorship roles in student                    clubs   and

      other    non teaching                activities       grant     activities    are     exempt from         this   directive       Faculty   sponsorship         roles   with student

      clubs    may be resumed when                          in person     classes         resume The         University will       be implementing a new               policy    that

      establishes a rotating sponsorship process                                for   student       clubs which         is   intended    to allow     equal     opportunity       for   all



      faculty to participate                 in   university service           such       as club   sponsorship




      Jim Rains               PhD

      Acting       Vice President of Academics

      Haskell       Indian          Nations       University

      155 Indian Avenue

      Lawrence KS 66046


      Phone         785 7498494




httpsoutlookofficecommailisearchidAAQI<AGQ0MDkzZGE5LTU2ZTMtNDhjZiO5ZWaxLWNiMTAwMGYzrAOZAAQAExz5Vx9mUnvsulAT9J7Lka                                                                                11




                                                                                                                                                                                              USA000647
Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 120 of 386




                     EXHIBIT 16




                                                                          U SA000648
              Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 121 of 386

                               United              States           Department of the Interior
                                                             BUREAU OF INDIAN EDUCATION
                                            HASKELL INDIAN NATIONS UNIVERSITY
                                                                   Office     of the President
          9737wCY
                                                             Lawrence Kansas                660464800
                                                   Phone          7857498497              Fax 7857498411

MEMORANDUM

To                      Beverly          Fortner       President Haskell                 Student Senate

                        Brenda Sehildt                Acting        Vice President          for University         Services



Cc                      Steve Byington                Finance

                                                                                    r

From                    Dr Venida Chenault

PresidentSubject        Student          Fee Distribution Proposal



Date                    November            7 2014

After conducting           a   review        of the distribution             of the student          fee revenue     it   is   being proposed         that a   change   be

made in the distribution of student                         activity       fees    Currently these funds            are distributed to          Student    Activities     and

the       Indian Leader Association



It   is   recommended          that      student    fees also       be used to properly support student governance                             and leadership by

ensuring the Haskell                 Student      Senate and         its   sanctioned Clubs and Organizations benefit from the student

activity      fees as well as Student                Activities        and the Indian Leader Association



This       memo provides direction for the distribution                             of Student        Fees collected           each semester and changes that

would be required              to    implement        this recommendation                   Student fees are to be used to support student                       activities

that      enrich and enhance              student    life    at    Haskell        These funds would be issued to Student                       Senate    13      Student

Activities          13 and Indian Leader Association                              Currently Student Activities                  receives     23 Indian Leader
Association           13 and Student           Senate receives              zero


The Bursars Office                  is   responsible for the collection                  of student     activity    fees       with monthly disbursements               of fees

collected       throughout          the    year     The amount             distributed     is   based on total student                enrollment     and the student

              fee     Based on           a sample    enrollment            of 750 students per semester and the fee of $3500
activity                                                                                                                                                per student this
would        total   $52500         annually



Upon a favorable vote                    of the Student       Senate this proposal would be implemented and changes would be made

effective Spring 2015




The change would               result in      fee revenue           being divided          equally between          Student       Senate      the Indian Leader

Association          and Student           Activities        The revenue           amounts       will
                                                                                                        vary each semester
                                                                                                                           based on the number of

enrolled       students    and fees collected



This change           in distribution will           provide        needed resources            to   support    student        governance       as   represented    by the
Student       Senate and the clubs                and organizations that comprise the Senate                              It   will    be the responsibility of the

Student       Senate to develop             processes         to   properly administer the funds requesting funds                             and awarding funds and

ensuring these funds                 enhance the experiences                 of all Haskell          students      These processes            are required      and must be

in   place    in order to       implement           this    change

                                                                                        18842014
                                                     Celebrating       130   Years of Indian Education         and Resilience




                                                                                                                                                                    U SA000649
                      Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 122 of 386
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Student Senate                message




                                    HINU Student Government Association
                                    August          171   2020 at 315 PM          447t




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                                               eLa4
                                                      Uat          decisioi

                                       11pdH                       ell

           Since canctionmg                 will   be not be

           happening               you are not bound         by SGA
           rules and           procedures

                                            2 of                                              3 of




                                    HINU Student Government Association
                                    Auaust 17             2020      it   256 AM
                                                                                                                  USA000650
 Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 123 of 386




Re      Indian            Leader Funding


Byington Steve                    K <stevebyingtonBIEEDU>

Tue 10272020               1035   AM

To     Prue    Stephen         C <stephenprueBIEEDU>

Jeri   says they have              access to their funding           but   no   payroll   has been      submitted since the

sumnner



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax 7858302760

stevebyingtonbieedu




From Byington                  Steve       K <stevebyingtonBIEEDU>

Sent Tuesday October 27 2020 1032 AM

To Prue Stephen                  C <stephenprueBIEEDU>

Subject        Re Indian Leader Funding



Jeri   and     I   are separating             the $35 Activity     Fee this semester       so the funding        will    be transferred

into their         account             I
                                           am not aware of any restrictions to their account                I   will    check   with Jeri to

see    when         the    last   batch       of checks     was written    for their   writers   They are not sanctioned              this

semester because                  SGA decided             against sanctioning    any groups      this   semester



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax   7858302760
stevebyingtonbieedu




From Prue Stephen                  C <stephenprueBIEEDU>

Sent Tuesday October 27 2020 1027 AM

To Byington Steve                 K <stevebyingtonBIEEDU>


Subject       Indian       Leader Funding




Steve



Please    update               me on the Indian Leaders funding                 Are they sanctioned        and funded           The

article   in       the    LJ   World indicates they are not funded




                                                                                                                                         USA000651
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httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarns
studenteditoragainstattacksthreatensdisciplinegroupsdenounceactionasfirst

amendmentviolation




                                                                Haskell            president warns student

                                                                editor against attacks                                 threatens

                                                                discipline groups                           denounce

                                                                action           as      First     Amendment
                                                                violation


                                                                The   editor       in    chief   of   the student newspaper           at

                                                                Haskell         Indian    Nations       University            the
                                                                                                                       says

                                                                university        president        is
                                                                                                        threatening     his   First


                                                                Amendment               rights    and teaching         Native

                                                                American scholars                that    they dont have voices



                                                                www21jworldcom




Stephen Prue

Special   Assistant

Haskell     Indian    Nations    University




Our Mission at Haskell Indian Nations University                      is   to   build    the   leadership   capacity   of our students     by

serving   as the    leading   institution of academic excellence           cultural      and    intellectual   prominence and holistic
education    that    addresses   the   needs   of Indigenous   communities




                                                                                                                                                USA000652
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    Fw Indian Leader                             Payroll       and Financial Document                       Request

    Steven             Byington            <sbyingtonHASKELLedu>
Thu 20210401                    324 PM

To            Byington       Steve    K   <stevebyingtonBIEEDU>                     Melanie Daniel    <mdanielHASKELLedu>



          1    attachments      262 KB

    ILA       Fall   2020 Expense         Report   pdf



Attached                is   the last withdrawal                  request      from Indian Leader for            Fall   2020




    From Jared Nally <jarednallyHASKELLedu>
Sent             Friday January             8 2021 1244 PM
To jerisleddbieedu <jerisleddbieedu>                                                Jeri   Sledd <jsleddFIASKELLedu>

Cc Ronald Graham <rgraharnHASKELLedu>                                                 Rhonda    Levaldo    <rlevaldoHASKELLedu>                 Steven      Byington

<sbyingtonHASKELLedu>                                      Mona   Franklin      <monafranklinbieedu>

Subject                Indian    Leader Payroll and               Financial     Document        Request




aya Jed



    Ive attached                the       Indian          Leader Associations              pay roil to   this   email Please     let    me know        if   I
                                                                                                                                                                need   to

    provide            anything           else   to       have our writers and photographers paid for their work                               for   the    fall   semester



Several               times this semester                    September 3rd September                      10th and October          19th       Ive   attempted to

engage you and the student                                    bank to receive              balance statements of the           Indian        Leader Associations

student                bank     account               I
                                                          am attempting             again to ask you to please provide                 all   past statements           for   our

account                for    last
                                      year 2020 This                 is   crucial   information      for the     planning   of Indian          leader Association

activities




    I   would          also   like    to affirm whether or not                      HINU     approved      and acknowledged              the    Indian      Leader

Associations                    Plan of Operations sent to you on September                                     3rd



I

        appreciate            your cooperation                  in   assisting       the Indian      Leader Association        in   their financial             operations



Jared Nally Editor In Chief



Get Outlook for iOS




                                                                                                                                                                        USA000653
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FALL 2020 EXPENSE REPORT                                                  1




               Fall 2020 Indian Leader Association       Expense Report




                                Jared   E Nally Editor

                        Jayde   Lanham    SecretaryTreasurer




                           The Indian Leader Association



                         Haskell Indian Nations University



                            155 Indian Ave    Box 4999


                                Lawrence KS 66046




                                                                              U SA000654
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FALL 2020 EXPENSE REPORT                                                                                        2




       The following are the fall 2020 semester expenses           for the    Indian Leader Association




ending on December       31 2020   Applicable    receipts   and invoices     are   included in the appendix




                                          Fall   2020 Expenses



Item Description                                                           Qty              Rate          Total




Arquette   Zachary



   Arficle    New Mural Honors Wetlands                                    938             $010         $9380



   Photography         New Mural Honors Wetlands                              3               $5              $15



                                                                                            Total      $10880



Banks Tyran


   Video Interviews with Haskell         Student                           12                $15          $750



                                                                                            Total         $750


Begay Delilah


   Video     HINU      Online Learning                                     13                $15               $5



                                                                                            Total              $5



Bointy Kayla



   Distribution Manager Pay                                                   1              $50              $50



   Article   Graduating HINU       Student                                 485             $010         $4850



                                                                                            Total       $9850


Chickaway     Shayla



   Video     HINU Online Learning                                          13                $15               $5



                                                                                           Total               $5




                                                                                                                    U SA000655
  Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 128 of 386



FALL 2020 EXPENSE REPORT                                                        3




Lanham   Jayde



   SecretaryTreasurer         Pay                             1     $50       $50



   Article Student      Responses to Presidential           320   $010      $3200


                                                                   Total   $8200



MacDonald      Connor



   Assistant Editor Pay                                       1     $50       $50


   Reimbursement Monthly Adobe License           Appendix     3   $3149    $9447


                                                                   Total   $14447


Manygoats     Alexander



   Video Interviews       with Haskell    Student           12      $15     $750


                                                                   Total    $750




Nally Jared



   Editor Pay                                                 1     $50       $50



   Article    Study Body President Steps     Down           203   $010     $2030


   Article    Member     of the Haskell   Family            113   $010     $1130


   Article Curtis Worker Nia        Schexnider              120   $010     $1200



   Article    Change    the   Mascot                        208   $010     $2080



   Article    KC Football Honoree                           217   $010     $2170


   Article Veterans      Day Celebration                    191   $010     $1910



   Article    The Indian Leader Wins                        110   $010     $1100



   Article    6th   Grader Seeks    Help                    396   $010     $3960




                                                                                    U SA000656
  Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 129 of 386



FALL 2020 EXPENSE REPORT                                                            4




   Article Its Not Just      $475                         763         $010      $7630


   Article Native Author         to   Release             270         $010      $2700


   Article Haskell Altunni Involved             in        207         $010      $2070


   Article    President Supports           Athletic       288         $010      $2880


   Article    New Leadership          in   Womens         259         $010      $2590


   Article Haskell Instructor          Honored            301         $010      $3010


   Article Native       Themed    Sports     Mascots      414         $010      $4140



   Photography        KC Football Honoree                   3            $5       $15



   Photography        Veterans Day Celebration              3            $5       $15



   Photography        President Supports       Athletic     1            $5        $5



   Photography        Haskell   Instructor     Honored      2            $5       $10



   Video     KC Football Honoree                            1           $15       $15



                                                                      Total      $519


Sloan Makayla


   Article Quarantine       Creations                     519         $010      $5190



                                                                      Total     $5190



Walters   Christian




   Video     HINU     Online Learning                     13            $15        $5



                                                                      Total        $5



                                                                Grand Total   $103467




                                                                                        U SA000657
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FALL 2020 EXPENSE REPORT                                               5




                               Appendix




                                                                           U SA000658
                      Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 131 of 386

                                                                 INVOICE

                                                                                                                               Reprint                               Page   1   of   1



                           Adobe   Inc
                                                                                                                               Invoice      Number        1220905622
                           345 Park Ave
                           San Jose      CA 95110                                                                                           Date         JUL0320
     F471
                                                                                                                               Invoice


                                                                                                                               Payment Terms             Credit   Card



     Adobe                                                                                                                     Due     Date              JUL1020

                                                                                                                               Purchase         Order    ADD051216981


                                                                                                                               Contract       No         00004400


                                                                                                                               Order       Number        7016866901

                                                                                                                               Order       Data          JUL0320

                                                                                                                               Customer         No       1452233

              Bill   To                                                                                                        Bill   to   No            1209578935

             Connor       MacDonald
                                                                                                                               Adobe Contact           Information
             6646W KINSINGTON              AVE
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             AK 996839832




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                    Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 132 of 386

                                                                  INVOICE

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                          Adobe   Inc
                                                                                                                                  Invoice       Number       1236658011
                          345   Park   Ave
                          San Jose      CA 95110                                                                                  Invoice      Date         AUG0320

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    Adobe                                                                                                                         Due Date                  AUG1020

                                                                                                                                  Purchase          Order   ADD051216981

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                                                                                                                                  Order Number              7016866901

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            Bill   To                                                                                                             Bill    to   No           1209578935
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           AK 996839832




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Comments




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                  Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 133 of 386

                                                                INVOICE

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                        Adobe   Inc
                                                                                                                              Invoice     Number        1253404678
                        845 Park Ave
                        San Jose      CA 95110                                                                                Invoice     Date         SEP0320

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    Adobe                                                                                                                     Due Date                 SEP1020

                                                                                                                              Purchase         Order   ADD051216981

                                                                                                                              Contract      No         00004490


                                                                                                                              Order Number             7016866901

                                                                                                                              Order Date               JUL0320

                                                                                                                              Customer         No      1452233

           Bill   To                                                                                                          Bill   to   No           1209578935

           Connor      MacDonald
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Comments




                                                                                                                                                                          USA000661
                    Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 134 of 386


            Re Indian           Leader Payroll and                    Financial       Document Request

    Jeri           Sledd     <jsleddHASKELLedu>
        Mon 1112021              209     PM

    To            Jared Nally   <jarednallyHASKELLedu>                 jerisleddbieedu          <jerisleddbieedu>
        Cc        Ronald   Graham       <rgrahamHASKELLedu>                 Rhonda    Levaldo   <rlevaldoHASKELLedu>                  Steven       Byington

            <sbyingtonHASKELLedu>                 Mona   Franklin      <monafranklinbieedu>



    0         1   attachments         595 KB

        ILA 2020       statement0001pdf



    Jared



        I   have received your request                   for checks         to cut for the ILA staff        I   will   just   need to have both you and
        Rhonda          concur to the withdrawal of funds so that                          I   can attach the email to a withdrawal                            slip   in   lieu of


    signatures



    I       have      also   attached         your 2020 statement of account                     Please   let   me know         if    you have questions


    I       am on campus daily now and                     I   will   read the plan of operations and forward                              them to the appropriate
    signers Once                  it   has been    signed       I   will   forward you a copy



    Let           me know        if
                                       you need further assistance


    Jeri          Sledd

    Haskell            Indian Nations           University

    7857498435
    Student             Bank



    From Jared Nally ciarednallyHASKELLedu>
    Sent            Friday January         8 2021 644 PM
    To jerisleddbleedu <jerisleddbieedu> Jeri Sledd <jsleddHASKELLedu>
    Cc Ronald              Graham <rgrahamHASKELLedu>                           Rhonda     Levaldo    <rlevaldoHASKELLedu>                          Steven Byington

    <sbyingtonHASKELLedu>                           Mona       Franklin     <monafranklinbieedu>

    Subject            Indian         Leader Payroll and       Financial    Document       Request




    aya Jeri



    Ive attached                the      Indian   Leader Associations pay roll                   to this email Please                let    me know       if    I   need to

    provide            anything          else to have      our writers and photographers paid for their work for the                                           fall   semester



Several                times this semester           September 3rd September                         10th and October                  19th Ive attempted to

engage you and the student                               bank to receive             balance statements of the Indian                            Leader Associations

student                bank accountI               am attempting              again to ask you to please provide                           all   past statements            for   our

account for last year 2020 This                                is   crucial   information for the          planning           of Indian            leader Association

activities




I           would also          like    to affirm whether or not               HINU approved          and acknowledged                       the    Indian     Leader

Associations                     Plan of Operations             sent to
                                                                              you on September            3rd




                                                                                                                                                                           USA000662
                 Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 135 of 386

11121      at   13145345                                                                                                           Page   1



                                                                           Student Bank
                                                                          Vendor Ledgers
                                             For the PeHod                From Jan 1 2020 to Dec 31 2020
Filter   Criteria   includes   1 IDs 23258 Report    order is   by   ID


 Vendor ID                            Date          Trans No                Type   Paid    Debit   Amt   Credit   Amt    Balance
 Vendor


 23258                                1120          Balance     Fwd                                                      560171
 INDIAN LEADER ASSOC                  2620          053006                  CDJ                7000                      553171
                                      22120         0417347                 CRJ                               3000       656171
                                      22420         68432                   CDJ               10020                      546151
                                      22420         68433                   CDJ               14500                      531651
                                      22420         68434                   CDJ                6650                      525001
                                      22420         68435                   CDJ               34320                      490681
                                      22420         68436                   CDJ                5000                      485681
                                      22420         68437                   CDJ                5500                      480181
                                      22420         68438                   CDJ                2950                      477231
                                      22420         68439                   CDJ                2110                      475121
                                      22420         68440                   CDJ               39848                      435273
                                      22420         72JDSTRF224             CRJ                            353167        788440
                                      22620         053027                  CDJ               10000                      778440
                                      22820         0417384                 CRJ                                   2647   781087
                                      3420          053033                  CDJ                8000                      773087
                                      3520          68579                   CDJ                4000                      769087
                                      3520          68580                   CDJ               19270                      749817
                                      3520          68581                   CDJ                9770                      740047
                                      3520          68582                   Ca                15450                      724597
                                      3520          68583                   CDJ               16690                      707907
                                      3520          68584                   CDJ                9560                      698347
                                      3520          68585                   CDJ                4480                      693867
                                      3520          68586                   CDJ                6370                      687497
                                      31020         0417418                 CRJ                                   1564   689061
                                      52620         68928                   CDJ                 500                      688561
                                      52620         68929                   CDJ                5440                      683121
                                      52620         68930                   CDJ                6230                      676891
                                      52620         68931                   CDJ               19210                      657681
                                       52620        68932                   CDJ              28640                       629041
                                       52620        68933                   CDJ               5000                       624041
                                       52620        68934                   CDJ               5000                       619041
                                       52620        68935                   CDJ               2710                       616331
                                       52620        68936                   CDJ                 500                      615831
                                       52620        68937                   CDJ                9530                      606301
                                       52620        68938                   CDJ             147244                       459057
                                       72420        68982                   CDJ               11250                      447807
                                       72420        68983                   CDJ               34020                      413787
                                       72420        68984                   CDJ               13710                      400077
                                       72420        68985                   CDJ                8170                      391907
                                       72420        68986                   CDJ                3220                      388687
                                       72420        68987                   CDJ                2450                      386237
                                       72420        68988                   CDJ                5700                      380637
                                       72420        68989                   CDJ               33810                      346727
                                       72420        68990                   CDJ                6600                      340127
                                       72420        68991                   CDJ                5000                      335127
                                       72420        68992                   Clif               6000                      330127
                                       72420        68993                   CDJ                3760                      326367
                                       72420        68994                   CDJ                3730                      322637
                                       72420        68996                   CDJ                3690                      318947
                                       73120        69004                   CDJ               43000                      275947
                                       8720         T2JDSTRF080             CRJ                             452600       728547
                                       102920       T2JDSTRF102             CRJ                               65334      793881


  Report Total                                                                               644602         878312       793881




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Fail   2020          Pell   Grant Activity Fees




                                                                                                                          6                       >
           Byington           Steve K
 BK
                                        AM
                                                                                                                                        4
           Tue       322021     1151

           To        Graham Ronald J Franklin          Mona


           There was $7280                total   Activity    Fees collected   from   Pell   Grant   in   Fall   2020 so the Indian Leader   Recreation
           and Student Senate                 will   each receive $242667         This will    likely     be completed    this   week




           Steve Byington

           Finance Specialist




           Bureau of Indian Education
           Haskell          Indian Nations      University

           155 Indian          Ave

           Lawrence           KS 66046
           Office       785 8302780
           Fax 785 8302760


           Website wwwhaskelledu




           Reply               Reply    all          Forward




                                                                                                                                               USA000664
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Fw EXTERNAL Re Sanctioned Clubs


     0   You forwarded             this   message on Tue 392021      412 PM




                                                                                                                6
                              Steve K
                                                                                                                                         >
         Byington
 RIC
         Wed 332021                1118    AM
                                                                                                                             t
         To        Frankfin    Mona



                         clubspdf

                         2    MB




         Steve Byington

         Finance         Specialist




         Bureau of Indian Education

         Haskell        Indian Nations            University

         155 Indian           Ave

         Lawrence            KS         66046

         Office
                      785 8302780
         Fax 785 8302760


         Website wwwhaskelledu




         From Jeri Sledd <jsleddHASKELLedu>
         Sent Wednesday                    March 3 2021 1030 AM

         To Byington Steve                  K <steyebyingtonBIEEDU>

         Subject         EXTERNAL Re Sanctioned                  Clubs




                      This email has been received                   from outside of DOI          Use caution before   clicking   on links

                                                                 opening    attachments or responding




         Not the Student                  Bank      but Student    Senate   does   Please   see attached



         Jeri




         From Byington Steve                    K   <stevebyingtonBIEEDU>

         Sent Tuesday March                     2 2021 1132 PM
         To Jeri Sledd <jsledclHASKELLedu>

         Subject        Fwd Sanctioned               Clubs




                                                                                                                                       USA000665
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              0404

                                   Haskell Indian Nations University

             W
                         Guidelines for Registration of Clubs                                Organizations


General Statement

        All clubs and organizations at Haskell                 Indian Nations University are required tO register with

the Haskell      Student     Senate     Registration     provides    for   official   recognition as a group use of University

facilities   and services       and the coordination        and communication of the groups                    activities   with the


campus       administration       and other student groups



Classification

        The                   types of organizations are eligible
                 following                                                    to register    with Haskell      Indian Nations


University through         the Haskell Student          Senate



    1   Residential     Halls organized living groups            and their associations
    2   Academic
                       groups related to academic           discipline     or interest of the University

    3   Re4gious groups           affiliated   with or promoting religion religious beliefs or lack thereof

    4   Common Interest groups formed                  for social interaction to promote or relate to a defined                  interest




Responsibilities of Student                 Clubs       Organizations
        Each     student group        must adhere to the following which                is   taken    from Section   IV of the Haskell
Student Senate         Constitution



    1 Must have          a fulltime Haskell Indian          Nations University Staff or Faculty as SponsorAdvisor

    2   Must submit an Organizational                  Registration Application
                                                                                        and Plan of Operations by the

        deadline       to the Student       Senate   for approval

    3   Must appoint one            1 Senator and one 1             Alternate     who are in Good Academic                  and Social

        Standing to attend           meetings of the Student            Senate

    4   Report major changes             of their Plan of Operations to the Haskell                  Student    Senate Changes must

        be written and documented                in a new version of the Plan of Operations



Duties of Student          Senate      Representatives
Each Senator must adhere              to the following       which is taken       from Section I Article        G of the Haskell
Student Senate Constitution



    1   Represent       their
                                group is aware of opinions and ideas prevalent                   to   their respective       organization

        and votes       accordingly

    2   Serve     on   at least   one committee per semester and               stay
                                                                                      with that committee          they have    chosen

        for the remainder of their              term
    3   Relay information to their groups                so that they may be informed                and aware of important        details


        given     at the Haskell      Student     Senate   meetings
    4   Present a verbal presentation and written report of their group to the Haskell Student Senate

        on a monthly basis

    5   Follow and abide by all other obligations and                    duties as    detailed in the Constitution            of the

        Student      Senate




Organization      Recognition      Packet      201420151 HINU       Student    Senate




                                                                                                                                   USA000666
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  ole of a SponsorAdvisor

           All sponsorsadvisors               must provide          constructive     leadership         to their student        group in addition
to requirements            regarding                                                  This                   is   required    to
                                        organizational responsibilities                          person


      1    Attend     as   many cluborganization Meetings                     as   possible in accordance               with each organizations

           plan of operations          constitution or bylaws whichever                      may apply
      2    Have knowledge            regarding operational procedures banking                           policies     and federal ethics

      3    Ensure the Senate           Representative        of the cluborganization                   is   attending   Haskell     Student    Senate


           meetings        to strengthen      the communication              between      all   clubs



The       Registration Process
Student ClubsOrganizations must register once each academic           Haskell                                                  Indian Nations

                                                      5
                                                            year with

University Student            Senate    Steps     1        need to be completed by the designated deadline                           date Any

applications    that are received             after this   date without        prior approval will be referred to the General

Assembly of Haskell Student                   Senate    for a sanctioning          vote



      1     Recruit at least 10 members to
                                           your group hold a meeting
                                                                                                        and elect officers

      2 Have        the    SponsorAdvisor and Senate                    Representative          fill   out the Organizational Registration

           Application
      3    Complete the Signature               Sheet

      4    Register with the Haskell              Student Bank          and submit a copy of the Organizational Registration

           Application        with Plan of Operations attached

      5 Submit a completed and updated Organizational Registration Application with Plan of
           Operations attached            to the      Student       Senate   Office in Stidham              Union


The       Haskell Student Senate               Executive            Board will review the registration                   materials and

determine


      1    If the group       is   eligible   to register with Haskell             Indian Nations University

      2    The groups request for classification                category
      3 The responsibility             for verification      of membership rests with the student group and its

           sponsoradvisor
      4    When      a student      cluborganization is granted                official    recognition            sanctioned       they will   receive

           notice    in writing delivered             to the organizations           President Senate Representative                   and

           Alternate Senate                                at their     respective     addresses            as listed in the Organization
                                     Representative

                              Packet and the date of the first General Assembly meeting                                      that their Senate
           Recognition

           Representative          will be required to attend

      5    Denial will be issued in writing



                                                             about registration                        should     submit a petition in writing
      Groups wishing to appeal                a decision                                  status


                  why they deem their group should be sanctioned to the
                                                                         Haskell Student Senate
stating    reasons

Executive     Board The petition will be presented to the General Assembly on their next meeting date
and brought to a vote              A twothitds         23       majority vote of the General Assembly is required to

reverse the decision




Organization        Recognition      Packet 20142015            I
                                                                    HINU Student Senate                                                                  2




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Re Plan of Operation                Haskell       Indian Leader



          Bureau of Indian Education
          US Department of the Interior
          1849 C Street NW MIB3610

          Washington       DC 20240
          Cell   Phone    571 7327004

          Website wwwbieedu
          Facebook       BureauotindianEducation
          Twitter BureanIndianEdu




          From Franklin Mona <monafranklinBIEEDU>
          Sent Tuesday March            2 2021 452 PM
          To Jensen      Klarissa   L   <KLARISSAJENSENBIEEDU>

          Subject Plan of Operation          Haskell   Indian      Leader



          Klarissa



          Iam not sure this will be of any assistance                    to
                                                                              you but I have   included   the newspaper        Indian Leader plan
          of operation for the Haskell Bank

          The allegations       of Haskell    withholding          10K of course      are inaccurate



          The reimbursable          money    is   deposited as payments of fees activity             fees are made throughout          the academic

          year to the Indian Leader account              It   is   not a onetime      deposit Please      let   me know   if
                                                                                                                               you need any
          additional     information from us Thanks                for   your assistance


          Mona      R Franklin MSM
          Special Assistant to the President



          Bureau of Indian Education

          Haskell    Indian Nations University

          Lawrence     KS 66046
          Office    785 8326644
          Cell   785 7660039
          Fax 785 7498411



          Website wwwhaskelledu

          Facebetok      HaskellUniversity

          Twitter     HaskellUniversity




          Reply          Forward




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                                               Haskell Indian Nations University

                                                   Indian Leader Association




         Purpose

         The purpose of the Indian Leader Association                          is   to   provide   a media outlet to     serve the

         Haskell Indian Nations University                       campus and the local community by connecting
         mainstream or local news and cultural                       issues   across Indian Country to the Haskell

         campus and community The Indian Leader the                                 oldest   Native American         Student

         newspaper      is   an independent          student       media outlet of Haskell Indian Nations University

         and will    also    serve the student body by communicating                          important information that

         impacts student       academics          and campus         life




         The Indian Leader will produce                    a minimum          5     issues   per semester unless authorized by

         the Indian Leader Association Executive Board consisting of consensus ruling and

         authorized by the Indian Leader Association                          Advisor


         The Indian Leader Association                    is   published by the students           of Haskell Indian Nations

         University The newspaper                 exercises        their   individual     rights   to free   speech and freedom of

         the press guaranteed             by the First         Amendment       Rights have been expressly recognized as

         rights which        individual students enjoy               who attend Bureau of Indian Affairs                school     in

         Part 42 of Title 25 of the Code                  of Federal Regulations             Students    Rights and Due Process

         Procedures 25        CFR 423 e f 1998 These basic rights have also been reaffirmed in
         Part II of the Code            of Student    Rights and Responsibilities               of Haskell Indian Nations

         University    1998

         Goals

         The goals of the Indian Leader Association                         will    be to seek the    truth   and report the facts

         for the   betterment of Haskell             Indian Nations University and its                 students      The Indian

         Leader Association             will   initiate    ethical   standards       while reporting on issues related to the

         student    body of Haskell Indian Nations University


         The Indian Leader Association                    will    welcome     all   interested students       that   would   like to


         participate



         The main goal        is   to   promote Native American                issues      and provide an outlet for those

         stories to be      told and to provide the Haskell Indian Nations University with accurate

         reporting    while maintaining             awareness of Journalism ethics and standards



III      Faculty Advisor

         One or more faculty advisors may be appointed                               by Haskell Indian Nations University to
         assist students      in the publication               of The Indian Leader



             The    faculty    advisor may freely advise and instruct student                         editors   and   reporters in the

             subject    of jouirialism and relevant professional                         standards   comment and        critique   the

             product of student journalists and offer fiscal and technological guidance                                   to the




                                                                                                                                             U SA000669
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                                                                                                                                          4




       Indian Leader Association                 The advisor may provide what assistance needed                              to


       produce        the Indian Leader newspaper



       A faculty advisor may make non binding recommendations to the student                                               editors

       which the student              editors   may    in their     sole      discretion take into consideration              in    the

       free    exercise     of the independent          editorial        judgment Although               a faculty     advisor of the

       Chapter may freely offer advice                  or assistance to the student                   members of the Chapter

       neither the faculty            advisor nor other Haskell                officer    or employee has the right to

       censor modify            in any    way    the   content      the       Association produces



IV     Newsroom          Polley

       The publication           titled   The Indian Leader Newsroom                           and Management Guidelines

       will    be policy for The Indian Leader newspaper                            The Indian Leader operates               in the

       same capacity            as a business therefore             everyone        will    be accountable        for   following

       regulations        and procedures



       The Indian Leader Association receives                        13 of the Student                Activity Fee and divided

       among other groups Student                  Activities        13 and Campus Activities                    Association       13
       The     financial    backing       of the Association             is   kept within the Haskell            Student    Bank and
       must follow banking procedures                    of the institution              The organization must follow

       banking policies under the supervision of the Haskell Student                                     Bank The monetary

       budget        must reflect only with supplies events newspapers magazines                                       or a direct cost

       of the Indian Leader Association and not a subsidiary group or division                                          The money

       set forth      toward the Association will be authorized for withdrawal                                  under the

       supervision of the Haskell               banking staff



       The Indian Leader Association                   is   also   under the Haskell            NAJA Native American
       Journalists       Association Student Chapter                     The Haskell           NAJA Student Chapter allows
       each branch         to   use   money obtained for the chapter for supplies related to each
       identified       field Indian Leader     print Haskell News videomultimedia


       The Indian Leader Association                   will   allow its         active   members with the use of

       equipment          cameras voice          recorders         etc    However         if   the   student   does not return the

       property of the Indian Leader Association                          then the penalty amount                value of the

       equipment will be charged                 to the     students          account     via the Haskell Business Office

       with the approval of the Indian Leader Association                                advisors


       There     will   be no misuse of the equipment which                         is   the sole     property of the Indian
       Leader Association               under the supervision                 of the Indian Leader Executive Board If

       there    is   a discrepancy of misusing equipment or the mistreatment of a fellow member

       then the student          breaking the procedures                 of the Association            will   revoke    hisher

       membership with the authority of the Editor and Assistant Editor only and                                             will   be

       asked not to participate the rest of the fiscal                         academic        year




                                                                                                                                              USA000670
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      If   an Indian Leader Association Executive Officer does not follow the procedures                                      of

      the   Association          then   a majority      vote of the active          members will take place

      nominated by the Advisor only


      Editor    In Chief
      Requirements               must be in good academicsocial                standing with at least two semesters

      of Indian Leader experience



      Duties
                Direct and supervise              all   Indian Leader functions

                Sets   semester         deadlines       with faculty       advisor

                Schedules          and conducts         weekly     staff   meetings

                Does chief reads on all copy before web and                           print   publication

                Checks       stories for legal          and ethical concerns


                Administration of The Indian Leader webpage


                Prepares layout


                Prepares final          copy and distributes          to   Assistant Editor and one

                other Executive Officer                 for proofing


                Sends final copy to printer

                Reviews          and approves payroll

                Represents          The Indian Leader on campus and                    in the   community


      The Editor will also be President                  of the Haskell       NAJA Student          Chapter The Editor

      may not vote         during business          meetings and will only vote during a tie breaker



      Assistant Editor

      Duties

                Supports          the Editor in all      Indian Leader functions

               Does        2nd   reads on   all   copy before web and print publication
                Assists Editor with The Indian Leader webpage                            administration

                Maintains          advertising      rates   and fields advertising inquiries

                Coordinates circulation and newspaper                        delivery to the following areas of

                campus
                       o     Navarre Hall Post office              area student bank           area admissions         Haskell

                             Foundation offices the Presidents                      office    the Registrars       office   the

                             VP of Academics office and financial                      aid

                       o     Coffin Sports complex

                       o     Sequoyah       Hall The Student           Success Center           Deans     office    across the

                             hall   from SSC math department north end of building                             and science

                             department       middle        east   side
                       o     Ross Hall humanities office                   tables    on both    sides   of building     Deans
                             office and offices in far           NE corner of building
                       o     Pontiac     Hall




                                                                                                                                   USA000671
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                    o   Parker Hall Lobby area department of education                        offices    and AIS

                        wing
                    o   Taminend          Hall

                    o   Facilities    Management officeWirmenaucca                  Hall

                    O   Blalock      Hall All    common areas
                    o   Roe Cloud Hall All common areas

                    O   Curtis Hall lobby

                    o   Tommaney Hall library               including     technology       center and     common
                        areas

                    O   Blue Eagle Hall

                    o   Pocahontas      Hall All       common      areas

                    O   Student      Conduct     OfficeMinoka

                    o   Winona Hall All common areas

                    o   Stidham Union The Eagles Nest TRIO Purple Threads the

                        Counseling Center and Student                Senate office

                    o   OK Hail all common areas and student housing offices
                    O   Tecumseh       Hall Student       Activities     and Alumni Association room

                        downstairs

                Responsible for any Editor duties in hisher absence



      The Asst Editor will be required to facilitate the fundraising opportunities                          for the

      Haskell   NAJA Student         Chapter as they arise The Assistant Editor                    may vote


      Secretaryareasuren           The SecretaryTreasurer              will   work with the Editor to help keep
      the   Indian Leader     Association      on budget by maintaining           financial        records as well as

      providing    accurate    accounts    of each      meeting


      Duties
                Provides financial      report at      each meeting

                Provides meeting minutes Minutes should be prepared                         and posted     to the

                Indian Leader Google drive within 2 days of each meeting Notification of

                posted minutes will be provided            to news      team via email or Indian Leader staff
                Facebook    page
                Payroll management as follows

                        o     The Editor will submit a final copy of the newspaper to

                              SecretaryTreasurer          upon submission         to printer

                        o     SecretaryTreasurer          will   submit prepared payroll to Editor or

                              Assistant Editor for approval

                        o     Once approved            SecretaryTreasurer        will   initiate    meeting to vote on

                              payroll

                        o     SecretaryTreasurer          will   obtain Advisors         signature and submit

                              payroll to the     student    bank
                        o     Once cheeks        are   picked up from the        bank    SecretaryTreasurer           will


                              notify check recipients via email or Indian Leader staff Facebook

                              page of wherewhen            to   get checks




                                                                                                                             USA000672
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               Ensures mail        is   picked    up from the post office and delivered          to the   Indian

               Leader office before each weekly meeting

               Maintains     voicemail          box and Indian Leader Gmail providing            staff with   a


               report    of the    activity     of each at meetings or as needed

               Maintains     Google       drive     documents
               Receives     and tracks          advertising   payments




                                                                                ent Senate Meetings and




      Duties




               Must generate         at least     one post per day
               Ensure3 Indian Leader              web stories arc posted       to social media in a   timely

                                                              rom wen
                                                                       4


                  DLIM                                                     acimmistrators

               Aids in training         staff   on use of wcb page




               teams on Indian Leader social media




      Leader
                                                                                    P
               Journal magazine or other form of Indian Leader publication outside of the

      newspaper The Cooperative Editor is authorized by the Editor In Chief to work with
      the Association      and Advisor           Anybills invoices or decisions         made by the


      budget   of the Association back              The Cooperative         Editor must make wise and

      conscious    decisions for the betterment of the Aasociation and                  its   members This
      EdRor must coorelinate            an outside business         meeting for each publication      and find staff

      to help with thcproduction              of said publication



      Indian    Leader WritersReportersActive                       Members      Each student    at Haskell   Indian

                                                         with the Indian Leader Association          Active
      Nations University          may participate
      members of The Indian Leader                 are   students   who    contribute to the publication     of each

      issue   of the newspaper          OR social mediaweb           content




                                                                                                                       USA000673
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          Executive        staff listed     below must have one published                article in each issue in order to

          receive    staff    pay


V         Pay     scale




           Editor                               $    5000      per newspaper
          Asst Editor                           $    5000      per newspaper

           Sports Editor                        4507140pernewspaper
          Wcb     Editor                                LI     U            IYE




           SecretaryTreasurer                   $    5000      per newspaper
           Student    Senate         Rep        $    5000      per newspaper

           Cooperative Editor                   $30000        12    paid midway       and 12 paid after project       is   final




          Articles        Web or print $05 per word
           Photos         $500 per published photo with the max limit of 3 per article Rate includes
          photos     published on social media Payee must be owner of all photos                                 provided
          Photo Collages              $1500     with permission only

          Other      social    media content            $500 per published submission of original this
          means created by you               creation    of video podeast radio audio                   or infographic

           Content will be reviewed on a case by case basis



          Additional pay may be authorized if the tasks and duties                             of members are related to an

          officer    status Officers         may be authorized double pay if they reach more than 30 hours
          with Indian Leader Association activities events                           and responsibilities Individual              pay
          shall   not exceed         $35000    per   issue    unless approved          by sponsor




VI        Use of Funds
          Funds     for    the operation of The Indian Leader will be used for the following

                           Invoices

                           Office supplies

                           Payroll

                            Campus events conducted                 or sponsored      by The Indian Leader



          Requests        for reimbursement          will    be considered         but as a general rule requests           for

          funds should be submitted in advance through                            executive    staff vote      recorded in

          meeting minutes and submitted to Haskell                         bank     for withdrawal




          The     individual     staff     member who        signs     for bank     withdrawals       will   be the responsible

          party for the       full    amount of funds        that   includes returning receipts              and unused funds

          Discrepancies         will   be   the sole responsibility of the individual                 handling    the monies

          Failure to return receipts and unused                    funds   regardless     of whether         the individual has

          left   campus      at the    close of the semester will           result in a       hold being placed      on   the


          responsible partys student                account    until    fundsreceipts         are   returned




                                                                                                                                        USA000674
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            The           Indian          Leader Newsroom

            Policy                and Management Guide




Credits The policy and      management   guide   is   adopted from The University Daily

Kansas with permission and modified      for   The Indian Leader Thanks     to   the Kansas

for their input   and direction




                                                                                              USA000675
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The Indian Leader
Newsroom                                Policy and                                  Management Guide



Introduction

Welcome         to       The Indian Leader The                 Indian          Leader Newsroom                          Policy    and Management                            Manual         is


developed           to   help    orient    students          faculty          staff      and others              in    the    management and production                                  of The

Indian     Leader



The Indian Leader Newsroom Policy and Management Guide was approved in the Spring of 1993 by the
Indian Leader Association publishers of the Indian Leader and the Haskell Yearbook


The Indian          Leader is edited and published                             by students             at    Haskell          Indian    Junior College                      for the      purpose        of

promoting the             free    and informed           debate and discussion                             of   1      topics     of special        interest               to    Haskell        students     and
alumni      2       issues of special importance to Native                                    Americans generally and                          3     all
                                                                                                                                                         newsworthy topics and
public     issues of general              Interest      to   American citizens The Haskell Yearbook                                            is    edited and published by
students       at    Haskell      Indian    Junior CollegeNations                             University          for   the     purpose        of   maintaining                   records        of the

previous       years       events



The Indian Leader Association is committed                                         to    improving           the      ability    of   Native    Americans to determine their own
destiny by providing               an     open public forum in which                            all   concerned               citizens     regardless     of race creed color sex

religion    or national           origin might          freely     discuss              the important public                    issues    of the      day The members of the
Association          believe       that   by providing         a public forum readers and contributors                                              alike will             improve their

understanding             of the true meaning                of leadership                    citizenship          and democracy               in    contemporary                    American society
through     an      open         honest    and fairminded                     exchange           of    views




Ethics                    and Policy
Standards           of conduct         for staff   members of The Indian Leader are the same as those adhered                                                                         to    by    any

responsible professional                   newspaper They                      are outlined                here    as guidelines that               staff       members are
expected       to    follow




This   policy       manual does not describe                       every           circumstance                 that    could     pose a problem                      It   does not answer

every    question          that   might arise Instead                    it   is   designed            to   establish           general       rules that editors                    reporters and

photographers              are    to   use in reporting            the        news and producing                        the     newspaper           Violation               of these        standards can

be grounds           for dismissal




Advance Viewing
Outside     review         of copy photographs                 or artwork                is   not permitted              unless        approved            in   advance             by the
editor For some              stories       such as those            that        involve         complex            scientific         information           a   knowledgeable
source     might be         asked       to verify       the accuracy                of   specific          elements of the story before                          it        is
                                                                                                                                                                                published         An
entire   story should             never    be reviewed             by someone                   outside          The Indian Leader staff Check                                    with   an editor

or   adviser     about      similar       situations




Conflicts        of Interest              The   first
                                                        obligation             of staff members is                      to   perform      their assigned                        Leader duties

To   do so staff members or anyone                            who writes                 for the      Leader must be                   free   from any obligation                          to   any
interest    other than the publics                  right     to   the        distribution            of   news and enlightened                     opinion




                                                                                                                                                                                                                   USA000676
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Staff    members should exercise                       great care      before          becoming              involved     in       any political        context            beyond voting
Under      no circumstances               may a staff member work                           for   pay or as a volunteer                    in   political           organizations or

campaigns


If   a relative     or close     friend    is   Involved        In   any political           activity          a staff member should                    tell        the   editors


and refrain from covering                 or making            news or editorial judgments about such a campaign                                                     or organization

Such precautions               should     be taken on all types of stories or photographs



Because         of the nature       of the       Leader and          its   readership               student        politics        and campus            political


organizations are even               more likely          to    create the           appearance                of partiality        than   traditional              political


organizations           Remember that the appearance                                 of bias      is   devastating            to   the   newspapers                  credibility         as   is



actual    bias



Other conflicts A Leader staff member may not work as a staff member                                                                     editor or      contributor               for any      other

publication         or news service            without the consent of the                         Leader editor           Staff       members who wish                       to    freelance

periodically for other            publications          also must seek                 permission from the editor                          Any staff member who                          is   found

hiding    his affiliation       with another            publication        also       must seek permission from the editor Any staff member who

is   found     hiding    his   affiliation      with    another publication                  will      be dismissed



Appearances             on radio or television               by Leader staff members may be permissible only                                                   if    reported       In



advance        to   the editor      Remember however                        that      only the         editor     may     talk      as a representative                     for   the

Leader



Gifts As journalists the obligations                           of staff     members are clear gather and report the news                                                   with     vigor      and

compassion           and report      it   without       prejudice



Staff    members must not use their positions                              at   the        Leader to obtain any benefit or advantage                                        not

afforded       to   the public     generally           Staff    members do not accept business related                                          gifts   or favors            either at


home      or in the      office




Staff    members should not accept free rooms sample equipment or goods                                                                  of any kind            Staff


members may not accept                     free      trips     Free tickets or access                    to    events     may be accepted                           but only when

special       arrangements for the press are necessary The press box at sporting                                                           events        is     an example

Editors       are responsible        for     making          certain   that      advantage              is   not being         taken       of certain          situations           Friends

or    guests      are not allowed         to    use Leader passes                     to   events



The Leader pays for tickets                     to   entertainment events                    that      staff    members are reviewing Books and

records        are accepted        only as news releases and become                                     the property of the                Leader



Leader members should                     not accept          free meals or drinks This does                             not       mean     that    staff           members

cannot accept           a cup     of coffee          or something that                can be repaid              later    Reporters             should         not however                be

wined     and dined while pursuing                     a story       The cost of meals incurred                          in   the course           of gathering              stories will


be     paid    by the Leader Generally however                             it   is   difficult    to    take     accurate          and complete                notes       while     eating



Any travel          must be approved             by the        editor and            the Association



When      in   doubt please follow the American Society                                     of    Professional           Journalists code of ethics                         in    the    back      of


the booklet




                                                                                                                                                                                                        U SA000677
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                                                                                                                                                                                                                kf




Dealing with the public

Courteous         and professional                    treatment            is   afforded         anyone         who telephones                     or walks        into    the    newsroom


Telephone             Etiquette                When        taking        messages be sure                      to     get the correct              name and phone number


Also include          your name                   the time and date the                     message            was received The telephone                              is   for   business      use only
Do not leave           this       number for personal                      messages              to   be taken by any staff member or the faculty                                       adviser



Complaints Complaints should be referred                                               to    the editor          If    no editor is available take a name and phone
number and            tell    the person             that    an        editor will     call      back     If   a complaint               is   in
                                                                                                                                                   any way abusive                or If the   staff

member is threatened                         write    a short but thorough                       memo and give                 it   to   the editor



Corrections                  The decision             to    run a correction                is   made by the editor When                              the     Leader incorrectly           has reported
a story or       misidentified               someone              in   a photograph               the   editor will       arrange              for   a correction           to   appear    promptly        It




may appear on Page 1    the story was on Page 1 Otherwise
                                             if              corrections will appear on Page 2 When talking

to someone who has a complaint do not verify the mistake blame
                                                                   anyone agree with anything or promise
anything Do not give your personal opinion as to what should be done Refer the person to those mentioned
above Any staff member who makes                                          a mistake          requiring          a correction             must        fill   out a correction          form    and turn     it




in   to   the editor



News Tip When                      readers          call    in   with     news      tips or       photo        ideas
                                                                                            staff members are expected to treat them with

courtesy         The Leader encourages                              readers       to   by the newsroom when they have story ideas Its
                                                                                       call      or to stop

a way      for   them        to    let   the      editors    know what they want to see in the paper and those ideas often turn into the
best      stories     and photos Listen                     patiently to          callers         write    down the            tips      and thank them                   for calling    or stopping

by the      newsroom


Letters       Policy The Leader accepts                                   letters      to   the   editor with           the understanding                      that   the    editor     may edit or
reject     the   letters          When         readers           bring    letters      to   the       newsroom make                  sure          that     the   letter    has a signature             and
a    phone number




Police                 News and Obituaries
Crime Stories                     In   crime stories              description          of the incident                must be attributed                     carefully      Police    records     are

protected        in   cases            of libel     but they           might be
                                                                              wrong                   nonetheless           Let readers                     know where the Information                came
from When             the     Leader reports                 that      someone has been accused                            of       a crime the               newspaper           incurs the

obligation       to follow             the   case to        trial      and to its conclusion


Suspect          Identification                    The Leader does not identify suspects                                                 in    crime stories unless the

suspects have been charged                                        in the        court system An                       arrest    does not mean a suspect                           has    been or will
be   charged          Identify           a person charged                  with     a crime with           age and address Also the term alleged should                                               be

used with care Alleged                            murderer is libelous



A suspects race                   or ethnicity        should           not   be mentioned               in a     story unless the information Is part of a

detailed     description including                     age          height       weight          attire        and     distinguishing characteristics



Victims          Names The names                            of juveniles            rape victims           and people who have attempted                                     suicide     are not

                                                                                                                                                     editor when
published        except           in circumstances                     approved        by the editor Consult with the                                                       naming the
victims     of any traumatic                   event       or violent           crime




                                                                                                                                                                                                                     U SA000678
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Here are some guidelines that staff members should use to determine whether a victims name

should be used



Living        or dead Did the           victim        die or is he or she still                     living       If   the       victim      survived       it   is    probably not a                 good
idea    to    use the name especially if                        it    was a private          individual     in    a        common           type   of   traumatic           event     If    the       victim


died     it   lends     more weight     to      using the               nameas          in   an obituary



Juvenile or adult Kansas                       law protects                   the    identity of juveniles             involved            in criminal         proceedings The
same kind of protection             should           be given             to    juveniles involved           in       traumatic            events



Promlnencepublic                  figure         Is    the person                well    known         in what         context national                  regionally or locally

Determining whether               someone             Is   a         public    or private      person       should              be done      in the     same manner as                     It   is



determined for libel



Newsworthinessmanner                            Is    the event               newsworthy         enough          to justify           it   Unusual       circumstances               often           are

cited but        be careful      not to sensationalize a                         tragic      event needlessly



Rape As stated before rape victims names should                                                 not be      used Do not name                       the suspect              of a rape           until


the suspect            has been charged              In    court



Suicide          Generally       names should                        not be    used     in   stories   dealing             with suicide        attempts              If   the suicide           was

newsworthy             only because      it    was         a suicide consider                  using an obituary format Then                              it    is   appropriate           to    use the
victims        name




Dealing with Sources


Staff   members must identify themselves when covering any event                                                            for   the      Leader unless the                 editor hasgiven


approval         for   reporters or photographers                         not    to   disclose      their Identity




To help reporters and             news sources                        understand         what information is fair to report under what

conditions        the information may be                       used and how that information may be obtained complicated                                                            news

gathering        practices    have evolved Even among journalists there                                                    is
                                                                                                                                disagreement about defining                         these

terms Listed            are some    reporting              procedures                that    Leader reporters are expected                          to   follow




The Leader Policy Our policy                              is    for reporters           never    to    agree          to    conduct         an interview         in       any way other than
on the record           unless    the   editor        has been consulted                       before      the interview                   There   almost always               is   some other

way to get information Not                    for attribution                  off   the record       and background                       explained      below            many      times serve

only    to tie    the   hands of both the reporters and the newspaper Remember unless a specific                                                                            agreement is made
before        the interview the interview                      is     on the record


In   some cases           exceptions          to this       policy        may be justified Again speak to the editor                                      for        questions

about this




On the record All the information and name of the news                                                     source           may be used            in   a story           Interviews            are   on

the record        unless    an agreement               to       the contrary            is   made     in   advance               In   most cases reporters will not




                                                                                                                                                                                                               U SA000679
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say    an interview          is   on    the record              The assumption                   is    that    if   someone          is
                                                                                                                                          talking    to    a reporter               the information is

for   the record        Sometimes out                     of   courtesy             however           reporters should               explain        to   people         who         are not        used     to


dealing       with the press            that       all   Information               could    be used           in    a story




Anonymous Sources                             This        is   information given                 to    a reporter that             can be published but the                              identity of the

source        cannot    be used              For example                   a   district    attorney       might tell          a reporter of plans to move                                for   a mistrial in a
murder case But the district attorney                                      tells   the reporter he or she                   can      use the information                     as long as the

reporter identifies           the source                 only as           one close        to   the    case This way the                   district       attorney          will    not offend

witnesses who             may first          learn about                 the   move by reading                 the     paper


Background                This     is   a difficult            area Generally background                               information is intended                    to    educate                and guide

the reporter in         writing         a story          and the           gist of    the information                can be used            if   the source            is   Identified




A writer should make clear for the reader that the writer is not the original source                                                                        for the         information               For

example an          administrative assistant might                                  brief    reporters              about the colleges              coming          budget           and the
rationale       behind     parts        of   it   so they           will    be better prepared                 for a       news conference                 or    a meeting later                  in the

week




Reporting Standards


Report News             Do Not Make                      It    Leader staff members should                              not put themselves                      in situations that                result    in


their      making   news or in their altering their presentation                                          Leader reporters should not ask questions                                               during

public      question    and answer forums or during                                   public          meetings such as faculty                       meetings               or student            senate
Ask questions           after     the meeting                  or during           intermission




Likewise the           newspaper              generally should                     not intrude          into        news    stories with          such phrases                as told

the   Leader or the Leader has learned


Fairness Any viewpoint                        in a       story must be               balanced          by an opposing                viewpoint            This     does not mean a

reporter should           dig     up    or create              controversy But people                         or    groups     that have          been          criticized          in    a story must

have a chance           to    respond             in     the   same issue


One call to obtain the other side                              of    an issue        is   rarely enough                The reporters              obligation           is   to


present       a true reflection              of the situation



Do not tarnish the Leaders reputation                                       by acquiring          information through                     questionable             means             If   in



an    extreme case the                 editor approves                     an extraordinary way to get information the story will explain                                                         how the
information was obtained                          and why           it   was gathered            that    way



Cultural Sensitivity                    Be sensitive                to     the concerns          of members of other                      minority groups                   Realize            that   not   all



people        celebrate      the       same holidays or have the same values                                           Try    to   stay abreast             of    the events               that   are going

on    in
           your sources lives                 no matter what race                          religion     or sex



As a forum for a diverse                     community the Leader                           cannot       afford        and    will    not tolerate              prejudice           from

its   staff    Racial   slurs sexual                   harassment and                 similar discriminatory                   misconduct                will    be grounds               for    dismissal




                                                                                                                                                                                                                  U SA000680
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                                                                                                                                                                                                                       1




Direct    Quotes Except                        for   minor grammatical                       errors in         the    speech          of    ordinary persons quotations                          are not          to   be

altered      The Leader does correct                               minor errors              that    might otherwise                   take    on undue importance                       or cause           the

speaker      to   look foolish                 Mispronunciations                      rarely should             be    used even              for color        as they tend              to    make a

speaker      appear           inarticulate




Verification            in general              do not quote from                      news releases other papers                              stories       or news         broadcasts              without

verifying    the Information                    or attributing            it     Leader reporters are expected                                to verify      information In              news        releases

and then      rewrite         the releases                 Information                from another             newspaper               should      be identified as being from that

newspaper Reporters                       should           try    to   get quotations                directly from             the source          instead         of quoting           from prepared

statements         If   quotations              are taken              from prepared                 statements the story should say so When                                             covering          a

speech reporters should                         try to      get        a copy of the text                 to   quote the         speaker           accurately          and       talk    to   the   speaker
afterward     for elaboration                   about        specific           points



Obscenities Obscenities                              and    vulgarities               should        not   be used simply to add color or humor Use them

sparingly     and only when imperative to give a full                                           portrayal            to   the reader           The number of listenersone or two

reporters as       opposed            to an auditorium                         full   of   people often enters                       into    news judgement in questions                            of


obscenity         The    editor or assistant editor decides                                    whether           to   use questionable                  language




Newsroom Management

Personnel The                 editor       handles           all      problems in the                news department Any staff member with a complaint

or   scheduling         conflict     should            talk to         the editor Suggestions                         are      welcome



Mail    Boxes Staff members will have mailboxes for messages                                                                   and assignments                 Staff       members should

check    their     mailboxes several                       times a         week They                 also should               not   let    papers      accumulate               in their     boxes



Phones        Personal          longdistance                     calls    will        not   be tolerated Making such                           call    Is   grounds         for   dismissal           All


longdistance            calls    are       to    be logged on the out going telephone                                           log



Travel      Travel       must be approved                          by the editor Most                     travel      should         be authorized            first    by the Indian

Leader Association



Materials         The Leader                   provides          staff with           a computer and other materials to layout the paper The

Leader      does not provide notebooks


Office    Access              Navarre           Hall   is    open from 85                    pm       Staff     members are expected                          to   organize             their time


to reflect    these          hours        If
                                               you need               in the      building          beyond       specific        hours         the time needs               to    be arranged              in


advance       This       is   for Leader staff                   and yearbook                 activities        onlyTecumseh                   Hall    is
                                                                                                                                                            open      at    various          hours

A key to Tecumseh                and to the Leader office will                                 be available               to   staff    at   the   front     desk      of the library


Staff   must sign keys               in    and out               In    the event            a staff       member forgets                   to return    the key        to    the    library     the

Editor   or sponsor             must be notified                       A lost key charge of $200 will be submitted to the business office
under a staff           members account                          for lost       keys


Maintenance              The newsroom                      should         be clean            all   the    time The public                   faculty        and administrators

frequently visit             and the newsroom                          must project every aspect of professionalism                                           Reporters            and        editors


are expected            to   clean     up around                 computer              terminals Otherwise loose notebooks                                            and belongings                will


be thrown         away




                                                                                                                                                                                                                            USA000681
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Smoking      is   prohibited        in   the building         This includes        the   newsroom and other offices Keep                     food   and

beverages         away from the terminals                 Staff     members will         be responsible for any damage                 they cause        to

them


Newsroom Conduct                    Staff   members should act as professionals In the newsroom Less than

professional behavior           will      not   be tolerated and            is   grounds    for   dismissal      Alcohol    and substance           abuse     will



not    be tolerated    and     is    grounds       for   dismissal




Newsroom Procedures

Deadlines         They must be met The Leader reporters are to complete their assignments on deadlines                                                        given   by
the editor    To meet our responsibilities deadlinesneed to be staggered Failure to meet a
deadline     on schedule        is
                                         grounds    for dismissal




Style The Leader uses                    The Associated Press Stylebook                     In    addition   a   Leader     style    guide   at   the   end of
this   pamphlet explains the newspapers exceptions


Datelines     and Bylines A dateline                     is   not   used on a byline unless the reporter was actually at the place
named      in the   dateline    and provided             a substantial           part   of the information in the          article   from that     area


Staff Meetings          Staff       meetings       are held twice a              month Meetings         should     last    no more than 30 minutes The

meetings are for the           entire      staff   Attendance          is   mandatory




                                                                                                                                                                           U SA000682
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Style Supplement




AIDS People do                not die    of   AIDS         they    die   of   complications            of   AIDS


Black Use when African American                              is
                                                                  inappropriate              or inaccurate         Capitalize In      all   Instances        when
referring to         people        of African      ancestry



Board of Regents                    Use Board of Regents                  on first       reference          then    Regents No apostrophe                   in
                                                                                                                                                                 any usage


chairperson Do not use chairman                              or chairwoman                   When      possible construct            the    sentence        with   the verb    to
head     instead       of chairperson                For example           John Doe who heads                       the   HIJC student         board

cities    In   Kansas Do not use Kansas                            or   Kan    after         Kansas     towns unless they are                likely   to    be confused       with

big cities     in other       states      such as Minneapolis                   Kan and Kansas                 City       Kan


coed do not use coed to refer to a female student More descriptive                                                   uses of the word are acceptable coed

softball     coed residence              halls



departments             Athletic       Department           is
                                                                  uppercase but dont                   capitalize     academic        departments            department        of


history unless          a     word normally would                  be capitalized             department           of English      department of History
Governmental            departments              appear as you normally see them Department                                       of the    Interior




grade point average                     on first     reference then             GPA


Coffin     Sports Complex on first                         reference the            Complex


homecoming               It   is
                                   Homecoming              Day     but   homecoming


Haskell        Indian         Nations      University When                    referring to       Haskell      Indian      Nations      University          use Haskell



Identification          Faculty         members are               identified       as   thus Rhonda           LeVaido       Instructor       of   Media
Communications Professors who hold distinguished or named professorships should be identified                                                                         with

their complete titles Thus John Doe professor emeritus of history


Haskell    students           are    identified      thus John Doe                 Creek         Tulsa      freshman        Put    tribal   affiliation     in



But individuals should                 always        be identified        in   a   manner most appropriate                   to    the context        of the story



The Indian            Leader Leader on second                        reference




names On second                    reference         normally use a            persons          last   name    only       First   names may be used on second
reference       in    stories about        children         under the age of 10                 In   stories about         several     people with          the    same last
name use first and last names                         to   avoid confusion



newspaper             names          Italicize     names of newspapers                       and other publications


quotes Avoid using colons                       to   Introduce          quotes


Representatives                    and Senators             refer to     AP Stylebook


semesters When followed                         by a year the season                    is   capitalized      For    example         Fall    1989 However             fall



semester is lowercase


senators        Identify       student        senators       by the groups              they represent or by              their position       in   Senate
whichever        is   more important John Doe Blalock senator




                                                                                                                                                                                     U SA000683
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sheriffs office              Douglas       County       Sheriffs       Office    on first       reference   then   sheriffs   office   Refer        to

deputies      as deputy          sheriff




streets       Use AP Stylebook



theater Use this             spelling      except      for    proper    names


time The order is time day place                             10   am Friday          in   141   Ross Hall


titles   In   the   title    of a book a       lecture       or a play    dont       capitalize     an article     a an the the to of an                   infinitive     a

preposition with fewer than                  five    letters      or   and as but if nor or unless the ward                      is   the   first   or the    last word

of the   title   Capitalize the           titles    of all    publications



United States               Except   in    quotes      or editorial      page copy change America to United States                           and American used
as              US vvhereever the meaning
     an adjective           to              the nation not the hemisphere However be
                                                                                is                                                                       reluctant   to


change American used as a noun   US citizen the meanings are not necessarily synonymous
                                                         to




                                                                                                                                                                              U SA000684
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BUREAU OF INDIAN AFFAIRS MANUAL                                 62   BIAM

                       EDUCATION


POST SECONDARY       APPENDIX FOR BIE STUDENT           BANKS




                                                                           U SA000685
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                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT                                      BANKS

                               7 POST SECONDARY SCHOOL ENTERPRISES



 73 Post Secondary School Enterprises


     A         Enterprise   accounts will be dual controlled             Including    but not limited to

               reconciling cash drawers recording               daily deposits and receiving     inventory
     B         Enterprise   accounts will be required           to   submit monthly income statements          to   be
               retained in the student     bank
     C         Enterprise   accounts are prohibited from obtaining             credit   lines   ie may not
               order any goods or supplies on credit

     D         Independent     daily reconciliation of cash register ending cash and credit receipts

               to sales at end of business     day
     E         Independent     controls   on inventory will be maintained
     F         Excess cash will be deposited daily




BUREAU OF INDIAN AFFAIRS MANUAL                                                                   62    BLAM 86
                     EDUCATION
POST SECONDARY APPENDIX FOR BIB STUDENT BANKS



86        Group Funds of Older Students in Larger Schools


          131         Post Secondary      Sponsorship

 The sponsorsponsors           shall   be responsible for conducting          the activities in conformance

with the plan of operations but            shall   require the students to carry out the operation             The

sponsorsponsors           shall not   be required   to   handle or account     for activity funds       but should

give adequate         instructions    and supervision     for
                                                                proper handling      and accounting     of funds

by the designated student officers ie secured lock boxbag or locked drawer


The sponsorsponsors            of a club should be a school employee              However       the official   in

charge    of the school has the authority to designate a non employee to be a sponsor as

long as   it   is   stated in writing and submitted        to   the Student   Bank




                                                                                                                         USA000686
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                      EDUCATION
 POST SECONDARY APPENDIX FOR BIE STUDENT                                      BANKS



 C1 a       Post Secondary Plan of Operation



 IA A written plan of operations                  is   required for   ALL organizations   that have   an account
 at the Student Bank            Every TWO years your organization will be responsible for
 submitting a new plan of operations                   unless changes   are made   In this case a new plan of

 operations       is   due immediately


 A Plan of operations shall be written and approved by members of each organization
 This plan shall state the title          the purpose membership eligibility          and requirements and
 details    of operations       such as election of officers schedule of meetings fundraising and

 production        activities   exact use of funds or product           and the accounting   system     The plan
 must include provisions for payment of withdrawals that are outstanding                       after the   duly

 elected officers have          left   school   Provision shall also be made for and audit of the clubs

 account     if   the sponsorship       changes    during the school year



 The plan of operations once              finalized will then need to be approved         and signed by the

 following


 STUDENT CLUBS                                                 CAMPUS ORGANIZATIONS
 University President                                          University President
 Chief of Finance                                                        Chief of Finance
 VP of University Services                                Immediate Supervisor
 Student Senate President



 The Student Bank reserves the right to request a new plan of operations                     at   any given
 time




 Note      A plan of operations shall not be required of a school group which organizes
 temporarily to raise funds            by means of one project




                                                                                                                   USA000687
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                  62   BUM 86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIE STUDENT BANKS




       F    Post Secondary       Signature      Cards



 1    All clubs      organizations and committees          must have a signature card on file           at   the

 Student     Bank before any business can be conducted               A student club will have four
 officers    and two sponsors         A Campus OrganizationCommittee will need to have the
 minimum requirement of three signers


 If a member resigns a copy of any letters of resignation                 must be turned      into   the Student

 Bank       If
                 any other changes    occur such as adding a member deleting a member or
 changing the organization name or closing the account                    then a new signature         card needs
 to   be signed and meeting minutes must be provided                stating     the new information



 A new signature card will be submitted every school year regardless of changes                          or no

 changes



 Only the signers on this card will be given account               information with the exception             of the
 official   in charge requesting        a balance




      G POST SECONDARY MEETING MINUTES
 All Student clubs must provide               meeting minutes when presenting a bank withdrawal

 request         They should be neatly typed        contain the names of members present at the


 meeting and outline the unanimous                authorization   of funds from the clubs account



      FL    POST SECONDARY DEPOSITS




The    Student      Bank will fill   out the pre numbered deposit slips for           ALL clubs
organizations        and committees           Make sure that whoever      is
                                                                               presenting   the deposit has
counted the deposit items and            is   aware of how much     is   being deposited       The bank will
retain the original white copy and the duplicate              yellow copy will be returned to the club
organization or committee for their records



Any funds being          deposited into the Student      Bank must have a credit reason              This    means
the source in which         the funds   came from Extaco           sale donation       etc This information
will be documented          on the deposit slip for audit and referral purposes




                                                                                                                       USA000688
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                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT BANKS



 The       Student       Bank does NOT          accept       personal   checks     If a club   organization        or

 committee accepts              personal checks             and said check      is returned   as unpaid for any reason

 the club       organization or committee                   will be charged for the amount of the check                 and any
 fee associated with the transaction                        The check    will   then be returned to the club for

 collection



 If you have            an abundance         of coin that will be deposited          the club organization           or

 committee              will be responsible         for
                                                          rolling
                                                                  the coin in the proper increments              The bank has
 coin wrappers             available    upon request




       I     POST SECONDARY WITHDRAWAL                                    REQUESTS
 A withdrawal request is a form that a club organization                             or committee         can pick up at the
 Student      Bank for the purpose of withdrawing                       funds from their account            Each withdrawal

 is   numbered and can be used for either a cash withdrawal or check                              withdrawal or both             If

 more than one check              is   requested          attach   another sheet of paper and      list    all   additional

 checks      needed



 All withdrawals require               TWO signatures One signature                   is   the sponsor and the other

 signature         is   an authorized        signer per the signature card or plan of operations                   Campus
 organizations            will require two authorized              signers per their signature card




 If your club            organization or committee fills              out a withdrawal request for a check                the

 check      will    be available       the   NEXT business day             Invoices    should accompany            these

 requests



 If   a check      is    being requested for reimbursement purposes the receipts must accompany

 the withdrawal request                 Reimbursements             are done by check       ONLY

 Purchases should             NOT be made prior to requesting a withdrawal form from the Student
 Bank The proper procedure                     is   to    get the withdrawal request for funds and then if those
 funds are exceeded              a reimbursement will be deemed necessary



IMPQBTANT

ANY WITHDRAWAL   REQUEST THAT HAS NOT BEEN CLEARED WITHTN 30
DAYS WILL CAUSE THE CLUB ORGANIZATION OR COMMITTEE ACCOUNT
TO BE SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
NO EXCEPTIONS it




                                                                                                                                      USA000689
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                62 BIAM        86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BrE STUDENT BANKS




      J   Post Secondary    Receipts




 When a withdrawal is made from a club               organization   or committee          account    the person

 that signs for the cash or checks          will be held accountable       for supplying the

 receiptsinvoices that prove the funds were used for the purpose intended                      as stated   on the
 withdrawal request      The date and purchased items on the receipts MUST                     correspond
 with the information on the withdrawal request



 If there are several receipts they    MUST be neatly taped onto a sheet of paper to ensure
 proper verification     The bank will  NOT accept them otherwise If receipts are lost the
 person that signed the withdrawal request will be held accountable                   for either obtaining

 another receipt or paying the cash to clear the withdrawal                NO HANDWRITTEN
 RECEIPTS WILL BE ACCEPTED


 Receiptsinvoices      should equal the amount withdrawn from the account                     If the

 receiptsinvoices   equal less than    is   stated   on the withdrawal request then the remaining
 cash needs to be deposited back into the club organization                or committee       account      If the

 receiptsinvoices equal    more than stated on the withdrawal                  the club   organization or

 committee can request another withdrawal for a reimbursement


 All receipts presented to the Student        Bank must be for the purpose stated on the
 withdrawal request Le if a gas receipt         is   presented and   it   is   not listed as the purpose for

 the use of the funds then this receipt will         NOT be accepted




 BUREAU OF INDIAN AFFAIRS MANUAL                                                                62   BIAM 87
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIE STUDENT BANKS



 87       School Banks


 C        Funds in School Bank



          LA     Post Secondary Personal Funds
 All students are encouraged    to open and maintain an account                 with the Student Bank




                                                                                                                    USA000690
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                            62    BIAM 87
                      EDUCATION
 POST SECONDARY APPENDIX FOR BE STUDENT BANKS



 A signature card is required to open an aecetunt                        The purpose of the signature card is to
 have the information needed                  to contact a student of monies not claimed at the end of each

 school year              Immediate and aggressive action            shall   be taken to locate the depositor and

 forward the balance of the account                      For amounts of $100 or less one attempt shall be
 made to locate the depositor                 If   the depositor    is   not located the account         may be closed
 by transferring the balance to the general student activity fund subject to claim and

 payment any time requested by the student                         For amounts of more than $100                  locator

 action    shall be        actively    pursued for a reasonable period in relation to the amount after
 which the balances               of such accounts       may be disposed of in the same manner as those of
 less than          a $100     Payment of all claims from individual depositors against this fund shall
 be subject to approval of the official in charge of the school



 There is no minimum balance to open an account                            This    is
                                                                                        your money     that the    Student

 Bank     is   responsible         for safekeeping       There are   NO fees minimum balance                or    ATM
 cards You can take your account                    to   a zero balance and        it   will remain open    for deposits

 and withdrawals             throughout the school year


 You will receive monthly                statements and you can request a statement at any time



 NOTE The Student Bank does NOT accept personal checks

 F1 Post Secondary Safekeeping Facilities


     1     Note           All vault openings will        be by accomplished             by two   distinct staff
                                                                                                                  persons

               inputting     their    uniquesecure       passwords simultaneously Both parties will witness
               the opening sign off on vault transactionsbalances                          and both will stay until vault
               is   re   closed
     2         At start of business day Lead bank teller will withdraw estimated daily cash

           requirement for teller             drawers out of vault including some amount of spare change

           rolls

     3         Immediately after beginning vault balance and                      teller   drawer amount     is   verified by

               backup      staffteller     The vault      will be shut and stay closed until the end of the

               business day unless bank receives a cash delivery or needs to make a deposit to

           Douglas County Bank The vault can be opened                             again briefly if there     is   an
           unforeseen             rare cash    shortage in Teller drawers

    4      Vault will         be opened at end of business day to store operating cash and                         teller

               drawers End of day vault balances will be verified and signed again same as
               above




                                                                                                                                USA000691
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                    62   BIAM 87
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT                           BANKS



  G11aPost     Secondary Statements to Depositors


  Statements will    be sent to the sponsor and    their
                                                           respective   managers each month The
  managers   will   be responsible for reviewing club bank statements in which       their


  employees are sponsors andor signers


  Managers   will   be responsible   for   periodically reviewing withdrawals to maintain

  accountability    of their respective department



  A statement will be available upon request at any time


                   CREDIT LINES ARE PROHIBITED




                                                                                                   USA000692
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             HASKELL INDIAN NATIONS UNIVERSITY
             POLICIES AND PROCEDURES FOR


                         STUDENT BANK

                   HOURS SUBJECT TO CHANGE


                         900AM400PM




                                                                          U SA000693
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                                PURPOsg


 The Student Bank          shall provide   for the deposit and withdrawal          of

 personal and group funds



 Students shall be encouraged         to   open and maintain       personal

 accounts    in the   Student   Bank for the purposes of learning how to
 use bank services and safekeeping           of personal funds        Students

 who may have personal funds in sufficient amount to warrant it
 shall   be encouraged to transfer their accounts            to a bank   off campus



 All group funds derived from class projects student associations

 or other types of group activities        shall   be deposited and expended

 through the school        bank These organizations          shall be subject to

 the official   supervision of the official        in   charge of the school or a
 designated     official   ie sponsor



 All clubs organizations         committees and enterprise accounts           shall

 be under the official      supervision of the officer in charge of the

 school




                                                                                        U SA000694
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                           PLAN OF OPERATIONS

 A plan of operations is required for ALL organizations that have
 an account       at the   Student   Bank   Every   TWO years your
 organization will be responsible for submitting               a new plan of

 operations unless changes           are made    In this case a new plan of

 operations      is   due immediately



 A Plan of operations shall be written and approved by members of
 each organization           This plan shall state the title    the   purpose
 membership eligibility          and requirements and     details of operations

 such as election of officers schedule of meetings                fundraising   and

 production       activities   exact use of funds or product and the

 accounting       system The plan must include provisions              for payment

 of withdrawals        that are outstanding after the    duly elected     officers

 have   left    school     Provision shall also be made for and audit of the

 clubs account        if the sponsorship    changes   during the school year



 The plan of operations once           finalized will then need to be

 approved and signed by the following


 STUDENT CLUBS                                      CAMPUS
 ORGANIZATIONS
 University President                               University President
 Chief of Finance                                   Chief of Finance

 Student       Senate President                     linmediate Supervisor



 The Student Bank reserves            the right to request a new plan of

 operations      at   any given time




 Note A plan of operations                  shall not be required of a

 school group which organizes temporarily to raise funds

 by means of one project




                                                                                      U SA000695
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                                 SIGNATURE CARDS

  All clubs organizations and committees must have a signature card on file

  at the Student    Bank before any business can be conducted       A student club
  will have four officers      and two sponsors    A Campus
 OrganizationCommittee           will   need to have the minimumrequirement of

 three signers



 If a member resigns a copy of
                               any letters of resignation must be turned into
 the Student      Bank    If any other changes   occur such as adding a member
 deleting a member or changing the organization          name or closing the
 account    then a new signature card needs to be signed and meeting minutes

 must be provided        stating the   new information


 A new signature card will be submitted every school year regardless of
 changes or no changes


 Only the signers on this card will be given account        information with the
 exception of the official      in charge requesting a balance



 The   official   in charge   of the school has the authority to be the second signer

 on a withdrawal request in an emergency           Exsponsors     are out of town




                                                                                        U SA000696
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                              SPONSOR$

 The sponsorsponsors         shall be responsible for conducting       the

 activities   in conformance       with the plan of operations but     shall

 require the students to carry out the operation         The

 sponsorsponsors         shall not   be required to handle or account     for

 activity   funds but should give adequate        instructions   and

 supervision for proper handling and accounting           of funds by the

 designated    student    officers



 The sponsorsponsors of a club should be a school employee

 However      the official   in   charge of the school has the authority     to

 designate a non employee to be a sponsor as long as it           is   stated in

 writing and submitted to the Student          Bank




                                                                                   U SA000697
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                         MEETING MINUTES


 All Student clubs must provide meeting minutes when presenting a

 bank withdrawal request     They should be neatly typed    contain the

 names of member present     at the   meeting and outline the
 unanimous authorization of funds from the clubs account




                                                                          U SA000698
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                      V4ITJjDRAWAL                REQUIE31FS



 A withdrawal request          is   a form that a club organization or

 committee can pick up at the Student               Bank for the purpose of
 withdrawing funds from their account                 Each withdrawal         is


 numbered and can be used for either a cash withdrawal                      or check

 withdrawal or both       If    more than one cheek            is   requested attach
 another sheet of paper and list          all   additional     checks    needed


 All withdrawals require            TWO signatures            One signature   is   the

 sponsor and the other signature           is   an authorized signer per the

 signature card or plan of operations              Campus organizations will
 require   two authorized signers per their signature card


 If your club organization           or committee     fills    out a withdrawal

 request for a check      the check      will be available the          NEXT business
 day   Invoices should     accompany            these requests



 If a check   is   being requested for reimbursement purposes the

 receipts must accompany             the withdrawal     request         Reimbursements

 are done by check      ONLY

 Purchases should      NOT be made prior to requesting a withdrawal
 form from the Student         Bank The proper procedure is to get the
 withdrawal request for funds and then               if those       funds are exceeded

 a reimbursement will be deemed necessary



 IMPORTANT

 ANY WITHDRAWAL REQUEST THAT HAS NOT BEEN
 CLEARED WITHIN 30 DAYS WILL CAUSE THE CLUB
 ORGANIZATION OR COMMITTEE ACCOUNT TO BE
 SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
 NO EXCEPTIONS




                                                                                         U SA000699
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                                RECEILSf



 When a withdrawal         is   made from a club     organization or

 committee account the person that signs             for the   cash or checks

 will   be held accountable        for   supplying the receiptsinvoices       that


 prove the funds were used for the purpose intended                  as stated on the

 withdrawal request         The date and purchased       items on the receipts

 MUST correspond with the information on the withdrawal                      request


 If there are several             MUST be neatly taped onto a
                          receipts they

 sheet of paper to ensure proper verification The bank will NOT

 accept    them otherwise         If receipts are lost the person that signed

 the withdrawal       request will be held accountable         for either

 obtaining another receipt or paying the cash to clear the

 withdrawal          NO HANDWRITTEN               RECEIPTS WILL BE
 ACCEPTED

 Receiptsinvoices        should equal the amount withdrawn from the
 account        If the receiptsinvoices      equal less than   is   stated on the

 withdrawal       request then the remaining cash needs to be deposited
 back     into the   club organization or committee account If the

 receiptsinvoices       equal    more than stated on the withdrawal          the

 club organization or committee can request another withdrawal                       for

 a reimbursement



 All receipts presented         to the   Student Bank must be for the purpose

 stated on the withdrawal request            ie if a gas receipt is presented
 and it   is   not listed as the purpose for the use of the funds then this

 receipt will     NOT be accepted




                                                                                           USA000700
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                                1EbDfENLG


                         must be approved by the clubs
 All fundraising activities

 membership and so stated in the minutes All of the proceeds from
 the fundraising     activity   must be deposited       into the    club

 organization or committees account              at the Student      Bank as soon
 as possible




 The student    activities   authorized     by their approved       plans of

 operation to conduct        entertainments      concerts    athletic   events etc
 shall charge out    pre numbered admission tickets            issued in

 numerical sequence         to the   individuals designated        to sell tickets

 Season   tickets   shall   be serially numbered and a record kept of all

 sales    Total proceeds        of such   activities   including    those acquired

 as profits   from enterprise activities       such as sporting events          shall

 be deposited as received by the treasurer of the association                 or by

 other individuals    authorized to make deposits




                                                                                        USA000701
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                              DES SITS


 The    Student   Bank will   fill   out the pre numbered deposit slips for

 ALL clubs organizations and committees Make sure that
 whoever    is   presenting the deposit has counted           the deposit items

 and is aware of how      much is being deposited             The bank     will retain

 the original white copy and the duplicate yellow copy will be

 returned to the club organization or committee for their records



 Any funds being deposited            into the   Student   Bank must have a
 credit   reason    This means the source in which the funds came

 from Extaco sale donation etcThis                     information will be

 documented       on the deposit      slip for audit   and referral purposes


 The    Student   Bank does NOT accept            personal checks        If a club

 organization      or committee accepts          personal checks       and said check

 is   returned as unpaid for any reason the club organization or

 committee will be charged for the amount of the check                    and any fee

 associated with the transaction           The check       will then   be returned to
 the club for collection



 If   you have    an abundance       of coin that will be deposited the club

 organization      or committee will be responsible for rolling the coin

 in the
          proper increments The bank has coin wrappers available




                                                                                        U SA000702
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                             usIALILLEAccIluALrs


 Accounts which do not reflect any activity        for   a period of one year

 are considered   inactive   and the funds will be transferred upon

 approval of the official    in   charge of the school   to   an activity

 account



 The exception to this rule would be if the approved plan of

 operations for said club organization or committee has stated

 contrary provisions




                                                                                U SA000703
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             MONTHLY BANK STATEMENTS

   Statements will be sent to the sponsor and their respective

  managers each      month The managers     will be responsible for

  reviewing club bark statements     in   which   their employees    are

   sponsors andor signers



  Managers   will be responsible for periodically reviewing

  withdrawals   to   maintain accountability   of their respective

   department


  A statement will be available upon request at any time


             CREDIT LINES ARE PROHIBITED




                                                                           U SA000704
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                               ENTERPRISE ACCOUNTS

Enterprise accounts         must follow     all   policiesprocedures       set forth   by the Student
Bank The day to day management                    of any enterprise     account   shall   be under the
direction of the official       in charge   of the school or a designated          official    Care shall

be taken      to ensure that   such enterprises do not interfere with the designated                  mission
of the school the education         program          Each program shall comply with applicable
health and safety standards



It   is   the responsibility of the person in charge of the enterprise account                to provide

monthly operations          statements to the Chief of Finance             These reports will be

reviewed then retained in the appropriate file                in the   Student   Bank


Monthly credit card receipts will be turned into the Student Bank                        for credit




Cash drawers        will   be dual controlled      at the   end of each business day and a balance

sheet will be submitted with the daily deposit to the Student                     Bank


An inventory tracking log must be maintained to reflect all inventory received
Inventory balances         must be performed monthly and confirmed                 via inspection       Two
signatures      ARE required to maintain integrity of internal controls




                               CREDIT LINES ARE PROHIBITED




                                                                                                U SA000705
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                         PERSONAL STUDENT ACCOUNTS




All students are encouraged             to    open and maintain an account with the
Student       Bank


A signature card is required to open an account                  The purpose of the
signature      card   is to   have the information needed to contact a student of

monies not claimed at the end of each school year                   Immediate and

aggressive      action   shall   be taken to locate the depositor and forward the

balance of the account            For amounts         of $100 or less one attempt     shall    be

made to locate the depositor             If the depositor is not located        the account

may be closed by transferring the balance to the general student                    activity

fund subject to claim and payment any time requested by the student                         For

amounts of more than             $100   locator action      shall be actively   pursued for a
reasonable period in relation to the                amount after which    the balances of

such accounts         may be disposed of in the same manner as those of less
than a $100           Payment of all    claims from individual depositors against

this   fund    shall be subject    to approval of the official      in   charge of the
school



There    is   no minimum balance             to   open an account This is your money that
the Student      Bank is responsible for safekeeping There are NO fees
minimum balance           or   ATM cards You can take your account to a zero
balance       and it will remain open for deposits and withdrawals throughout

the school year



You will receive monthly statements and you can request a statement                       at

any time


NOTE The Student Bank does NOT accept personal checks




                                                                                                U SA000706
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From               Jared Nally

To                 Graham     Ronald     3 rorahamtabieedu        Ronald   Graham

Cc                 Prue Stephen        Salyini    Tonia   L Dearman Tony L    Lou Hara


Subject            Request    for   Racial   Identity   Acknowledgementpdf
Date               Friday    October    9 2020 112450 AM
Attachments        Realest    for   Racial   Identity   Acknowledoementodf




President     Graham


Please    see the attached     letter        with outlines        a my grievance with Haskell   Indian Nations

University    and asks for the          restorative         justice   of acknowledging   my Multi racial identity

Jared Nally




                                                                                                                    U SA000707
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October     9 2020

Ronald     Graham EdD
University     President

155 Indian Avenue

Lawrence KS 66046


                                                                Racial Identity        Grievance



To President Graham


                                                                            Introduction



           HaskellIndian Nations University HINU has violated my right to self identify my race has

violated    my FERPA rights by reporting racial and gender information to the US Census Bureau without
my consent          and has created a system that doesnt offer identification                                 of racial biases and racial

protections        for multiracial     students           I    would like my racial            identity to    be acknowledged        by HINU and
used in reporting to The          Integrated          Postsecondary               Education      Data System       IPEDS and other reports
that   use student racial identity



                                                                            Background


           For six months Haskell                  Indian       Nations       University       has ignored     my requests to provide my own
racial   identity to the       school The          intent       was to have         this information     used for the 2020 Census             but the

neglect    and disregard by Tonia Salvini                       Vice President of University Services                  Ronald    Graham
President Stephen            Prue Office of the President and Ernest Wilson Acting Supervisor of Student
Housing has shown a systemic problem with how HINU handles racial                                               identities   and has resulted in

me being marginalized and              disenfranchised                 as   a student    who identifies as multiracial


           Despite multiple attempts to engage                          with      HINU before and        during the 2020 Census           I   found out

on August     28 2020 that HINU filed on behalf of students without engaging me or capturing my self
reported    racial    identity    which       is   a question on the census The                    completion       of this census    also indicates

a violation of my rights under The                   Family Educational                Rights     and Privacy Act      FERPA 20 USC                  §


1232g 34 CFR Part 99 since                I    gave no prior permission to release information with                             my raceethnicity
or gender




           Currently        and historically Haskell                  Indian Nations         University       HINU violates federal guidance
for reporting racial         and ethnic data to the                 US Department of Education 72 FR 59266 This standard
was implemented in 2007 but goes back                               to standards      set in    1997 that HINU       would still    be in violation

of today twentythree            years later         This guidance stipulates that HINU                        a will be      required   to collect

racial   and ethnic data using a twopart question on the educational                                    institutions   or other     recipients

survey instrument and             b should                allow students           parents and staff to self identify race and

ethnicity unless selfidentification                  is   not practicable           or feasible



           HINU       currently   does not have                 a survey instrument for students to self identify their racial

identitythere          is   no two part questionnaire                  on admissions applications              or housing     applications     HINU
instead    uses     students    Certificate        of Degree of Indian                Blood     Which    is   not a racial identity to provide

observer      identification        and reports               all   students as     Native     American with no secondary            racial

identities    It   should also be noted that the practice                         of observer      identification      of race has historic

problems in Native           American populations and                        is   an inappropriate    policy The       Integrated    Postsecondary
Education     Data System         IPEDS            shows HINU                has never reported       a student as two or more races            since

its oldest report from          2001




                                                                                                                                                          USA000708
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            I   do not identify as only Native               American and yet the school              reported   me as only Native
American in previous semesters according                        to   IPEDS The malignant neglect               of collecting       students       self

identified racial       identities       not only affects      US Census data but also university reports along                         racial   lines

If   every student      is    considered the same on paper               it   is   impossible to identify patterns of systemic racism

along the lines of students marginalized racial identities                            For example many students including myself

feel that       Student Rights has racially biased disciplinary practices for multi racial Black                                 students   on

campus          however their Black           identities are     not recorded by HINU and thus there                  is   no traceable bias or

accountability



                                                             Non Negotiable Actions


            Exercising my rights under the The                   Family Educational          Rights and Privacy            Act   FERPA 20
USC       §     1232g    34    CFR Part 99 I request the following

              1 In compliance        with     FERPA The Code of Student Conduct                       says Haskell must maintain a
            record    of each disclosure          of personally identifiable information about the student                          I   requested
            that record        for the    disclosure       of my personally identifiable information on the student housing

            survey provided       US Census Bureau The request was made on September 10 2020 and
                                     to the

            HINU has until October 25 2020 to to comply with FERPA regulations and provide that record
            which should include who released the my information what date the information was released

            and the information released



            2 I have         a right to request amendments to                 my educational      records and     I   request to    amend my
            racial   identity      Despite never collecting            this    information from       me IPEDS shows HINU has
            been  reporting me as Native American and other race I will provide the information for what

            Id like my racial identity to be changed to Native American Myaamia and White Volga
            German With this request                   I   also expect to      have   my racial     identity   be reported correctly to

            IPEDS       for the    Fall   2020 Enrollment            If this information      has already been        submitted         corrections

            may be submitted             until   October 28th



                                                       Request for Restorative            Justice



            I   simply want       HINU to become              compliant with         US Department of Education 72 FR 59266                         I


would like to see an email or survey                   sent   out to current students to collect           their self identified racial

identities using        the required       two   questions      and see these         questions   added to the admissions           applications




nipwaahkalo




Cc Tony Dearman Tonia Salvini                      Stephen      Prue           Lou Hara




                                                                                                                                                         USA000709
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October     9 2020

Ronald     Graham EdD
University     President

155 Indian Avenue

Lawrence KS 66046


                                                                Racial Identity        Grievance



To President Graham


                                                                            Introduction



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my consent          and has created a system that doesnt offer identification                                 of racial biases and racial

protections        for multiracial     students           I    would like my racial            identity to    be acknowledged        by HINU and
used in reporting to The          Integrated          Postsecondary               Education      Data System       IPEDS and other reports
that   use student racial identity



                                                                            Background


           For six months Haskell                  Indian       Nations       University       has ignored     my requests to provide my own
racial   identity to the       school The          intent       was to have         this information     used for the 2020 Census             but the

neglect    and disregard by Tonia Salvini                       Vice President of University Services                  Ronald    Graham
President Stephen            Prue Office of the President and Ernest Wilson Acting Supervisor of Student
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me being marginalized and              disenfranchised                 as   a student    who identifies as multiracial


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on August     28 2020 that HINU filed on behalf of students without engaging me or capturing my self
reported    racial    identity    which       is   a question on the census The                    completion       of this census    also indicates

a violation of my rights under The                   Family Educational                Rights     and Privacy Act      FERPA 20 USC                  §


1232g 34 CFR Part 99 since                I    gave no prior permission to release information with                             my raceethnicity
or gender




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for reporting racial         and ethnic data to the                 US Department of Education 72 FR 59266 This standard
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survey instrument and             b should                allow students           parents and staff to self identify race and

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           HINU       currently   does not have                 a survey instrument for students to self identify their racial

identitythere          is   no two part questionnaire                  on admissions applications              or housing     applications     HINU
instead    uses     students    Certificate        of Degree of Indian                Blood     Which    is   not a racial identity to provide

observer      identification        and reports               all   students as     Native     American with no secondary            racial

identities    It   should also be noted that the practice                         of observer      identification      of race has historic

problems in Native           American populations and                        is   an inappropriate    policy The       Integrated    Postsecondary
Education     Data System         IPEDS            shows HINU                has never reported       a student as two or more races            since

its oldest report from          2001




                                                                                                                                                          USA00071   0
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            I   do not identify as only Native               American and yet the school              reported   me as only Native
American in previous semesters according                        to   IPEDS The malignant neglect               of collecting       students       self

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If   every student      is    considered the same on paper               it   is   impossible to identify patterns of systemic racism

along the lines of students marginalized racial identities                            For example many students including myself

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campus          however their Black           identities are     not recorded by HINU and thus there                  is   no traceable bias or

accountability



                                                             Non Negotiable Actions


            Exercising my rights under the The                   Family Educational          Rights and Privacy            Act   FERPA 20
USC       §     1232g    34    CFR Part 99 I request the following

              1 In compliance        with     FERPA The Code of Student Conduct                       says Haskell must maintain a
            record    of each disclosure          of personally identifiable information about the student                          I   requested
            that record        for the    disclosure       of my personally identifiable information on the student housing

            survey provided       US Census Bureau The request was made on September 10 2020 and
                                     to the

            HINU has until October 25 2020 to to comply with FERPA regulations and provide that record
            which should include who released the my information what date the information was released

            and the information released



            2 I have         a right to request amendments to                 my educational      records and     I   request to    amend my
            racial   identity      Despite never collecting            this    information from       me IPEDS shows HINU has
            been  reporting me as Native American and other race I will provide the information for what

            Id like my racial identity to be changed to Native American Myaamia and White Volga
            German With this request                   I   also expect to      have   my racial     identity   be reported correctly to

            IPEDS       for the    Fall   2020 Enrollment            If this information      has already been        submitted         corrections

            may be submitted             until   October 28th



                                                       Request for Restorative            Justice



            I   simply want       HINU to become              compliant with         US Department of Education 72 FR 59266                         I


would like to see an email or survey                   sent   out to current students to collect           their self identified racial

identities using        the required       two   questions      and see these         questions   added to the admissions           applications




nipwaahkalo




Cc Tony Dearman Tonia Salvini                      Stephen      Prue           Lou Hara




                                                                                                                                                         USA00071   1
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                     EXHIBIT 10




                                                                          USA00071   2
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August     26 2020

Walthall

Community Police Review Board
City   Commission             Room
City Hall 6          E 6th St
Lawrence         KS 66044


                                                                         Public    Comment


Dear Walthall



           My comments are directed to board member Tonia Salvini whom Id like to address two
concerns      that     Salvini
                                 may be contributing                to    racial   disenfranchisement within her role as               Vice President
of Student      Services        VPSS at Haskell Indian Nations University H1NU                                        and therefore making her
unfit to   fulfill     her Community Police                  Review Board duties to minority communities


           The       first   concern    is    that    Salvini      appears    partially   responsible       in   preventing approximately          15
of Lawrences            Native   American Population from being counted                            on the 2020          census   by ghosting student
and press inquiries for information                      on how they may be counted                    on campus students cannot             self

report as    their     census data       is   to     be collected        by the university    as   part of the        Group Quarters Enumeration
Project



           My second concern                  is   that Salvini      who over sees        the Office    of Student         Rights does not track
racial   bias despite         student   concerns            that multi racial       students especially mixed race Black students

receive    bias treatment         by the office of Student                 Rights     While   HINU     is    an all Native institution         racial

identities    for mixed race students                  are not recorded      by the university and cannot be used to identify
racial   biases Its concerning                that     despite     serving two years on the board Salvini has not initiated any

public    attempt       to   bring accountability             to   her   own department and position of authority in a way                   similar

to   how the board holds the Lawrence                        Police      Department accountable




          theindianleadercorn                      Indian    Ave Box 4999 Lawrence            KS 660461                          Pll
                                                                                                                                               i




                                        1155                                                                     i1                            i




                                                                                                                  i                            i




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August 28 2020


Tonia Salvini

Haskell    Indian Nations          University

155 Indian Ave

Lawrence KS 66046


                                                                          Letter of Apology



Dear Tonia Salvini



           Im reaching out to you to express an apology regarding allegations I made to the Community
Police    Review Board that from my perspective you were partially responsible for preventing Haskell
Indian    Nations     University            HINU            students       from being counted on the census                       by ghosting
communications             and requests for information on how                               students      would be counted                In the 5     months Ive

pursued this concern             Ive reached out to you and your colleagues                                      multiple       times with no response                    My
attempts to get information          US Census Bureau were hampered by Title 13 US Code which
                                             from the

prohibited the bureau from releasing information to indicate if HINU had reported student information

or not Today I believe a Census employee broke that code by providing me information that HINU has

already    completed         and submitted             student           census      information          Its   for this reason        I   apologize       as   I   had not

received    any indication before that I may have                               already          been counted



           However          I   find   it
                                            regrettable           that after 5       months of questioning the university could not

provide    neither        myself nor the student body a message that they had been                                       counted for the census                      This

message would have               eliminated a student                    perception that              HINU had no interest in reporting their data
and eliminated a perceived need                     to self advocate                 to   be counted



          While   is a relief to finally
                     it                  have information that HINU reported students                                                        it   is   now a concern
that   HINU falsely reported my and potentially other students racial identity HINU                                                           collects     racially

related   information such              as   a Certificate of Degree of Indian                           Blood    CDIB and other documents to
show that    students        meet admissions                     requirements         for being         an enrolled member of a federally

recognized tribe or Alaskan                  village             However        there are        no documents that capture a students                       self

reported    racial    identity         Personally            I   would not have             filled     out the census   as      Native      American as             my
racial   identity    is   mixed race          I   find      it
                                                                 egregious that            HINU does        not record racial identities nor engaged

students to    answer the census                  question about raceof HINU s mixed race students
                                                                                          This   is   an oversight
The US Census Bureau                   states that for the    Your answer to this question should be
                                                                         question about race
based on how you identify Each person can decide how to answer HINU has removed my agency to

self identify my race if they submitted my identity as Native American  I request a copy of the


information HINU submitted about myself to the US Census Bureau



           Related to students                racial     identities         I   hold firm in my critique of the office                       of Student Rights

which you oversee By not accounting for students racial identities potential                                                      institutional          racism

toward HINU mixed race students cannot be tracked Ive heard from several                                                          students that          they feel
Student Rights        operates         with racial bias              I   find   it
                                                                                     upsetting         to hear that   youve been            serving       on a board
that   holds the Lawrence              Police      Department              accountable            for racial    mistreatment but youve                    not publicly

taken any action to hold yourself or your department                                        accountable         by not recording            student racial          data

that   my reveal trends of racial bias in the operations                                   of the office        of Student Rights



           Lastly as I am on record                    at    the    Community Police Review Board                           I   will   write      an apology         to

send to the board as well



Sincerely
Jared Nally




                                                                                                                                                                               USA00071   4
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                     EXHIBIT 11




                                                                          USA00071   5
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Bobbie Walthall


From                                       Jared Nally                                   i




Sent                                       Tuesday    September 29 2020 146 PM

To                                         Bobbie    Walthall


Subject                                    Public   Comment
Attachments                                Public   Commentpdf




External   Email      Be careful with     links   and attachments

 City of   Lawrence    IT   Helpdesk



aya   Bobbie    Walthall



Included   is
                my letter   for public   comment    for tomorrows      meeting   I   would also   like   to request   remote participation   in


the   meeting    seeing as   my public comment        last   meeting was almost insufficient      for    the   acknowledgment   of   my
complaint



neewe Thank        You
Jared   Nally




                                                                          1




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September                   29 2020


Community Police Review Board
City      Commission                       Room
City Hall 6                 E 6th St
Lawrence                KS 66044

                                                                                       Public       Comment


To the Community                             Police Review               Board


                                                                                          Introduction



               Im writing the Community Police Review Board CPRB as a follow up to my letter sent on
August 26th The purpose of this message is to                                                 a     correct         new     information       Ive come                across in   my
grievance related to board member Tonia Salvini                                                b           restate        my   grievance      with Ionia Salvini and                    c
bring     up       a    new        grievance            with how the                CPRB managed my complaint                        at    the   last      meeting While              my
initial    letter           was prepared for brevity                          this    message        is   prepared so as not             to   be as easily dismissed or

misinterpreted




Housinghad
                                                                                      Correction           of Facts


               In
                        my previous letter                      I   made      assertions       that       Haskell Indian Nations University                            HINU which
involves Tonia                    SalviniVice                   President of Academic Affairs                             and the supervisor over                 Student

       not completed the                           2020       Census         for    students This assertion was                    made with the understanding                        that

a HINU had never                                 contacted          me regarding          b no message was
                                                                                        the    census                                            sent      to    students   regarding

being counted                     or that the census                 had been completed and c      HINU can submit         while                                      directory
information                 without              the consent         of a student        it   is   a violation            FERPA regulations to release                     both race

ethnicity          information                    and gender          information         without          consent         of the studentimportant                      information           to

be given           to       the   census


               However            I found out on August 28th that HINU had completed the census earlier that summer

                                 engage the US Census Bureau requesting this information had resulted in a Legal wall
Prior attempts                    to


quoting        Title          13       US
                                      Code which prevents them from disclosing whether an entity had completed the

census HINU                       and Salvini            to    this   day have never responded                        to    my questions         about          the   census While            I


wish our school                        or Salvini      had been transparent about the census it is only from a census worker

violating          Title          13       that   I have been informed that HINU completed the census The same day I received

that   information                     I   sent    an apology            letter to    Salvini       regarding             my use of misinformation presented                          to the

CPRB As                 I   addressed              in   the    letter    I   felt   responsible           to   present      the correction        of this information

publicly           to       CPRB but I also noted that this new detail does not dissolve my complaint                                                                  and that   I   still



affirm that Salvinis                             actionsor           rather lack        of actionshave                     resulted in    my     racial     marginalization              It       is


for this    reason                Ive chosen              to   restate       my     original       complaint          and help connect           it   to   why Ive involved                   the

CPRB

                                                                                      Restated        Grievance



               In an effort                  to    reframe          my grievance         presented             to   the   CPRB regarding board member Tonia
Salvini        I    present                the    following


               That board member Tonia Salvini                                           is a Public Figure both in her position as Vice President
               of Academic                        Affairs at         HINU           and as a board member for the CPRB That acting as a

               public             figure Salvini should be subject to the Ethics Policy Resolution                                                               No 7269 for the
               CPRB which requires    Public Trust and               a
                                                           not treating any person differently on the      b
               basis of race Furthermore the bylaws of the CPRB involve reviewing completed racial




                                                                                                                                                                                                       USA00071   7
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        or other            bias based policing               investigations          that     board members            need to be familiar with
        the      Police Departments                      annual training            on racial or other bias based policing and
        there         are    current discussions on racial bias training specifically                                 for   board members All of
        this     is   moot           if   the   board member participates
                                                                 marginalization knowingly or not
                                                                                         in racial

        while acting as a public figure and eliminates the ethos that the board member can

        correctly            complete their obligations                    to the   community          It   is   for all of these   reasons that       I


        present         my grievance                      CPRB that the experience Im sharing with CPRB related to
                                                     to the

        Tonia Salvini                     as a public figure has left me feeling racially marginalized and that I have

        no public trust for Salvini to complete her role in representing                                             our community on the
        CPRB           and       I    would like actions taken              to    hold Salvini accountable              which may require an

        investigation                     andor removal        of her position        on the board


        As identification                       of racism requires perspective             taking I invite the              CPRB to share my
        experience trying to engage                           with board member Tonia Salvini about                          my multiracial
        identity            My main argument has been related to the 2020 Census My claims of racial
        marginalization stem from 6 months                                  of outreach        to   Salvini      and the university with
        concerns that I want to be able to                          fill    out the census with             my correct       racial identity     HINU
        does not collect racial identity on any forms and a Certificate of Degree                                               of Indian       Blood

        CDIB                 not a racial identity especially for those who identify as mixed race                                        See
                             A
                        is


        Appendix                          In that 6 month time window                I   have       not received a response and as such                 my
        concerns about  my racial identity and that of other mixed race students have been
        dismissed and ignored both Salvini and other HINU faculty members My concern                                                             has

        grown          after hearing that       ignored not only was         I             the whole         time but Student Housing
        under the direct supervision           completed the census without collecting my racial
                                                              of Salvini

        identity despite my attempts to engage with them and without my consent   to release

        FERPA protected data This is a huge issue of being able to have your own racial identity
        acknowledged                       and to not have your race assumed because                             we are an All Native           school

       which          marginalizes those of us that                        have more complex            racial identities       than just Native
        American


        This      ties      into          my next complaint that because                 the school         does not collect racial identity

        information racially biased policy and treatment cannot be tracked                                                   This   is   severely

        infuriating                many complaints from mixed raced students especially
                                 to find that after

        multiracial Black students Salvini who is the direct supervisor over Student Rights has

        sat on        a board that reviews racial bias policing policy for years now but has not taken any
       initiative        to offer the same checks  and balances to the department she oversees despite

        complaints               from students


        Salvini        is    a   common denominator among departments                                  that contribute to the racial

        marginalization of mixed race students Salvini operates as the Vice President                                                      of

       Academic              Affairs            and is the direct supervisor             for   Student Housing              Student Rights and is

       the acting Tittle                 IX coordinator I have tried to engage with Salvini to assert my identity as
        a mixed race                  student and to bring to light challenges we are facing because of her

        departments                   and her inability to acknowledge mixed race identities I have no public trust
       in the         way        Salvini         manages my racial identity              as a public figure for             HINU and my
        cynicism             extents to the           concern of her operating                      same systemic systems of
                                                                                               within the

        racism as a public figure for the                         CPRB           I want to see accountability and I want

        community representation                          that carries           my interest in mind

                                                               Additional         Grievance


       It   was       my understanding that a letter would stand in place                              of my public comment and be read or

addressed   in   the public    comment portion of the meeting agenda on August 27 It was a great

disappointment         that didnt occur and I am appreciative to board member William Graybill who                                              forced




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public          acknowledgment                  at   the    end of the meeting However                          I    do still       have criticism that the apparent

reason          to   acknowledge               the   letter   was     to   avoid a tarnished reputation rather than                                       showing actual            concern

for the content                    I dont really want to wake                      up tomorrow             and read the newspaper                            accusing     this      board or

myself of white washing material


Furthermore                   board member Jane Gibsons response                                   I dont see how                   it   is   even marginally relevant to
the board So I dont see any reason                                  to    respond     to    it   because its not about what we                                do demonstrates              a

lack of perception taking choosing                                  to   use her     own         perspective             as   a means to say its               irrelevant rather

than attempting                    to   see    why I think      its      relevant      and a sense of White privilege                                 the privilege        to       use her

own        perspective              as the only correct or relevant perspective                             in this           situation        to     not    even acknowledge
the content            that        racially     marginalized             individual     has concerns                that a board member operating as a public

figure responsible for the oppression                                 of this individuals              racial        rights        feels      they will       continue         to   be

marginalized with                       that   public      figure   continuing         to    operate       in   other public               capacities          The board is not

perfect vacuum                     where       actions     taken    outside        of the board meetings dont have rippling effects


I   offer       this   criticism as            an opportunity            for the    board to discuss how they manage                                      complaints      and how

they       can avoid           their      own       implicit biases          I   understand         this   training           is   a topic      of discussion in these

meeting and find it contradictory                              that so      much attention is being focused                              internally           on how the board
can    show and demonstrate racial understanding and                                              racial   bias          and then completely dismiss a racial

critiqueof the board as irrelevant I understand that many of you may have dismissed my claim because

a  some of you have served with and developed professional and personal relationships with Ionia

Salvini but your experiences   with her dont invalidate my experiences with her or because bTonia
Salvini         is   a member of the                 same     racial
                                                                          group I claim she is oppressing which does not mean her actions
arent harmful or impactful                            to   me and other mixed                race     students            despite        our shared identities



I   think the          board needs to have deeper conversations                                   with     what          the responsibilities                and racial        attitudes

need       to    be on the board                I   dont think        personal accountability                       is
                                                                                                                         going to cut           it   after    taking implicit bias

training             because anyone                 who    has taken       it    learns that the       test     calls         them out on racial biases                   to    make
them aware               It   is    going to take outside correction                       to    continue       to       hold others accountable                    to racially

biased          actions        I   also think        your bylaws or other operational documents                                          need        to   outline a complaint

process          for   the     board itself           Im writing these letters because the bylaws dont offer any other guidance
and    I   would hope there                    is   a better process             to review complaints than                         someone           voting    to   not

acknowledge               the       complaint


nipwaahkalo




Jared Nally




                                                                                                                                                                                               USA00071   9
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                                       Appendix         A

       Inclusion     of   Student Forms that do not ask for racial

         identity    information Additionally                 1PEDS data that
      show 111NU          reporting    all   students as Native American
                          without mixed race options



       Note   Tribal Affiliations   and   Certificate   of   Degree   of Indian   Blood

              CDIB are not      full   representations       of racial identity




                                                                                          USA000720
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                                            Haskell               Indian               Nations              University
                                                            Office of Admissions


                                              AdmissionAppjFptiontroli
                                             All Sections          of this Application          Must      Be   Completed


              DEADLINES      for Application               Fall June          1        I

                                                                                             Spring       November         15th       I       Summer April             15th




What semester are you                planning to attend                 Haskell               0    Fall    20         El Spring             20           0 Summer 20

Legal     Name          as appears     on   legal   documents              ie     birth certificates           court documents




Last   Name                                              First   Name                                                      Middle Name




Maiden        Other Names                                                                      Social     Security   Number

Please select which           degree you are pursuing

O Associate of Arts AA Degree                                    0 Associate                of Science         AS Degree
O Bachelor of Arts BA Degree                                     113   Bachelor            of Science       BS Degree
Please write your desired major on the                           line




Permanent          Mailing Address




Street   or   PO Box                                                   City                                                       State                   ZIP




Telephone                                                                                      Email      Address



Please select your enrollment                     status

O Full Time Student             enrolled in 12 or more           credits                       O Part Time Student                        enrolled in   less   than   12 credits



Please select your housing                  status


O On campus must be              enrolled    in   12 credits                                   ▪      Off campus           please    list   local   address below




Street   or   PO Box                                                   City                                                       State                   ZIP




Emergency           Contact


                                                                           0 Parent          El Spouse          0 Other
Last     First   Name                                                                                                              Please Specify        Relationship




Street   or   PO Box                                                   City                                                       State                   ZIP




                                                                                               Email      Address
Telephone




Office of Admissions             155    Indian     Avenue Box 5031                 I       Lawrence       KS 66046     I    V 7857498454                              7851498429




                                                                                                                                                                              USA000721
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                                                          Page   2 Haskell    Indian Nations   University      Admissions   Application            OMB Control No 10780114              Confidential




Student Demographic Information


Date of Birth                                                                                           Place     of Birth




MM       DD YYYY                                                                                        City                                                               State



Gender                                                                  Marital Status

0 Male                 0 Female                                         0 Single              0 Married             0 Separated                      0 Divorced
Are you currently on or pending criminal probation or parole                                                           0 No            0 Yes
If
     yes please explain


if   more room   is   needed   please   use separate sheet of paper




Tribal      Information




Tribal   Agency                                                                                         Degree    of   Blood or Tribal             Rod Number




Name of Tribe Pueblo Corporation or Rancheria




High       School          Information




Name      of High       School                                                          City                                State                   Date From                   Date    To



Have      you graduated                 from high school                     0 Yes                                                    0 No
                                                                                        Date   of   Graduation                                      Anticipated     Date       of   Graduation




Have you taken the                      GED        0 No           0 Yes          0 NA                                                         If
                                                                                                                                                   you have taken        the   GED please
                                                                                                                                              submit               of your scores
                                                                                                 Date    of   GED exam                                  a copy




Have you taken the                      ACTSAT            0 No           0 Yes                                                        If
                                                                                                                                           you have taken    the    ACTSAT            please have

                                                                                                                                      your official     scores    sent to Haskell
                                                                                        Date   of   exam


                           School       Code 010438                          Haskell   ACT Code                1415           Haskell         SAT Code 0919




College or University Information

Have you ever attended                       a   class    at     another college or university                           0 No                0 Yes
Have you been awarded                           an Associates          Degree          or will      be completing             a       degree              0 No             0 Yes

Name      of College       or University                                               City                             State                 MMYYYY                       MMYYYY



Name of College or University                                                          City                             State                 MMYYYY                       MMYYYY
If   more room   is   needed   please use   separate sheet of paper




 Office of Admissions               I     155    Indian   Avenue Box 5031                      Lawrence         KS 66046          I
                                                                                                                                              7857498454             I    44        7857498429




                                                                                                                                                                                          USA000722
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                                                      Page   3 Haskell Indian Nations University     Admissions    Application    I
                                                                                                                                      OMB Control No 10760114   Confidential




Miscellaneous               Information


Please       list   any activities      in   which you would              like   to participate         in   at   Haskell        ie Haskell       Band    Basketball

High powered Rocketry                   Club Student               Senate        etc




Certification             of Information



 certify       that the information             given        on   this   application     is   correct        and complete and all               prior academic
work    is   accounted          for   on this application Incomplete                     applications will              not be considered



Print   Name                                                                                  Date




Student Signature




               Please mail the applicable                                 documents                  to the Office                     of Admissions




   O Completed Application

   O $10 Money Order

   O Official High School Transcript

   O Official ACTSAT Scores

   O Copy of GED Scores                       Of applicable



                                                                                                         Mailing Address
   O Official College Transcripts                                          Office      of Admission               Haskell        Indian    Nations
                                                                                                              I
                                                                                                                                                      University

         Immunization Records Showing                                         155 Indian      Ave       Box 5031             Lawrence         KS 660464800

   El    Measles           Mumps        and Rubella

         MMR          I   and   MMR     II



                     of Tribal       Enrollment
   o Copy
         Documentation


   O Admissions Entrance Essay




Office of Admissions             I    155    Indian   Avenue       Box 5031       1    Lawrence       KS 66046          I
                                                                                                                            12    7857498454          e 7857498429


                                                                                                                                                                  USA000723
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                          Haskell Indian                   Nations University                                Housing fees are to be paid after you


            ON CAMPUS HOUSING APPLICATION                                                                    have received            an acceptance                letter




PERSONAL DATA
                                                                                                             Division of Residential                    Housing


 Last    Name                                  First                        Middle                           155 Indian        Ave Box 5032

                                                                                                             Lawrence KS 660464800

 Address
                                                                                                             Phone     785 7498460
                                                                                                             Fax    785 8326618
 City                                         State                         Zip   Code



 Area Code                                    Telephone                     Email Address
                                                                                                                        FACILITIES           AND SERVICES

                                                                                                             Each     residence           hall    has professional

EMERGENCY CONTACT                                                                                            staff   and student aides to assist with

                                                                                                             college    life       Most      halls       contain

                                                                                                             television       rooms          In    addition vending
 Last    Name                                 First                         Relationship                     machine         services       are        available to the

                                                                                                             residents         All   rooms are equipped twin

 Address                                                                                                     sized    beds wardrobe                    closets     drawer

                                                                                                             space     desks         and chairs

 City                                         State                         Zip   Code
                                                                                                             Residential        Halls       are smoke            free

 Area Code                                    Telephone
                                                                                                             Meals     are served           in    the    campus       dining

                                                                                                             hall    Curtis          Students residing              in the


 Applying    for                     Fall                 Spring                  Summer                     residence        halls       are entitled          to three

                                                                                                             meals per day Monday through                            Friday

                                                                                                             and two meals on week ends and
 Male       r7                                        Female
                                                                                                             holidays



                                                                                                             Each    student         at   Haskell             assigned     a
                                                       Date of                                                                                           is
 Age                                                             Birth

                                                                                                             mailbox and           will    pick    up their mail at
                                                                                                             the campus         post       office        located    in


 Have you ever attended Haskell                            before          Yes                 No            Navarre        hall




                                                                                                             Disclaimer         Residential              Hall   programs
 If
      yes please          list       the date     last   attended and which dorm you reside in
                                                                                                             will   not be responsible                  for any    damaged
                                                                                                             lost    or stolen personal                 property

                                                                                                             Personal        property        must be removed

                                                                                                             from the residential                 hall    on the    last    day
COLLEGE CLASSIFICATION
                                                                                                             of the students               occupancy             Personal

                                                                                                             property        remaining            in    residential      halls
      Freshmen        I          1     Sophomore                     Junior                Senior
                                                                                                             after the student              is   no longer residing

                                                                                                             there    will    become             property       of the


SPECIAL ACCOMODATIONS                                                                                        University and donated to charity or

                                                                                                             stored    at    the owners                expense
Handicap    accessible                  rooms are available          Please notify   our office   if
                                                                                                       you
have such a request                         You may also contact         Perry Graves    Disabilities


Coordinator      at       785 8326607




                                                                                                                                                                               U SA000724
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Please read the enclosed                Housing        Contract thoroughly          before        leared     and approved      by
signing
                                                                                                   Admissions
The contract and       application             should be returned to the following

address                                                                                            Student       Conduct


Haskell    Indian   Nations          University                                                    Business Office

Residential      Housing

155 Indian       Ave   Box 5032                                                                   Money OrderCashiers Check

Lawrence       KS 66046                                                                            Enclosed        Yes           No

                                                                                                  Forwarded
Fees can    be   mailed to           Haskell     Business Office

                                       155    Indian     Ave    Box 5026                           Business Office

                                       Lawrence KS 66046                                          Payment can       also   be made    in   person

                                                                                                  using   cash    andor    creditdebit     cards
On Campus Fee $71500 includes                            the $18000        Housing    Fee         Please make sure to print your name

                                                                                                  and address on the
Off Campus       Fee $24000                                                                                                 money order


                                                                                                  Approved        for Housing        Yes       No

DISCLAIMER

Residential       Housing       will    not be held legally responsible               should
                                                                                                   By
an incident occur         for    any false or inaccurate                information   that   is




provided     by the student            in    reference to this contract            including
                                                                                                   Date
but not limited to personal                  history personal           property or prior

criminal   convictions          Should        critical   information       in   the contract

be falsified     by an applicant             Residential       Housing     reserves   the right

to   take action    against      said       individual




 Signature




 Date




FOR OFFICE USE ONLY



 Application       received      on



 Check one

 New     n     Transfer          I   Readmitted                Double           Continuing




                                                                                                                                                U SA000725
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   CaLEGENavigator


    Haskell        Indian Nations           University
    155   Indian   Ave    Lawrence       Kansas 560454800


    General    Information               785 74943404
    Webs its                             wwwheskeilierk

                                         4
    Type                                     year primarily        associates        Public

    Awards     offered                   Less than          one year certificate
                                         Associates          degree
                                                                                                                                             View     on Gurgle Maps
                                         Bachelors           degree

    Campus     setting                   City Small

    Campus housing                       Yes

    Student    population                789 all         undergraduate

    Student   to faculty       ratio     25    to    1

                                                                                                                                  PHA ID 155140
                                                                                                                                  OPE32    01049555




   °GENERAL          INFORMATION


   °TUITION         FEES AND ESTIMATED                       STUDENT          EXPENSES


   °FINANCIAL            AID


   D NET PRICE




    TOTAL ENROLLMENT                   ALL UNDERGRADUATE                                                                                                               789



      Undergraduate        transfer in       enrollment                                                                                                                 63




                                ATTENDANCE                  STATUS                                                             STUDENT     GENDER


                                               904
                                              Part

                                              Woe


                                                                                                                                                           44
                                                                                                                                                           Male




                                                                                                                    Female




                                                   97
                                                    Frill

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                                                                               STUDENT       RACEETHNICITY


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                    UNDERGRADUATE                        STUDENT      AGE                                    UNDERGRADUATE           STUDENT        RESIDENCE




                                                                                                                                                                             U SA000726
                          Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 199 of 386



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                                        Residence       data    am     reported    for   firsttime degreecertificateseeking               undergraduates                 Fall   2018


                                                                                              UNDERGRADUATE               INSTANCE EDUCATION                       STATUS


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                                        Haskell   Indian   Nations        University      does   not offer distance       education      courses       at this time




                                     Fp ADMISSIONS



                                     RETENTION           AND GRADUATION                   RATES


                                     CO OUTCOME MEASURES



                                     0 PROGRAMSMAJORS
                                       SERVICEMEMBERS                  AND VETERANS

                                     CI VARSITY    ATHLETIC            TEAMS

                                     0 ACCREDITATION
                                     °CAMPUS        SECURITY           AND SAFETY

                                      COHORT DEFAULT                   RATES




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Publications                                                     NCES                                                                             Peer Review                       Process


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September          29 2020


Community Police Review                         Board

City Commission Room

City Hall 6        E 6th St
Lawrence KS 66044


                                                                      Public      Comment


To the Community Police Review Board


                                                                        Introduction



            Im writing the Community Police                           Review Board          CPRB as a follow up to my               letter   sent      on

August 26th The              purpose of this message is to                  a     correct   new information Ive come across in my
grievance        related to       board member Tonia              Salvini        b   restate   my grievance        with Tonia Salvini         and      c
bring     up a new grievance with                     how the CPRB managed my complaint at the last meeting While my
initial   letter   was prepared            for brevity       this message is         prepared so as not to be as easily dismissed or

misinterpreted




Housinghad
                                                                   Correction of Facts


            In   my previous             letter   I   made assertions that Haskell Indian Nations                   University     HINU which
involves        Tonia SalviniVice President of Academic                              Affairs    and the supervisor          over Student
       not completed          the       2020 Census for students                 This assertion was made with the understanding                     that

a HINU had never contacted me                            regarding    the    census     b      no message was sent to students regarding

being counted or that the census                       had been    completed and            c while HINU can submit               directory

information without the consent of a student                           it   is   a violation    FERPA regulations           to release both    race

ethnicity       information and gender information without consent of the studentimportant                                           information to

be given to the census



            However           I   found out on August 28th that                   HINU had completed             the census    earlier that   summer
Prior attempts          to   engage       the   US Census Bureau requesting this information had resulted in a legal wall
quoting     Title       13   US Code which prevents them from disclosing whether an entity had completed the
census      HINU and Salvini to this day have                      never responded to            my questions about the census While I
wish our school or Salvini had been                        transparent       about the census        it   is   only from a census     worker

violating       Title    13 that    I   have been        informed that HINU            completed      the census       The same day I received
thatinformation I sent an apology letter to Salvini regarding my use of misinformation presented to the

CPRB As I addressed in the letter I felt responsible to present the correction of this information
publicly to CPRB but I also noted that this new detail does not dissolve my complaint and that I still

affirm that        Salvinis       actionsor            rather lack of actionshave resulted in my racial marginalization It is

for this reason Ive               chosen    to restate      my original complaint and help connect  to why Ive involved
                                                                                                                      it  the

CPRB

                                                                   Restated Grievance



            In   an effort to reframe                 my grievance     presented to the         CPRB       regarding       board member Tonia

Salvini     I   present the        following


            That board member Tonia                         Salvini    is   a Public Figure both in her position as Vice                     President

            of Academic Affairs at                     HINU     and   as    a board     member for the CPRB That acting                       as   a

            public figure Salvini                     should be subject to the Ethics Policy Resolution                         No 7269 for the
            CPRB which                  requires       a   Public Trust and          b      not treating any person differently on the

            basis       of race Furthermore                     the bylaws of the           CPRB involve reviewing               completed racial




                                                                                                                                                            U SA000728
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        or other bias based                 policing           investigations             that board members need to be familiar with

        the Police  Departments annual training on racial or other bias based policing and
        there are current discussions on racial bias training specifically for board members All of

        this   is   moot if the board member                              participates        in racial   marginalization knowingly                            or not
        while       acting as a public figure and eliminates the ethos that the board                                                member can
        correctly         complete          their obligations               to   the community            It   is   for all    of these reasons that                 I


        present my grievance                   to    the       CPRB that the experience                   Im sharing with CPRB related to
        Tonia       Salvini      as   a public figure has left                     me feeling racially marginalized                       and that        I   have

        no public          trust for Salvini           to      complete          her role in representing our community                             on the
        CPRB and I would like actions                                taken    to   hold Salvini accountable                   which may require an

        investigation            andor removal                  of   her position         on the board


        As identification              of   racism requires perspective                         taking     I   invite    the    CPRB to share my
        experience          trying to engage with board                            member Tonia           Salvini       about my multiracial

        identity          My main argument has been related to the 2020 Census My claims of racial
        marginalization stem from 6 months of outreach                                           to   Salvini       and the university with
        concerns          that   I   want to be able to fill                  out the census with my correct racial                           identity         HINU
        does not collect              racial   identity          on any forms and a Certificate                        of Degree       of     Indian      Blood

        CDIB               not a racial identity                 especially for              those   who identify as mixed race See
                           A
                     is


        Appendix                 In that 6 month time window                             I   have not received           a response           and    as       such   my
        concerns        my racial identity and that of other mixed race students have been
                          about

        dismissed and ignored both Salvini and other HINU faculty members My concern has

        grown after hearing that not only was I ignored the whole time but Student Housing
        under the direct supervision of Salvini completed the census without collecting my racial

                      my attempts to engage with them and without my consent to release
        identity despite

        FERPA protected data This is a huge issue of being able to have your own racial identity
        acknowledged and to not have your race assumed because we are an All Native school
        which marginalizes those of us that have more complex racial identities than just Native
        American


        This ties into           my next complaint that because the school does not collect                                               racial    identity

        information              racially      biased policy and treatment                           cannot    be tracked This is severely

        infuriating         to   find that after               many complaints from mixed raced students especially
        multiracial Black students                                   who is the direct supervisor over Student Rights has
                                                               Salvini

        sat    on a board that reviews                     racial bias policing                policy for years now but has not taken                                any
        initiative        to offer     the same checks                    and balances          to   the department            she oversees despite

        complaints          from students


        Salvini      is   a common denominator                            among departments               that contribute            to   the racial

        marginalization of mixed race students                                      Salvini     operates       as    the Vice President of

        Academic Affairs and                    is   the direct supervisor for Student Housing Student Rights and                                                        is


        the acting         Tittle     IX coordinator                  I   have tried to engage with Salvini to                       assert    my identity as
        a mixed race student and to bring to light                                     challenges       we are facing because of her
        departments              and her inability to acknowledge                              mixed race           identities   I   have no public trust

        in the      way Salvini manages my racial                                identity as     a public figure for            HINU          and    my
        cynicism extents               to   the concern              of her operating            within the same systemic systems of

        racism as a public figure for the                             CPRB         I   want to see accountability                and      I   want

        community            representation                that carries           my interest in mind

                                                                Additional          Grievance



        It   was my understanding                   that   a letter would stand in place of my public comment and be read or
addressed in the public comment portion of the meeting agenda                                          on August        27 It was a great
disappointment       that   didnt occur and                I   am appreciative           to board      member William Graybill who                            forced




                                                                                                                                                                              U SA000729
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public       acknowledgment              at   the   end of the meeting However                    I    do       still    have        criticism that the apparent

reason to acknowledge                  the letter      was to avoid a tarnished                reputation               rather       than showing actual concern

for the content               I dont really want to wake up tomorrow and read the newspaper accusing this board or
myself of white washing                      material


Furthermore board member Jane Gibsons response                                       I dont see how                       it   is    even    marginally relevant to
the   board So I dont see any reason to respond to it because                                     its       not about what we do demonstrates                                 a
lack       of perception        taking       choosing to use her own perspective                           as   a means to say its                irrelevant rather

than attempting               to see   why I think its relevant               and a sense of White                       privilege          the privilege to use her

own perspective                as the only correct          or relevant      perspective        in this situation                     to not    even   acknowledge
the   content that racially marginalized individual has concerns that a board member operating                                                               as    a public

figure responsible              for the oppression           of this individuals          racial       rights feels                 they will    continue to be

marginalized with that public figure continuing                               to operate       in other public capacities                         The board        is   not

perfect      vacuum where              actions      taken outside of the board meetings dont have                                       rippling effects



I   offer this criticism as            an opportunity for the board to discuss how they manage complaints                                                    and    how
they can avoid their own implicit                      biases     I   understand this training                    is    a topic of discussion in these

meeting        and find it contradictory               that so    much       attention    is   being focused internally on how the board
can show and demonstrate                      racial   understanding          and racial bias and then completely dismiss a racial

critique      of the board as irrelevant                I   understand that many of you                         may have             dismissed     my claim because
a some of you have served with and developed                                   professional           and personal relationships                       with Tonia

Salvini       but your experiences                  with her dont invalidate             my experiences with her or because bTonia
Salvini       is   a member of the same racial                 group     I   claim she is oppressing which                              does not mean her actions

arent harmful or impactful to me and other mixed race students despite our shared identities



I   think the board            needs   to have       deeper conversations           with what the responsibilities and racial attitudes

need       to be   on the board          I    dont think personal            accountability           is   going to cut it after taking                  implicit bias

training       because         anyone        who has taken       it   learns that the test calls                 them          out   on racial biases to make
them aware           It   is   going to take         outside correction        to   continue to hold others accountable                                to racially

biased actions            I    also think     your bylaws or other operational                    documents                    need to outline         a complaint

process for the board itself                   Im writing these          letters    because       the       bylaws dont offer any other guidance
and    I   would hope there is a better process to review complaints                                       than someone voting                    to   not

acknowledge           the      complaint



nipwaahkalo




Jared Nally




                                                                                                                                                                                  U SA000730
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                                   Appendix        A


  Inclusion    of Student          Forms that do             not      ask   for racial


   identity    information Additionally                  IPEDS data that
 show HINU        reporting        all   students as Native American

                   without         mixed race options


  Note   Tribal Affiliations   and   Certificate   of   Degree of Indian         Blood

         CDIB     are not   full
                                   representations      of   racial   identity




                                                                                         U SA000731
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                                            Haskell                Indian              Nations University

                                                             Office of Admissions

                                                     Admission Application
                                                                        OMB         Control   No        10760114



                                                All Sections of         this   Application          Must Be      Completed

              DEADLINES        for
                                     Application            Fall    June      1st       I


                                                                                              Spring          November     15th      I       Summer April 15th

What semester            are   you planning             to attend       Haskell                    0   Fall   20          0 Spring 20                      0 Summer 20

Legal         Name as appears on legal documents                           ie birth certificates                court    documents




Last   Name                                                First   Name                                                    Middle    Name




Maiden         Other Names                                                                         Social     Security   Number


Please select which             degree you are pursuing

O Associate of Arts AA Degree                                      0 Associate of Science AS Degree
O Bachelor of Arts BA Degree                                       0 Bachelor of Science BS Degree

Please write your desired                 major on the line



Permanent           Mailing Address




Street   or   PO Box                                                  City                                                        State                     ZIP




Telephone                                                                                          Email    Address



Please select your enrollment status

O      Full   Time Student           enrolled   in   12 or more credits                            O Part Time Student                   enrolled    in   less than   12 credits



Please select your housing status

O On campus must be                  enrolled in 12 credits                                        O Off campus            please    list   local   address   below




Street   or   PO Box                                                  City                                                        State                     ZIP




Emergency Contact

                                                                         0 Parent 0 Spouse 0 Other
Last      First   Name                                                                                                            Please      Specify      Relationship




Street   or   PO Box                                                  City                                                        State                     ZIP




Telephone                                                                                          Email    Address




Office    of Admissions               155 Indian Avenue            Box 5031                 Lawrence        KS 66046        TS     7857498454                         7857498429



                                                                                                                                                                      U SA000732
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                                                           Page   2 Haskell Indian      Nations   University       Admissions Application     IOMB Control No          10760114     I
                                                                                                                                                                                        Confidential




Student             Demographic                 Information


Date of Birth                                                                                               Place of Birth




MM            DD    YYYY                                                                                    City                                                         State



Gender                                                                        Marital    Status

0 Male                  0 Female                                              0 Single 0 Married                        0 Separated                  0 Divorced
Are you currently on or pending                              criminal          probation          or      parole            0 No       0 Yes

      yes please explain
If




If    more room    is   needed please   use   separate   sheet   of paper




Tribal         Information




Tribal    Agency                                                                                            Degree     of   Blood or Tribal        Roll   Number



Name of Tribe Pueblo Corporation                          or Rancheria




High School                 Information




Name of High School                                                                        City                               State                Date From                  Date To



Have you graduated                      from high school                       0 Yes                                                  0 No
                                                                                          Date    of      Graduation                                Anticipated   Date      of   Graduation




Have you taken                 the   GED            0 No              0 Yes        0 NA                                                       If
                                                                                                                                                   you have   taken the     GED please
                                                                                                                                              submit a     copy of your scores
                                                                                                     Date     of   GED exam


Have you taken                 the ACTSAT                   0 No              0 Yes                                                   If
                                                                                                                                           you have taken the ACTSAT please have

                                                                                           Date      of   exam                        your official scores sent        to   Haskell



                            School      Code        010438                     Haskell    ACT Code                 1415          Haskell      SAT Code            0919




College or University                         Information


Have you ever attended                         a class      at another           college        or university                 0 No          0 Yes
Have you been awarded an Associates Degree                                               or   will        be completing          a    degree               0 No             0 Yes

Name of College or University                                                            City                                State            MMYYYY                        MMYYYY



Name of College or University                                                            City                                State            MMYYYY                        MMYYYY
If    more room    is   needed please   use   separate   sheet   of
                                                                      paper




     Office   of Admissions               155 Indian Avenue               Box 5031                Lawrence          KS 66046                 7857498454            I    art      7857498429



                                                                                                                                                                                  U SA000733
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                                                     Page   3 Haskell Indian   Nations   University   Admissions Application   IOMB Control No   10760114   Confidential




Miscellaneous                Information


Please        list
                     any activities    in
                                               you would like to participate
                                             which                                                       in   at Haskell      ie Haskell Band Basketball
High powered                Rocketry    Club Student Senate etc




Certification of Information


 certify that the information given                         on this application             is   correct      and complete and          all
                                                                                                                                              prior academic

work     is    accounted        for on this application              Incomplete             applications           will   not be considered




Print   Name                                                                                     Date




Student Signature




                Please mail the applicable                               documents to the Office of Admissions



   O Completed Application
   O $10 Money Order
   O     Official          High School       Transcript



   0     Official          ACTSAT Scores

   O Copy of GED Scores                      Of applicable


                                                                                                                          Address
   O     Official          College Transcripts
                                                                                                           Mailing
                                                                           Office        of Admission          I   Haskell    Indian   Nations University

         Immunization               Records    Showing                         155   Indian      Ave     Box 5031            Lawrence    KS    660464800
   O Measles Mumps and Rubella
     MMR and MMR       I
                                        II




   O Copy of               Tribal   Enrollment

         Documentation

   O Admissions Entrance                      Essay




Office   of Admissions                155 Indian Avenue          Box 5031                Lawrence       KS 66046               7857498454        I110   7857498429



                                                                                                                                                        U SA000734
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                     Haskell          Indian Nations                                                      oveiriees are to be paid                       after   you
                                                                 University
                                                                                                          arm ccvcd
              ON CAMPUS HOUSING APPLICATION                                                                                       an acceptance           letter




PERSONAL             DATA
                                                                                                         Division     of Residential          Housing


 Last    Name                        First                         Middle                                155 Indian        Ave      Box 5032


                                                                                                         Lawrence          KS 660464800

 Address
                                                                                                         Phone 785 7498460

                                                                                                         Fax 785 8326618

 City                                State                         Zip Code



 Area Code                           Telephone                     Email Address
                                                                                                                                      AND SERVICES
                                                                                                                    FACILITIES



                                                                                                         Each    residence         hall    has professional

EMERGENCY CONTACT                                                                                        staff and       student     aides to assist         with

                                                                                                         college    life     Most     halls      contain

                                                                                                         television      rooms        In   addition        vending
 Last    Name                        First                         Relationship                          machine services are available                     to   the

                                                                                                         residents         All   rooms are equipped               twin

 Address                                                                                                 sized beds         wardrobe closets drawer

                                                                                                         space desks             and chairs

 City                                State                         Zip Code
                                                                                                         Residential        Halls    are smoke free


 Area Code                           Telephone
                                                                                                         Meals are served            in    the campus dining

                                                                                                         hall   Curtis           Students     residing      in   the

 Applying      for          Fall                 Spring                    Summer                        residence halls are entitled to three

                                                                                                         meals per day Monday through                        Friday

                                                                                                         and two meals on week ends and
 Male                                        Female
                                                                                                         holidays



                                                                                                         Each    student         at Haskell       is
                                                                                                                                                       assigned a
 Age                                          Date   of Birth
                                                                                                         mailbox and will           pick    up     their mail at

                                                                                                         the campus post office                  located    in


 Have       you ever attended          Haskell   before           Yes                    No              Navarre hall



                                                                                                         Disclaimer          Residential          Hall   programs
 If
      yes   please   list   the date    last   attended    and which       dorm you reside in
                                                                                                         will   not be responsible            for any       damaged
                                                                                                         lost or stolen          personal     property

                                                                                                         Personal property must be removed

                                                                                                         from the residential              hall    on the last day
COLLEGE CLASSIFICATION
                                                                                                         of the   students          occupancy            Personal

                                                                                                         property remaining in residential halls
      Freshmen                Sophomore                     Junior                   Senior
                                                                                                         after   the student         is   no longer        residing

                                                                                                         there    will   become property of the

SPECIAL         ACCOMODATIONS                                                                            University        and donated            to charity or

                                                                                                         stored at the owners expense
Handicap accessible rooms are available                     Please      notify   our office   if
                                                                                                   you
have such      a   request         You may also contact         Perry   Graves     Disabilities

Coordinator at        785 8326607




                                                                                                                                                            U SA000735
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Please        read the    enclosed Housing Contract              thoroughly before                 Cleared    and approved    by
signing
                                                                                                    Admissions
The contract           and application          should be returned to the following

address                                                                                             Student    Conduct


Haskell       Indian Nations         University                                                     Business Office

Residential          Housing
155 Indian Ave             Box 5032                                                                Money OrderCashiers Check
Lawrence            KS 66046                                                                        Enclosed        Yes        No    i
                                                                                                   Forwarded
Fees can        be mailed       to    Haskell     Business    Office

                                         155 Indian   Ave Box 5026                                  Business Office

                                         Lawrence     KS 66046                                     Payment can also be made         in   person

                                                                                                   using cash   andor creditdebit cards
On Campus Fee $71500                       includes the      $18000 Housing Fee                    Please    make   sure to print your    name

Off Campus            Fee $24000                                                                   and address on the money order



                                                                                                    Approved    for Housing        Yes       No

DISCLAIMER
Residential           Housing     will    not   be held              responsible should
                                                           legally
                                                                                                    By
an incident          occur     for any false or inaccurate           information that        is



provided        by the student           in   reference   to this contract       including
                                                                                                    Date
but not        limited to personal            history personal        property or prier
criminal convictions              Should critical         information    in   the contract

be falsified         by an applicant Residential Housing reserves the                      right

to take action          against said individual




 Signature




 Date




FOR OFFICE USE ONLY


 Application          received       on



 Check        one
 New      I     I   Transfer          Readmitted             Double           Continuing




                                                                                                                                          U SA000736
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   C            LIEGE

    Haskell        Indian      Nations        University
    155   Indian   Ave    Lawrence     Kansas          660464800


    General information                785        7498404

    Website                                       haskeil    edu

    Tyr                                4 year primarily associates                   Public


    Awards      offered                 Less      than    one   year   certificate


                                       Associates degree                                                                                         on Gcoqie     Maps

                                        Bachelors degree


    Campus setting                     City       Small


    Campus housing                     Yes

    Student population                 789     all     undergraduate

    Student to faculty ratio           25    to   1
                                                                                                                               IPEDS   ID   155140

                                                                                                                               OPE ID   01043800




         GENERAL      INFORMATION


    =    TUITION     FEES AND ESTIMATED                     STUDENT        EXPENSES

    =    FINANCIAL       AID


         NFT oRICF




                IES              NCES                           National Center for
                                                                Education Statistics



        TOTAL   ENROLLiVIENT          ALL UNDERGRADUATE

        Undergraduate      transfer   in enrollment                                                                                                                   63


                               ATTENDANCE                STATUS                                                              STUDENT    GENDER


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                                            Part




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                                               Platat


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                                                                           STUDENT            RACEETHNICITY


                                      100




                     UNDERGRADUATE                     STUDENT     AGE                                   UNDERGRADUATE            STUDENT        RESIDENCE




                                                                                                                                                                           U SA000737
                     Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 210 of 386



                                                                                                                                                                   78




                                                                                                                                                   22




                                       Residence     data   are reported         for firsttime      degreecertificateseeking      undergraduates        Fall   2018


                                                                                          UNDERGRADUATE                DISTANCE   EDUCATION         STATUS


                                                                                                                                            1004




                                       Haskell   Indian   Nations    University       does    not    offel   claanca                  aaa     M3    time



                                  ▪
                                      ADMISSIONS


                                      RETENTION       AND GRADUATION                  RATES


                                      OUTCOME        MEASURES

                                      PROGRAMSMAJORS

                                  ▪
                                      SERVICEMEMBERS                AND VETERANS

                                      VARSITY      ATHLETIC      TEAMS

                                      ACCREDITATION


                                      CAMPUS       SECURITY         AND SAFETY

                                  ▪   COHORT       DEFAULT      RATES




                                                                                 Search                                     College   Navigator    Home            Cclege        Casts       Prepare       Financial   Aid       Careers
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I   ES           N C ES                 National Center for
                                        Education Statistics




Explore    the   Institute   of       Education       Sciences                                                                          IES Policies           and Standards                                     Additional         Resources

IES                                                           IES Centers                                                               Public     Access               Policy                                   ERIC

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    bout                                                      NCER                                                                      NCES       Statistical            Standards                              Organizational            Chart


Publications                                                  NCES                                                                      Peer      Review           Process


Data                                                            Home                                                                    ED Data         Inventory

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                                                                Data       Training                                                     Education
                                                                School       Search


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                                                                Kids       Zone

                                                              NCSER




                                                                                                                                                                                                                                                   U SA000738
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                      EXHIBIT 12




                                                                          U SA000739
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From Jared Nal116                               Pll


Date     Fri   Oct      9 2020    at   330 PM

Subject        Ethics    Complaint Against Community Police Review                            Board

To <craigowensPlawrenceksorg>

Cc <ctoomaylawrenceksorg>                             <bmcguirePlawrenceksorg>                    4Pll
                                                                           P   1   1




                                        <dstoddardlawrenceksorg>                          <smishraPkuedu>                    Pll




City Manager            Craig   Owens


Please    see the        attached      ethics   complaint       letter   for   the      Community Police Review Board         I
                                                                                                                                  was told to deliver

complaints against              the    Community       Police    Review        Board to you and would        like   instruction   if   I
                                                                                                                                           am to submit
this   complaint otherwise Please keep                   in   contact     with         how you will   process the complaint



Thank    You
Jared Nally




                                                                                                                                                  USA000740
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October        9 2020

Craig    Owens

City Manager

City Hall
6   E 6th St
PO Box 708
Lawrence            KS 66044


                                                                Ethics Complaint



To The City Manager


                                                                    Introduction



           Im writing the City Manager regarding a complaint against Community Police Review Board
CPRB member Tonia Salvini The complaint alleges Salvini has violated the boards                                                           set   of ethics

while acting         as a   public       figure in the   Lawrence     community A subsidiary complaint                               is   also being     lodged
related to the response               of the board     when the complaint was presented                            directly   to   the    CPRB

                                                      Complaint Against Tonia Salvini


           While Tonia Salvini operates                  as   a Lawrence         public        figure serving as a board                 member on the
                                                                                                                                    President of Student
Community Police Review Board she is also a Lawrence                                      public          figure as the Vice

Services       at   Haskell Indian Nations University               HINU While                      I   do not credit Salvini with the creation                of

the   systems in place          that       oppress   my identity as a mixed race student                      at    HINU      she has made the

conscious       decision to not engage               with me and act as an agent protecting these systems and furthering

the disenfranchisement                of my racial identity and abusing      her position of authority



           I   understand           that   these allegations take place           outside the institution               of the City of Lawrence               but

hold film that any public action has consequences                              that can    either erode or build public trust                      and with

any other role or job you are a sum of all your partsactions outside the workplace
                                                                                      affect individuals

all the time It is for this reason I hold Salvinis actions accountable the City Managers Office to the

Ethics   Policy            No 7269 and to CPRB bylaws and affirm that she
                       Resolution                                                   has eroded public                         a
trust    b     she has    metreated
                             differently  on the basis of race    that upholding a system      e
                                                                                          of racial

                a conflict with  the goals of her position on the CPRB for reviewing completed racial
prejudice poses

or other bias based policing                  investigations     and      d      is   antithetical         to the    ideals   of the board        to   have

members demonstrate                  understanding       of racial bias which             is   in   discussion for city            ordinance      no 9324


                                                              Complaint Background


           Haskell   Indian Nations University HINU has violated my right to self identify my race has

                  FERPA                                        information to the US Census Bureau without
violated       my        rights by reporting racial and gender

                     and has created                           doesnt offer identification                        of racial biases and          racial
my consent                                    a system that

protections for multi racial                 students    Board member Tonic                Salvini         acts    as the   Vice President of

University          Services    for    HINU     and supervises      all   departments               involved with the complaint                  and whom     I


continue       to   reach out       to


           For six months Tonia Salvini and other HINU                                faculty           have ignored my requests to provide my
                                                                                have                              used for the 2020 Census but
own    racial       identity   to    the   school The intent was          to            this    information

the neglect       and disregard by Tonic Salvini Vice President of University Services Ronald Graham

                 Stephen Pro Office of the President and Ernest Wilson Acting Supervisor
                                                                                              of Student
President

Housing         has shown a systemic problem with   how HINU   handles racial identities and has resulted in

me being marginalized and disenfranchised                        as a student           who      identifies        as multi racial




                                                                                                                                                                    USA000741
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              Despite           multiple attempts                     to engage with    Salvini and HINU before and during the 2020 Census

I   found out on August 28 2020                                 that       BINU filed on behalf of students without engaging me or capturing
my self reported racial identity which is a question on the census The completion of this census also
indicates a violation of
                         my rights under The Family Educational Rights and Privacy Act FERPA 20
USC § I232g 34 CFR Part 99 since I gave no prior permission to release information with my race
ethnicity          or gender



              Currently              and historically Haskell Indian Nations University                                          HINU violates federal                       guidance

for    reporting          racial      and ethnic              data        to    the   US Department of Education 72 FR 59266 This standard
was implemented                      in   2007         but goes            back       to   standards     set   in    1997 that HINU            would     still    be   in   violation

of today twentythree                          years
                                                             later   This guidance              stipulates      that   HINU       a will         be required           to   collect

racialand ethnic data using a twopart question on the educational institutions or other recipients

survey
       instrument   and     should                b
                                   allow students parents and staff to selfidentify race and

ethnicity         unless selfidentification                           is       not practicable or         feasible


              HINU           currently            does not           have a survey instrument for students                             to   self identify        their racial


identitythere      no two part questionnaire on admissions applications or housing applications Both
                              is



overseen by Salvini HINU instead uses students Certificate of Degree of Indian Blood Which is not a

racial identity to provide observer   identification and reports all students as Native American with no

secondary              racial    identities             It   should also be noted                 that    the practice        of observer identification                     of race

has    historic         problems in Native American populations                                           and is an inappropriate policy The Integrated

Postsecondary                 Education                 Data System                   WEDS shows                          has never reported                 a    student as two

or more races                since        its     oldest        report from 2001


              I    do not identify as only Native American and yet the school reported me as only Native
American            in previous semesters according to WEDS   The malignant neglect not collecting students self

identified         racial       identities             not only           affects      US Census data but also university                       reports along           racial     lines

If every      student           is   considered               the    same on paper it              iS
                                                                                                        impossible       to    identify       patterns    of systemic racism

along    the       lines     of students marginalized                                racial   identities       For example many students                    including         myself
feel   that       Student        by Salvini has racially biased disciplinary practices for multi racial
                                 Rights           supervised
Black students on campus however their Black identities are not recorded by HINU and thus there is

no traceable             bias or accountability



              I    have engaged Tonia Salvini multiple times to have my racial identity represented and    is her                                                             it



decision          to                me that furthers these systems already in place to marginalize multi racial
                       not engage with

identities         Ive already been misrepresented on the 2020 census and I am act up to be misidentified

again    when Salvines                    subordinate                reports          racial   data for the university            to    the   IPEDS system for fall
enrollment Her passive                            actions            to    ignore          me are an     active      hurdle for me in being recognized as

multi racial             and why              I   dont feel she is fit                      for additional          community duties             to   hold the Lawrence

Police Department                         accountable                since        she      cannot engage with a student                       on their personal             racial

concerns


                                     Subsidiary Complaint Against Community Police Review Board


              I    would also             like     to    lodge        a complaint with the City Managers                               Office   on the behavior of the

Community                Police Review Board                          CPRB                 with how they handled              the the presentation               of   my complaints
directly      to       the   board        I   admit to          my        lack       of knowledge        to the operation          of city committee meetings                       and

                       add a section              to   the     bylaws           to    instruct those      of us with grievances                where they can be filed                I
suggest       to

                                                                                                                                   comments
understand              now     that      I   inappropriately
                                                                                aired
                                                                                           my grievance         in   the public                       not knowing            this   was

             go to the City Manager That being said Im upset that Chair
                                                                             Member Tonia Salvini did not
supposed           to

                                                                        board
provide a statement of where my grievance
                                             could be filed or that the       did not assign staff to


provide information for how to
                                file a grievanceboth     of which  Ive  now discovered  are common

practice          with handling public                        comments that need additional information To me this is just another




                                                                                                                                                                                           U SA000742
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hurdle that Salvini has used                 to     protect her from being                     held accountable                 for her actions         by not providing
an option    to file     a complaint          and further embarrassed                          me with my continued                       use of public comments to

incorrectly      try   and find justice for her actions


           Not only was there a lack of direction                                 for    my complaint but in the initial               meeting ou August
27th   where I presented           my       first      grievance          in     public    comments              board        members William Graybill and
                                                                                                                                      and choose to do so with
Jane   Gibson broke what 1 understand                           is   decorum to discuss                 my complaint
language     that      was dismissive of the nature of my complaint and gaslit my complaint saying it didnt
concern    the   board in an       effort         to   silence       my grievance               See the summary of meetings                             and actions below



                                   Summary of Complaints Already                                      Presented          to    the   CPRB


           Complaints against                Salvini         were presented               directly     to    the board           during the August 27th               and

September        30th    meetings Documents                      on       file    with    CPRB Agendas                   as public         comments         I
                                                                                                                                                                present    the

following    summary of those meetings related                                    to   my complaint

           During the August 27th Meeting                             the        agenda        included
                                                                                                             my initial          complaint         letter       My letter was
           not   acknowledged               during public comment section                              of the agenda                 Before adjournment board
           member William Graybill asked the board                                        to   acknowledge              my letter I           dont really want to

           wake up tomorrow                 and read the newspaper                         accusing         this      board     or    myself of white washing
           material Board member Jane Gibson responded I dont see how it                                                                    is   even    marginally

           relevant to the         board So             I   dont see any reason                  to   respond to          it    because its not about what we

           do


           For the September 30th meeting                             I    rewrote        my complaint which held                          criticism     for    Graybill    and

           Gibsons responses         my     to              letter at the         previous      meeting               Graybill presented           dialogue        that

          relegated       my complaint to a public image issue rather then acknowledging the nature of my
           complaint        I   also   brought attention                   to    the    White privilege present                      in   Gibsons response where

           she a        refused   my complaint from my perspective as a racially marginalized member
                                   to view

           and b  invalidated and gaslit my complaint dismissing   as something that doesnt concern the          it



           board Additional information was provided in my letter expanding on my original complaint

           against      Tonia Salvini After presenting my complaint                                         to    the    board board member Marie Taylor

          posed        questions       to   City Attorney             Toni Wheeler which resulted in the advisement                                         to   present    my
           ethics      complaint       to   the City Manager




Thank   you for handling           my complaint




Cc Diane  Stoddard Casey Toomay Brandon McGuire Tonia Salvini Jennifer RobinsonWilliam
                                           Jane Gibson Marie Taylor LI World
Graybill Stephanie Littleton Sanjay Mishra




                                                                                                                                                                                  U SA000743
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                     EXHIBIT 13




                                                                          U SA000744
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                                                                                                                                                                              CITY COMMISStON




                                         City of Lawrence
                                                                                                                                                                                   MAYOR
                                                                                                                                                                            BRADLEY  R FINXELDEI

                                                                                                                                                                              COMMISSIONERS
                                                                                                                                                                             COURTNEY      SHIPLEY

                                         CITY            ATTORNEYS                                     OFFICE                                                                  STUART BOLEY
                                                                                                                                                                                LISA LARSEN

                                                                                                                                                                       JENNIFER   ANAN     DA JD   MSW


              CRAIG S OWENS                                               Clly Officas                                            6 East   6
               c4ry mANAQER                                               PO    Box 708   66044708                           7658323000
                                                                          wwwiawrencaksorg                             FAX   7135632340$




         December            17 2020




         Mr Jared Nally
         Delivered       Via Electronic               Communication                      to

             Address         L                  Pll




         Re    Correspondence                 to City       Manager               Craig          Owens Concerning Tonle                             Salvini




         Dear Jared



         I    am    wilting        to    follow
                                                      up on your correspondence                                       to     City       Manager          Craig        Owens        referenced

         above        At the outset               we wish            to     express             our appreciation                   to   you     for      your patience            as   we     have

         carefully      considered           the concerns                 you raised                 in   your       letter




         Your       letter        concerns      a     member              of      the          Community               Police         Review            Board      CPRB Ms Tonia
         Salvini       In     your letter you               complain               that         Ms        Salvini      in    her role as an                administrator              at   Haskell

         Indian       Nations           University         HINU                  along          with       other       HINU           faculty           ignored        your       requests           to


         provide       your own             racial       identity           to     the         school          in    certain        reports         made         by    HINU            You       also

         complain        that       Ms Salvini           did     not engage                    with     you when             you made              multiple       attempts to engage
         with her and              other    HINU         officials        regarding               your concerns



         After      careful         consideration                I    find         that          the       allegations             stated          in    your      complaint               even      if




         everything          in    the     letter   is    true       are not violations                         of   the     Citys Ethics Policy or the                       bylaws        of     the

         CPRB The actions                   of which        you complain                       largely         concern           policies       practices          or actions          of   HINU
         The       allegation        that    Ms Savini                 in       her role as               a     HINU        administrator did not                      engage          with you

         regarding           your        concerns          is    not        a    violation                of    the    Ethics           Policy      or     the     CPRB        bylaws            The

         conclusion           I    have     reached             should           not      be interpreted                    to    mean         that      the     concerns         you       raised


         regarding           HINUs         reporting        and communication                                  protocols         are not valid                  The    City    of Lawrence

         however         is       not the proper forum to address                                    those concerns



                                                                          dissatisfaction                  with the manner in which the Community Police
         In   your letter you also expressed
         Review       Board         handled         the     presentation                   of your complaint                            Jared       we appreciate               your honest
         feedback            on     this    matter          The           board           is      not      tasked           with        or     responsible            for    addressing              or


         investigating             complaints             made         against                 its    members                    City      staff    will        endeavor        to     assist        in


                                           making        complaints              in    the future to the appropriate City office
         directing      persons




IV     We are committed to providing                      exceilert         city   services             that    enhance          the quality        of   life   for the     Lawrence        Community
Tioy




                                                                                                                                                                                                          USA000745
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Mr Nally
Dec 17 2020
Page    2




Thank       you   again   for   contacting   the   City   We   wish   you   the   very   best as   you   continue   your
studies



Sincerely




Toni   R Wheeler
City Attorney




   Craig     Owens    City Manager




                                                                                                                           USA000746
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                                  City of Lawrence
                                                                                                                                                         CITY COMMISSION


                                                                                                                                                              MAYOR
                                                                                                                                                   JENNIFER   ANANDA      I   MEW

                                                                                                                                                           COMMISSIONERS
                                                                                                                                                        FIRAULEY R FINKELDE

                                  CITY             ATTORNEYS                              OFFICE                                                         COURTNEY   SHIPLEY
                                                                                                                                                           STUART BOLEY
                                                                                                                                                            LISA LARSEN




             CRAIG    S OWENS                                   City   OSo                                   6 East   EV

               CITY   MANAGER                                   PO Sox 708 660440703                       78548S23000
                                                               MAY lawrnciaksin                      FAX   7856323105




        December          8 2020

        Tonia Salvini Chair

        Community Police Review                       Board
        725 Sheldon Place

        Lawrence KS             66046


        Dear Tonia



        This     letter   serves to      inform you that a complaint has                            been    filed      against          you by Jared Nally who

        alleges        that   you have        violated      the        Citys applicable               ethics       rules          The complaint               along     with

        Resolution 7269 which sets forth the Citys Ethics                                      and Professional Conduct                           Policy      is   enclosed

        for your       review


        The City Commission                   is    currently     working            toward a procedure                    for   handling complaints against

        advisory board members alleged to be in violation                                     of the Citys Ethics and Professional                                 Conduct

        Policy under Resolution 7269 ha the meantime before                                         such procedure                 is   memorialized in writing

        the City Commission has directed                       my office to conduct                  a cursory investigation of the complaint to

        determine whether           it   is   credible      and whether              it   alleges   a violation            of the City policy



        Notice        of the complaint         is   to   be provided to you so that you have an opportunity to respond to                                                     me
        if   you wish         in writing within           seven        7          calendar   days of your receipt of this notice                              Please note

                                                                   be an                                                          Kansas Open Records                   Act
                                                                                   open record
                                                           will                                                    to the
        that    any response you provide                                                             subject


        Upon receiving           any response from you I will finalize my review



        Please        do not    hesitate       to    contact      me         if
                                                                                   you have any questions                        regarding        this    complaint           at


        twheeler tglawreneeksorg



        Sincerely




        Toni Wheeler

        City Attorney



        Encl




Ink
      We are committed to providing                 excellent     city   services that        enhance        the   quality        of life   for   the   Lawrence       Community
re4




                                                                                                                                                                                    U SA000747
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                     EXHIBIT 14




                                                                          U SA000748
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Census 2020


1   ared Nally                   Pll             >
Thu 20200416         938 AM

To toniasalvinibieedu         <toniasalvinibieedu>   Ernest Wilson   <ewilsonHASKELLedu>


aya ceeki



Could    I

             please get information on     how   Haskell   will   be counting   me in the 2020 census


Thank you

Jared        Nally




                                                                                                        USA000749
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Fw Census recruiting in Lawrence

Salvini Tonia                <toniasalviniBIEEDU>

Fri   4172020 1027 AM

To jnallyhaskelledu                <jnallyhaskelledu>

Cc     Melissa    Holder         <mholderHASKELLedu>                 Tina   Tourtillott   <ttourtillottHASKELLQdu>


Jared        The University is working with several                                   folk in preparing                for

educationinformationdirection                                 re census             2020


Meanwhile              if   you could put this word out below                                via    the Indian         Leader     we have had           folks    on

campus quite                 often this academic year                        for    meetings and recruitment mostly Curtis Hall



If    you could         assist in        any way it would be greatly appreciated


Many thanks
Tonia




Tonia     L Salvini
Northern Paiute

Pronouns           sheher

Vice President                   University     Services

Haskell      Indian Nations                University

Pushmataha Hall                   Lawrence        KS 66046
7858302753


From Robert            R Evans      Jr   CENSUSPFLD            FED <robertrevansjr2020censusgov>
Sent Friday        April         17 2020 949 AM
To     Salvini Tonia

Subject     Census recruiting             in    Lawrence



Hello     Ms Salvini

Maria      Boyd provided                 me with your email address                         in    introducing us yesterday                     Actually Frankie

Foster Davis had suggested                         I   contact you through Maria to see                           if   you could        help    us


Frankie      is   out of state and so not able to do recruiting                                      work for the            census    until    she returns      I



have     tried to           follow up on her efforts here especially                               in    one   tract    bound by Barker in the north
Louisiana         in     the west and Haskell Avenue                          in the      east      It   extends south          into   Baker wetlands


This tract needs                  one more applicant                 for    the Census           Taking     position to reach the halfway                goal set

by the Census                Bureau        In   fact with the possibility that some of those                                  who have         already applied

may not be available when operations resume after the current shut down we may need a
number of additional Census Takers for this tract am not able to do anything on the ground soI                                                                        I



have     tried to           reach people through social                       media


If    you know of anyone who might be interested                                          in this    parttime flexible scheduling                    work they
should apply                at   2020censusgovjobs                    now          The training and work will not take place                          before    mid
May or later but applications                          are   still   being processed                     Applicants      need    to    be 18 and have      a    social




                                                                                                                                                                     USA000750
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security number       It
                           pays $15 an hour Anyone   with questions   is       welcome    to   contact   me at this
email address     or by text message to   7857270414


Thank you for your time and any assistance you can lend         Also       I   would welcome any suggestions
for how   I   might reach interested people in this tract or anywhere           in   Lawrence     I   hope you dont
mind my reaching       out like this



Best regards



Robert




Robert Evans
Census    Response    Representative
US Census Bureau
2020 Census

7857270414
htLpsmy2020censusgov




                                                                                                                      U SA000751
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Original Message
From The Indian     Leader 1                          Pll


Sent Saturday June 20 2020          1132    AM
To rgraham©haskelLedu          rgrahambieedu Graham Ronald           <RONALDGRAHAMOBIEEDU>
Cc ewilsonhaskelledu           Salvini   Tonia   <toniasalvini©BIEEDU>   tsalvini©haskelLedu

lgoombihaskelledu

Subject     HINU 2020 Census Efforts


Dear President Graham



Please see the attached   letter   from the Indian Leader



Sincerely



Jared Nally

Editor for The Indian Leader




                                                                                               USA000752
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                                                The Indian Leader
                                               The oldest Native American Student                        Newspaper


    June 20 2020



    Ronald Graham          EdD
    President

    Haskell Indian Nations University

    155   Indian Ave


    Lawrence         KS 66046


                                                              HINU 2020            Census Efforts



Dear President Graham



               The Indian Leader has reached                   out    to    Haskell     Indian Nations          University           HINU administration
regarding the          2020      Census with no responses                   or action taken        towards getting students counted                            for the

census123            Under your new leadership and with your involvement                                   the Indian           Leader would          like         to   see

efforts to       collect   student      census     information




I    HINU       is
                     responsible for reporting            on campus           student     census     data



               Group housing           for   students     living    in     residential    dorms shall have             their    census information

collected        and reported by IIINU              as part of the          Group Quarters Enumeration Project4 Students                                      to   be

counted        are those    that      would have been living                in   the   dorms April 1 2020                  students       who were off

campus April 1 as a result of COVID19 pandemic response                                          efforts    are still     to    be   counted     if   they under
normal circumstances                  would have been living on campus                         on April 1 which            is   an estimated          500

students56




II    HINU       does not       have sufficient         information         on file to report without            student        outreach



               Information collected             by admissions and other HINU                      departments          do not paint a full               picture        of

student        information       to   be reported to the United States Census Bureau                              For example            HINU         does not




I
    Email from the     Indian    Leader to Ernest Wilson        and   Tonia Salvini      Mar 24 2020 on file with author

2   Email from the     Indian    Leader to Lenora       Goombi     Mar 25 2020 on file with author

3
    Email from Jared Nally to         Ernest   Wilson   and   Tonia Salvini      Apr 16 2020 on file            with   author


4
    Group Quarters Enumeration               https2020censusgoviencondlictingthecountgqgqehtml


5   Census Bureau       Statement     on Modifying 2020 Census              Operations   to   Make   Sure College       Students are     Counted          Mar 15
2020 littps2020censusgoviennewseventspressreleasesmodgthi                                     g02 0opexationshtml

6   Estimate   made from fall      2019 enrollment       numbers and        HINUs      website   which   says   80 of students         live   on campus            https
wwwhaskelledudegistraecnrollmentdata                          httpswwwbaskelleduadmissionswhyhaskell




           theindianleadercom            I
                                             155 Indian   Ave Box 4999             Lawrence       KS 66046                                       P    1   1




                                                                                                                                                                              U SA000753
          Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 226 of 386




                                                               The Indian Leader
                                                              The oldest Native American Student                                 Newspaper


    collect         racial   data other than                  tribal    affiliation7         If   HINU     reported             all   students      as   Native American they

    would overlook those that are mixed race and would either self identity                                                                  as   more than one race or

    identify         singularly as another                     race other than              Native American




    III    HINU        failure       to   report      would have significant impacts



                    There     would be significant impacts if                               HINU      did not collect census                      information           There are

potential legal implications                              since        everyone       is    legally required to fill                  out the     census        and as part of the

    Group Enumeration Project                                 that   responsibility          falls    on H1NU              to   report      for   on campus students 89 There

may be additional                    impacts          in      Lawrences              Native       community           if    HINU           does not report student              census

data Indian Health Services                                   IHS       service      populations are based on official                             census data10          Lawrences

current Native population                            is       estimated       by the US Census Bureau at around 2500                                            not reporting       500

students             would     significantly                  impact     service       populations estimates and potentially                                              for IHS       until
                                                                                                                                                              funding

the        2030       census1112



IV Closing



                    Indian     Leader has previously                      tried       to    engage with          HINU           administration           to    collect    student

census data which personally                                   affects    Indian       Leader staff writers who are part of the student population

to        be reported by HINU13 Indian Leader as a result of HINU                                                      ghosting Indian               Leader emaiIs has since

published              an article         to   spread          awareness         on how students                should be             counted      and outlining          the


responsibility                HINU         has   to   its       studentsm This is our final attempt to engage with HINU                                                  administration

to        collect     and report census data by the extended                                      deadline       The Indian Leader will be covering                              this   story

again and hopes that it will be on actions the                                              HINU      administration                  has taken     to
                                                                                                                                                         report student          census

data          and not on the              failure     by HINU            to    do so Please remain                   in    contact         with the the Indian            Leader as

you take             actions        towards reporting The Indian Leader would                                          like      fulfill     our role     in   informing students

and the HINU                  community               by sharing any public statements                               or releases            by the administration               which

may inform students                        on how they can work                       with        HINU     to    be counted             during the        2020 census




7Adinissions           Application         napswwwhaskelledudownloadsadmissionAdmissions20Applicationproof271813pdf


8    Who       is   Required    to   Respond https2020censussovienatmirequiredhtml

9
     surpct    Note    4



HI
      Overview         of the Indian       Health     Services         Program        h t         w   ih         v         11   1      I          ions   tree s     9     v
                                                                                                                                                                          D V1101



II    US Census Bureau Quick Facts Lawrence                                   city   KS Intpswww                censusgoviquickfactslawrencecitylcansas


12

      sttrpa   Note     6



13
      surpa    Note        1 Note    2 and Note           3



14    Indian    Leader Article            2020 Census Apr 13 2020 httpwwwtheindianleadcrcom202004132020census



               theindianleadercom                1
                                                      155 Indian         Ave Box 4999 Lawrence                        KS 66046




                                                                                                                                                                                                U SA000754
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                                       The Indian Leader
                                      The oldest Native American Student          Newspaper


           Thank    you for your partnership and pride with working             with the Indian Leader the oldest

                                newspaper and one of HINUs oldest legacies
Native    American student




Sincerely




Jav6d    Nally

Editor    for The   Indian   Leader



Cc         Steven   Prue Office      of the President

           Tonia Salvini Vice President of Student             Services

           Ernest Wilson      Acting    Supervisor     Student      Housing

           Lenora Goombi University              Services   Staff




         theindianleadencom     I
                                    155 Indian   Ave Box 4999 Lawrence        KS 66046   IPll
                                                                                         L




                                                                                                                    U SA000755
                       Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 228 of 386


    FW HINU 2020 Census Efforts

Salvini                Tonia          L   <toniasalviniBIEEDU>

To          Graham Ronald                 J   <RONALDGRAHAMBIEEDU>
Cc          Ernest Wilson             <ewilsonHASKELLedu>               Stephen   Prue BIE      <stephenprueBIEEDU>               Ionia       Salvini

                                Pll
    1




0       2   attachments               264 KB

2020 Census Group Quarters eResponse                              Invitation   HINU   2020 Census Efforts




Ron


I       have been working                        with   Maria Boyd       and Malinda Green from the Census                      Bureau          2020


We are filing                   a     Group        Quarters      eResponse        through my office and the                 registrar




The attached                        email was received           on the 10th and were waiting                 for a      revision   and       just      received   the go

ahead             to use this eprogram



Lou Hara                is
                              drawing           out the data      from   CAMS for each of the            Hails      to encode            I

                                                                                                                                             spoke with her this

morning to begin work on the encoding                                       and offered to        assist her       to complete           this



This         is   the       first     time Haskell        has comprehensively           participated         in   the    Census



As soon                as    we are completed                    ensuring      we are   fuily   loaded   I    can respond           to       whomever       at   the Indian

Leader



If
        you have any questions please                             let   me know


         Tonia




Tonia             L   Salvini


Northern                Paiute

Pronouns                     sheher

Vice         President                    University    Services

Haskell               Indian          Nations      UnHiersity

Pushmataha                     Hall           1Lawrence     KS   66046

7858302753
Haskell               Indian Nations               University      Viewbook

Haskell               Indian Nations               University



    The mission of Haskell                         Indian    Nations     University     is   to build   the       leadership capacity             of our students       by

serving as the leading                            institution    of academic       excellence      cultural        and    intellectual         prominence and
holistic              education               to address the needs        of   Indigenous       communities




                                                                                                                                                                        USA000756
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From                     Salvini   Tonia     L

To                       inallyahaskelledu

Cc                       Melissa    Holder       Tina    Tourtillott



Subject                  Fw Census         recruiting     in    Lawrence

Date                     Friday    April   17     2020    92713 AM




Jared       The University                 is    working with several folk in preparing                  for

educationinformationdirection                                      re census 2020



Meanwhile          if
                        you could put this word out below via the                                Indian Leader        we have had
folks on campus            quite        often this academic                     year    for meetings   and recruitment mostly
Curtis    Hall


If
     you could     assist in any way                       it    would be greatly appreciated



Many thanks
Tonia




Tonia     L Salvini
Northern     Paiute

Pronouns         sheher
Vice President            University Services

                         N
Pushmataha Hall             1Lawrence                   KS       66046

7858302753


From Robert        R    Evans      Jr   CENSUSPFLD FED <robertrevansjr2020censusgov>
Sent Friday April 17 2020 949                            AM
To Salvini       Tonia

Subject     Census recruiting               in   Lawrence




Hello     Ms Salvini


Maria Boyd provided                     me with your email address in introducing                        us yesterday Actually

Frankie Foster Davis                    had suggested                  I   contact   you through Maria to see if you could           help

us


Frankie     is   out of state and so not able to do recruiting work for the census until she

returns      I   have tried to follow up on her efforts here especially                                 in one    tract bound    by
Barker in the north Louisiana                               in the         west and Haskell Avenue     in the east    It   extends

south into Baker wetlands



This tract needs one                more applicant                     for the Census Taking position          to reach    the halfway


goal set by the Census                  Bureau                  In fact     with the possibility that some of those who have

already applied           may not be available when operations resume after the current shut




                                                                                                                                            USA000757
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down we may need a number of additional              Census Takers          for this tract   I   am not able to
do anything on the ground so         I   have tried to reach people through social media



If
     you know of anyone who might be interested          in this   parttime flexible scheduling
work     they should apply at 2020censusgovjobs           now The training and work will                 not

take   place before    mid May or later but applications        are still    being processed        Applicants

need to be 18 and have a social security         number    It   pays $15 an hour Anyone with

questions    is   welcome to contact      me at this email address or by text message to 785727
0414


Thank you for your time and any assistance you can lend Also                     I   would welcome any

suggestions for how       I
                              might reach interested people      in this    tract or anywhere       in


Lawrence      I
                  hope you dont mind       my reaching out like this


Best regards



Robert



Robert Evans

Census Response Representative

US Census Bureau
2020 Census

7857270414
httpsmy2020censusgov




                                                                                                                  USA000758
       Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 231 of 386




                                              The Indian Leader
                                              The   oldest   Native    American Student Newspaper


June    20 2020


Ronald     Graham EdD
President


Haskell     Indian Nations          University

155 Indian Ave

Lawrence KS 66046



                                                          HINU     2020 Census Efforts



Dear President          Graham


            The   Indian    Leader has reached out to Haskell                     Indian       Nations        University            HINU         administration


regarding     the   2020 Census              with no responses or action taken towards                        getting             students     counted for the

census     123   Under your new              leadership     and with your involvement                    the Indian               Leader would like to see

efforts to collect       student      census     information




I    HINU is responsible            for reporting      on campus student census                   data




            Group housing           for students living         in residential     dorms shall have                       their   census     information

collected    and reported by HINU as part of the Group Quarters Enumeration                                                 Project4       Students to be


counted are those that would have been                       living   in the   dorms April             1 2020                students      who were off

campus April        1   as a result of        COVID19 pandemic              response           efforts   are       still    to be    counted      if   they under

normal circumstances               would have been           living   on campus on April                 1 which             is   an estimated 500

students 56




II   HINU     does not have          sufficient     information on file to report without student outreach




            Information collected              by admissions and other HINU departments do not paint a full                                             picture    of

student    information to be reported to the United                     States    Census Bureau For example                                HINU        does not




    Email from the Indian Leader        to   Ernest Wilson and Tonia    Salvini   Mar 24 2020 on                   file    with author


2
    Email from the Indian Leader        to   Lenora Goombi    Mar 25 2020 on            file    with author


3   Email from Jared Nally       to Ernest   Wilson and Tonia    Salvini   Apr 16 2020 on file with author

    Group Quarters Enumeration https2020censusgovenconductingthecountgqgqehtml
4




5   Census Bureau Statement         on Modifying     2020    Census Operations     to   Make Sure College Students                   are   Counted      Mar   15
2020     https2020censusgovennewseventspressreleasesmodifying2020operationshtml


6   Estimate made from    fall   2019   enrollment numbers      and 111NUs     website         which   says   80 of          students   live   on campus    https
wwwhaskelteduregistradenrollmentdata                      httpswwwhaskelteduadmissionswhyhaskell



          theindianleadercom1155                Indian Ave    Box 4999 Lawrence KS 66046                       I                                Pll




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                                                    The Indian Leader
                                                    The      oldest   Native        American Student Newspaper


collect        racial       data other   than       tribal    affiliation7         If    HINU    reported     all       students as       Native   American they
would overlook                 those that are        mixed race and would either                      self identity as             more than one race      or


identify           singularly as       another race other than Native American




III     HINU          failure to report would                have     significant         impacts



                   There would be significant impacts                        if   HINU did not collect                  census     information      There are

potential           legal implications since                 everyone       is    legally required       to   fill      out the     census and as part of the

Group Enumeration                    Project     that responsibility                falls   on HINU to report for on campus students89 There

may be additional impacts in Lawrences                                  Native           community if HINU does not report student census
data Indian                Health    Services       IHS service populations                     are   based    on official census              datam Lawrences

current Native               population    is   estimated by the                  US Census Bureau at around 2500                               not reporting 500

students           would significantly impact                  service      populations          estimates           and potentially funding          for IHS until


the     2030 census1112




IV Closing



                   Indian     Leader has previously tried to engage                          with     HINU administration to collect                  student


census         data which           personally affects          Indian       Leader staff writers who are part of the student population

to    be reported by HINU13                   Indian         Leader as a result of HINU                  ghosting              Indian   Leader emails has since

published             an article to spread awareness on how students should be counted and outlining the

responsibility              HINU has to its students                       This     is   our final attempt to engage                    with   HINU administration
to collect          and report census           data by the           extended deadline The               Indian               Leader will be covering     this story


again and hopes that it will                    be on actions the                 HINU administration has taken to report student census
data and           not on the failure by HINU to do so Please                               remain in contact with the the Indian Leader as

you take           actions     towards     reporting The               Indian       Leader would like                fulfill    our role in informing students

and the        HINU community by sharing any public statements or releases by the administration which

may inform students on how they can work with HINU to be counted                                                           during the 2020 census




     Admissions Application            httpswwwhaskelledudownloadsadmissionAdmissions20Applicationproof271813pdf
7




8    Who      is
                   Required to Respond          https2020censusgovenamirequiredhtml


     surp a Note      4
9




      Overview of the Indian Health Services                  Program
19
                                                                            httpswwwihsgovpublicinfopublicationstrends9696trovpdf


11   US      Census Bureau       Quick Facts Lawrence               city   KS httpswwwcensusgovquickfactslawrencecitykansas
12
      sLap   a Note    6



13
      surp a Note         1 Note 2 and Note     3



14    Indian   Leader Article        2020 Census Apr 13 2020 httpwwwtheindianleadercom202004132020census



               theindianleadercom1155                 Indian Ave        Box 4999 Lawrence KS 6604611                                               Pll




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                                         The Indian Leader
                                      The   oldest   Native   American Student Newspaper


           Thank you     for
                               your partnership       and pride with working with the Indian   Leader the oldest

Native    American student newspaper            and one of HINUs oldest legacies




Jcired   Nally

Editor for The      Indian   Leader




Cc         Steven   Prue Office       of the President

           Tonia Salvini       Vice President of Student Services

           Ernest Wilson       Acting    Supervisor Student Housing

           Lenora    Goombi      University    Services    Staff




          theindianleadercom      1155   Indian Ave   Box 4999 Lawrence KS 660461                  Pll




                                                                                                                   USA000761
                Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 234 of 386




          Gmail                                                            Jared Nally                  Pll




Media Inquiry              The Indian Leader
2 messages



Jared Nally                                                                                        Mon Oct 5 913 AM
To <Ipdmedialkpdorg>

 Im reaching        out the the Lawrence           Police   Department as a student            writer for The        Indian

 Leader        Haskell    Indian    Nations    Universitys student newspaper               Im wanting to get
 confirmation       and        information    on the death   of Neeoni      Chex to provide our community                   with

 a proper death          notice She was a community               pilar   and   I   would appreciate any information

 you could provide


 She would have died sometime yesterday October                            4 before 400 PM CST Please                 let   me
 know     if   LPD can     confirm    her death cause of death and provide a funeral                  home      if



 possible



 Thank You
 Jared Nally        Editor In Chief




Patrick     S Compton <pscomptonlkpdorg>                                                           Mon Oct 5 324 PM
To Jared Nally <f

 Jared


 Jared


 Thank you        for inquiry




 My apologies            but   we do not generally do police records searches by name Do you                            have

 any other information on the location                Was    it   in   Lawrence         or circumstances   of her

 death


 Best


 Patrick




                                                                                                                     U SA000762
            Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 235 of 386




Patrick   Compton
Public    Affairs

Lawrence      Kansas       Police   Department
4820 Bob Billings Parkway

Lawrence      KS 66049

785 8307409
pscomptonlkpdorg
httpswwwfacebookcomLawrencePolice
httpstwittercomilawrencekspd
Quoted     text   hidden




                                                                                      USA000763
It   5 2020
                             Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 236 of 386
                                                        Uniersity   president threatens   student   newspaper   editor   for   asking    questions   not   treating   administration   with   highest   respect




                      Last      month 182 people came to FIRE when their rights were
                            in jeopardy Hear their stories  and how were fighting
                                                                     back                     by subscribing                                         today

                                         Hear their stories                      and how were fighting back                                                 by subscribing today



                                                             Student


                                                              Faculty


                                                              K12 Teacher

                                                             AlumniOther




                    University president threatens student
                     newspaper editor for asking questions not
                    treating administration with highest respec

                    by FIRE

                    October      262020



                        Haskell       Indian Nations            University president                     issues student editor a directive                                       entirely incompatible

                        with practice          of actual      journalism




                        Student       editor       When our university challenges                               the       free          speech       of students they are silencing a

                        whole generation              of Native        voices



                        Saga     is   a warning to student               journalists           across the         country



                    LAWRENCE Kan Oct 26 2020                                    In a meandering                   scolding               screed that demonstrates                              shockingly         little


                    knowledge          of how      journalism or the              First      Amendment work                             a public university president formally forbade

                    a student         from interviewing government                          agencies         for the            student         newspaper                 He also directed                    the student

                    editor     to start showing            university administrators the                           highest respect                               or else




                    Today       the Foundation            for    Individual Rights                  in   Education the Native American Journalists Association                                                             and

                    the Student         Press Law Center               wrote to Haskell Indian Nations University The coalition demands that

                    the    federally operated             university immediately                         and explicitly rescind                       its     threats         against          the      award winning

                    student       newspaper and reminds the universitys                                    leadership               that they          can be held personally and

                    monetarily responsible                 for      threatening           freedom of speech                      and freedom of the press



                    HINU      President        Ronald Graham issued a personally signed directive                                                            on Oct 16 to student                          journalist


                    Jared     Nally threatening              him with disciplinary action                          if    he continued                  basic          acts   of journalism Graham

                    specifically        prohibited Nally from recording interviews                                        interviewing                 government                 officials             and failing    to


                    treat    members of the HINU community with the highest respect




httpswwwthefireorguniversilypresident4hreatensstudentnewspepereditortoraskingiuestionsnot4reatingadministrationwithhighestrespecOutmsource=FIREUpdatettutmmediummempilautmcampaign                                                14




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1152020
                          Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 237 of 386
                                                       University   president threatens   student newspaper edkor for asking questions   not treating   administration with highest   respect



                 On Oct 5 Nally editor in chief of The                                    Indian       Leader student newspaper                          emailed the             Lawrence Police

                 Department with a routine request for information about the death of an HINU employee As is
                 standard          journalistic        practice           Nally identified himself as a student                          reporter of The              Indian Leader For that

                 Graham wrote that Nally discredited himself and the university and brought unwanted attention                                                                                         to


                 the Kansas university




                 Under no circumstances                            wrote     Graham do you have                     the authority            to contact           the police          department or

                 any other governmental                      agency and demand anything on behalf of the university                                                     Read Nallys
                 demand for yourself


                 Native           student      journalists          are our communities                   next generation of storytellers                             said Nally         Journalism

                 is   about being            community watchdogs                     sharing information                  with our communities                        and providing spaces                  for


                 voices to be         heard When our university challenges the                                     free   speech         of students they are silencing a whole

                 generation          of Native        voices



                 In July the administration                        unilaterally           removed the newspapers                   faculty adviser               and installed its own pick

                      who happened               to   also be an administrator                         which student editors feared would                              violate their             editorial


                 independence                 Concerned that the appointment would imperil their                                          right to        engage        as a free independent

                 student press the               Leaders            officers      unanimously voted to remove the administrations                                            choice as faculty

                 adviser




                 Further complicating                  matters the university ignored                           the   Leaders        repeated            attempts to             renew     its   position

                 as a sanctioned               organization            ascertain          the balance of its account with the student                                 bank and gain

                 recognition          for its    former adviser




                 The contentious                backstory          also    led    Graham to accuse              Nally of attacking                      Haskell       employees with letters

                      a colorful        if    not overly dramatic                  description of Nally criticizing                      the actions           of campus          officials       by

                 lodging written               and oral complaints



                 The only attack                 here     is   Ronald Grahams egregious and unconstitutional attack on the free press said

                 Lindsie Rank              author of FIREs letter                   to     HINU President Graham must immediately disavow                                                  his threats


                 against          Jareds      right   to ask questions             of those        in   power Thats Jareds job as a journalist Its President
                 Grahams job to understand                           his very real          obligations        under the Constitution



                 A NATIONAL                  PROBLEM WATCH OUT FOR THE SEVEN WARNING                                                           SIGNS OF PRESS                      CENSORSHIP
                                                                                   HINU IS ENGAGING IN THREE



                 FIRE NAJA and SPLCs letter reminds the university that its                                                  directive        goes against              student journalists

                 constitutional              rights   and that threatening or carrying out retaliation against Nally or the Leader for their

                 free   expression            violates       the    First   Amendment



                 HINU        is   an educational          institution             operated by the federal government                                    and bound           to   uphold students

                 rights           not only by the Constitution                        but by       a   1989 settlement            agreement between the university and

                 the student          newspaper



                 HINU         for its   part does not make                   it
                                                                                  particularly easy for students                   to understand                their       rights    on campus

                 HINIJs student                rights office         website       helpfully points              out that Iorem ipsum dolor sit amet

                 consectetuer           adipiscing elit              sed diam nonwnmy nibh euismod tincidunt                                       ut laoreet          dolore magna               aliquam

                 erat volutpat                Lorem ipsum             is
                                                                           placeholder            text


                 It appears that HINU                   is
                                                             spending          their      time crafting nastygrams                 instead         of giving at least a begrudging

                 nod    to    students         rights on their website Rank said These                                     are not the actions                 of a university that

                 understands            its
                                               binding       legal    obligations           to   honor student rights



                 FIRE    requested            a response        by Nov 2 and is committed to using all the resources                                             at   its
                                                                                                                                                                            disposal       to    ensure

                 student          rights     are protected           at    HINU

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1152020
                              Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 238 of 386
                                                           University   president threatens student newspaper   edkor for asking questions   not treating   administration with highest   respect



                     The Indian Leader                is   the oldest Native               American student newspaper and one of HINUs oldest continued

                    legacies         Nally said            We are an award winning publication                                   and its disappointing                     to feel    like     this


                    amazing student                legacy      is   not supported            by our university



                    Last    month the Leader won                         11   awards from the Native American journalists Association including                                                         first



                    place     for   general        excellence




                    This isnt the          first    time      HINU left          its   students       rights      out in the        cold      Earlier this           year they actually forced
                    a student out into the                 cold banishing him from campus and leaving him to live in his car during a global

                    pandemic In April HINU charged student                                       Russell Parker with                threatening a federal employee when he

                    said a campus            employee was being an asshole                               for    threatening          to   tow     his car         The university then

                    suspended him without a hearing or any due process                                                 leaving him homeless during the states stayat

                    home       order and forcing him                    to live in his car until            he found temporary housing 800 miles away



                    The Foundation              for   Individual Rights                in Education             FIRE       is   a nonpartisan               nonprofit organization

                    dedicated         to   defending          and sustaining the individual                        rights       of students         and faculty members                     at      Americas

                    colleges        and universities These                     rights    include      freedom of speech                   freedom of association due process

                    legal     equality       religious        liberty         and sanctity of conscience                         the essential              qualities      of liberty




                    CONTACT


                    Daniel      Burnett        Director of Communications                           FIRE 2157173473                          mediathefireorg



                    Ronald Graham President                             HINU 7857498497 presidenthaskelledu


                                               Tell Haskell President                      Ronald Graham to respect freedom of the press




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                                                                                                                                                                                                                U SA000766
1152020
                              Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 239 of 386
                                                         University   president threatens   student newspaper   editor   for asking   questions   not   treating   administration   with   highest   respect




                     Schools       Haskell     Indian     Nations        University




                    Cases       Haskell     In                 ns     University       President       Sends Directive                   to   Student         Newspaper             Editor About               R
                    for Administrators




httpswwwthefireorguniversitypresidentthreatensstudentnewspapereditorforaskingquestionsnottreatingadministrationwithhighestrespectflutmsource=FIREUpdateutmmedium=emailutmcampaign                                   44




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                Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 240 of 386
1152020          Haskell   president   warns   student   editor   against    attacks   threatens   discipline   groups denounce   action   as   First   Amendment   violation   I
                                                                                                                                                                                    New




                                                     LIWORLD
                                                                              LAWRENCE             IOURNALvvursLo




            Haskell president warns
           student editor against
           attacks threatens discipline
           groups denounce action as
           First Amendment violation




           Jared   Nally    is   the editor in chief of the           student     newspaper          at   Haskell   Indian   Nations       University




           The     editor        in   chief of the student                    newspaper             at Haskell         Indian Nations                   University

           says the university                  president            is     threatening            his First     Amendment rights and

           teaching         Native       American             scholars           that they dont have                   voices



httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarnsstudenteditoragainstattacksthreatensdisciplinegroupsdenounc                                                          15



                                                                                                                                                                     U SA000768
                Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 241 of 386
1152020           Haskell   president    warns    student   editor   against   attacks    threatens    discipline     groups denounce      action   as   First    Amendment    violation   I
                                                                                                                                                                                               New

           Jared Nally a Haskell junior and editor                                          of The         Indian           Leader student newspaper

           received          a directive                 from Haskell President                         Ronald Graham on Oct                                 16 with

           specific         instructions             about what he isand                          is   notallowed                   to   do


           In the letter            Graham               tells   Nally         you will NOT                    attack       any student              faculty

           member or staff member with letters or in public make demands                                                                            of any


           governmental                  agency while claiming                           to represent                the student           newspaper                  attempt

           to   countermand                    decisions         of Haskell              personnel or record anyone                                 at Haskell            in


           interviews             unless         first    advising         them and            receiving              their    permission



           Henceforth               you will conduct                     yourself in accordance                          with the Haskell Student

           Code       of Conduct                     now and             in    the future         and you              will   treat fellow           students

           University             staff        and University                 officials with          appropriate              respect              Graham wrote

           Failure to do                so may result in disciplinary action


           Nally said he                was upset when he                        received the directive                        from Graham                        because

           he felt     it   was negative and                          painted an image of him that                                  was    in   conflict           with    his


           own selfimage                       But after looking                more at the              directive             Nally realized                it   was

           finally      some            proof of the retaliation                    Ive been             feeling         for    months


           Graham            did    not respond to a request for                               comment                for this       story nor did Haskells

           spokesperson Stephen                               Prue


           As the Journal World has reported                                        Nally said that responses                              from the Haskell

           administration                 have       become             increasingly            sparse since the departure of former

           interim          president           Daniel Wildcat                  He also stated                  that     he has received comments

           from administrators criticizing                               his    newspapers coverage                                 Now       he feels the

           directive         is    a concrete               example            of the university                    president        violating           his First

           Amendment                rights



           Haskell           is   an    all     Native       American             school and              if    the mentality of the

           administration                 is   to not       allow students                to   have free speech                          then they are

           teaching          these native scholars and these native                                                 youth     that they         dont have

           voices he said


           Representatives                      of the      Foundation             for Individual                   Rights     in    Education             FIRE
           Native       American                Journalists Association                        and Student Press Law Center agree

           that    Graham            is    violating         the First Amendment                               In    a letter to         Graham they wrote
           that his directive                   forbids Nally from carrying                            on normal              journalistic activities                      such

           as requesting                information              from government                      agencies recording interviews and

           criticizing        members of the HINU community

httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarnsstudenteditoragainstattacksthreatensdisciplinegroupsdenounc                                                                     25



                                                                                                                                                                                USA000769
                 Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 242 of 386
1152020           Haskell   president   warns    student   editor   against   attacks   threatens   discipline   groups denounce   action   as   First   Amendment    violation   I
                                                                                                                                                                                      New

           In   the letter         they        tell    Graham           to    rescind the directive                  restore the            newspapers

           rights to university                   resources and access                         to   its   bank account             and      to clarify that


           the university               will    not impede the free expression                                 rights of students                in   the future



           The only attack                      here       is   Ronald         Grahams egregious                      and unconstitutional                    attack

           on the free press Lindsie                                Rank       a program            officer      with   FIRE        said     in       a press

           release from             FIRE              President          Graham must immediately disavow                                     his threats


           against Jareds right to ask questions                                        of   those        in   power Thats Jareds job as a

           journalist Its               President           Grahams job to understand                              his very real obligations


           under the Constitution



           The    directive




           In   his directive            to     Nally       Graham            brings up examples                    of ways        Nallys behavior                   has

           discredited him and the university and brought yourself The                                                                Indian             Leader

           Haskell and              me unwarranted                      attention



           In   the directive                 Graham mentions                    that Nally          had recently contacted                       the

           Lawrence Police Department demanding                                                 information Nally emailed the

           Lawrence Police Department on Oct                                                 5 identified         himself as a student


           journalist at           Haskell and requested confirmation                                          and information              about the death

           of a    Haskell         employee


           Under no circumstances                               do you have              the authority to contact                   the police

           department              or any other governmental                                 agency and demand                     anything              on behalf

           of the     University                Grahams directive                       to Nally states




           That wasnt the only action                               of Nallys to             which        Graham        took   offense Graham

           also mentions                 in    his letter that Nally                attempted             to   remove the faculty                 adviser       of


           the    student          newspaper               this      August


           Joshua Falleaf was assigned as the faculty adviser                                                     of the     student publication                 this


           summer which                   Nally and other                     members of the newspaper                         staff did          not agree

           with due           to   Falleafs current                    administrative               position      as an acting          dean The

           change           came         Nally said             after the         university         decided         faculty       members must be

           removed from all                    advisory             positions to focus on remote                        learning       efforts            And   its     a

           change           Nally said that really only affects the student                                           newspaper              as most other

           clubs and associations                          on campus are not happening                                this   semester since

           Haskell opted to be entirely remote due                                           to the       COVID19 pandemic




httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarnsstudenteditoragainstattacksthreatensdisciplinegroupsdenounc                                                            35



                                                                                                                                                                       USA000770
                 Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 243 of 386
1152020           Haskell   president    warns   student   editor   against   attacks    threatens   discipline   groups denounce    action   as   First   Amendment      violation   I
                                                                                                                                                                                          New

           Graham           also disagreed                  with Nallys actions of recording                                 a conversation                 with a

           university          official      without her permission                           Nally did           not identify himself as a


           reporter during the conversation                                       which he said was because the university                                               has

           repeatedly            refused to answer                      press questions                   He did use information from the

           conversation                 to write     a piece           for the      paper which                   he labeled as commentary not

           news


           According            to   Kansas law however                            only      one person                in   a conversation                 must

           consent          to that conversation                       being      recorded



           But in       many            states this would                     be considered             a felony             Graham         writes          You
           invoked          Kansas          law to justify              disrespectful            behavior toward                   a university             official



           The    rights of the student                    newspaper


           A    1989 settlement                  agreement               between The                 Indian       Leader and the United                        States


           Department                of the      Interior           which      runs Haskell               notes that students                  have          editorial


           control of the               newspaper


           It   states that no officer agent                             instructor          or employee                of Haskell      may censor                      edit


           or modify the contents                          of The       Indian          Leader newspaper                     in   violation        of the      First


           Amendment                 of the      United         States Constitution



           The agreement                   also states that while the faculty                               adviser of the student

           publication           has the          right to offer advice                    and assistance                   that    person does not

           have the          right to       censor           edit or          modify the content                  of the      paper


           Another          issue brought up by Nally and                                 mentioned               in   the letter from             FIRE the
           Native       American             Journalists              Association             and the Student Press Law Center                                      is


           that    Nally has not been                      able to access the papers funding                                      because the group

           has not yet been sanctioned                                  or recognized                by the university               this     year Normally

           the    newspaper               gets sanctioned                     at the     beginning           of every         year after having                   its    first



           meeting recording meeting minutes and electing                                                     officials           Nally said This year

           despite          multiple attempts to receive                            sanctioning             and thus get funding                           Nally said

           he has not received any responses



           According            to the       1989 settlement agreement a monthly account                                                    statement

           prepared by the student bank must be presented                                                     to the         leader of the student


           newspaper                 Nally said he has not received                              any monthly account                     statements                 so

           far this     year The             settlement               agreement             also notes that federal                    funding             may be
           withdrawn            from The            Indian          Leader but             that notice of the withdrawal                           of funding



httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarnsstudenteditoragainstattacksthreatensdisciplinegroupsdenounc                                                                45



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1152020           Haskell   president   warns   student   editor   against   attacks   threatens   discipline    groups denounce     action   as   First   Amendment   violation   I
                                                                                                                                                                                       New

           must be given                30 days           in   advance           And removing                   funding from the paper must

           not be exercised                 in response to or as a result of articles photographs                                                           or any

           other content of               The       Indian         Leader


           Thus       in    addition to calling on                     Graham           to rescind           the directive           and not               violate the


           First    Amendment                   Nally and            members of FIRE                     the Native            American             Journalists

           Association            and the Student Press Law Center are                                               calling   on Haskell              to restore


           the    newspapers                rights to university                   resources and access                        to   its   bank account



           A press release from the Native                                   American          Journalists              Association           NAJA states
           that    instead of condemning                           student journalists                  Haskell should be                     commending
           them      for their          dogged work


           Grahams attempt to suppress                                       student inquiry            is   fundamentally                anti Indigenous


           and perpetuates the                     colonial           goals of ignorance                     isolation and             subjugation

           NAJAs statement                      said NAJA joins the Foundation                                       for Individual           Rights         in


           Education            in   urging       Haskell officials to respect student                                   reporters and               calls        on

           President           Graham           to rescind             his authoritarian style threats                         at Nally for upholding


           his obligations              to the      Haskell community                      with persistent thorough                           reporting



           Graham            a former division                     dean      of instruction           at Victor         Valley College                 in



           Victorville          Calif began                his     presidency            of Haskell             in    May of this year




httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarnsstudenteditoragainstattacksthreatensdisciplinegroupsdenounc                                                             55



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                       EXHIBIT 4




                                                                          U SA000773
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                                                    Student Safety Jeopardized by
                                                    Violation of Fifth Amendment
                                           BY JARED NALLY            ON     APRIL 15 2020           IN    HASKELL INDIAN
                                           NATIONS        UNIVERSITY      NEWS      STORIES         WITH         3   COMMENTS




A Haskell Indian Nations University HINU student was vacated from the university dorms during the height
of theCOVID19 pandemic over allegations of intimidation and harassment of a Haskell employee without
due process            to   appeal the decision


HINU     athlete             received a HINU Action Notice for an Emergency
                       Russell       Parker                                  Level                                                    II




suspension                McKinney Student Rights Specialist that required Parker to leave campus
                   from Danelle

during stayathome orders from the state The notice outlined that Parker wasnt currently allowed to appeal

allegations against him but was allowed to appeal his Permanent   Loss of Housing Parker says he is

unaware      ofhow an appeal for housing would work at this time since there are policies in place to keep
students     who have left campus from returning among HINUs COVID19 response efforts and hes currently
required to be off campus                  until   his   hearing


Parkers suspension                is   based on allegations of harassment of Haskell                             employee           and intimidation            by
student     to    Haskell      employee These               allegations came as a shock                  for   Parker and contrasts                 the Report

Synopsis Overview               in   the   Incident      Reportwhich      states    that    the student              failed   to   comply with verbal
directives       from       Facilities Staff        The   referenced   directives          in   the report had asked               Parker to move           his   car and

golf mat and           move     onto the current          golfing   range


According         to   the   incident      report    Steven    LaCour      Acting     Facilities     Foreman stated                        I   noticed   that   he had a

golf club    inhand and was getting very agitated The surrounding text does not support that Parker who
                  his

was golfing threatened LaCour but mentions Parker accusing him of being on a power trip and calling him
an   ahole when he walked                     away        both protected     rights    under the         First       Amendment as well as the Code                    of

Student      Conduct           Parker feels LaCour embellished his report by describing                                 Parker as belligerent                   and

agitated          LaCour referred           to   himself as acting     kindly


In   addition     to   LaCours statement being taken in the incident report by Ernest Wilson Acting Supervisor
College Resident Assistant          LaCours account was also recorded in the activity logof Lead Security Officer




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James Yarnell who LaCour asked                               to    confront           Parker Yarnell wrote that                     after     asking       Parker              to    move     his        car
and     to    golf on      the   range the student                     packed up           his stuff     and    left      and did not say much                         to      me He did note
that Parker              seemed irritated


Parkers            own experience             was not documented                      by either the security activity                     log   nor the           Incident             Report used
to   determine Parkers                  suspension            Despite           his   best efforts to advocate                  for himself           Student                 Rights     is

not currently allowing                 him to appeal              their   allegations


As a federally funded school HINU is bound by constitutional rights including                                                                 the    right to          due process which
is also part of the Code of Student Conduct The code of conduct says every                                                                    student student                        organization
and campus                organization        is   entitled       to   due process and appeal                       in   every instance of disciplinary action                                  for

alleged       violation         of Haskell         expectations


This decision        and lack of due process puts Parkers life in danger Parker said its                                                              like    walking                around with a
bomb         strapped to my chest referring to him trying to find temporary housing off                                                            campus in the midst of the
pandemic Parker                  also    showed concerns                  for its       effects        on   his financial       situation          and how   will affect
                                                                                                                                                                       ithis

scholarships               Parker had         told   Tonia Salvini              Vice       President of University                  Services through                        email that        this

would leave               him homeless at the height of a pandemic

For Parker to be charged                      with   Intimidation or Threat                        outlined    in   the    Code of Student Conduct                                   LaCour would
have     to    have had          a fear of bodily harm or feel threatened                                   by word or action of a perceived                                        threat to   inflict


bodily       harm         In   Parkers        message         to   Salvini            he    told    her that these          allegations         simply arent true and that                                at
no point          did    he approach Mr LaCour or say anything that would imply a threat or violence                                                                            Allegations of
intimidation automatically trigger an additional                                      charge          of harassment due to               HINU        defining                 intimidation as a
form of harassment


Parker has been receiving                      support        from his peers who have witnessed                                 Parker        golfing        over the past few
weeks        during        isolation     before the       incident             Haskell          student       Michael       King said Haskell                 protects                their

employees more than they                        protect      their      students                The   climate    of the current             COVID19               pandemic               has
complicated              relationships between                students           and       staff      King said I         feel staff     is   targeting students                       and pointing
blame        at    them    for   COVID19 and that the staff thinks                                          their   health     is   at   a greater risk than                         students
One of LaCours coworkers                           commented              on an Indian Leader Facebook                             post that he            felt   it    was a very bad
choice        to   let   students      live   here and he feels                  like      staff arent        equipped        to    protect     themselves                      One of LaCours
relatives          also posted concerns               that essential                 staff have        families      too referencing                the    fact        that         students    who
are staying             on campus        put them the staff                    and    their       families at risk         see article When                   Home              isnt    Home

Not only is Parker up against a mindset that students                                               on campus            threaten    staff                    but Parkers
                                                                                                                                                safety                                    peer
Marklin       Morales           says I dont doubt race had something to do with it                                            Parker        told    Indian Leader                     that as a bi
racial   nontraditional               student he doesnt                   look like his peers and that has caused                                  challenges                  for    him including
this   incident



A study from the American Psychological                                   Association APA found that black men hypothetical situations                in


were perceived                 as more capable            of causing             harm Parker said I dont like playing the race card but he
finds    that      his    biracial status          affects    his life          even       in     Black and Native           communities              This        comes               several

weeks        after       multiracial     Black students                discussed            their     discrimination          on HINUs campus                          at      the    Black     History
Month Student                  Panel


According           to    a HINU       Resident      Assistant            Parker           is   one of at least five students                  who have been vacated
during       H1NUs         isolation     through       allegations of breaking                        the   Code       of Student        Conduct and                     it    is   unknown         if    the

others       were given          their   due process               and    if   there       was any consideration                   for their       safety during this                    pandemic
Parkers hearing                 for   Permanent Loss of Housing                            will    be Friday April 17 Parkers                       birthday




Notes
Vice President of Student                     Services        Toni       Salvini        Student Rights              Specialist Danele                McKinney and Acting
President Jim Rains                   were given an opportunity                       to    comment before                publication         with no response




                                                                                                                                                                                              USA000775
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There   is   a reference   to   an attached   police   report with the Action   Report   To Parkers knowledge         this is just

the security log from Yarnell Parker contacted             the Lawrence    Police   Department who has no record of this
incident




Following     the publication     of the article student   rights   organization Foundation    for Individual   Rights   in


Education     has gotten    involved   on behalf of Parker and the following        news   outlets   have   picked   up the   story




                                                                                                                          USA000776
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                     EXHIBIT 16




                                                                          U SA000777
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                               United              States           Department of the Interior
                                                             BUREAU OF INDIAN EDUCATION
                                            HASKELL INDIAN NATIONS UNIVERSITY
                                                                   Office     of the President
          9737wCY
                                                             Lawrence Kansas                660464800
                                                   Phone          7857498497              Fax 7857498411

MEMORANDUM

To                      Beverly          Fortner       President Haskell                 Student Senate

                        Brenda Sehildt                Acting        Vice President          for University         Services



Cc                      Steve Byington                Finance

                                                                                    r

From                    Dr Venida Chenault

PresidentSubject        Student          Fee Distribution Proposal



Date                    November            7 2014

After conducting           a   review        of the distribution             of the student          fee revenue     it   is   being proposed         that a   change   be

made in the distribution of student                         activity       fees    Currently these funds            are distributed to          Student    Activities     and

the       Indian Leader Association



It   is   recommended          that      student    fees also       be used to properly support student governance                             and leadership by

ensuring the Haskell                 Student      Senate and         its   sanctioned Clubs and Organizations benefit from the student

activity      fees as well as Student                Activities        and the Indian Leader Association



This       memo provides direction for the distribution                             of Student        Fees collected           each semester and changes that

would be required              to    implement        this recommendation                   Student fees are to be used to support student                       activities

that      enrich and enhance              student    life    at    Haskell        These funds would be issued to Student                       Senate    13      Student

Activities          13 and Indian Leader Association                              Currently Student Activities                  receives     23 Indian Leader
Association           13 and Student           Senate receives              zero


The Bursars Office                  is   responsible for the collection                  of student     activity    fees       with monthly disbursements               of fees

collected       throughout          the    year     The amount             distributed     is   based on total student                enrollment     and the student

              fee     Based on           a sample    enrollment            of 750 students per semester and the fee of $3500
activity                                                                                                                                                per student this
would        total   $52500         annually



Upon a favorable vote                    of the Student       Senate this proposal would be implemented and changes would be made

effective Spring 2015




The change would               result in      fee revenue           being divided          equally between          Student       Senate      the Indian Leader

Association          and Student           Activities        The revenue           amounts       will
                                                                                                        vary each semester
                                                                                                                           based on the number of

enrolled       students    and fees collected



This change           in distribution will           provide        needed resources            to   support    student        governance       as   represented    by the
Student       Senate and the clubs                and organizations that comprise the Senate                              It   will    be the responsibility of the

Student       Senate to develop             processes         to   properly administer the funds requesting funds                             and awarding funds and

ensuring these funds                 enhance the experiences                 of all Haskell          students      These processes            are required      and must be

in   place    in order to       implement           this    change

                                                                                        18842014
                                                     Celebrating       130   Years of Indian Education         and Resilience




                                                                                                                                                                    U SA000778
                      Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 251 of 386
<i Reply       all            ED   Delete          Junk    Block




Student Senate                message




                                    HINU Student Government Association
                                    August          171   2020 at 315 PM          447t




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                                       11pdH                       ell

           Since canctionmg                 will   be not be

           happening               you are not bound         by SGA
           rules and           procedures

                                            2 of                                              3 of




                                    HINU Student Government Association
                                    Auaust 17             2020      it   256 AM
                                                                                                                  USA000779
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Re      Indian            Leader Funding


Byington Steve                    K <stevebyingtonBIEEDU>

Tue 10272020               1035   AM

To     Prue    Stephen         C <stephenprueBIEEDU>

Jeri   says they have              access to their funding           but   no   payroll   has been      submitted since the

sumnner



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax 7858302760

stevebyingtonbieedu




From Byington                  Steve       K <stevebyingtonBIEEDU>

Sent Tuesday October 27 2020 1032 AM

To Prue Stephen                  C <stephenprueBIEEDU>

Subject        Re Indian Leader Funding



Jeri   and     I   are separating             the $35 Activity     Fee this semester       so the funding        will    be transferred

into their         account             I
                                           am not aware of any restrictions to their account                I   will    check   with Jeri to

see    when         the    last   batch       of checks     was written    for their   writers   They are not sanctioned              this

semester because                  SGA decided             against sanctioning    any groups      this   semester



Steve     Byington

Finance Specialist

Haskell       Indian Nations                 University

Office        7858302780                     Fax   7858302760
stevebyingtonbieedu




From Prue Stephen                  C <stephenprueBIEEDU>

Sent Tuesday October 27 2020 1027 AM

To Byington Steve                 K <stevebyingtonBIEEDU>


Subject       Indian       Leader Funding




Steve



Please    update               me on the Indian Leaders funding                 Are they sanctioned        and funded           The

article   in       the    LJ   World indicates they are not funded




                                                                                                                                         USA000780
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httpswww21jworldcomnewsgeneralnews2020oct26haskellpresidentwarns
studenteditoragainstattacksthreatensdisciplinegroupsdenounceactionasfirst

amendmentviolation




                                                                Haskell            president warns student

                                                                editor against attacks                                 threatens

                                                                discipline groups                           denounce

                                                                action           as      First     Amendment
                                                                violation


                                                                The   editor       in    chief   of   the student newspaper           at

                                                                Haskell         Indian    Nations       University            the
                                                                                                                       says

                                                                university        president        is
                                                                                                        threatening     his   First


                                                                Amendment               rights    and teaching         Native

                                                                American scholars                that    they dont have voices



                                                                www21jworldcom




Stephen Prue

Special   Assistant

Haskell     Indian    Nations    University




Our Mission at Haskell Indian Nations University                      is   to   build    the   leadership   capacity   of our students     by

serving   as the    leading   institution of academic excellence           cultural      and    intellectual   prominence and holistic
education    that    addresses   the   needs   of Indigenous   communities




                                                                                                                                                USA000781
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    Fw Indian Leader                             Payroll       and Financial Document                       Request

    Steven             Byington            <sbyingtonHASKELLedu>
Thu 20210401                    324 PM

To            Byington       Steve    K   <stevebyingtonBIEEDU>                     Melanie Daniel    <mdanielHASKELLedu>



          1    attachments      262 KB

    ILA       Fall   2020 Expense         Report   pdf



Attached                is   the last withdrawal                  request      from Indian Leader for            Fall   2020




    From Jared Nally <jarednallyHASKELLedu>
Sent             Friday January             8 2021 1244 PM
To jerisleddbieedu <jerisleddbieedu>                                                Jeri   Sledd <jsleddFIASKELLedu>

Cc Ronald Graham <rgraharnHASKELLedu>                                                 Rhonda    Levaldo    <rlevaldoHASKELLedu>                 Steven      Byington

<sbyingtonHASKELLedu>                                      Mona   Franklin      <monafranklinbieedu>

Subject                Indian    Leader Payroll and               Financial     Document        Request




aya Jed



    Ive attached                the       Indian          Leader Associations              pay roil to   this   email Please     let    me know        if   I
                                                                                                                                                                need   to

    provide            anything           else   to       have our writers and photographers paid for their work                               for   the    fall   semester



Several               times this semester                    September 3rd September                      10th and October          19th       Ive   attempted to

engage you and the student                                    bank to receive              balance statements of the           Indian        Leader Associations

student                bank     account               I
                                                          am attempting             again to ask you to please provide                 all   past statements           for   our

account                for    last
                                      year 2020 This                 is   crucial   information      for the     planning   of Indian          leader Association

activities




    I   would          also   like    to affirm whether or not                      HINU     approved      and acknowledged              the    Indian      Leader

Associations                    Plan of Operations sent to you on September                                     3rd



I

        appreciate            your cooperation                  in   assisting       the Indian      Leader Association        in   their financial             operations



Jared Nally Editor In Chief



Get Outlook for iOS




                                                                                                                                                                        USA000782
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FALL 2020 EXPENSE REPORT                                                  1




               Fall 2020 Indian Leader Association       Expense Report




                                Jared   E Nally Editor

                        Jayde   Lanham    SecretaryTreasurer




                           The Indian Leader Association



                         Haskell Indian Nations University



                            155 Indian Ave    Box 4999


                                Lawrence KS 66046




                                                                              U SA000783
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FALL 2020 EXPENSE REPORT                                                                                        2




       The following are the fall 2020 semester expenses           for the    Indian Leader Association




ending on December       31 2020   Applicable    receipts   and invoices     are   included in the appendix




                                          Fall   2020 Expenses



Item Description                                                           Qty              Rate          Total




Arquette   Zachary



   Arficle    New Mural Honors Wetlands                                    938             $010         $9380



   Photography         New Mural Honors Wetlands                              3               $5              $15



                                                                                            Total      $10880



Banks Tyran


   Video Interviews with Haskell         Student                           12                $15          $750



                                                                                            Total         $750


Begay Delilah


   Video     HINU      Online Learning                                     13                $15               $5



                                                                                            Total              $5



Bointy Kayla



   Distribution Manager Pay                                                   1              $50              $50



   Article   Graduating HINU       Student                                 485             $010         $4850



                                                                                            Total       $9850


Chickaway     Shayla



   Video     HINU Online Learning                                          13                $15               $5



                                                                                           Total               $5




                                                                                                                    U SA000784
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FALL 2020 EXPENSE REPORT                                                        3




Lanham   Jayde



   SecretaryTreasurer         Pay                             1     $50       $50



   Article Student      Responses to Presidential           320   $010      $3200


                                                                   Total   $8200



MacDonald      Connor



   Assistant Editor Pay                                       1     $50       $50


   Reimbursement Monthly Adobe License           Appendix     3   $3149    $9447


                                                                   Total   $14447


Manygoats     Alexander



   Video Interviews       with Haskell    Student           12      $15     $750


                                                                   Total    $750




Nally Jared



   Editor Pay                                                 1     $50       $50



   Article    Study Body President Steps     Down           203   $010     $2030


   Article    Member     of the Haskell   Family            113   $010     $1130


   Article Curtis Worker Nia        Schexnider              120   $010     $1200



   Article    Change    the   Mascot                        208   $010     $2080



   Article    KC Football Honoree                           217   $010     $2170


   Article Veterans      Day Celebration                    191   $010     $1910



   Article    The Indian Leader Wins                        110   $010     $1100



   Article    6th   Grader Seeks    Help                    396   $010     $3960




                                                                                    U SA000785
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FALL 2020 EXPENSE REPORT                                                            4




   Article Its Not Just      $475                         763         $010      $7630


   Article Native Author         to   Release             270         $010      $2700


   Article Haskell Altunni Involved             in        207         $010      $2070


   Article    President Supports           Athletic       288         $010      $2880


   Article    New Leadership          in   Womens         259         $010      $2590


   Article Haskell Instructor          Honored            301         $010      $3010


   Article Native       Themed    Sports     Mascots      414         $010      $4140



   Photography        KC Football Honoree                   3            $5       $15



   Photography        Veterans Day Celebration              3            $5       $15



   Photography        President Supports       Athletic     1            $5        $5



   Photography        Haskell   Instructor     Honored      2            $5       $10



   Video     KC Football Honoree                            1           $15       $15



                                                                      Total      $519


Sloan Makayla


   Article Quarantine       Creations                     519         $010      $5190



                                                                      Total     $5190



Walters   Christian




   Video     HINU     Online Learning                     13            $15        $5



                                                                      Total        $5



                                                                Grand Total   $103467




                                                                                        U SA000786
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FALL 2020 EXPENSE REPORT                                               5




                               Appendix




                                                                           U SA000787
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                                                                 INVOICE

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                           San Jose      CA 95110                                                                                           Date         JUL0320
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Comments




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            Re Indian           Leader Payroll and                    Financial       Document Request

    Jeri           Sledd     <jsleddHASKELLedu>
        Mon 1112021              209     PM

    To            Jared Nally   <jarednallyHASKELLedu>                 jerisleddbieedu          <jerisleddbieedu>
        Cc        Ronald   Graham       <rgrahamHASKELLedu>                 Rhonda    Levaldo   <rlevaldoHASKELLedu>                  Steven       Byington

            <sbyingtonHASKELLedu>                 Mona   Franklin      <monafranklinbieedu>



    0         1   attachments         595 KB

        ILA 2020       statement0001pdf



    Jared



        I   have received your request                   for checks         to cut for the ILA staff        I   will   just   need to have both you and
        Rhonda          concur to the withdrawal of funds so that                          I   can attach the email to a withdrawal                            slip   in   lieu of


    signatures



    I       have      also   attached         your 2020 statement of account                     Please   let   me know         if    you have questions


    I       am on campus daily now and                     I   will   read the plan of operations and forward                              them to the appropriate
    signers Once                  it   has been    signed       I   will   forward you a copy



    Let           me know        if
                                       you need further assistance


    Jeri          Sledd

    Haskell            Indian Nations           University

    7857498435
    Student             Bank



    From Jared Nally ciarednallyHASKELLedu>
    Sent            Friday January         8 2021 644 PM
    To jerisleddbleedu <jerisleddbieedu> Jeri Sledd <jsleddHASKELLedu>
    Cc Ronald              Graham <rgrahamHASKELLedu>                           Rhonda     Levaldo    <rlevaldoHASKELLedu>                          Steven Byington

    <sbyingtonHASKELLedu>                           Mona       Franklin     <monafranklinbieedu>

    Subject            Indian         Leader Payroll and       Financial    Document       Request




    aya Jeri



    Ive attached                the      Indian   Leader Associations pay roll                   to this email Please                let    me know       if    I   need to

    provide            anything          else to have      our writers and photographers paid for their work for the                                           fall   semester



Several                times this semester           September 3rd September                         10th and October                  19th Ive attempted to

engage you and the student                               bank to receive             balance statements of the Indian                            Leader Associations

student                bank accountI               am attempting              again to ask you to please provide                           all   past statements            for   our

account for last year 2020 This                                is   crucial   information for the          planning           of Indian            leader Association

activities




I           would also          like    to affirm whether or not               HINU approved          and acknowledged                       the    Indian     Leader

Associations                     Plan of Operations             sent to
                                                                              you on September            3rd




                                                                                                                                                                           USA000791
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11121      at   13145345                                                                                                           Page   1



                                                                           Student Bank
                                                                          Vendor Ledgers
                                             For the PeHod                From Jan 1 2020 to Dec 31 2020
Filter   Criteria   includes   1 IDs 23258 Report    order is   by   ID


 Vendor ID                            Date          Trans No                Type   Paid    Debit   Amt   Credit   Amt    Balance
 Vendor


 23258                                1120          Balance     Fwd                                                      560171
 INDIAN LEADER ASSOC                  2620          053006                  CDJ                7000                      553171
                                      22120         0417347                 CRJ                               3000       656171
                                      22420         68432                   CDJ               10020                      546151
                                      22420         68433                   CDJ               14500                      531651
                                      22420         68434                   CDJ                6650                      525001
                                      22420         68435                   CDJ               34320                      490681
                                      22420         68436                   CDJ                5000                      485681
                                      22420         68437                   CDJ                5500                      480181
                                      22420         68438                   CDJ                2950                      477231
                                      22420         68439                   CDJ                2110                      475121
                                      22420         68440                   CDJ               39848                      435273
                                      22420         72JDSTRF224             CRJ                            353167        788440
                                      22620         053027                  CDJ               10000                      778440
                                      22820         0417384                 CRJ                                   2647   781087
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                                       72420        68994                   CDJ                3730                      322637
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                                       8720         T2JDSTRF080             CRJ                             452600       728547
                                       102920       T2JDSTRF102             CRJ                               65334      793881


  Report Total                                                                               644602         878312       793881




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Fail   2020          Pell   Grant Activity Fees




                                                                                                                          6                       >
           Byington           Steve K
 BK
                                        AM
                                                                                                                                        4
           Tue       322021     1151

           To        Graham Ronald J Franklin          Mona


           There was $7280                total   Activity    Fees collected   from   Pell   Grant   in   Fall   2020 so the Indian Leader   Recreation
           and Student Senate                 will   each receive $242667         This will    likely     be completed    this   week




           Steve Byington

           Finance Specialist




           Bureau of Indian Education
           Haskell          Indian Nations      University

           155 Indian          Ave

           Lawrence           KS 66046
           Office       785 8302780
           Fax 785 8302760


           Website wwwhaskelledu




           Reply               Reply    all          Forward




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Fw EXTERNAL Re Sanctioned Clubs


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         Byington
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         Wed 332021                1118    AM
                                                                                                                             t
         To        Frankfin    Mona



                         clubspdf

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         Steve Byington

         Finance         Specialist




         Bureau of Indian Education

         Haskell        Indian Nations            University

         155 Indian           Ave

         Lawrence            KS         66046

         Office
                      785 8302780
         Fax 785 8302760


         Website wwwhaskelledu




         From Jeri Sledd <jsleddHASKELLedu>
         Sent Wednesday                    March 3 2021 1030 AM

         To Byington Steve                  K <stevebyingtonBIEEDU>

         Subject         EXTERNAL Re Sanctioned                  Clubs




                      This email has been received                   from outside of DOI          Use caution before   clicking   on links

                                                                 opening    attachments or responding




         Not the Student                  Bank      but Student    Senate   does   Please   see attached



         Jeri




         From Byington Steve                    K   <stevebyingtonBIEEDU>

         Sent Tuesday March                     2 2021 1132 PM
         To Jeri Sledd <jsledclHASKELLedu>

         Subject        Fwd Sanctioned               Clubs




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                                   Haskell Indian Nations University

             W
                         Guidelines for Registration of Clubs                                Organizations


General Statement

        All clubs and organizations at Haskell                 Indian Nations University are required tO register with

the Haskell      Student     Senate     Registration     provides    for   official   recognition as a group use of University

facilities   and services       and the coordination        and communication of the groups                    activities   with the


campus       administration       and other student groups



Classification

        The                   types of organizations are eligible
                 following                                                    to register    with Haskell      Indian Nations


University through         the Haskell Student          Senate



    1   Residential     Halls organized living groups            and their associations
    2   Academic
                       groups related to academic           discipline     or interest of the University

    3   Re4gious groups           affiliated   with or promoting religion religious beliefs or lack thereof

    4   Common Interest groups formed                  for social interaction to promote or relate to a defined                  interest




Responsibilities of Student                 Clubs       Organizations
        Each     student group        must adhere to the following which                is   taken    from Section   IV of the Haskell
Student Senate         Constitution



    1 Must have          a fulltime Haskell Indian          Nations University Staff or Faculty as SponsorAdvisor

    2   Must submit an Organizational                  Registration Application
                                                                                        and Plan of Operations by the

        deadline       to the Student       Senate   for approval

    3   Must appoint one            1 Senator and one 1             Alternate     who are in Good Academic                  and Social

        Standing to attend           meetings of the Student            Senate

    4   Report major changes             of their Plan of Operations to the Haskell                  Student    Senate Changes must

        be written and documented                in a new version of the Plan of Operations



Duties of Student          Senate      Representatives
Each Senator must adhere              to the following       which is taken       from Section I Article        G of the Haskell
Student Senate Constitution



    1   Represent       their
                                group is aware of opinions and ideas prevalent                   to   their respective       organization

        and votes       accordingly

    2   Serve     on   at least   one committee per semester and               stay
                                                                                      with that committee          they have    chosen

        for the remainder of their              term
    3   Relay information to their groups                so that they may be informed                and aware of important        details


        given     at the Haskell      Student     Senate   meetings
    4   Present a verbal presentation and written report of their group to the Haskell Student Senate

        on a monthly basis

    5   Follow and abide by all other obligations and                    duties as    detailed in the Constitution            of the

        Student      Senate




Organization      Recognition      Packet      201420151 HINU       Student    Senate




                                                                                                                                   USA000795
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  ole of a SponsorAdvisor

           All sponsorsadvisors               must provide          constructive     leadership         to their student        group in addition
to requirements            regarding                                                  This                   is   required    to
                                        organizational responsibilities                          person


      1    Attend     as   many cluborganization Meetings                     as   possible in accordance               with each organizations

           plan of operations          constitution or bylaws whichever                      may apply
      2    Have knowledge            regarding operational procedures banking                           policies     and federal ethics

      3    Ensure the Senate           Representative        of the cluborganization                   is   attending   Haskell     Student    Senate


           meetings        to strengthen      the communication              between      all   clubs



The       Registration Process
Student ClubsOrganizations must register once each academic           Haskell                                                  Indian Nations

                                                      5
                                                            year with

University Student            Senate    Steps     1        need to be completed by the designated deadline                           date Any

applications    that are received             after this   date without        prior approval will be referred to the General

Assembly of Haskell Student                   Senate    for a sanctioning          vote



      1     Recruit at least 10 members to
                                           your group hold a meeting
                                                                                                        and elect officers

      2 Have        the    SponsorAdvisor and Senate                    Representative          fill   out the Organizational Registration

           Application
      3    Complete the Signature               Sheet

      4    Register with the Haskell              Student Bank          and submit a copy of the Organizational Registration

           Application        with Plan of Operations attached

      5 Submit a completed and updated Organizational Registration Application with Plan of
           Operations attached            to the      Student       Senate   Office in Stidham              Union


The       Haskell Student Senate               Executive            Board will review the registration                   materials and

determine


      1    If the group       is   eligible   to register with Haskell             Indian Nations University

      2    The groups request for classification                category
      3 The responsibility             for verification      of membership rests with the student group and its

           sponsoradvisor
      4    When      a student      cluborganization is granted                official    recognition            sanctioned       they will   receive

           notice    in writing delivered             to the organizations           President Senate Representative                   and

           Alternate Senate                                at their     respective     addresses            as listed in the Organization
                                     Representative

                              Packet and the date of the first General Assembly meeting                                      that their Senate
           Recognition

           Representative          will be required to attend

      5    Denial will be issued in writing



                                                             about registration                        should     submit a petition in writing
      Groups wishing to appeal                a decision                                  status


                  why they deem their group should be sanctioned to the
                                                                         Haskell Student Senate
stating    reasons

Executive     Board The petition will be presented to the General Assembly on their next meeting date
and brought to a vote              A twothitds         23       majority vote of the General Assembly is required to

reverse the decision




Organization        Recognition      Packet 20142015            I
                                                                    HINU Student Senate                                                                  2




                                                                                                                                               usAnnn7qR
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Re Plan of Operation                Haskell       Indian Leader



          Bureau of Indian Education
          US Department of the Interior
          1849 C Street NW MIB3610

          Washington       DC 20240
          Cell   Phone    571 7327004

          Website wwwbieedu
          Facebook       BureauotindianEducation
          Twitter BureanIndianEdu




          From Franklin Mona <monafranklinBIEEDU>
          Sent Tuesday March            2 2021 452 PM
          To Jensen      Klarissa   L   <KLARISSAJENSENBIEEDU>

          Subject Plan of Operation          Haskell   Indian      Leader



          Klarissa



          Iam not sure this will be of any assistance                    to
                                                                              you but I have   included   the newspaper        Indian Leader plan
          of operation for the Haskell Bank

          The allegations       of Haskell    withholding          10K of course      are inaccurate



          The reimbursable          money    is   deposited as payments of fees activity             fees are made throughout          the academic

          year to the Indian Leader account              It   is   not a onetime      deposit Please      let   me know   if
                                                                                                                               you need any
          additional     information from us Thanks                for   your assistance


          Mona      R Franklin MSM
          Special Assistant to the President



          Bureau of Indian Education

          Haskell    Indian Nations University

          Lawrence     KS 66046
          Office    785 8326644
          Cell   785 7660039
          Fax 785 7498411



          Website wwwhaskelledu

          Facebetok      HaskellUniversity

          Twitter     HaskellUniversity




          Reply          Forward




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                                                                                                                               777       r




                                               Haskell Indian Nations University

                                                   Indian Leader Association




         Purpose

         The purpose of the Indian Leader Association                          is   to   provide   a media outlet to     serve the

         Haskell Indian Nations University                       campus and the local community by connecting
         mainstream or local news and cultural                       issues   across Indian Country to the Haskell

         campus and community The Indian Leader the                                 oldest   Native American         Student

         newspaper      is   an independent          student       media outlet of Haskell Indian Nations University

         and will    also    serve the student body by communicating                          important information that

         impacts student       academics          and campus         life




         The Indian Leader will produce                    a minimum          5     issues   per semester unless authorized by

         the Indian Leader Association Executive Board consisting of consensus ruling and

         authorized by the Indian Leader Association                          Advisor


         The Indian Leader Association                    is   published by the students           of Haskell Indian Nations

         University The newspaper                 exercises        their   individual     rights   to free   speech and freedom of

         the press guaranteed             by the First         Amendment       Rights have been expressly recognized as

         rights which        individual students enjoy               who attend Bureau of Indian Affairs                school     in

         Part 42 of Title 25 of the Code                  of Federal Regulations             Students    Rights and Due Process

         Procedures 25        CFR 423 e f 1998 These basic rights have also been reaffirmed in
         Part II of the Code            of Student    Rights and Responsibilities               of Haskell Indian Nations

         University    1998

         Goals

         The goals of the Indian Leader Association                         will    be to seek the    truth   and report the facts

         for the   betterment of Haskell             Indian Nations University and its                 students      The Indian

         Leader Association             will   initiate    ethical   standards       while reporting on issues related to the

         student    body of Haskell Indian Nations University


         The Indian Leader Association                    will    welcome     all   interested students       that   would   like to


         participate



         The main goal        is   to   promote Native American                issues      and provide an outlet for those

         stories to be      told and to provide the Haskell Indian Nations University with accurate

         reporting    while maintaining             awareness of Journalism ethics and standards



III      Faculty Advisor

         One or more faculty advisors may be appointed                               by Haskell Indian Nations University to
         assist students      in the publication               of The Indian Leader



             The    faculty    advisor may freely advise and instruct student                         editors   and   reporters in the

             subject    of jouirialism and relevant professional                         standards   comment and        critique   the

             product of student journalists and offer fiscal and technological guidance                                   to the




                                                                                                                                             USA000798
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                                                                                                                                          4




       Indian Leader Association                 The advisor may provide what assistance needed                              to


       produce        the Indian Leader newspaper



       A faculty advisor may make non binding recommendations to the student                                               editors

       which the student              editors   may    in their     sole      discretion take into consideration              in    the

       free    exercise     of the independent          editorial        judgment Although               a faculty     advisor of the

       Chapter may freely offer advice                  or assistance to the student                   members of the Chapter

       neither the faculty            advisor nor other Haskell                officer    or employee has the right to

       censor modify            in any    way    the   content      the       Association produces



IV     Newsroom          Polley

       The publication           titled   The Indian Leader Newsroom                           and Management Guidelines

       will    be policy for The Indian Leader newspaper                            The Indian Leader operates               in the

       same capacity            as a business therefore             everyone        will    be accountable        for   following

       regulations        and procedures



       The Indian Leader Association receives                        13 of the Student                Activity Fee and divided

       among other groups Student                  Activities        13 and Campus Activities                    Association       13
       The     financial    backing       of the Association             is   kept within the Haskell            Student    Bank and
       must follow banking procedures                    of the institution              The organization must follow

       banking policies under the supervision of the Haskell Student                                     Bank The monetary

       budget        must reflect only with supplies events newspapers magazines                                       or a direct cost

       of the Indian Leader Association and not a subsidiary group or division                                          The money

       set forth      toward the Association will be authorized for withdrawal                                  under the

       supervision of the Haskell               banking staff



       The Indian Leader Association                   is   also   under the Haskell            NAJA Native American
       Journalists       Association Student Chapter                     The Haskell           NAJA Student Chapter allows
       each branch         to   use   money obtained for the chapter for supplies related to each
       identified       field Indian Leader     print Haskell News videomultimedia


       The Indian Leader Association                   will   allow its         active   members with the use of

       equipment          cameras voice          recorders         etc    However         if   the   student   does not return the

       property of the Indian Leader Association                          then the penalty amount                value of the

       equipment will be charged                 to the     students          account     via the Haskell Business Office

       with the approval of the Indian Leader Association                                advisors


       There     will   be no misuse of the equipment which                         is   the sole     property of the Indian
       Leader Association               under the supervision                 of the Indian Leader Executive Board If

       there    is   a discrepancy of misusing equipment or the mistreatment of a fellow member

       then the student          breaking the procedures                 of the Association            will   revoke    hisher

       membership with the authority of the Editor and Assistant Editor only and                                             will   be

       asked not to participate the rest of the fiscal                         academic        year




                                                                                                                                              U SA000799
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      If   an Indian Leader Association Executive Officer does not follow the procedures                                      of

      the   Association          then   a majority      vote of the active          members will take place

      nominated by the Advisor only


      Editor    In Chief
      Requirements               must be in good academicsocial                standing with at least two semesters

      of Indian Leader experience



      Duties
                Direct and supervise              all   Indian Leader functions

                Sets   semester         deadlines       with faculty       advisor

                Schedules          and conducts         weekly     staff   meetings

                Does chief reads on all copy before web and                           print   publication

                Checks       stories for legal          and ethical concerns


                Administration of The Indian Leader webpage


                Prepares layout


                Prepares final          copy and distributes          to   Assistant Editor and one

                other Executive Officer                 for proofing


                Sends final copy to printer

                Reviews          and approves payroll

                Represents          The Indian Leader on campus and                    in the   community


      The Editor will also be President                  of the Haskell       NAJA Student          Chapter The Editor

      may not vote         during business          meetings and will only vote during a tie breaker



      Assistant Editor

      Duties

                Supports          the Editor in all      Indian Leader functions

               Does        2nd   reads on   all   copy before web and print publication
                Assists Editor with The Indian Leader webpage                            administration

                Maintains          advertising      rates   and fields advertising inquiries

                Coordinates circulation and newspaper                        delivery to the following areas of

                campus
                       o     Navarre Hall Post office              area student bank           area admissions         Haskell

                             Foundation offices the Presidents                      office    the Registrars       office   the

                             VP of Academics office and financial                      aid

                       o     Coffin Sports complex

                       o     Sequoyah       Hall The Student           Success Center           Deans     office    across the

                             hall   from SSC math department north end of building                             and science

                             department       middle        east   side
                       o     Ross Hall humanities office                   tables    on both    sides   of building     Deans
                             office and offices in far           NE corner of building
                       o     Pontiac     Hall




                                                                                                                                   USA000800
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                    o   Parker Hall Lobby area department of education                        offices    and AIS

                        wing
                    o   Taminend          Hall

                    o   Facilities    Management officeWirmenaucca                  Hall

                    O   Blalock      Hall All    common areas
                    o   Roe Cloud Hall All common areas

                    O   Curtis Hall lobby

                    o   Tommaney Hall library               including     technology       center and     common
                        areas

                    O   Blue Eagle Hall

                    o   Pocahontas      Hall All       common      areas

                    O   Student      Conduct     OfficeMinoka

                    o   Winona Hall All common areas

                    o   Stidham Union The Eagles Nest TRIO Purple Threads the

                        Counseling Center and Student                Senate office

                    o   OK Hail all common areas and student housing offices
                    O   Tecumseh       Hall Student       Activities     and Alumni Association room

                        downstairs

                Responsible for any Editor duties in hisher absence



      The Asst Editor will be required to facilitate the fundraising opportunities                          for the

      Haskell   NAJA Student         Chapter as they arise The Assistant Editor                    may vote


      Secretaryareasuren           The SecretaryTreasurer              will   work with the Editor to help keep
      the   Indian Leader     Association      on budget by maintaining           financial        records as well as

      providing    accurate    accounts    of each      meeting


      Duties
                Provides financial      report at      each meeting

                Provides meeting minutes Minutes should be prepared                         and posted     to the

                Indian Leader Google drive within 2 days of each meeting Notification of

                posted minutes will be provided            to news      team via email or Indian Leader staff
                Facebook    page
                Payroll management as follows

                        o     The Editor will submit a final copy of the newspaper to

                              SecretaryTreasurer          upon submission         to printer

                        o     SecretaryTreasurer          will   submit prepared payroll to Editor or

                              Assistant Editor for approval

                        o     Once approved            SecretaryTreasurer        will   initiate    meeting to vote on

                              payroll

                        o     SecretaryTreasurer          will   obtain Advisors         signature and submit

                              payroll to the     student    bank
                        o     Once cheeks        are   picked up from the        bank    SecretaryTreasurer           will


                              notify check recipients via email or Indian Leader staff Facebook

                              page of wherewhen            to   get checks




                                                                                                                             USA000801
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               Ensures mail        is   picked    up from the post office and delivered          to the   Indian

               Leader office before each weekly meeting

               Maintains     voicemail          box and Indian Leader Gmail providing            staff with   a


               report    of the    activity     of each at meetings or as needed

               Maintains     Google       drive     documents
               Receives     and tracks          advertising   payments




                                                                                ent Senate Meetings and




      Duties




               Must generate         at least     one post per day
               Ensure3 Indian Leader              web stories arc posted       to social media in a   timely

                                                              rom wen
                                                                       4


                  DLIM                                                     acimmistrators

               Aids in training         staff   on use of wcb page




               teams on Indian Leader social media




      Leader
                                                                                    P
               Journal magazine or other form of Indian Leader publication outside of the

      newspaper The Cooperative Editor is authorized by the Editor In Chief to work with
      the Association      and Advisor           Anybills invoices or decisions         made by the


      budget   of the Association back              The Cooperative         Editor must make wise and

      conscious    decisions for the betterment of the Aasociation and                  its   members This
      EdRor must coorelinate            an outside business         meeting for each publication      and find staff

      to help with thcproduction              of said publication



      Indian    Leader WritersReportersActive                       Members      Each student    at Haskell   Indian

                                                         with the Indian Leader Association          Active
      Nations University          may participate
      members of The Indian Leader                 are   students   who    contribute to the publication     of each

      issue   of the newspaper          OR social mediaweb           content




                                                                                                                       USA000802
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          Executive        staff listed     below must have one published                article in each issue in order to

          receive    staff    pay


V         Pay     scale




           Editor                               $    5000      per newspaper
          Asst Editor                           $    5000      per newspaper

           Sports Editor                        4507140pernewspaper
          Wcb     Editor                                LI     U            IYE




           SecretaryTreasurer                   $    5000      per newspaper
           Student    Senate         Rep        $    5000      per newspaper

           Cooperative Editor                   $30000        12    paid midway       and 12 paid after project       is   final




          Articles        Web or print $05 per word
           Photos         $500 per published photo with the max limit of 3 per article Rate includes
          photos     published on social media Payee must be owner of all photos                                 provided
          Photo Collages              $1500     with permission only

          Other      social    media content            $500 per published submission of original this
          means created by you               creation    of video podeast radio audio                   or infographic

           Content will be reviewed on a case by case basis



          Additional pay may be authorized if the tasks and duties                             of members are related to an

          officer    status Officers         may be authorized double pay if they reach more than 30 hours
          with Indian Leader Association activities events                           and responsibilities Individual              pay
          shall   not exceed         $35000    per   issue    unless approved          by sponsor




VI        Use of Funds
          Funds     for    the operation of The Indian Leader will be used for the following

                           Invoices

                           Office supplies

                           Payroll

                            Campus events conducted                 or sponsored      by The Indian Leader



          Requests        for reimbursement          will    be considered         but as a general rule requests           for

          funds should be submitted in advance through                            executive    staff vote      recorded in

          meeting minutes and submitted to Haskell                         bank     for withdrawal




          The     individual     staff     member who        signs     for bank     withdrawals       will   be the responsible

          party for the       full    amount of funds        that   includes returning receipts              and unused funds

          Discrepancies         will   be   the sole responsibility of the individual                 handling    the monies

          Failure to return receipts and unused                    funds   regardless     of whether         the individual has

          left   campus      at the    close of the semester will           result in a       hold being placed      on   the


          responsible partys student                account    until    fundsreceipts         are   returned




                                                                                                                                        USA000803
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            The           Indian          Leader Newsroom

            Policy                and Management Guide




Credits The policy and      management   guide   is   adopted from The University Daily

Kansas with permission and modified      for   The Indian Leader Thanks     to   the Kansas

for their input   and direction




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The Indian Leader
Newsroom                                Policy and                                  Management Guide



Introduction

Welcome         to       The Indian Leader The                 Indian          Leader Newsroom                          Policy    and Management                            Manual         is


developed           to   help    orient    students          faculty          staff      and others              in    the    management and production                                  of The

Indian     Leader



The Indian Leader Newsroom Policy and Management Guide was approved in the Spring of 1993 by the
Indian Leader Association publishers of the Indian Leader and the Haskell Yearbook


The Indian          Leader is edited and published                             by students             at    Haskell          Indian    Junior College                      for the      purpose        of

promoting the             free    and informed           debate and discussion                             of   1      topics     of special        interest               to    Haskell        students     and
alumni      2       issues of special importance to Native                                    Americans generally and                          3     all
                                                                                                                                                         newsworthy topics and
public     issues of general              Interest      to   American citizens The Haskell Yearbook                                            is    edited and published by
students       at    Haskell      Indian    Junior CollegeNations                             University          for   the     purpose        of   maintaining                   records        of the

previous       years       events



The Indian Leader Association is committed                                         to    improving           the      ability    of   Native    Americans to determine their own
destiny by providing               an     open public forum in which                            all   concerned               citizens     regardless     of race creed color sex

religion    or national           origin might          freely     discuss              the important public                    issues    of the      day The members of the
Association          believe       that   by providing         a public forum readers and contributors                                              alike will             improve their

understanding             of the true meaning                of leadership                    citizenship          and democracy               in    contemporary                    American society
through     an      open         honest    and fairminded                     exchange           of    views




Ethics                    and Policy
Standards           of conduct         for staff   members of The Indian Leader are the same as those adhered                                                                         to    by    any

responsible professional                   newspaper They                      are outlined                here    as guidelines that               staff       members are
expected       to    follow




This   policy       manual does not describe                       every           circumstance                 that    could     pose a problem                      It   does not answer

every    question          that   might arise Instead                    it   is   designed            to   establish           general       rules that editors                    reporters and

photographers              are    to   use in reporting            the        news and producing                        the     newspaper           Violation               of these        standards can

be grounds           for dismissal




Advance Viewing
Outside     review         of copy photographs                 or artwork                is   not permitted              unless        approved            in   advance             by the
editor For some              stories       such as those            that        involve         complex            scientific         information           a   knowledgeable
source     might be         asked       to verify       the accuracy                of   specific          elements of the story before                          it        is
                                                                                                                                                                                published         An
entire   story should             never    be reviewed             by someone                   outside          The Indian Leader staff Check                                    with   an editor

or   adviser     about      similar       situations




Conflicts        of Interest              The   first
                                                        obligation             of staff members is                      to   perform      their assigned                        Leader duties

To   do so staff members or anyone                            who writes                 for the      Leader must be                   free   from any obligation                          to   any
interest    other than the publics                  right     to   the        distribution            of   news and enlightened                     opinion




                                                                                                                                                                                                                   USA000805
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Staff    members should exercise                       great care      before          becoming              involved     in       any political        context            beyond voting
Under      no circumstances               may a staff member work                           for   pay or as a volunteer                    in   political           organizations or

campaigns


If   a relative     or close     friend    is   Involved        In   any political           activity          a staff member should                    tell        the   editors


and refrain from covering                 or making            news or editorial judgments about such a campaign                                                     or organization

Such precautions               should     be taken on all types of stories or photographs



Because         of the nature       of the       Leader and          its   readership               student        politics        and campus            political


organizations are even               more likely          to    create the           appearance                of partiality        than   traditional              political


organizations           Remember that the appearance                                 of bias      is   devastating            to   the   newspapers                  credibility         as   is



actual    bias



Other conflicts A Leader staff member may not work as a staff member                                                                     editor or      contributor               for any      other

publication         or news service            without the consent of the                         Leader editor           Staff       members who wish                       to    freelance

periodically for other            publications          also must seek                 permission from the editor                          Any staff member who                          is   found

hiding    his affiliation       with another            publication        also       must seek permission from the editor Any staff member who

is   found     hiding    his   affiliation      with    another publication                  will      be dismissed



Appearances             on radio or television               by Leader staff members may be permissible only                                                   if    reported       In



advance        to   the editor      Remember however                        that      only the         editor     may     talk      as a representative                     for   the

Leader



Gifts As journalists the obligations                           of staff     members are clear gather and report the news                                                   with     vigor      and

compassion           and report      it   without       prejudice



Staff    members must not use their positions                              at   the        Leader to obtain any benefit or advantage                                        not

afforded       to   the public     generally           Staff    members do not accept business related                                          gifts   or favors            either at


home      or in the      office




Staff    members should not accept free rooms sample equipment or goods                                                                  of any kind            Staff


members may not accept                     free      trips     Free tickets or access                    to    events     may be accepted                           but only when

special       arrangements for the press are necessary The press box at sporting                                                           events        is     an example

Editors       are responsible        for     making          certain   that      advantage              is   not being         taken       of certain          situations           Friends

or    guests      are not allowed         to    use Leader passes                     to   events



The Leader pays for tickets                     to   entertainment events                    that      staff    members are reviewing Books and

records        are accepted        only as news releases and become                                     the property of the                Leader



Leader members should                     not accept          free meals or drinks This does                             not       mean     that    staff           members

cannot accept           a cup     of coffee          or something that                can be repaid              later    Reporters             should         not however                be

wined     and dined while pursuing                     a story       The cost of meals incurred                          in   the course           of gathering              stories will


be     paid    by the Leader Generally however                             it   is   difficult    to    take     accurate          and complete                notes       while     eating



Any travel          must be approved             by the        editor and            the Association



When      in   doubt please follow the American Society                                     of    Professional           Journalists code of ethics                         in    the    back      of


the booklet




                                                                                                                                                                                                        U SA000806
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                                                                                                                                                                                                                kf




Dealing with the public

Courteous         and professional                    treatment            is   afforded         anyone         who telephones                     or walks        into    the    newsroom


Telephone             Etiquette                When        taking        messages be sure                      to     get the correct              name and phone number


Also include          your name                   the time and date the                     message            was received The telephone                              is   for   business      use only
Do not leave           this       number for personal                      messages              to   be taken by any staff member or the faculty                                       adviser



Complaints Complaints should be referred                                               to    the editor          If    no editor is available take a name and phone
number and            tell    the person             that    an        editor will     call      back     If   a complaint               is   in
                                                                                                                                                   any way abusive                or If the   staff

member is threatened                         write    a short but thorough                       memo and give                 it   to   the editor



Corrections                  The decision             to    run a correction                is   made by the editor When                              the     Leader incorrectly           has reported
a story or       misidentified               someone              in   a photograph               the   editor will       arrange              for   a correction           to   appear    promptly        It




may appear on Page 1    the story was on Page 1 Otherwise
                                             if              corrections will appear on Page 2 When talking

to someone who has a complaint do not verify the mistake blame
                                                                   anyone agree with anything or promise
anything Do not give your personal opinion as to what should be done Refer the person to those mentioned
above Any staff member who makes                                          a mistake          requiring          a correction             must        fill   out a correction          form    and turn     it




in   to   the editor



News Tip When                      readers          call    in   with     news      tips or       photo        ideas
                                                                                            staff members are expected to treat them with

courtesy         The Leader encourages                              readers       to   by the newsroom when they have story ideas Its
                                                                                       call      or to stop

a way      for   them        to    let   the      editors    know what they want to see in the paper and those ideas often turn into the
best      stories     and photos Listen                     patiently to          callers         write    down the            tips      and thank them                   for calling    or stopping

by the      newsroom


Letters       Policy The Leader accepts                                   letters      to   the   editor with           the understanding                      that   the    editor     may edit or
reject     the   letters          When         readers           bring    letters      to   the       newsroom make                  sure          that     the   letter    has a signature             and
a    phone number




Police                 News and Obituaries
Crime Stories                     In   crime stories              description          of the incident                must be attributed                     carefully      Police    records     are

protected        in   cases            of libel     but they           might be
                                                                              wrong                   nonetheless           Let readers                     know where the Information                came
from When             the     Leader reports                 that      someone has been accused                            of       a crime the               newspaper           incurs the

obligation       to follow             the   case to        trial      and to its conclusion


Suspect          Identification                    The Leader does not identify suspects                                                 in    crime stories unless the

suspects have been charged                                        in the        court system An                       arrest    does not mean a suspect                           has    been or will
be   charged          Identify           a person charged                  with     a crime with           age and address Also the term alleged should                                               be

used with care Alleged                            murderer is libelous



A suspects race                   or ethnicity        should           not   be mentioned               in a     story unless the information Is part of a

detailed     description including                     age          height       weight          attire        and     distinguishing characteristics



Victims          Names The names                            of juveniles            rape victims           and people who have attempted                                     suicide     are not

                                                                                                                                                     editor when
published        except           in circumstances                     approved        by the editor Consult with the                                                       naming the
victims     of any traumatic                   event       or violent           crime




                                                                                                                                                                                                                     U SA000807
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Here are some guidelines that staff members should use to determine whether a victims name

should be used



Living        or dead Did the           victim        die or is he or she still                     living       If   the       victim      survived       it   is    probably not a                 good
idea    to    use the name especially if                        it    was a private          individual     in    a        common           type   of   traumatic           event     If    the       victim


died     it   lends     more weight     to      using the               nameas          in   an obituary



Juvenile or adult Kansas                       law protects                   the    identity of juveniles             involved            in criminal         proceedings The
same kind of protection             should           be given             to    juveniles involved           in       traumatic            events



Promlnencepublic                  figure         Is    the person                well    known         in what         context national                  regionally or locally

Determining whether               someone             Is   a         public    or private      person       should              be done      in the     same manner as                     It   is



determined for libel



Newsworthinessmanner                            Is    the event               newsworthy         enough          to justify           it   Unusual       circumstances               often           are

cited but        be careful      not to sensationalize a                         tragic      event needlessly



Rape As stated before rape victims names should                                                 not be      used Do not name                       the suspect              of a rape           until


the suspect            has been charged              In    court



Suicide          Generally       names should                        not be    used     in   stories   dealing             with suicide        attempts              If   the suicide           was

newsworthy             only because      it    was         a suicide consider                  using an obituary format Then                              it    is   appropriate           to    use the
victims        name




Dealing with Sources


Staff   members must identify themselves when covering any event                                                            for   the      Leader unless the                 editor hasgiven


approval         for   reporters or photographers                         not    to   disclose      their Identity




To help reporters and             news sources                        understand         what information is fair to report under what

conditions        the information may be                       used and how that information may be obtained complicated                                                            news

gathering        practices    have evolved Even among journalists there                                                    is
                                                                                                                                disagreement about defining                         these

terms Listed            are some    reporting              procedures                that    Leader reporters are expected                          to   follow




The Leader Policy Our policy                              is    for reporters           never    to    agree          to    conduct         an interview         in       any way other than
on the record           unless    the   editor        has been consulted                       before      the interview                   There   almost always               is   some other

way to get information Not                    for attribution                  off   the record       and background                       explained      below            many      times serve

only    to tie    the   hands of both the reporters and the newspaper Remember unless a specific                                                                            agreement is made
before        the interview the interview                      is     on the record


In   some cases           exceptions          to this       policy        may be justified Again speak to the editor                                      for        questions

about this




On the record All the information and name of the news                                                     source           may be used            in   a story           Interviews            are   on

the record        unless    an agreement               to       the contrary            is   made     in   advance               In   most cases reporters will not




                                                                                                                                                                                                               U SA000808
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say    an interview          is   on    the record              The assumption                   is    that    if   someone          is
                                                                                                                                          talking    to    a reporter               the information is

for   the record        Sometimes out                     of   courtesy             however           reporters should               explain        to   people         who         are not        used     to


dealing       with the press            that       all   Information               could    be used           in    a story




Anonymous Sources                             This        is   information given                 to    a reporter that             can be published but the                              identity of the

source        cannot    be used              For example                   a   district    attorney       might tell          a reporter of plans to move                                for   a mistrial in a
murder case But the district attorney                                      tells   the reporter he or she                   can      use the information                     as long as the

reporter identifies           the source                 only as           one close        to   the    case This way the                   district       attorney          will    not offend

witnesses who             may first          learn about                 the   move by reading                 the     paper


Background                This     is   a difficult            area Generally background                               information is intended                    to    educate                and guide

the reporter in         writing         a story          and the           gist of    the information                can be used            if   the source            is   Identified




A writer should make clear for the reader that the writer is not the original source                                                                        for the         information               For

example an          administrative assistant might                                  brief    reporters              about the colleges              coming          budget           and the
rationale       behind     parts        of   it   so they           will    be better prepared                 for a       news conference                 or    a meeting later                  in the

week




Reporting Standards


Report News             Do Not Make                      It    Leader staff members should                              not put themselves                      in situations that                result    in


their      making   news or in their altering their presentation                                          Leader reporters should not ask questions                                               during

public      question    and answer forums or during                                   public          meetings such as faculty                       meetings               or student            senate
Ask questions           after     the meeting                  or during           intermission




Likewise the           newspaper              generally should                     not intrude          into        news    stories with          such phrases                as told

the   Leader or the Leader has learned


Fairness Any viewpoint                        in a       story must be               balanced          by an opposing                viewpoint            This     does not mean a

reporter should           dig     up    or create              controversy But people                         or    groups     that have          been          criticized          in    a story must

have a chance           to    respond             in     the   same issue


One call to obtain the other side                              of    an issue        is   rarely enough                The reporters              obligation           is   to


present       a true reflection              of the situation



Do not tarnish the Leaders reputation                                       by acquiring          information through                     questionable             means             If   in



an    extreme case the                 editor approves                     an extraordinary way to get information the story will explain                                                         how the
information was obtained                          and why           it   was gathered            that    way



Cultural Sensitivity                    Be sensitive                to     the concerns          of members of other                      minority groups                   Realize            that   not   all



people        celebrate      the       same holidays or have the same values                                           Try    to   stay abreast             of    the events               that   are going

on    in
           your sources lives                 no matter what race                          religion     or sex



As a forum for a diverse                     community the Leader                           cannot       afford        and    will    not tolerate              prejudice           from

its   staff    Racial   slurs sexual                   harassment and                 similar discriminatory                   misconduct                will    be grounds               for    dismissal




                                                                                                                                                                                                                  U SA000809
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                                                                                                                                                                                                                       1




Direct    Quotes Except                        for   minor grammatical                       errors in         the    speech          of    ordinary persons quotations                          are not          to   be

altered      The Leader does correct                               minor errors              that    might otherwise                   take    on undue importance                       or cause           the

speaker      to   look foolish                 Mispronunciations                      rarely should             be    used even              for color        as they tend              to    make a

speaker      appear           inarticulate




Verification            in general              do not quote from                      news releases other papers                              stories       or news         broadcasts              without

verifying    the Information                    or attributing            it     Leader reporters are expected                                to verify      information In              news        releases

and then      rewrite         the releases                 Information                from another             newspaper               should      be identified as being from that

newspaper Reporters                       should           try    to   get quotations                directly from             the source          instead         of quoting           from prepared

statements         If   quotations              are taken              from prepared                 statements the story should say so When                                             covering          a

speech reporters should                         try to      get        a copy of the text                 to   quote the         speaker           accurately          and       talk    to   the   speaker
afterward     for elaboration                   about        specific           points



Obscenities Obscenities                              and    vulgarities               should        not   be used simply to add color or humor Use them

sparingly     and only when imperative to give a full                                           portrayal            to   the reader           The number of listenersone or two

reporters as       opposed            to an auditorium                         full   of   people often enters                       into    news judgement in questions                            of


obscenity         The    editor or assistant editor decides                                    whether           to   use questionable                  language




Newsroom Management

Personnel The                 editor       handles           all      problems in the                news department Any staff member with a complaint

or   scheduling         conflict     should            talk to         the editor Suggestions                         are      welcome



Mail    Boxes Staff members will have mailboxes for messages                                                                   and assignments                 Staff       members should

check    their     mailboxes several                       times a         week They                 also should               not   let    papers      accumulate               in their     boxes



Phones        Personal          longdistance                     calls    will        not   be tolerated Making such                           call    Is   grounds         for   dismissal           All


longdistance            calls    are       to    be logged on the out going telephone                                           log



Travel      Travel       must be approved                          by the editor Most                     travel      should         be authorized            first    by the Indian

Leader Association



Materials         The Leader                   provides          staff with           a computer and other materials to layout the paper The

Leader      does not provide notebooks


Office    Access              Navarre           Hall   is    open from 85                    pm       Staff     members are expected                          to   organize             their time


to reflect    these          hours        If
                                               you need               in the      building          beyond       specific        hours         the time needs               to    be arranged              in


advance       This       is   for Leader staff                   and yearbook                 activities        onlyTecumseh                   Hall    is
                                                                                                                                                            open      at    various          hours

A key to Tecumseh                and to the Leader office will                                 be available               to   staff    at   the   front     desk      of the library


Staff   must sign keys               in    and out               In    the event            a staff       member forgets                   to return    the key        to    the    library     the

Editor   or sponsor             must be notified                       A lost key charge of $200 will be submitted to the business office
under a staff           members account                          for lost       keys


Maintenance              The newsroom                      should         be clean            all   the    time The public                   faculty        and administrators

frequently visit             and the newsroom                          must project every aspect of professionalism                                           Reporters            and        editors


are expected            to   clean     up around                 computer              terminals Otherwise loose notebooks                                            and belongings                will


be thrown         away




                                                                                                                                                                                                                            USA00081   0
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Smoking      is   prohibited        in   the building         This includes        the   newsroom and other offices Keep                     food   and

beverages         away from the terminals                 Staff     members will         be responsible for any damage                 they cause        to

them


Newsroom Conduct                    Staff   members should act as professionals In the newsroom Less than

professional behavior           will      not   be tolerated and            is   grounds    for   dismissal      Alcohol    and substance           abuse     will



not    be tolerated    and     is    grounds       for   dismissal




Newsroom Procedures

Deadlines         They must be met The Leader reporters are to complete their assignments on deadlines                                                        given   by
the editor    To meet our responsibilities deadlinesneed to be staggered Failure to meet a
deadline     on schedule        is
                                         grounds    for dismissal




Style The Leader uses                    The Associated Press Stylebook                     In    addition   a   Leader     style    guide   at   the   end of
this   pamphlet explains the newspapers exceptions


Datelines     and Bylines A dateline                     is   not   used on a byline unless the reporter was actually at the place
named      in the   dateline    and provided             a substantial           part   of the information in the          article   from that     area


Staff Meetings          Staff       meetings       are held twice a              month Meetings         should     last    no more than 30 minutes The

meetings are for the           entire      staff   Attendance          is   mandatory




                                                                                                                                                                           USA000811
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Style Supplement




AIDS People do                not die    of   AIDS         they    die   of   complications            of   AIDS


Black Use when African American                              is
                                                                  inappropriate              or inaccurate         Capitalize In      all   Instances        when
referring to         people        of African      ancestry



Board of Regents                    Use Board of Regents                  on first       reference          then    Regents No apostrophe                   in
                                                                                                                                                                 any usage


chairperson Do not use chairman                              or chairwoman                   When      possible construct            the    sentence        with   the verb    to
head     instead       of chairperson                For example           John Doe who heads                       the   HIJC student         board

cities    In   Kansas Do not use Kansas                            or   Kan    after         Kansas     towns unless they are                likely   to    be confused       with

big cities     in other       states      such as Minneapolis                   Kan and Kansas                 City       Kan


coed do not use coed to refer to a female student More descriptive                                                   uses of the word are acceptable coed

softball     coed residence              halls



departments             Athletic       Department           is
                                                                  uppercase but dont                   capitalize     academic        departments            department        of


history unless          a     word normally would                  be capitalized             department           of English      department of History
Governmental            departments              appear as you normally see them Department                                       of the    Interior




grade point average                     on first     reference then             GPA


Coffin     Sports Complex on first                         reference the            Complex


homecoming               It   is
                                   Homecoming              Day     but   homecoming


Haskell        Indian         Nations      University When                    referring to       Haskell      Indian      Nations      University          use Haskell



Identification          Faculty         members are               identified       as   thus Rhonda           LeVaido       Instructor       of   Media
Communications Professors who hold distinguished or named professorships should be identified                                                                         with

their complete titles Thus John Doe professor emeritus of history


Haskell    students           are    identified      thus John Doe                 Creek         Tulsa      freshman        Put    tribal   affiliation     in



But individuals should                 always        be identified        in   a   manner most appropriate                   to    the context        of the story



The Indian            Leader Leader on second                        reference




names On second                    reference         normally use a            persons          last   name    only       First   names may be used on second
reference       in    stories about        children         under the age of 10                 In   stories about         several     people with          the    same last
name use first and last names                         to   avoid confusion



newspaper             names          Italicize     names of newspapers                       and other publications


quotes Avoid using colons                       to   Introduce          quotes


Representatives                    and Senators             refer to     AP Stylebook


semesters When followed                         by a year the season                    is   capitalized      For    example         Fall    1989 However             fall



semester is lowercase


senators        Identify       student        senators       by the groups              they represent or by              their position       in   Senate
whichever        is   more important John Doe Blalock senator




                                                                                                                                                                                     USA00081   2
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sheriffs office              Douglas       County       Sheriffs       Office    on first       reference   then   sheriffs   office   Refer        to

deputies      as deputy          sheriff




streets       Use AP Stylebook



theater Use this             spelling      except      for    proper    names


time The order is time day place                             10   am Friday          in   141   Ross Hall


titles   In   the   title    of a book a       lecture       or a play    dont       capitalize     an article     a an the the to of an                   infinitive     a

preposition with fewer than                  five    letters      or   and as but if nor or unless the ward                      is   the   first   or the    last word

of the   title   Capitalize the           titles    of all    publications



United States               Except   in    quotes      or editorial      page copy change America to United States                           and American used
as              US vvhereever the meaning
     an adjective           to              the nation not the hemisphere However be
                                                                                is                                                                       reluctant   to


change American used as a noun   US citizen the meanings are not necessarily synonymous
                                                         to




                                                                                                                                                                              USA00081   3
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BUREAU OF INDIAN AFFAIRS MANUAL                                 62   BIAM

                       EDUCATION


POST SECONDARY       APPENDIX FOR BIE STUDENT           BANKS




                                                                           USA00081   4
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                   62   BIAM 71
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT                                      BANKS

                               7 POST SECONDARY SCHOOL ENTERPRISES



 73 Post Secondary School Enterprises


     A         Enterprise   accounts will be dual controlled             Including    but not limited to

               reconciling cash drawers recording               daily deposits and receiving     inventory
     B         Enterprise   accounts will be required           to   submit monthly income statements          to   be
               retained in the student     bank
     C         Enterprise   accounts are prohibited from obtaining             credit   lines   ie may not
               order any goods or supplies on credit

     D         Independent     daily reconciliation of cash register ending cash and credit receipts

               to sales at end of business     day
     E         Independent     controls   on inventory will be maintained
     F         Excess cash will be deposited daily




BUREAU OF INDIAN AFFAIRS MANUAL                                                                   62    BLAM 86
                     EDUCATION
POST SECONDARY APPENDIX FOR BIB STUDENT BANKS



86        Group Funds of Older Students in Larger Schools


          131         Post Secondary      Sponsorship

 The sponsorsponsors           shall   be responsible for conducting          the activities in conformance

with the plan of operations but            shall   require the students to carry out the operation             The

sponsorsponsors           shall not   be required   to   handle or account     for activity funds       but should

give adequate         instructions    and supervision     for
                                                                proper handling      and accounting     of funds

by the designated student officers ie secured lock boxbag or locked drawer


The sponsorsponsors            of a club should be a school employee              However       the official   in

charge    of the school has the authority to designate a non employee to be a sponsor as

long as   it   is   stated in writing and submitted        to   the Student   Bank




                                                                                                                         USA000815
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                  62 BIAM     86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIE STUDENT                                      BANKS



 C1 a       Post Secondary Plan of Operation



 IA A written plan of operations                  is   required for   ALL organizations   that have   an account
 at the Student Bank            Every TWO years your organization will be responsible for
 submitting a new plan of operations                   unless changes   are made   In this case a new plan of

 operations       is   due immediately


 A Plan of operations shall be written and approved by members of each organization
 This plan shall state the title          the purpose membership eligibility          and requirements and
 details    of operations       such as election of officers schedule of meetings fundraising and

 production        activities   exact use of funds or product           and the accounting   system     The plan
 must include provisions for payment of withdrawals that are outstanding                       after the   duly

 elected officers have          left   school   Provision shall also be made for and audit of the clubs

 account     if   the sponsorship       changes    during the school year



 The plan of operations once              finalized will then need to be approved         and signed by the

 following


 STUDENT CLUBS                                                 CAMPUS ORGANIZATIONS
 University President                                          University President
 Chief of Finance                                                        Chief of Finance
 VP of University Services                                Immediate Supervisor
 Student Senate President



 The Student Bank reserves the right to request a new plan of operations                     at   any given
 time




 Note      A plan of operations shall not be required of a school group which organizes
 temporarily to raise funds            by means of one project




                                                                                                                   USA000816
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                  62   BUM 86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIE STUDENT BANKS




       F    Post Secondary       Signature      Cards



 1    All clubs      organizations and committees          must have a signature card on file           at   the

 Student     Bank before any business can be conducted               A student club will have four
 officers    and two sponsors         A Campus OrganizationCommittee will need to have the
 minimum requirement of three signers


 If a member resigns a copy of any letters of resignation                 must be turned      into   the Student

 Bank       If
                 any other changes    occur such as adding a member deleting a member or
 changing the organization name or closing the account                    then a new signature         card needs
 to   be signed and meeting minutes must be provided                stating     the new information



 A new signature card will be submitted every school year regardless of changes                          or no

 changes



 Only the signers on this card will be given account               information with the exception             of the
 official   in charge requesting        a balance




      G POST SECONDARY MEETING MINUTES
 All Student clubs must provide               meeting minutes when presenting a bank withdrawal

 request         They should be neatly typed        contain the names of members present at the


 meeting and outline the unanimous                authorization   of funds from the clubs account



      FL    POST SECONDARY DEPOSITS




The    Student      Bank will fill   out the pre numbered deposit slips for           ALL clubs
organizations        and committees           Make sure that whoever      is
                                                                               presenting   the deposit has
counted the deposit items and            is   aware of how much     is   being deposited       The bank will
retain the original white copy and the duplicate              yellow copy will be returned to the club
organization or committee for their records



Any funds being          deposited into the Student      Bank must have a credit reason              This    means
the source in which         the funds   came from Extaco           sale donation       etc This information
will be documented          on the deposit slip for audit and referral purposes




                                                                                                                       USA000817
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                                 62 BIAM        86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT BANKS



 The       Student       Bank does NOT          accept       personal   checks     If a club   organization        or

 committee accepts              personal checks             and said check      is returned   as unpaid for any reason

 the club       organization or committee                   will be charged for the amount of the check                 and any
 fee associated with the transaction                        The check    will   then be returned to the club for

 collection



 If you have            an abundance         of coin that will be deposited          the club organization           or

 committee              will be responsible         for
                                                          rolling
                                                                  the coin in the proper increments              The bank has
 coin wrappers             available    upon request




       I     POST SECONDARY WITHDRAWAL                                    REQUESTS
 A withdrawal request is a form that a club organization                             or committee         can pick up at the
 Student      Bank for the purpose of withdrawing                       funds from their account            Each withdrawal

 is   numbered and can be used for either a cash withdrawal or check                              withdrawal or both             If

 more than one check              is   requested          attach   another sheet of paper and      list    all   additional

 checks      needed



 All withdrawals require               TWO signatures One signature                   is   the sponsor and the other

 signature         is   an authorized        signer per the signature card or plan of operations                   Campus
 organizations            will require two authorized              signers per their signature card




 If your club            organization or committee fills              out a withdrawal request for a check                the

 check      will    be available       the   NEXT business day             Invoices    should accompany            these

 requests



 If   a check      is    being requested for reimbursement purposes the receipts must accompany

 the withdrawal request                 Reimbursements             are done by check       ONLY

 Purchases should             NOT be made prior to requesting a withdrawal form from the Student
 Bank The proper procedure                     is   to    get the withdrawal request for funds and then if those
 funds are exceeded              a reimbursement will be deemed necessary



IMPQBTANT

ANY WITHDRAWAL   REQUEST THAT HAS NOT BEEN CLEARED WITHTN 30
DAYS WILL CAUSE THE CLUB ORGANIZATION OR COMMITTEE ACCOUNT
TO BE SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
NO EXCEPTIONS it




                                                                                                                                      USA000818
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                62 BIAM        86
                      EDUCATION
 POST SECONDARY APPENDIX FOR BrE STUDENT BANKS




      J   Post Secondary    Receipts




 When a withdrawal is made from a club               organization   or committee          account    the person

 that signs for the cash or checks          will be held accountable       for supplying the

 receiptsinvoices that prove the funds were used for the purpose intended                      as stated   on the
 withdrawal request      The date and purchased items on the receipts MUST                     correspond
 with the information on the withdrawal request



 If there are several receipts they    MUST be neatly taped onto a sheet of paper to ensure
 proper verification     The bank will  NOT accept them otherwise If receipts are lost the
 person that signed the withdrawal request will be held accountable                   for either obtaining

 another receipt or paying the cash to clear the withdrawal                NO HANDWRITTEN
 RECEIPTS WILL BE ACCEPTED


 Receiptsinvoices      should equal the amount withdrawn from the account                     If the

 receiptsinvoices   equal less than    is   stated   on the withdrawal request then the remaining
 cash needs to be deposited back into the club organization                or committee       account      If the

 receiptsinvoices equal    more than stated on the withdrawal                  the club   organization or

 committee can request another withdrawal for a reimbursement


 All receipts presented to the Student        Bank must be for the purpose stated on the
 withdrawal request Le if a gas receipt         is   presented and   it   is   not listed as the purpose for

 the use of the funds then this receipt will         NOT be accepted




 BUREAU OF INDIAN AFFAIRS MANUAL                                                                62   BIAM 87
                      EDUCATION
 POST SECONDARY APPENDIX FOR BIE STUDENT BANKS



 87       School Banks


 C        Funds in School Bank



          LA     Post Secondary Personal Funds
 All students are encouraged    to open and maintain an account                 with the Student Bank




                                                                                                                    USA000819
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 BUREAU OF INDIAN AFFAIRS MANUAL                                                                            62    BIAM 87
                      EDUCATION
 POST SECONDARY APPENDIX FOR BE STUDENT BANKS



 A signature card is required to open an aecetunt                        The purpose of the signature card is to
 have the information needed                  to contact a student of monies not claimed at the end of each

 school year              Immediate and aggressive action            shall   be taken to locate the depositor and

 forward the balance of the account                      For amounts of $100 or less one attempt shall be
 made to locate the depositor                 If   the depositor    is   not located the account         may be closed
 by transferring the balance to the general student activity fund subject to claim and

 payment any time requested by the student                         For amounts of more than $100                  locator

 action    shall be        actively    pursued for a reasonable period in relation to the amount after
 which the balances               of such accounts       may be disposed of in the same manner as those of
 less than          a $100     Payment of all claims from individual depositors against this fund shall
 be subject to approval of the official in charge of the school



 There is no minimum balance to open an account                            This    is
                                                                                        your money     that the    Student

 Bank     is   responsible         for safekeeping       There are   NO fees minimum balance                or    ATM
 cards You can take your account                    to   a zero balance and        it   will remain open    for deposits

 and withdrawals             throughout the school year


 You will receive monthly                statements and you can request a statement at any time



 NOTE The Student Bank does NOT accept personal checks

 F1 Post Secondary Safekeeping Facilities


     1     Note           All vault openings will        be by accomplished             by two   distinct staff
                                                                                                                  persons

               inputting     their    uniquesecure       passwords simultaneously Both parties will witness
               the opening sign off on vault transactionsbalances                          and both will stay until vault
               is   re   closed
     2         At start of business day Lead bank teller will withdraw estimated daily cash

           requirement for teller             drawers out of vault including some amount of spare change

           rolls

     3         Immediately after beginning vault balance and                      teller   drawer amount     is   verified by

               backup      staffteller     The vault      will be shut and stay closed until the end of the

               business day unless bank receives a cash delivery or needs to make a deposit to

           Douglas County Bank The vault can be opened                             again briefly if there     is   an
           unforeseen             rare cash    shortage in Teller drawers

    4      Vault will         be opened at end of business day to store operating cash and                         teller

               drawers End of day vault balances will be verified and signed again same as
               above




                                                                                                                                USA000820
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                      EDUCATION
 POST SECONDARY APPENDIX FOR BIB STUDENT                           BANKS



  G11aPost     Secondary Statements to Depositors


  Statements will    be sent to the sponsor and    their
                                                           respective   managers each month The
  managers   will   be responsible for reviewing club bank statements in which       their


  employees are sponsors andor signers


  Managers   will   be responsible   for   periodically reviewing withdrawals to maintain

  accountability    of their respective department



  A statement will be available upon request at any time


                   CREDIT LINES ARE PROHIBITED




                                                                                                   USA000821
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             HASKELL INDIAN NATIONS UNIVERSITY
             POLICIES AND PROCEDURES FOR


                         STUDENT BANK

                   HOURS SUBJECT TO CHANGE


                         900AM400PM




                                                                          U SA000822
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                                PURPOsg


 The Student Bank          shall provide   for the deposit and withdrawal          of

 personal and group funds



 Students shall be encouraged         to   open and maintain       personal

 accounts    in the   Student   Bank for the purposes of learning how to
 use bank services and safekeeping           of personal funds        Students

 who may have personal funds in sufficient amount to warrant it
 shall   be encouraged to transfer their accounts            to a bank   off campus



 All group funds derived from class projects student associations

 or other types of group activities        shall   be deposited and expended

 through the school        bank These organizations          shall be subject to

 the official   supervision of the official        in   charge of the school or a
 designated     official   ie sponsor



 All clubs organizations         committees and enterprise accounts           shall

 be under the official      supervision of the officer in charge of the

 school




                                                                                        U SA000823
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                           PLAN OF OPERATIONS

 A plan of operations is required for ALL organizations that have
 an account       at the   Student   Bank   Every   TWO years your
 organization will be responsible for submitting               a new plan of

 operations unless changes           are made    In this case a new plan of

 operations      is   due immediately



 A Plan of operations shall be written and approved by members of
 each organization           This plan shall state the title    the   purpose
 membership eligibility          and requirements and     details of operations

 such as election of officers schedule of meetings                fundraising   and

 production       activities   exact use of funds or product and the

 accounting       system The plan must include provisions              for payment

 of withdrawals        that are outstanding after the    duly elected     officers

 have   left    school     Provision shall also be made for and audit of the

 clubs account        if the sponsorship    changes   during the school year



 The plan of operations once           finalized will then need to be

 approved and signed by the following


 STUDENT CLUBS                                      CAMPUS
 ORGANIZATIONS
 University President                               University President
 Chief of Finance                                   Chief of Finance

 Student       Senate President                     linmediate Supervisor



 The Student Bank reserves            the right to request a new plan of

 operations      at   any given time




 Note A plan of operations                  shall not be required of a

 school group which organizes temporarily to raise funds

 by means of one project




                                                                                      U SA000824
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                                 SIGNATURE CARDS

  All clubs organizations and committees must have a signature card on file

  at the Student    Bank before any business can be conducted       A student club
  will have four officers      and two sponsors    A Campus
 OrganizationCommittee           will   need to have the minimumrequirement of

 three signers



 If a member resigns a copy of
                               any letters of resignation must be turned into
 the Student      Bank    If any other changes   occur such as adding a member
 deleting a member or changing the organization          name or closing the
 account    then a new signature card needs to be signed and meeting minutes

 must be provided        stating the   new information


 A new signature card will be submitted every school year regardless of
 changes or no changes


 Only the signers on this card will be given account        information with the
 exception of the official      in charge requesting a balance



 The   official   in charge   of the school has the authority to be the second signer

 on a withdrawal request in an emergency           Exsponsors     are out of town




                                                                                        U SA000825
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                              SPONSOR$

 The sponsorsponsors         shall be responsible for conducting       the

 activities   in conformance       with the plan of operations but     shall

 require the students to carry out the operation         The

 sponsorsponsors         shall not   be required to handle or account     for

 activity   funds but should give adequate        instructions   and

 supervision for proper handling and accounting           of funds by the

 designated    student    officers



 The sponsorsponsors of a club should be a school employee

 However      the official   in   charge of the school has the authority     to

 designate a non employee to be a sponsor as long as it           is   stated in

 writing and submitted to the Student          Bank




                                                                                   U SA000826
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                         MEETING MINUTES


 All Student clubs must provide meeting minutes when presenting a

 bank withdrawal request     They should be neatly typed    contain the

 names of member present     at the   meeting and outline the
 unanimous authorization of funds from the clubs account




                                                                          U SA000827
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                      V4ITJjDRAWAL                REQUIE31FS



 A withdrawal request          is   a form that a club organization or

 committee can pick up at the Student               Bank for the purpose of
 withdrawing funds from their account                 Each withdrawal         is


 numbered and can be used for either a cash withdrawal                      or check

 withdrawal or both       If    more than one cheek            is   requested attach
 another sheet of paper and list          all   additional     checks    needed


 All withdrawals require            TWO signatures            One signature   is   the

 sponsor and the other signature           is   an authorized signer per the

 signature card or plan of operations              Campus organizations will
 require   two authorized signers per their signature card


 If your club organization           or committee     fills    out a withdrawal

 request for a check      the check      will be available the          NEXT business
 day   Invoices should     accompany            these requests



 If a check   is   being requested for reimbursement purposes the

 receipts must accompany             the withdrawal     request         Reimbursements

 are done by check      ONLY

 Purchases should      NOT be made prior to requesting a withdrawal
 form from the Student         Bank The proper procedure is to get the
 withdrawal request for funds and then               if those       funds are exceeded

 a reimbursement will be deemed necessary



 IMPORTANT

 ANY WITHDRAWAL REQUEST THAT HAS NOT BEEN
 CLEARED WITHIN 30 DAYS WILL CAUSE THE CLUB
 ORGANIZATION OR COMMITTEE ACCOUNT TO BE
 SUSPENDED AND NO ACTIVITY WILL BE ALLOWED
 NO EXCEPTIONS




                                                                                         U SA000828
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                                RECEILSf



 When a withdrawal         is   made from a club     organization or

 committee account the person that signs             for the   cash or checks

 will   be held accountable        for   supplying the receiptsinvoices       that


 prove the funds were used for the purpose intended                  as stated on the

 withdrawal request         The date and purchased       items on the receipts

 MUST correspond with the information on the withdrawal                      request


 If there are several             MUST be neatly taped onto a
                          receipts they

 sheet of paper to ensure proper verification The bank will NOT

 accept    them otherwise         If receipts are lost the person that signed

 the withdrawal       request will be held accountable         for either

 obtaining another receipt or paying the cash to clear the

 withdrawal          NO HANDWRITTEN               RECEIPTS WILL BE
 ACCEPTED

 Receiptsinvoices        should equal the amount withdrawn from the
 account        If the receiptsinvoices      equal less than   is   stated on the

 withdrawal       request then the remaining cash needs to be deposited
 back     into the   club organization or committee account If the

 receiptsinvoices       equal    more than stated on the withdrawal          the

 club organization or committee can request another withdrawal                       for

 a reimbursement



 All receipts presented         to the   Student Bank must be for the purpose

 stated on the withdrawal request            ie if a gas receipt is presented
 and it   is   not listed as the purpose for the use of the funds then this

 receipt will     NOT be accepted




                                                                                           U SA000829
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                                1EbDfENLG


                         must be approved by the clubs
 All fundraising activities

 membership and so stated in the minutes All of the proceeds from
 the fundraising     activity   must be deposited       into the    club

 organization or committees account              at the Student      Bank as soon
 as possible




 The student    activities   authorized     by their approved       plans of

 operation to conduct        entertainments      concerts    athletic   events etc
 shall charge out    pre numbered admission tickets            issued in

 numerical sequence         to the   individuals designated        to sell tickets

 Season   tickets   shall   be serially numbered and a record kept of all

 sales    Total proceeds        of such   activities   including    those acquired

 as profits   from enterprise activities       such as sporting events          shall

 be deposited as received by the treasurer of the association                 or by

 other individuals    authorized to make deposits




                                                                                        U SA000830
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                              DES SITS


 The    Student   Bank will   fill   out the pre numbered deposit slips for

 ALL clubs organizations and committees Make sure that
 whoever    is   presenting the deposit has counted           the deposit items

 and is aware of how      much is being deposited             The bank     will retain

 the original white copy and the duplicate yellow copy will be

 returned to the club organization or committee for their records



 Any funds being deposited            into the   Student   Bank must have a
 credit   reason    This means the source in which the funds came

 from Extaco sale donation etcThis                     information will be

 documented       on the deposit      slip for audit   and referral purposes


 The    Student   Bank does NOT accept            personal checks        If a club

 organization      or committee accepts          personal checks       and said check

 is   returned as unpaid for any reason the club organization or

 committee will be charged for the amount of the check                    and any fee

 associated with the transaction           The check       will then   be returned to
 the club for collection



 If   you have    an abundance       of coin that will be deposited the club

 organization      or committee will be responsible for rolling the coin

 in the
          proper increments The bank has coin wrappers available




                                                                                        USA000831
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                             usIALILLEAccIluALrs


 Accounts which do not reflect any activity        for   a period of one year

 are considered   inactive   and the funds will be transferred upon

 approval of the official    in   charge of the school   to   an activity

 account



 The exception to this rule would be if the approved plan of

 operations for said club organization or committee has stated

 contrary provisions




                                                                                U SA000832
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             MONTHLY BANK STATEMENTS

   Statements will be sent to the sponsor and their respective

  managers each      month The managers     will be responsible for

  reviewing club bark statements     in   which   their employees    are

   sponsors andor signers



  Managers   will be responsible for periodically reviewing

  withdrawals   to   maintain accountability   of their respective

   department


  A statement will be available upon request at any time


             CREDIT LINES ARE PROHIBITED




                                                                           U SA000833
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                               ENTERPRISE ACCOUNTS

Enterprise accounts         must follow     all   policiesprocedures       set forth   by the Student
Bank The day to day management                    of any enterprise     account   shall   be under the
direction of the official       in charge   of the school or a designated          official    Care shall

be taken      to ensure that   such enterprises do not interfere with the designated                  mission
of the school the education         program          Each program shall comply with applicable
health and safety standards



It   is   the responsibility of the person in charge of the enterprise account                to provide

monthly operations          statements to the Chief of Finance             These reports will be

reviewed then retained in the appropriate file                in the   Student   Bank


Monthly credit card receipts will be turned into the Student Bank                        for credit




Cash drawers        will   be dual controlled      at the   end of each business day and a balance

sheet will be submitted with the daily deposit to the Student                     Bank


An inventory tracking log must be maintained to reflect all inventory received
Inventory balances         must be performed monthly and confirmed                 via inspection       Two
signatures      ARE required to maintain integrity of internal controls




                               CREDIT LINES ARE PROHIBITED




                                                                                                U SA000834
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                         PERSONAL STUDENT ACCOUNTS




All students are encouraged             to    open and maintain an account with the
Student       Bank


A signature card is required to open an account                  The purpose of the
signature      card   is to   have the information needed to contact a student of

monies not claimed at the end of each school year                   Immediate and

aggressive      action   shall   be taken to locate the depositor and forward the

balance of the account            For amounts         of $100 or less one attempt     shall    be

made to locate the depositor             If the depositor is not located        the account

may be closed by transferring the balance to the general student                    activity

fund subject to claim and payment any time requested by the student                         For

amounts of more than             $100   locator action      shall be actively   pursued for a
reasonable period in relation to the                amount after which    the balances of

such accounts         may be disposed of in the same manner as those of less
than a $100           Payment of all    claims from individual depositors against

this   fund    shall be subject    to approval of the official      in   charge of the
school



There    is   no minimum balance             to   open an account This is your money that
the Student      Bank is responsible for safekeeping There are NO fees
minimum balance           or   ATM cards You can take your account to a zero
balance       and it will remain open for deposits and withdrawals throughout

the school year



You will receive monthly statements and you can request a statement                       at

any time


NOTE The Student Bank does NOT accept personal checks




                                                                                                U SA000835
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                                            Haskell    Indian Nations          University

                                                Indian Leader Association




        Purpose
        The purpose of the Indian Leader Association                      is   to   provide    a media outlet to serve the

        Haskell       Indian Nations       University campus and the local community by connecting

        mainstream or local news and              cultural      issues across        Indian    Country to the Haskell

        campus and community The Indian Leader the oldest Native                                   American Student

        newspaper        is   an independent student media outlet of Haskell                      Indian Nations      University

        and    will   also serve the student body by communicating                      important information that

        impacts student academics and campus life



        The Indian Leader will produce                 a minimum       5       issues per semester unless authorized                by
        the Indian Leader Association               Executive     Board consisting             of consensus       ruling and

        authorized by the Indian             Leader Association         Advisor



        The Indian Leader Association                 is   published   by the students of Haskell             Indian Nations

        University       The newspaper exercises their individual rights to free speech and freedom of

        the press guaranteed by the First                  Amendment      Rights have been expressly recognized                     as

        rights which          individual students enjoy who attend Bureau of Indian Affairs school in

        Part 42 of Title 25 of the           Code of Federal Regulations Students                       Rights and   Due Process
        Procedures       25     CFR 423 e f 1998 These basic rights have also been reaffirmed in
        Part   II   of the Code of Student Rights and Responsibilities                        of Haskell    Indian Nations

        University      1998

II      Goals

        The goals of the Indian Leader Association                     will be to seek the truth and report the facts

        for the betterment         of Haskell    Indian Nations         University and          its   students    The Indian

        Leader Association          will initiate     ethical   standards while reporting on issues related to the

        student body          of Haskell    Indian Nations       University



        The Indian Leader Association                 will   welcome     all    interested     students    that   would   like to


        participate



        The main goal is to promote Native American issues and provide an outlet                                    for those

        stories to     be told and     to   provide    the Haskell      Indian Nations          University with accurate

        reporting while maintaining awareness                   of Journalism ethics and standards



III     Faculty       Advisor

        One or more faculty advisors may be appointed by Haskell                                 Indian Nations      University to

        assist students in the publication of The Indian Leader




              The faculty advisor may freely advise and                   instruct     student editors and reporters in the

               subject of journalism and relevant professional                      standards     comment and        critique   the

              product    of student journalists and offer              fiscal    and technological         guidance to the




                                                                                                                                         USA000836
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     Indian Leader Association             The advisor may provide                what assistance       needed    to


     produce the Indian Leader newspaper


     A faculty advisor may make non binding recommendations                                 to the student editors

     which the student editors           may in their sole discretion take into consideration                         in the

     free exercise of the independent            editorial judgment              Although a faculty advisor of the

     Chapter may freely offer advice            or assistance         to   the student     members of the Chapter
     neither the faculty advisor nor other Haskell                   officer     or employee has the right to

     censor       modify in   any way      the content the Association                 produces


     Newsroom        Policy

     The publication        titled   The Indian Leader Newsroom                       and Management Guidelines

     will   be policy for The Indian Leader newspaper                      The Indian Leader operates             in the

     same capacity as a business            therefore everyone will                be accountable for following

     regulations      and procedures



     The Indian Leader Association             receives    13 of the Student Activity Fee and divided

     among        other groups Student Activities          13 and Campus Activities                Association          13
     The financial backing of the Association               is   kept within the Haskell               Student   Bank and
     must follow banking procedures of the institution                          The organization       must follow

     banking policies under the supervision               of the Haskell              Student   Bank    The monetary

     budget must reflect only with supplies events newspapers                              magazines or a direct cost
     of the Indian Leader Association               and not a subsidiary group or division The money

     set forth     toward the Association       will   be authorized for withdrawal under the

     supervision      of the Haskell banking staff



     The Indian Leader Association             is   also under the Haskell              NAJA Native        American

     Journalists     Association        Student Chapter The Haskell                   NAJA Student Chapter allows
     each branch to use money obtained for the chapter for supplies related                               to   each

     identified     field   Indian Leader     print Haskell News videomultimedia


     The Indian Leader Association             will    allow   its   active     members with the use of
                                     voice recorders etc       However           if   the student does not return the
     equipment cameras

     property of the Indian           Leader Association       then the penalty amount value of the

     equipment will be charged             to the students        account        via the Haskell       Business Office

     with the approval        of the Indian Leader Association                  advisors


     There will be no misuse of the equipment which                        is   the sole property of the Indian

     Leader Association under the supervision                    of the Indian Leader Executive                 Board     If


     there   is   a discrepancy      of misusing equipment            or the mistreatment of a fellow             member
     then the student breaking           the procedures of the Association                 will revoke hisher

     membership with the authority of the Editor and Assistant Editor only and will be
     asked not to participate          the rest of the fiscal        academic year




                                                                                                                               U SA000837
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     If   an Indian Leader Association          Executive     Officer does not follow             the procedures of

     the Association then a majority vote of the active                  members will        take place

     nominated by the Advisor only



     Editor In Chief

     Requirements       must be       in good   academicsocial          standing with at least two semesters

     of Indian Leader experience



     Duties

               Direct and supervise all Indian Leader functions

               Sets semester deadlines with faculty advisor

               Schedules    and conducts        weekly     staff meetings



               Does chief reads on all copy before web and                 print      publication

               Checks   stories   for legal and ethical        concerns

               Administration     of The Indian Leader webpage


               Prepares layout


               Prepares final copy and distributes            to    Assistant   Editor and one

               other Executive     Officer for proofing


               Sends   final   copy to printer
               Reviews and approves payroll

               Represents The      Indian Leader on campus and in the                   community


     The Editor will also be President of the Haskell NAJA                       Student Chapter The Editor

     may not vote during business meetings and will                    only vote during a tie breaker



     Assistant Editor

      Duties

               Supports the Editor in all Indian Leader functions

               Does 2      reads on all copy before          web and print publication
               Assists Editor with      The Indian Leader webpage administration
               Maintains    advertising      rates   and   fields   advertising       inquiries

               Coordinates     circulation    and newspaper delivery to the following                  areas of

               campus
                  o   Navarre      Hall Post office area student bank area admissions Haskell

                        Foundation      offices      the Presidents office the Registrars office              the

                        VP of Academics          office and fmancial            aid

                  o     Coffin Sports complex

                  o     Sequoyah Hall The Student Success Center Deans office                           across the
                        hall   from   SSC math department              north end of building and science

                        department      middle east side
                  o     Ross Hall humanities           office tables on both sides of building              Deans

                        office and offices        in far   NE corner of building
                  o     Pontiac Hall




                                                                                                                      U SA000838
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                  o   Parker Hall Lobby          area department of education offices and                      MS
                      wing
                  o   Taminend Hall
                  o   Facilities  Management office Winnemucca                         Hall

                  o   Blalock    Hall All common areas

                  o   Roe Cloud Hall All common                 areas

                  o   Curtis Hall lobby

                  o   Tommaney         Hall library including technology                   center and    common
                      areas

                  o   Blue Eagle Hall

                  o   Pocahontas       Hall All   common         areas

                  o   Student Conduct         OfficeMinoka            Hall

                  o   Winona     Hall All     common          areas

                  o   Stidham Union The Eagles Nest                    TRiO Purple Threads             the

                      Counseling Center and Student Senate office
                  o   OK Hall all common areas and student housing offices
                  o   Tecumseh        Hall Student Activities           and Alumni Association              room
                      downstairs

               Responsible for any Editor duties in hisher absence



     The Asst Editor will be required          to facilitate     the fundraising opportunities               for the

     Haskell   NAJA Student Chapter as they arise The Assistant                         Editor     may vote


     SecretaryTreasurer The SecretaryTreasurer                        will   work with the Editor to help keep
     the Indian Leader Association           on budget by maintaining financial records as well as

     providing accurate     accounts       of each meeting


     Duties

               Provides   financial   report at each meeting

               Provides meeting       minutes Minutes          should be prepared and posted to the

               Indian Leader Google drive within 2 days of each meeting                            Notification     of

               posted minutes will be provided           to   news team via email or Indian Leader staff

               Facebook   page
               Payroll management as follows

                      o     The Editor will submit a final copy of the newspaper                       to


                            SecretaryTreasurer       upon submission             to    printer

                      o     SecretaryTreasurer       will      submit prepared payroll to Editor or

                           Assistant       Editor for approval

                      o     Once approved         SecretaryTreasurer            will    initiate   meeting    to   vote   on

                           payroll

                      o     SecretaryTreasurer       will obtain Advisors signature and submit

                           payroll    to   the student   bank
                      o     Once checks       are picked       up from the bank SecretaryTreasurer                     will


                           notify check       recipients      via email or Indian Leader staff Facebook

                           page of wherewhen             to   get checks




                                                                                                                              USA000839
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               Ensures mail    is   picked   up from the post office   and delivered   to   the Indian

               Leader office before each weekly meeting

               Maintains    voicemail box and Indian Leader Gmail providing staff with a

               report of the activity of each at meetings or as needed

               Maintains    Google drive documents
               Receives    and tracks advertising     payments




     Cooperative    Editor   may be vetoed by the Editor In Chief if the decision            sets   the




     Indian Leader WritersReportersActive                 Members Each       student at Haskell        Indian

     Nations    University   may participate      with the Indian Leader Association         Active

     members of The        Indian   Leader are students who contribute      to   the publication      of each

     issue   of the newspaper       OR social mediaweb content




                                                                                                                USA000840
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          Executive     staff listed below      must have one published              article   in each    issue in order to

          receive staff pay




          Pay scale


          Editor                            $    5000 per newspaper
          Asst Editor                       $    5000 per newspaper

          Sports Editor                     $50790perisevespaper
          WebEtliter                        $50700pernewvaper
           SecretaryTreasurer               $    5000 per newspaper
          Student Senate        Rep         $    5000 per newspaper

          Cooperative     Editor            $30000 12 paid midway and                  12 paid    after   project   is   final




          Articles     Web     or print   $05 per word
           Photos      $500 per published photo with the max limit of 3 per article Rate includes
          photos published        on social media Payee must be owner of all photos provided

          Photo Collages          $1500 with permission only
          Other social media content              $500 per published submission of original this
          means created by you creation of video podcast                          radio audio or infographic
          Content will        be reviewed on a case by case basis



          Additional pay        may be authorized        if   the tasks    and duties of members are related                to   an

          officer    status    Officers may be authorized           double pay if they reach more than 30 hours

          with Indian Leader Association           activities       events        and responsibilities Individual pay

          shall    not exceed    $35000 per issue unless approved by sponsor




VI        Use of Funds
          Funds for the operation of The Indian Leader                     will   be used   for the     followin

                         Invoices

                         Office supplies

                         Payroll

                         Campus events conducted               or sponsored by The Indian Leader




          Requests     for reimbursement will be considered                  but as a general rule requests for

          funds should be submitted          in advance        through      executive staff vote          recorded in

          meeting minutes and submitted             to    Haskell    bank for withdrawal



           The individual       staff   member who    signs for bank withdrawals                 will   be the responsible

          party for the full     amount of funds that includes returning receipts                       and unused funds

           Discrepancies       will be the sole responsibility of the individual                 handling    the    monies
          Failure to return receipts and unused funds regardless of whether                             the individual has

           left   campus at the close of the semester             will    result in a hold being        placed on the

          responsible     partys    student account       until   fundsreceipts        are returned




                                                                                                                                  USA000841
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              The         Indian         Leader Newsroom

              Policy              and Management                                 Guide




Credits The policy and management guide       is   adopted   from The   University Daily

Kansas with     permission and modified for The    Indian   Leader Thanks   to   the   Kansas

for their   input and direction




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The Indian Leader
 Newsroom                               Policy                and Management Guide




Introduction

Welcome           to    The Indian        Leader       The Indian          Leader Newsroom Policy and Management Manual                                                           is



developed          to    help orient       students         faculty       staff     and others in the management and production                                                  of The

Indian     Leader



The Indian Leader Newsroom Policy and Management Guide was approved in the Spring of 1993 by the
Indian Leader Association publishers of the Indian Leader and the Haskell Yearbook


The Indian Leader is edited                   and published by students at Haskell Indian Junior College for the purpose of

promoting the free and                  informed  debate and discussion of                             1
                                                                               topics of special interest to Haskell students and

alumni      2      issues of special importance                   to       Native         Americans generally             and     3     all
                                                                                                                                               newsworthy topics and
public    issues of general               interest to       American citizens The Haskell                            Yearbook     is    edited    and published by
students     at        Haskell     Indian    Junior CollegeNations                       University for the          purpose of maintaining records of the
previous      years events


The Indian         Leader Association                 is   committed           to   improving the          ability    of Native    Americans                         to   determine          their   own
destiny     by providing           an open      public forum              in which         all   concerned      citizens     regardless of race                              creed       color       sex
religion    or national           origin might freely discuss the important public issues of the                                         day The members of the
Association believe                that   by providing a public forum readers and contributors                                         alike       will         improve their
understanding of the true                   meaning of leadership                        citizenship       and democracy          in    contemporary American society
through      an open            honest      and fairminded exchange                         of views




Ethics                   and Policy
Standards of conduct                   for staff   members of The Indian Leader are the same as those adhered to by any

responsible professional                    newspaper         They are outlined here as guidelines that staff members are

expected      to       follow




This     policy    manual does not describe every circumstance that could                                              pose a problem                     It    does not answer

every question             that    might arise         Instead       it   is   designed          to   establish general rules that editors reporters                                         and

photographers              are    to   use in reporting the news and producing the newspaper Violation                                                              of    these    standards         can

be grounds             for dismissal




Advance           Viewing
Outside review             of copy        photographs or artwork                    is    not permitted unless           approved             in   advance                  by the

editor     For    some stories such                as those that involve                   complex         scientific   information            a    knowledgeable

source     might        be asked        to verify     the   accuracy           of specific         elements of the story before                      it        is    published          An
entire    story should never                be reviewed        by someone outside The                         Indian    Leader staff Check                                with    an editor

or adviser        about     similar       situations




Conflicts         of Interest The             first    obligation          of staff       members is to perform their assigned Leader duties
To   do so    staff       members or anyone who                   writes            for   the    Leader must be free from any obligation                                          to   any
interest    other than            the publics      right to    the        distribution           of news    and enlightened opinion




                                                                                                                                                                                                       U SA000843
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Staff     members should exercise great care before becoming                                                     involved       in       any political            context         beyond         voting

Under no circumstances                     may a        staff    member work                   for   pay or as a volunteer                              in political         organizations            or

campaigns



If   a   relative   or close      friend    is   involved         in   any         political    activity          a    staff   member should tell                            the editors

and      refrain from      covering        or making            news      or editorial judgments                         about           such       a    campaign or organization
Such precautions should be taken                            on all types of stories or photographs



Because        of the nature         of the      Leader and             its
                                                                              readership               student          politics         and campus                political


organizations          are    even more           likely    to    create       the       appearance               of partiality           than          traditional          political


organizations             Remember that the appearance                                   of bias     is   devastating               to   the    newspapers                    credibility        as   is



actual      bias



Other conflicts               A Leader staff member may not work as a staff member                                                              editor or contributor                      for   any other

publication or news               service       without the            consent           of the      Leader editor              Staff       members who                        wish   to    freelance

periodically        for   other publications also                  must seek               permission             from the editor Any staff member who                                           is   found

hiding      his affiliation    with    another publication also must seek                                        permission from the editor                                  Any staff member who
is   found    hiding      his affiliation        with    another publication                    will      be dismissed



Appearances on radio or television by Leader staff members may be permissible only                                                                                      if
                                                                                                                                                                              reported      in



advance        to   the editor      Remember                however that only the editor may talk as a representative                                                               for    the

Leader



Gifts As journalists the obligations of staff members are clear gather and report the news                                                                                         with vigor          and

compassion and report                 it   without prejudice




Staff     members must not use their positions at the Leader to obtain any                                                               benefit or advantage                      not

afforded       to   the public     generally            Staff     members do not accept                               business related                    gifts   or favors           either at

home or in the office


Staff     members should not accept                        free    rooms sample equipment                                 or goods             of       any kind         Staff


members may not accept                     free trips           Free tickets              or access          to       events    may be accepted                              but only when


special      arrangements           for the       press are necessary The                              press box at sporting events                                is    an example

Editors are responsible               for    making certain               that           advantage          is    not being          taken          of certain          situations           Friends

or guests are not allowed                  to    use Leader passes to events



The Leader pays              for tickets         to   entertainment                 events     that       staff       members are reviewing Books and
records are          accepted       only as news releases and become                                        the property of the                         Leader



Leader members should not accept                                free meals or drinks This does                                 not       mean that             staff         members
cannot       accept       a cup    of coffee          or something             that       can be repaid later Reporters should not however be

wined       and dined while pursuing a story The cost                                      of meals incurred                   in    the course              of   gathering           stories will

be paid by the Leader Generally                            however            it    is   difficult     to   take       accurate           and complete notes while eating



Any travel          must be approved              by the editor and the                      Association



When        in doubt       please follow the              American Society                     of Professional                 Journalists                code of ethics              in   the   back      of

the      booklet




                                                                                                                                                                                                                U SA000844
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                                                                                                                                                                                                               1




Dealing with the public

Courteous and professional treatment                                       is    afforded          anyone      who   telephones or walks                      into   the       newsroom


Telephone            Etiquette              When            taking         messages                be sure to get the correct              name and phone number


Also include         your     name the time and date the                          message was received The telephone is for business use only
Do not leave          this   number              for   personal            messages to be taken by any staff member or the faculty adviser



Complaints Complaints should be referred to the editor If no editor is available take a name and phone
number and tell the person that an editor will call back If a complaint is in any way abusive or the staff                                                                         if




member is threatened                       write a short but thorough                              memo and       give   it   to    the editor



Corrections The decision to run a correction                                                  is   made by the editor When                     the      Leader incorrectly has reported
a story or misidentified                   someone               in   a    photograph               the editor will arrange              for   a correction               to   appear promptly            It




may appear on Page                     1    if   the story was              on Page               1 Otherwise corrections                 will        appear on Page               2 When      talking

to someone who has                         complaint                do not                           mistake      blame anyone
                                       a                                         verify       the                                              agree with anything or promise
anything       Do not give             your personal opinion                            as to what should be done                        Refer the   person to those mentioned
above Any staff member who makes a mistake                                                        requiring a correction            must       fill    out a correction             form and       turn    it




in to   the editor




News Tip When                 readers             call      in   with      news       tips    or photo        ideas staff members are expected to treat them with
courtesy       The     Leader encourages readers to                                        call    or to stop   by the newsroom when they have story ideas Its
a   way for them to let the editors know what they want to see in the paper and those ideas often turn into the
best   stories and photos Listen   patiently to callers write down the tips and thank them for calling or stopping

by the     newsroom


Letters     Policy The Leader accepts                                      letters to        the editor with the understanding                           that   the editor may              edit   or

reject   the   letters When                  readers bring                 letters to         the    newsroom        make          sure that the           letter     has a signature                   and

a   phone      number




Police                News and Obituaries
Crime Stories                In   crime stories description                                of the incident        must be attributed carefully                            Police        records are

protected      in    cases        of libel          wrong nonetheless
                                                  but they might be                                                      Let readers                  know where the information came

from When            the Leader reports that someone has been accused                                                    of a crime the                 newspaper incurs the
obligation      to    follow the           case        to   trial     and       to   its   conclusion



Suspect        Identification                    The Leader does                           not identify         suspects            in   crime stories unless the

suspects        have been charged in the court system An arrest does                                                                     not   mean a suspect has been                        or   will


be charged           Identify      a       person charged                   with a crime with age and address                              Also         the   term alleged should be

used with care              Alleged murderer                          is   libelous




A suspects           race    or ethnicity should not                            be mentioned             in   a story unless the information                         is    part of a

detailed    description            including age                      height         weight         attire    and distinguishing characteristics



Victims        Names              The names of juveniles rape victims and people who have attempted suicide are not

published except             in    circumstances                      approved             by the editor Consult with the editor when                                 naming the

victims of any traumatic event                              or violent          crime




                                                                                                                                                                                                                U SA000845
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                                                                                                                                                                                                                                   11




Here are some guidelines                               that staff                   members should use                                   to    determine whether                           a   victims              name
should be              used



Living or dead                 Did   the victim              die or is he or she                          still    living      If       the victim          survived        it   is   probably not a                     good
idea    to     use the       name especially                      if    it    was    a private individual                     in    a    common type of traumatic event                                  If        the victim


died     it    lends      more weight          to     using             the        nameas in an obituary


Juvenile             or adult Kansas law protects the                                           identity      of juveniles involved                        in criminal           proceedings            The

same kind            of   protection      should             be given                to    juveniles involved                  in traumatic                events



Prominencepublic                      figure            Is    the            person well known                         In   what context                   national        regionally or locally

Determining               whether someone                    is        a public or private                  person should be done                             in   the   same manner as                       it    is



determined             for libel




Newsworthinessmanner                                   Is    the event                newsworthy enough                            to justify         it   Unusual         circumstances                often            are

cited     but       be careful      not   to    sensationalize                        a     tragic      event          needlessly



Rape As stated                before       rape victims                            names should not be used Do not name the suspect of a rape until
the suspect               has been charged                  in     court



Suicide Generally                    names should                            not   be used            in stories        dealing with                 suicide       attempts           If   the suicide             was
newsworthy only because                         it    was a suicide                        consider using                   an obituary format Then                         it   is
                                                                                                                                                                                      appropriate             to     use the

victims        name




Dealing                      with          Sources


Staff   members must identify themselves when                                                    covering              any event          for    the       Leader unless the editor hasgiven

approval         for      reporters or photographers                                not     to   disclose          their     identity



To help reporters and news sources understand what information                                                                            is   fair to      report       under what

conditions           the information           may be used and how that information may be obtained                                                                         complicated                news

gathering practices                 have evolved                       Even among journalists there                                      is
                                                                                                                                               disagreement about defining these
terms Listed are some reporting procedures that Leader reporters are expected                                                                                         to    follow




The Leader Policy Our policy is for reporters never                                                               to   agree to conduct                     an interview              in any    way other than
on the record               unless the editor                has been consulted before                                      the interview                  There almost always                   is some other




way     to    get    information          Not        for    attribution                   off   the     record         and background                      explained         below many times serve
only to tie the            hands     of both          the reporters                   and the newspaper                            Remember                 unless a specific                  agreement                 is   made
before        the interview          the interview                     is     on the record



In   some cases              exceptions              to this           policy        may be justified Again speak                                    to    the editor for questions

about         this




On the record                 All   the information                          and name of the news source may be used                                                 in a    story Interviews                      are        on

the    record        unless    an agreement                   to         the contrary              is    made in advance                        In   most cases             reporters           will    not




                                                                                                                                                                                                                                    U SA000846
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                                                                                                                                                                                                                      IL




say an interview                is   on the record The                   assumption            is    that    if   someone           is   talking      to   a    reporter           the information               is


for   the     record       Sometimes out of courtesy                             however            reporters should explain                       to    people           who        are not       used    to


dealing with             the press that all                information could               be used          in    a story




Anonymous                  Sources This is information                              given      to    a reporter that               can be published                      but the        identity     of the

source        cannot        be used            For        example        a    district    attorney might              tell    a reporter of plans                   to    move          for   a   mistrial in     a

murder case                But the          district      attorney      tells    the reporter          he or she can use the information as long as the

reporter          identifies     the source               only as one close               to   the    case         This      way the district              attorney           will    not offend

witnesses              who may first            learn       about the move               by    reading the           paper


Background                  This       is    a difficult        area Generally                background             information           is   intended            to    educate             and guide

the    reporter         in writing          a story and the             gist     of the information                 can      be used       if   the     source is identified


A writer should make                        clear for the reader                that     the writer     is        not the     original      source for the information                               For

example            an administrative assistant might brief reporters about the colleges                                                            coming budget and the
rationale behind                parts of        it   so they will        be better prepared for a news                             conference              or a      meeting later in the
week




Reporting                              Standards


Report            News Do Not Make                         It   Leader staff members should not put themselves                                                 in   situations that result                 in



their      making        news or in their altering their presentation                                   Leader reporters should not ask questions during

public       question and answer                          forums or during public                   meetings          such as faculty meetings or student senate

Ask questions              after      the      meeting          or during intermission




Likewise           the    newspaper generally should not intrude                                      into        news    stories with           such       phrases as told
the    Leader or the Leader has learned


Fairness               Any viewpoint             in    a story     must be balanced                   by an opposing viewpoint                             This      does not mean a

reporter should dig                   up or create              controversy            But people           or groups that               have been             criticized          in    a story must

have        a chance        to   respond             in   the   same issue


One        call   to   obtain        the other side             of an    issue is rarely enough                      The reporters obligation                            is   to


present a true             reflection          of the situation




Do not tarnish             the       Leaders reputation by acquiring information through questionable means If in

an extreme case                  the editor approves                    an extraordinary way to get information                                    the story              will     explain        how the
information             was obtained and why                      it   was gathered that way




Cultural Sensitivity                        Be sensitive          to    the    concerns         of members of other minority groups                                           Realize         that   not   all



people        celebrate the             same holidays or have                       the    same values                Try     to   stay abreast of the events                             that    are going

on    in    your sources              lives      no matter what race                     religion      or    sex


As a forum for a diverse community                                     the    Leader cannot             afford and            will   not tolerate prejudice from

its   staff       Racial    slurs sexual                  harassment and similar discriminatory                                 misconduct will be grounds for dismissal




                                                                                                                                                                                                                       U SA000847
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Direct    Quotes Except                       for    minor grammatical                          errors         in   the    speech        of ordinary            persons quotations are not to be
altered     The Leader does correct minor errors that might otherwise take on undue                                                                                   importance or cause                       the

speaker to look foolish Mispronunciations                                             rarely             should      be used            even    for   color      as they tend                to   make      a

speaker appear inarticulate



Verification           In    general do not quote                            from news                   releases          other papers              stories or        news broadcasts without

verifying   the information or attributing                                   it   Leader reporters are expected                                 to    verify     information            in   news          releases

and then     rewrite the               releases Information from another newspaper should be identified as being from that

newspaper         Reporters should                         try    to    get       quotations              directly        from the source              instead         of quoting           from prepared

statements        If
                        quotations are taken                           from       prepared statements                            the story should say                     so When            covering          a

speech      reporters should try                          to    get a    copy         of the         text to        quote       the     speaker accurately and                       talk    to   the   speaker
afterward    for       elaboration                 about        specific points



Obscenities             Obscenities                 and        vulgarities            should             not    be used simply to add color or humor Use them

sparingly    and only when                         imperative           to    give     a    full     portrayal            to   the    reader The number of                      listeners         one or two
reporters    as opposed                  to    an auditorium                   full   of people often                      enters       into   news judgement                   in   questions of

obscenity     The           editor or assistant editor decides                                      whether           to       use questionable language




Newsroom Management

Personnel The editor handles                                    all    problems            in     the     news department                      Any staff member with a complaint

or scheduling          conflict          should           talk    to    the editor              Suggestions are welcome



Mail    Boxes          Staff       members will have                         mailboxes for                     messages and assignments                               Staff members should

check     their   mailboxes several times a week They also should not                                                                    let   papers accumulate                     in their      boxes



Phones       Personal              longdistance                   calls will          not    be tolerated                  Making        such    call      is
                                                                                                                                                                grounds         for   dismissal All

longdistance           calls        are       to   be logged             on the out going telephone log



Travel Travel           must be approved                              by the editor                Most travel should be authorized                               first
                                                                                                                                                                           by the Indian
Leader Association



Materials         The Leader provides staff with a computer and other materials                                                                       to   layout the           paper The
Leader does not provide                            notebooks



Office    Access                 Navarre           Hall    is
                                                                open from 85                    pm Staff members are expected                                     to   organize             their time


to   reflect these hours If you need                                   in the      building              beyond       specific          hours    the time         needs         to    be arranged               in


advance      This           is   for   Leader staff and yearbook activities onlyTecumseh                                                         Hall      is   open       at   various           hours

A key to Tecumseh                      and     to    the       Leader office               will     be available to               staff at      the   front      desk of the           library


Staff   must sign keys                   in   and out             In   the event            a      staff       member forgets to return the key to the library the

Editor or    sponsor must be notified                                   A lost key charge of $200                                will   be submitted             to   the business                office


under a     staff      members account                           for lost         keys



Maintenance                 The newsroom should be clean                                           all    the   time The public faculty and administrators

frequently    visit          and the newsroom must project every aspect                                                         of professionalism                Reporters            and editors

      expected                   clean    up around               computer terminals Otherwise                                           loose       notebooks            and belongings                will
are                    to


be thrown away




                                                                                                                                                                                                                          U SA000848
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                                                                                                                                                       14




Smoking        is   prohibited       in   the building        This includes the           newsroom      and other offices       Keep   food   and

beverages away            from the terminals Staff members                         will   be responsible         for   any damage they cause    to

them


Newsroom            Conduct           Staff   members should act as professionals                      in   the   newsroom     Less than

professional         behavior        will   not   be tolerated and          is   grounds    for   dismissal Alcohol         and substance abuse will

not    be tolerated and         is    grounds      for   dismissal




Newsroom Procedures

Deadlines They must be met The Leader reporters are to complete their assignments on deadlines given by
the editor To meet our responsibilities deadlines need to be staggered Failure to meet a

deadline       on schedule           is   grounds for dismissal


Style The Leader uses The Associated Press Stylebook                                        In    addition   a    Leader style guide at the end of

this   pamphlet explains the newspapers                         exceptions


Datelines       and Bylines A dateline                   is   not   used on a byline unless the reporter was actually at the place
named     in   the dateline          and provided        a substantial part of the information    in the article from that area




Staff    Meetings         Staff       meetings are held twice                a   month Meetings should last no more than 30 minutes The

meetings are          for the   entire       staff Attendance          is
                                                                            mandatory




                                                                                                                                                        U SA000849
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Style    Supplement



AIDS People do                     not die of AIDS           they die of complications of AIDS



Black      Use when African American                              is    inappropriate or inaccurate           Capitalize     in all   instances        when
referring to          people            of African ancestry



Board of Regents                         Use Board       of Regents            on first   reference    then    Regents       No apostrophe             in   any usage


chairperson                  Do not use chairman or chairwoman                             When     possible    construct the         sentence with the verb to
head instead of chairperson                            For       example       John Doe who heads              the   HIJC student           board

cities     in   Kansas Do not use Kansas or Kan                                   after   Kansas towns         unless they are         likely    to   be confused      with

big   cities    in    other states              such as Minneapolis                   Kan and      Kansas City Kan


coed do         not       use coed         to   refer to     a   female student           More descriptive uses of the word are acceptable                            coed

softball    coed residence halls



departments                  Athletic   Department is uppercase but dont capitalize academic departments department                                                      of

history unless a                   word normally would be capitalized department of English department of History

Governmental departments appear as you normally see them Department of the                                                            Interior




grade point                average          on first    reference          then    GPA

Coffin     Sports              Complex on first                  reference      the    Complex


homecoming                    It   is
                                        Homecoming Day                  but   homecoming


Haskell         Indian Nations University                               When    referring    to   Haskell   Indian    Nations University              use Haskell


Identification                Faculty       members are identified as thus Rhonda                           LeValdo    Instructor      of   Media
Communications                      Professors         who       hold    distinguished or         named professorships         should be         identified     with

their   complete titles                  Thus John Doe                  professor emeritus of history



Haskell     students are                  identified    thus John             Doe Creek Tulsa freshman                 Put   tribal   affiliation      in


But individuals should always be identified                                    in a   manner most appropriate           to   the context        of the story



The Indian Leader Leader on second                                       reference




names On second                         reference       normally     use a persons last name only First names may be used on second
reference        in       stories about          children        under the age of 10 In stories about several people with the same last

name use             first    and       last   names to avoid confusion


newspaper names Italicize                              names of newspapers and other publications


quotes Avoid using colons to introduce quotes


Representatives                         and Senators             refer to     AP Stylebook


semesters When                          followed   by a year the season is capitalized                      For example        Fall    1989 However            fall



semester is lowercase



senators         Identify           student senators              by the groups they represent or by their position in Senate
whichever            is   more important               John       Doe Blalock          senator




                                                                                                                                                                              U SA000850
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                                                                                                                                                                              10




sheriffs         office       Douglas County Sheriffs Office                     on first       reference   then   sheriffs   office    Refer        to


deputies         as deputy sheriff


streets        Use AP Stylebook



theater Use           this        spelling except         for    proper   names


time The order is time day place                                10   am Friday       in   141   Ross Hall


titles    In   the   title    of a   book a lecture              or a play   dont capitalize an         article    a an the       the   to of an infinitive               a

preposition with             fewer than         five    letters or     and as but if nor or unless the word                       is   the   first   or the   last   word
of the   title    Capitalize the             titles    of all    publications



United         States Except            in   quotes       or editorial       page copy change          America      to   United   States and          American used

as an adjective US whereever the meaning the nation not the hemisphere However be reluctant
                             to                                                 is                                                                                   to


change American used as a noun  US citizen the meanings are not necessarily synonymous
                                                            to




                                                                                                                                                                                   USA000851
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INDIAN LEADER PLAN OF OPERATIONS                                             1




           The Indian Leader Association 20202021 Plan of Operations




                          The Indian Leader Association



                        Haskell   Indian Nations   University




                                                                            U SA000852
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                       2




Article   1 Name


The Indian Leader Association



Article   2 Purpose

          Section      1 General Purpose


          The purpose of the Indian Leader Association                   is   to   provide   a media outlet to serve the


          Haskell      Indian Nations         University campus and the local community by connecting

          mainstream or local news and               cultural   issues across Indian         Country to the Haskell

          campus and community The Indian Leader the oldest Native American student

          newspaper          is   an independent    student media outlet of Haskell             Indian Nations        University

          and   will   also serve the     student body by communicating                important information that


          impacts      student academics and campus life



          Section      2 Responsibilities

          The Indian Leader will produce a minimum                     5      issues per semester unless authorized              by

          the Indian     Leader Association          Executive    Board consisting           of consensus      ruling and

          authorized     by the Indian Leader Association              Advisor



          Section      3 Goals


          The goals of the Indian Leader Association                  will    be to seek the truth and report the           facts


          for the betterment          of Haskell   Indian Nations      University and         its   students   to   promote

          Native     American issues and provide            an outlet for those stories to be told and to provide

          Haskell      Indian Nations         University with accurate        reporting while maintaining awareness

          of j ournalism ethics and standards



Article   3 Faculty      Advisor


          Section      1 Appointment


          To    assist students      in the   publication   of The   Indian Leader newspaper              One       or more faculty

          advisors     may be appointed by Haskell              Indian Nations       University from a nomination

          selected     by the Indian Leader Association              majority vote           Should Haskell         Indian Nations


          University find a nominee unfit for the role of Faculty                     Advisor       a formal reason      shall   be

          provided      in   writing to the Indian      Leader Association          with a request to select         another


          nominee




                                                                                                                                      U SA000853
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                           3




          Section    2 Role

          The faculty     advisor       may freely advise and instruct              student editors and reporters in the


          subject of journalism and relevant                 professional      standards       comment and critique          the


          product    of student journalists and offer fiscal                 and technological          guidance to the Indian

          Leader Association The advisor may provide                         what assistance       is   needed   to    produce the

          Indian Leader newspaper                   A faculty    advisor   may make non binding recommendations                       to


                student editors which
          the                                   the student editors         may at their sole discretion take into
          consideration     in the      free   exercise of the independent            editorial judgment          Although a

          faculty   advisor      of the Association          may freely offer advice           or assistance     to   the student


          members of the Association                  neither the faculty      advisor nor other Haskell              officers   or


          employees have the            right to     censor modify         in any   way   the content the Association


          produces


          Section    3 Removal


          The Indian Leader Association                 may petition to have          a Faculty Advisor removed              from

          their role through       a majority vote           and written appeal submitted           to   Haskell      Indian Nations


          University     Should Haskell             Indian Nations     University deny the petition request                  a formal


          reason    shall be     provided      to   the Indian Leader Association              in writing




Article   4 Membership

          Section    1   Staff   Writer



                    Paragraph       1 Definition


                    Staff Writers are the voting                membership     of the Indian Leader Association



                    Paragraph      2 Eligibility

                    Eligibility    to   be a Staff Writer requires            a     current enrollment at Haskell            Indian


                    Nations      University         b good academic and               social   standing     as   determined        by the

                    Code of Student Conduct and                   c must      inform the Association             orally   or in


                    writing      of an intention        to   become a member          of the Association



                    Paragraph      3 Revoking           Membership




                                                                                                                                       U SA000854
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                         4




                     In the    event that any      member fails    to   attend   three consecutive        meetings        of the


                     Association without excused              absence     that
                                                                                 person    may be removed from the

                     membership         rolls   of the Association      by majority vote


          Section     2 Nonmembers

          Nonmembers may still              contribute      and be compensated by the Indian Leader Association

          but will    not retain the voting         rights of Staff   Writers     For nonmember contributions                  to   be

          compensated          the   nonmember is still        required   to   be a current student at Haskell             Indian


          Nations     University



Article   5 Meetings


          Section     1 First Meeting           of the Semester



          At the beginning           of each semester the Association            shall   decide   upon a day time and

          place   for such regular weekly            meetings Once the day time and place has been decided

          by the Association           and notice of such has properly been conveyed                to    the public      no

          further notice       shall   be required for the Association           to   conduct business at such regular


          weekly      meetings


          Section     2 Weekly Meetings

          Meetings      of the Association         shall   be held weekly      and will be open      to   all   Haskell    students


          and   to   the public



          Section     3 Non Weekly          Meetings



          Any meeting          of the Association      not held on the     day time and place of the regular weekly

          meeting may be properly convened                   only upon two       days prior written notice Such notice

          shall   be made to the Association           by posting an announcement


Article   6 Voting


          Section     1 Quorum


          Quorum       shall   be established by a majority attendance                of Staff Writers



Article   8 Editorial Board


          Section 1 Definition




                                                                                                                                     U SA000855
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                         5




     The    Editorial    Board of the Indian Leader Association                    shall   include     an Editor In Chief


     Assistant   Editor Distribution        Manager        and SecretaryTreasurer


     Section    2 Eligibility

     Members      of the Editorial   Board must maintain good academic and                                social   standing         as


     defined by the       Code of Student Conduct               Decisions       made at duly convened               meetings        of


     the Association       are binding on       members


     Section    3 Term


     Each    position of the Editorial Board            shall   serve a term equivalent              to   one academic year

     All terms will      be up for reelection on the            first    convened       meeting of the         Fall   semester



     Section    4 Duties

               Paragraph      1 Editor In Chief


               The Editor In Chief is responsible               for     a     directing    and supervising          all    Indian


               Leader functions      b     setting     semester deadlines with faculty                    advisor      c
               scheduling     and conducting          weekly     staff meetings           d    updating       dummy sheet for

               layout    e   chief reading      all
                                                      copy before web and              print   publication         f checking
               stories   for legal and ethical        concerns          g    keeping track       of Freedom of Information


               Act Requests      h   sending final        copies        to   printer   i reviewing           and approving

               payroll     j managing administrative accounts eg website                                  and   k     representing

               The Indian Leader on campus and                  in   the     community The Editor In Chief will

               also be President of the Haskell            NAJA Student Chapter                   The Editor may not vote


               during business meetings and will                only vote during           a tie breaker



               Paragraph      2 Assistant Editor

               The Assistant Editor        is   responsible for          a    supporting       the Editor in all          Indian


               Leader functions      and tasks        b   performing second reads                 on   all    copy before web

               and   print   publication    c     designing      newspaper layout               d    supports Editor           In
               Chief with administrative accounts                eg website f facilitate the fundraising
               opportunities     for the Haskell       NAJA Student             Chapter as they arise and                  g
               Responsible      for any Editor duties in hisher absence




               Paragraph      3 Distribution Manager




                                                                                                                                     U SA000856
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                          6




          The Distribution Manager manages                        all   distribution       of Indian       Leader Association

          content to the public          Responsibilities involve                  a managing              social   media and

          web site accounts         b    posting      and monitoring             digital      content       and   c   coordinating

          circulation     and newspaper delivery on campus when classes are held on campus

          Locations       for   Distribution         Navarre Hall Post office                   area student bank area

          admissions Haskell Foundation                    offices       the Presidents office               the Registrars


          office    the   VP of Academics            office       and financial        aid Coffin Sports complex

          Sequoyah        Hall The Student Success Center Deans                               office   across the          hall   from

          SSC math department north end of building and science                                          department         middle

          east    side Ross Hall humanities                 office       tables    on both       sides     of building         Deans

          office    and   offices   in far    NE corner of building Pontiac Hall Parker Hall Lobby

          area department of education offices and AIS wing Taminend Hall

          Winnemucca            Hall Blalock Hall Roe Cloud Hall Curtis Hall Tommaney Hall

          including technology           center      and common areas Blue Eagle Hall Pocahontas

          Hall Minoka Hall Winona Hall Stidham Union Osceola Keokuk                                                 Hall

          Tecumseh        Hall Student Activities             and Alumni Association                   room downstairs



          Paragraph       4

          The SecretaryTreasurer              will    work with the Editor to help keep the Indian Leader

          Association         on budget by maintaining financial                    records as well as providing


          accurate    accounts      of each meeting SecretaryTreasurer                            responsibilities includes


          a    providing financial           report at each meeting                b    providing meeting             minutes


          minutes should be prepared and posted to the Indian Leader Google drive within

          2 days of each         meeting       c     maintaining Indian Leader Gmail providing staff with


          a report of the activity of each at meetings                        or as needed         d       maintaining Google

          drive    documents        e   receiving         and tracking         advertising        payments and             f
          managing payroll Payroll management                            as   follows   a The          Editor will     submit a


          final    copy of the newspaper             to   SecretaryTreasurer             upon submission              to   printer   b
          SecretaryTreasurer          will    submit prepared payroll to Editor or Assistant                               Editor for


          approval   c Once approved                  SecretaryTreasurer               will     initiate    meeting    to    vote on


          payroll    d     SecretaryTreasurer              will    obtain Advisors signature and submit payroll


          to            bank e Once
               the student                            checks       are   picked up from the                bank     Secretary

          Treasurer will        notify check       recipients        via email or Indian Leader staff Facebook


          page of wherewhen             to   get checks       f ensures mail               is   picked     up from the post

          office    and delivered       to   the Indian      Leader       office    before each weekly               meeting




                                                                                                                                         U SA000857
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                                 7




          Section     5 Vacancies


          In the    event that an Editorial Board           position becomes vacant                     an election   shall     take place


          at the    next Indian Leader Association            meeting Editorial Board members may be a

          candidates    for    the vacant      position    and   if   elected       nominations         will   continue    to to   fill   the


          newly vacated         position     Positions    resultant        from vacancies        will     not serve a full      academic


          year and     will    come up for reelection on the first convened                       meeting of the         fall   semester



Article   9 Compensation           and Awards



          Section     1 Editorial Board


          The   Editorial      Board   shall   be compensated $50 each issues of the Indian Leader for the

          completion         of their duties described in Article             8    Section   4


          Section     2 Content

          The Indian Leader Association                provides       compensation for the following


            Articles web         or print     $010 per word

            Photos      $500 per published             photo with the        max limit       of 3 per article Rate includes


            photos published           on   social   media Payee must be owner                   of all   photos provided

            Comics $15          per comic      strip


            Photo Collages $1500 with permission only

            Other social media content                 $1500 per published             submission         of original this means


            created    by you creation of video podcast                     radio audio          or infographic       Content will          be

            reviewed on a case by case basis

Article   10 Accounts            Property



          Section     1 Accounts


          The   financial      backing      of the Association        is   kept within the Haskell             Student    Bank and

          must follow banking procedures of the                   institution        The organization           must follow banking

          policies    under the supervision            of the Haskell       Student     Bank The monetary budget must

          reflect    only with supplies events            newspapers              magazines or a direct cost of the Indian

          Leader Association           and not a subsidiary group or division                    The Indian Leader Association

          receives 13 of the Student Activity              Fee which         is   divided    among other groups Student

          Activities    13    and Campus Activities Association                    14 The money           set forth   toward the




                                                                                                                                                U SA000858
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                         8




     Association     will     be authorized for withdrawal under the supervision                               of the Haskell


     banking    staff




     Section   2 Use of Funds

               Paragraph       1 Direct Costs


               Funds    for   the operation       of The Indian Leader will                    be used for the following

               invoices       office    supplies payroll campus events                    conducted           or sponsored by The


               Indian Leader Association              and other operational                expenses


               Paragraph       2 Reimbursement


               Requests       for reimbursement           will    be considered           but as a general rule requests for


               funds should be submitted             in    advance       through        executive          staff vote   recorded in


               meeting minutes and submitted                     to   Haskell     bank for withdrawal



               Paragraph       3 Fund Responsibilities


               The individual          staff   member who         signs for bank withdrawals will be the


               responsible party for the full             amount of funds              that    includes      returning receipts and

               unused funds            Discrepancies       will   be the sole responsibility of the individual


               handling     the monies           Failure to return receipts and unused funds regardless of


               whether      the individual        has left campus at the close                  of the semester will         result   in a


               hold being placed          on the responsible partys                   student account          until   fundsreceipts


               are returned



     Section   3 Property


               Paragraph       1 Use


               The Indian Leader Association                 will     allow     its   active    members with the use of

               equipment cameras voice recorders etc However                                    if   the    student does not return


               the property      of the Indian Leader Association                      then the penalty amount             value of

               the   equipment         will    be charged    to   the students           account      via the Haskell      Business


               Office    with the approval          of the Indian Leader Association                         advisors


               Paragraph       2 Misuse

               There will be no misuse of the equipment which                             is   the   sole property       of the Indian


               Leader Association under the supervision                          of the Indian        Leader Executive         Board




                                                                                                                                       U SA000859
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INDIAN LEADER PLAN OF OPERATIONS                                                                                                           9




                      If   there   is   a discrepancy      of misusing equipment             or the mistreatment        of a fellow


                      member then the student breaking                     the procedures of the Association            will   revoke


                      hisher membership             with the authority           of the Editor and Assistant          Editor only

                      and   will    be asked not to participate the              rest   of the fiscal   academic year



Article   11 News          Room Policy


          Section      1 Newsroom            and Management             Guidelines



          The publication           titled   The Indian Leader Newsroom                    and Management

          Guidelines         Appendix          A   will   be policy for The Indian Leader newspaper                     The Indian

          Leader operates           in the    same capacity        as   a business      therefore everyone will         be

          accountable        for following         regulations     and procedures



          Section      2 NAJA Chapter

          The Indian Leader Association                   is   also under the Haskell         NAJA Native          American

          Journalists       Association         Student Chapter          The Haskell       NAJA Student Chapter allows each
          branch      to   use   money       obtained for the      chapter for supplies related to each identified field

          Indian Leader            print Haskell News videomultimedia


          Section      3 Noncompliance


          If   an Indian     Leader Association            Executive       Officer does not follow the procedures of the


          Association then a majority vote of the                       active   members will      take    place    nominated by the

          Advisor          only


Article   12 Rights              Responsibilities



          Section      1 Rights


          The Indian Leader Association                   is   published      by the students     of Haskell       Indian Nations


          University        The newspaper exercises their individual                      rights to free   speech and freedom          of


          the press        guaranteed by the First Amendment                     Rights have     been expressly recognized            as


          rights which           individual     students       enjoy    who   attend    Bureau of Indian Affairs school          in Part


          42 of Title 25 of the Code of Federal Regulations Students Rights and Due Process

          Procedures         25    CFR 423 e f 1998 These basic rights have also been reaffirmed in
          Part   II   of the Code of Student Rights               and Responsibilities of Haskell              Indian Nations


          University        1998




                                                                                                                                        U SA000860
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INDIAN LEADER PLAN OF OPERATIONS                                                                     10




          Section   2 Responsibilities

          The Indian Leader Association     holds responsibilities outlined   in   1989 settlement


          agreement with Haskell     Indian Nations   University   Appendix   B
Article   13 Amendments


          Section   1 This   section intentionally left black for future   amendments




                                                                                                     USA000861
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APPENDIX A                                                                                       1




                                                 Appendix        A




                                            The Indian Leader


                                  Newsroom Policy and Management Guide




Credits The policy     and management    guide   is   adopted   from The   University Daily


Kansas with permission and modified for The Indian Leader Thanks                to the Kansas



for their   input and direction




                                                                                                U SA000862
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APPENDIX A                                                                                                                                          2




                                                      The Indian Leader

                            Newsroom Policy and Management Guide

Introduction


Welcome          to    The Indian Leader         The Indian Leader Newsroom               Policy and          Management Manual

is   developed         to   help orient students        faculty      staff    and others in the management and production

of The Indian           Leader



The Indian Leader Newsroom                      Policy and      Management Guide was approved in the                           Spring of

1993 by the Indian              Leader Association publishers                 of the Indian    Leader and the Haskell Yearbook

     last updated           2020


The Indian Leader is edited and published by students                             at Haskell    Indian       Nations        University for

the purpose of promoting the free and informed debate                              and discussion of          1      topics    of special


interest    to   HINU        students    and alumni        2    issues of special importance            to    Native        Americans

generally and           3     all   newsworthy        topics   and public      issues of general interest            to    American

citizens The           Haskell      Yearbook     is   edited and published         by students      at Haskell        Indian Nations


University for the purpose of maintaining records of the previous                               years events


The Indian Leader Association                   is    committed      to   improving the   ability     of Native            Americans     to


determine their             own     destiny by providing an open public              forum in which           all    concerned        citizens


regardless of race             creed color sex religion or national origin might freely discuss the

important public             issues of the day The         members of the Association                believe        that   by providing a

public     forum readers and contributors                  alike     will    improve their understanding              of the true meaning


of leadership citizenship               and democracy          in   contemporary American society through                           an open


honest and fairminded exchange                        of views




Ethics           and Policy

Standards        of conduct         for staff   members of The Indian Leader              are the same as those                 adhered       to   by

any responsible professional                newspaper          They are outlined here          as   guidelines        that    staff   members

are expected           to   follow    This policy manual            does not describe every circumstance                     that   could pose


a problem         It   does not answer every question that might arise Instead                          it   is   designed to establish


general rules that editors reporters and photographers                            are to use in reporting the news and


producing        the newspaper           Violation of these standards             can be grounds for dismissal




                                                                                                                                                   U SA000863
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APPENDIX A                                                                                                                                                       3




Advance           Viewing


Outside review                  of copy        photographs    or artwork          is   not permitted            unless approved         in advance          by

the    editor For some stories such as those that involve                                      complex         scientific    information       a


knowledgeable                   source    might be asked           to   verify the accuracy             of specific         elements of the         story


before      it   is   published          An entire story should never be reviewed                              by someone outside The Indian

Leader          staff      Check with an editor or adviser about similar situations


Conflicts         of Interest



The     first    obligation of staff members                  is    to   perform their assigned The Indian Leader duties To

do so      staff      members or anyone who writes for the The Indian Leader                                              must be free from any

obligation to any interest                      other than the publics right to the distribution of news and enlightened


opinion


 Staff    members should exercise great care before becoming                                        involved         in
                                                                                                                          any   political   context


beyond voting Under no circumstances                                    may a staff member work                    for pay or as a volunteer in


political        organizations            or campaigns



 If   a relative           or close      friend is involved        in
                                                                         any political activity                a staff member         should   tell   the


editors         and   refrain      from covering        or making          news or editorial judgments                       about such a campaign


or organization                  Such precautions should be taken on                      all    types of stories or photographs



 Because          of the nature of the             The Indian Leader and                 its    readership student politics and campus


political        organizations            are even    more likely         to   create the        appearance         of partiality than traditional


political        organizations             Remember         that   the appearance              of bias    is   devastating to the newspapers


credibility           as   is   actual    bias



Other conflicts                   An Indian Leader          staff       member may not work as a staff member editor or

contributor for
                                any other publication         or news          service without the consent                   of the   The Indian

Leader editor Staff members who wish to freelance periodically for other publications                                                               also


must seek permission from the editor Any                                  staff   member who is found                  hiding his affiliation          with


another publication                   also must seek permission from the editor                           Any staff member who                 is   found


hiding his affiliation                with another publication                 will    be dismissed



Appearances on radio or television                          by The Indian Leader                  staff   members may be permissible only

if    reported in advance                 to   the editor   Remember however                     that    only the editor         may talk as a

representative               for The Indian Leader




                                                                                                                                                             U SA000864
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APPENDIX A                                                                                                                                          4




Gifts As journalists           the obligations           of staff members       are clear gather and report the news with


vigor and compassion and report                   it   without prejudice        Staff members must not use their positions


at   The Indian Leader         to    obtain any benefit          or advantage        not afforded        to   the public    generally

Staff members do not accept                   business related gifts        or favors       either at    home or in the office


Staff members should not accept                   free   rooms sample equipment                or goods of any kind                    Staff


members may not accept                 free   trips Free tickets         or access to events       may be accepted                but only


when     special   arrangements            for the press are necessary The              press box at sporting              events        is   an


example Editors are responsible for making                         certain    that   advantage     is    not being taken             of certain


situations Friends or guests                are not allowed        to    use Leader passes to events               The Indian Leader


pays for tickets      to   entertainment          events      that staff   members are reviewing Books and records are

accepted    only as news        releases        and become the property              of the Leader



Leader members should not accept                       free   meals or drinks This does not mean that staff member

cannot    accept    a cup of coffee or something                  that   can be repaid later Reporters               should not


however     be wined and dined while pursuing a story The cost of meals incurred                                                in the    course


of gathering       stories will      be paid by the Leader               Generally however          it   is    difficult   to   take accurate


and complete notes while eating



Any travel must be approved by the editor and the Association


When in doubt please            follow the American Society                   of Professional       Journalists        code of ethics in

the back    of the booklet




Dealing with the public

Courteous and professional                 treatment     is   afforded     anyone who telephones or walks                   into       the


newsroom


Telephone      Etiquette        When taking             messages be sure to get the correct name and phone number


Also include       your name the time and date the message was received                                   The telephone           is   for


business use only          Do not leave          this   number for personal messages                to    be taken by any              staff


member or the faculty           adviser



Complaints Complaints should be referred                           to    the editor If no editor is available take                      a name


and phone number and                tell   the person that an editor will            call   back   If    a complaint       is   in
                                                                                                                                       any way

abusive or if the      staff   member is threatened                write a short but thorough                 memo and give it to the

editor




                                                                                                                                                   U SA000865
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APPENDIX A                                                                                                                                             5




Corrections The decision                   to   run a correction       is   made by the editor When the Leader                        incorrectly

has reported a story or misidentified someone in a photograph                                      the editor will         arrange for a

correction    to   appear   promptly             It   may appear on Page         1   if   the    story   was on Page 1 Otherwise

corrections    will
                       appear     on Page             2 When talking to someone who has a complaint                               do not verify

the mistake blame anyone                   agree with anything              or promise anything            Do not give your personal

opinion as to what should be                    done    Refer the person to those               mentioned       above Any           staff   member

who makes a mistake            requiring a correction               must fill   out a correction           form and turn it           in to   the


editor



News Tip When            readers call in with news tips or photo ideas staff members are expected                                             to


treat    them with courtesy           The Leader encourages                 readers to call or to stop by the newsroom                        when

they have     story    ideas    Its   a way for them to let the editors                   know what they want                to    see in the


paper and those ideas often turn into the best stories and photos Listen patiently to callers write

down the tips and thank them for calling or stopping by the newsroom


Letters Policy         The Leader accepts                 letters to   the editor with the understanding                    that   the editor


may edit or reject the letters When readers bring letters to the newsroom make sure that the

letter   has a signature and a phone                   number


Police        News and Obituaries

Crime Stories In crime stories                        description   of the incident            must be    attributed       carefully    Police


records are protected in cases of libel but they might be wrong                                    nonetheless        Let readers know


where the information came from                         When the Leader         reports that someone has been accused                           of a


crime the newspaper incurs the obligation to follow the case to trial                                     and   to   its   conclusion




Suspect Identification                The Leader does             not identify suspects in crime stories unless the


suspects have         been charged              in    the court   system      An arrest does not mean a suspect                       has been or

will    be charged Identify a person charged                      with a crime with age and address Also the term


alleged      should be used with care                    Alleged murderer is libelous                    A suspects race or ethnicity
should not be mentioned               in   a story unless the information                 is    part   of a detailed description


including    age      height    weight          attire    and distinguishing characteristics



Victims Names            The names of juveniles                   rape victims and people who have                      attempted       suicide


are not published        except       in circumstances            approved by the editor Consult with the                          editor   when

naming the victims of any traumatic                       event   or violent crime




                                                                                                                                                    USA000866
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APPENDIX A                                                                                                                                                    6




Here are some guidelines that                      staff   members should use to determine whether                                     a victims


name should be used


Living or dead Did the victim die or is he or she still                                  living If the victim survived                      it   is




probably     not a good idea to use the                  name especially            if   it    was a private individual              in    a common


type   of traumatic          event   If   the victim died           it   lends more weight              to   using the         nameas in an

obituary


Juvenile or adult Kansas law protects the identity of juveniles involved                                                     in criminal



proceedings        The same kind of protection                     should be given              to juveniles         involved      in traumatic


events



Prominencepublic               figure Is the person well                  known          In what context                national regionally or


locally Determining whether                  someone is a public or private person should be done                                          in the     same

manner as it      is    determined for libel



Newsworthinessmanner                      Is the    event     newsworthy        enough            to justify       it   Unusual      circumstances


often are cited but be careful not to sensationalize                           a tragic         event    needlessly



Rape As stated before rape victims names should not be used Do not name the suspect                                                                   of a


rape until   the suspect        has been charged                 in court




Suicide Generally names should not be used                                in stories          dealing with suicide attempts                   If   the


suicide was newsworthy               only because           it    was a suicide consider using an obituary                            format Then            it



is   appropriate       to   use the victims        name



Dealing with Sources

Staff members must identify themselves                            when covering any event                    for   the The Indian Leader


unless the editor has given               approval       for reporters or photographers                       not to disclose their identity

To help reporters and news sources understand what information                                           is   fair      to   report under what

conditions    the information             may be used and how                that    information             may be obtained               complicated


news gathering          practices have        evolved            Even among journalists                 there      is   disagreement          about


defining these terms Listed are some reporting procedures that The                                            Indian Leader           reporters are


expected     to   follow



The Leader Policy Our policy is for reporters                               never to agree to conduct an interview in any

       other than on the record unless the editor has been consulted before the interview                                                        There
way

almost always          is   some other way          to   get information         Not for attribution                    off the record and




                                                                                                                                                             U SA000867
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APPENDIX A                                                                                                                                       7




background        explained below many times serve only to tie the hands of both the reporters and

the newspaper        Remember unless a specific agreement is made before                                      the interview       the


interview    is   on the record


In some cases exceptions to this policy                    may be justified Again speak to the editor for questions
about this



On the record All the information and name of the news                                   source    may be used in a story

Interviews    are   on the record unless an agreement to the contrary                             is   made in advance            In most


cases     reporters will not say an interview                 is   on the record The assumption                  is   that if   someone is

talking to a reporter the information                 is   for the    record Sometimes out of courtesy                      however

reporters should explain             to   people   who     are not used     to   dealing with the press that                all   information


could be used       in a
                           story



Anonymous Sources                  This   is   information given to a reporter that can be published but the


identity   of the   source       cannot    be used For example a district                   attorney might tell           a reporter of


plans to move for a mistrial in a murder case                         But the   district    attorney tells the reporter he or she

can use the information as long as the reporter identifies the source                                  only as one close to the case

This    way the district         attorney will     not offend witnesses           who may first          learn about the          move by

reading the paper



Background          This    is   a difficult     area Generally background                  information         is   intended to educate


and guide the reporter            in writing      a story and the gist of the information can be used if the                            source


is   identified   A writer should make clear for the reader that the writer                              is   not the original source


for the information         For example an administrative assistant might brief reporters about the

colleges    coming budget and the                rationale     behind    parts   of it     so they will        be better prepared for a

news conference        or a meeting            later in the   week



Reporting Standards


Report     News Do Not Make It                    Leader      staff   members      should not put themselves in situations


that   result in their     making news or in their altering their presentation                           Leader reporters should not

ask questions during             public   question and answer forums or during public                            meetings such          as


faculty    meetings    or student senate            Ask    questions after the meeting or during intermission


Likewise     the newspaper           generally      should not intrude           into news        stories     with such phrases         as


told the The Indian Leader or The Indian Leader has learned




                                                                                                                                             U SA000868
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APPENDIX A                                                                                                                                         8




Fairness Any viewpoint                in a
                                             story   must be balanced           by an opposing viewpoint                  This does not


mean a reporter          should dig up or create controversy                But people or groups             that    have been

criticized in      a story must have         a chance      to   respond in the same issue              One   call   to    obtain the other


side    of an issue is rarely enough            The reporters obligation             is   to   present a true reflection of the

situation



Do not tarnish the             The Indian Leaders reputation by acquiring                      information through             questionable


means      If in   an extreme case the editor approves an extraordinary way to get information                                           the


story    will   explain    how the information was               obtained   and why it was gathered that way



Cultural Sensitivity              Be sensitive to the        concerns      of members of other minority groups Realize


that    not all people celebrate the          same holidays           or have   the same values          Try to stay           abreast    of the


events    that    are going      on in your sources lives no matter what race religion or sex As a forum

for a diverse      community The Indian Leader                    cannot    afford and will          not tolerate prejudice          from its

staff    Racial    slurs sexual harassment and similar discriminatory misconduct                               will       be grounds for

dismissal



Direct     Quotes Except           for minor grammatical              errors in   the speech of ordinary persons


quotations       are not to be altered The Indian Leader                   does correct minor errors that might


otherwise       take    on undue importance           or cause the speaker         to     look foolish Mispronunciations


rarely    should be used          even for color      as   they tend to make a speaker                appear
                                                                                                               inarticulate



Verification           In general do not quote         from news releases other papers                    stories     or news


broadcasts without verifying             the information or attributing it                 Leader reporters are expected                   to



verify information in news             releases      and then rewrite the releases Information from another


newspaper should be identified                as   being from that newspaper                Reporters     should try to get


quotations       directly      from the source instead of quoting from prepared statements                                If   quotations       are


taken    from prepared statements the                story      should say so      When covering          a speech reporters

should try to get a copy of the text to quote                    the speaker      accurately      and   talk to     the    speaker

afterward       for elaboration      about specific        points



Obscenities         Obscenities       and vulgarities should not be used simply to add color or humor Use

them sparingly and only when imperative to give a full portrayal                                to   the reader      The number of

listenersone            or two reporters as opposed             to   an auditorium full         of people often           enters    into


news judgement            in   questions of obscenity           The   editor    or assistant editor decides               whether    to   use


questionable       language




                                                                                                                                                U SA000869
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APPENDIX A                                                                                                                                               9




Newsroom Management

Personnel         The    editor handles            all    problems       in the      news department       Any staff member with a

complaint    or scheduling             conflict          should talk to the editor Suggestions are welcome



Mail Boxes            Staff   members will have mailboxes for messages and assignments                                         Staff    members

should check          their    mailboxes several                times a week          They also should not         let               accumulate
                                                                                                                         papers

in their   boxes


Phones Personal longdistance                        calls will      not be tolerated         Making such call            is   grounds for

dismissal All longdistance                    calls      are to be logged on the           out going telephone             log


Travel Travel must be approved by the editor Most travel should be authorized                                                  first    by the

Indian Leader Association



Materials         The Leader provides                    staff with     a computer       and other materials        to   layout the paper

The Leader does not provide                    notebooks


Office Access           Navarre Hall          is
                                                   open from            85 pm Staff members are expected                      to    organize their

time to reflect        these hours If you need in the building beyond                             specific       hours the time needs               to


be arranged       i   advance        This    is    for Leader       staff and        yearbook   activities      onlyTecumseh            Hall   is




open    at various       hours       A key to Tecumseh                  and   to    the Leader office     will    be available         to staff at


the front desk of the library Staff must sign keys in and out                                   In the event       a staff member forgets


to   return the key to the library the Editor or sponsor must be notified                                    A lost key charge             of $200


will   be submitted           to   the business office            under a staff members account                  for lost     keys


Maintenance             The newsroom should be clean                          all   the time The public          faculty      and

administrators frequently                  visit    and the newsroom must project every aspect of professionalism


Reporters    and       editors      are expected           to   clean    up around computer terminals Otherwise loose

notebooks and belongings                    will   be thrown away



 Smoking     is   prohibited in the building This                        includes the      newsroom and            other offices         Keep       food


and beverages           away from the terminals                    Staff members will be responsible                 for any damage            they

cause to them



Newsroom Conduct                     Staff   members            should act as professionals          in   the    newsroom Less than

professional          behavior      will    not be tolerated            and   is    grounds for dismissal Alcohol and substance

abuse will    not be tolerated               and   is    grounds for dismissal




                                                                                                                                                         USA000870
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APPENDIX A                                                                                                                             10




Newsroom Procedures

Deadlines       They must be met The Leader reporters are                           to   complete    their   assignments on

deadlines given by the           editor To meet our responsibilities                     deadlines need to be staggered


Failure to meet a deadline             on schedule        is   grounds for dismissal



Style The Leader uses The Associated Press Stylebook                                In addition      a Leader style guide at the


end of this pamphlet explains the newspapers                          exceptions



Datelines and Bylines             A dateline        is   not used     on a byline unless the reporter was actually            at the



place    named in the dateline and provided                    a substantial      part of the information in the article from

that   area


Staff    Meetings       Staff   meetings      are   held twice         a month     Meetings       should last no more than 30


minutes The meetings             are   for the entire staff Attendance               is   mandatory



Style         Supplement

AIDS     People do not die of AIDS they die of complications                              of AIDS



Black Use when African American                      is   inappropriate        or inaccurate      Capitalize in all   instances


when     referring to   people of African ancestry



Board     of Regents Use Board             of Regents          on   first   reference     then Regents       No apostrophe in any

usage


chairperson       Do not use chairman           or chairwoman                 When possible construct          the sentence   with


the verb      to head instead          of chairperson          For example John               Doe who heads the HIJC student

board


cities   in   Kansas    Do not use Kansas or Kan after Kansas towns unless they are likely to be

confused with big cities in other states                   such as Minneapolis                Kan and Kansas City Kan

coed do not use coed            to refer to   a female student               More descriptive       uses of the word are


acceptable      coed softball       coed residence halls



departments Athletic Department                     is   uppercase          but dont capitalize      academic departments

department of history unless a word normally would be capitalized                                    department of English

department      of History Governmental                   departments appear             as   you normally see them

Department       of the Interior




                                                                                                                                     USA000871
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APPENDIX A                                                                                                                     11




grade point average on          first    reference    then   GPA

Coffin Sports       Complex on first        reference    the   Complex


homecoming It is Homecoming                 Day    but homecoming



Haskell Indian        Nations University          When referring to Haskell          Indian Nations     University use

Haskell



Identification        Faculty   members are identified as thus Rhonda LeValdo                    Instructor of Media


Communications Professors who hold distinguished                        or named professorships         should be


identified   with their complete         titles   Thus John Doe         professor    emeritus of history



Haskell    students     are identified    thus John    Doe Creek Tulsa freshman Put tribal                  affiliation   in




But    individuals should always be identified in a manner most appropriate                       to   the context of the


story



The Indian Leader Leader on second                   reference



names On second          reference      normally use a persons          last   name only First names may be used on

second reference        in stories    about children    under the age of 10 In stories about several             people

with the same last       name use first      and   last names to      avoid confusion




newspaper      names      Italicize     names of newspapers and other publications



quotes Avoid using colons to introduce                quotes



Representatives         and Senators       refer to   AP Stylebook


semesters     When followed by a year the season is capitalized For example Fall 1989 However

fall   semester is lowercase



senators     Identify    student senators     by the groups they represent or by their position in Senate

whichever     is   more important        John Doe Blalock senator



sheriffs office       Douglas County        Sheriffs Office      on   first   reference   then sheriffs office    Refer to


deputies as deputy sheriff



streets   Use AP Stylebook


theater    Use this spelling except for proper names




                                                                                                                               U SA000872
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APPENDIX A                                                                                                                         12




time The order is time day place                         10   am Friday in 141 Ross Hall

titles     In the   title    of a book a lecture or a play dont capitalize                  an article   a an the the to of an
infinitive         a preposition      with fewer than five letters             or   and as but if        nor   or unless the word
is   the   first   or the last word of the title              Capitalize the   titles   of all   publications



United States Except                 in   quotes    or editorial page copy          change America to United        States   and

American used               as   an adjective      to   US wherever the meaning             is   the nation   not the hemisphere


However be reluctant                 to   change American used          as   a noun to     US citizen the meanings are not
necessarily         synonymous




                                                                                                                                   U SA000873
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APPENDIX B                                                                   1




                                 Appendix B




                          Settlement Agreement   1989




                                                                            U SA000874
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                                                                                      USDISTRICT             CURT
                                                                                      OISTPICI       OF XANSAS
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                                 wrIu      muv   ncmoTrm        nv lenmcno
                                                                                  JEP                 1414   M 8q
  THE   INDIAN       LEADER     ASSOCIATION            ET    AL
                                                                                      El   r
                                                                                                             Vq

                                     Plaintiffs
                                              114                                              I
                                                                                                             Wfmry
                                                                                                             KS
                                                                                                               VI   I




  VS                                                          Case    No    894083R

  UNITED     STATES      DEPARTMENT         OF   THE    INTERIOR
  ET    At
                                     Defendants



                         ORDER       APPROVING         SETTLEMENT         AGREEMENT

           NOW ON this 18th day of               September  1989   the parties appear
  before     the Court  to announce              a  eattletent  of  the claims  of the
  Plaintiffs         herein          The   Plaintiffs appear through their attorney
  Patrick        R
             Nicholsy                the   Defendants appear through   their attorney
  David  Cooper

           WHEREUPON        the parties announce  to the                        Court          that      they have
  settled        and     resolved  their  differences                           and        entered          into  a

  settlement         agreement        in   writing          which    is   appended                 hereto

       WREREuPON  the   Plaintiffs move orally  to dismiss  without
  prejudice all parties hereto with the exOeption of Haskell Indian
  Junior College   The Court sustaine Said motion


        THEREUPON  the Court reviews the settlement agreement between
  the  parties guaranteeing      the  rights of free expression  to the
  Indian  Leader  Aesociation   and the student  journalist Plaintiffs
  and find said agreement    is   valid just and equitable    The Court
  approves       the    agreement

       Pursuant   to   Paragraph   14 of   the  settlement  agreement    the
  Plaintiffs move     to dismiss the     remaining party    Haskell   Indian
  Junior College of the Bureau of Indian          Affairs subject    to  the
  provisions  and    terms   of  the  settlement    agreement    The   Court
  sustains the motion     and orders that the action     be dismissed upon
  the terms of said motion


           The   Court orders         that hereafter           the   settlement    agreement shall
  immediately          bind    the    parties     to    all    of    its    provisions and govern
  their     conduct      accordingly

                                             isLEICHARD                   ROMS
                                            Honorable      Richard D Rogers
                                            United      State District Judge




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   atrick    R   Nichols
  Attorney at Law
  700 Jackson   Suite 703
  Topeka  Kansas   66603
  913    3574050
  Ks S Ct No         09396
  Attorney   for   Plaintiffs




  David Cooper
  Assistant United     States  Attorney
  US   Department     of justice
  444  SE  Quincy
  Topeka Kansas       66603




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                          SETTLEMENT       AGREEMENT

      This Settlement Agreement is made between   the Indian Leader
Association  Marcel Stevens LaereY ChaPPenteArdinaGlenneeCynthiae
Grant TenaMeltoniEareeyR6SgTCordell        Whitetree and Catherine
Williams and Haskell Indian Junior College of the Bureau of Indian
Affairs of the United States Department of Interior to settle and
compromise issues before the United States District Court for the
District of Kansas in Indian Leader Association           v
                                                       United States
Department of the Interior Case No 894063R         filed March 30
1989
      1    Parties to Settlement Agreement            The parties  to this
Settlement Agreement are the plaintiff         Indian Leader Association
an unincorporated    student association which publishes The Indian
Leader the Association          and plaintiffs     Marcel Stevens    Laurey
Chapman Ardina Glenn Cynthia Grant Tina Melton Harvey Ross
Cordell Whitetree and Catherine Williams individually and in their
capacities   as   editors                  and   representatives    of   the
                             reporters
Association Plaintiffs           and   defendant    Haskell Indian   Junior
College  of  the   Bureau  of  Indian    Affairs of the     United   States
Department of the     Interior   Haskell          which enters into this
Settlement   Agreement through      the   agency   of   Jim Baker    Acting
President of Haskell

      Nothing in this Settlement Agreement shall have any bearing
on the academic  standing of the named plaintiffs or any member of
the Indian Leader Association   Not Shall this Settlement Agreement
bear on the eligibility of a student to serve as          an officer of the
Indian  Leader Association  under  the  colleges           rules  governing
extracurricular activities

      2   Student  Editorial Control    The parties agree that the
members of the Association and the Editorial Board of The Indian
Leader have the right to editorial control of the contents of The
Indian  Leader  newspaper  as described   in the  attached Plan of
Operation of the Indian Leader Association Plan of Operation

      3    No Prior Restraint or Censorship Haskell agrees           that no
officer    agent instructor or employee of Haskell shall

           a censor     edit  or modify the contents
                   in violation of the First Amendment
                                                       of The
                                                        of the
                                                                     Indian
                                                                     United
Lealer newspaper
States Constitution


            b restrain obstruct
          Leader
                                            the publication of The
                                     or prohibit
Indian         newspaper or otherwise inhibit the free expression
of members of the Association in violation of the First Amendment
of  the United   States  Constitution   however  nothing   in this
Settlement Agreement shall prevent Haskell the BIA the Department
of the Interior or Congress from withdrawing  any federal funding
for The Indian Leader or from disposing of the printing press             on
                                       1




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                                                                             USA000877
      Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 350 of 386
the    Haskell                       to  the provisions  of the  Federal
                    campus pursuant
Property     and    Administrative Services Act or other applicable law

             c suspend           the   publication of The          Indian Leader      newspaper

adviser     to   the    Indian    Leader newspaper        or       the   Association

             d         any written request for the disbursement of
                    refuse
funds reasonably related to the Management or publication of The
Indian Leader   from the Indian    Leader Association Activity Fund
the  Club  Fund or   any  other  Indian Leader   Association  account
containing  student  monies in the Haskell    Student  Bank which   is

supported  by a written   resolution of the Editorial Board of     The
Indian Leader or the full     membership of the Association finding
 First Amendment    Grounds  for  Funds Withdrawal   by Students    as
described in the attached   Plan of Operation

             e  refuse   to  approve    a   Plan   of   Operation     for the
Association    substantially     similar    to   the     attached    Plan     of
Operation which is incorporated herein by reference               and made an
integral part hereof and which shall be the Plan of Operation in
effect  for the 19891990     school year or suspend the publication
of The Indian Leader on the grounds       that the Plan of Operation has
not  been   approved    provided     that   nothing    in    this  Settlement
Agreement shall prevent Haskell from establishing a journalism or
communications department and incorporating         The Indian Leader into
the  curriculum Of     such  an   academic    program that if          such   an
academic   program  is  established    Haskell    and   the   members   of  The
Indian Leader Association may revise the Plan of Operation of The
Indian Leader Association     to reflect incorporation          of The   Indian
Leader under the curriculum of that program provided further that
nothing   in this Settlement    Agreement is intended to prevent the
members  of The Indian Leader Association        from adopting      a Plan of

Operation     or other   organic    operating charts       or substantially
dissimilar to the attached Plan of Operation or


             f      have   the right to excise any material from The Indian
Leader     on the      grounds that it  is either libelous or obscene


       4  Role of Faculty Adviser     The   parties agree that   the
faculty  adviser  shall  discharge his    or  her  responsibilities
consistent with the following guidelines

             ainstruct
                    The    faculty adviser   to the Association                     may    freely
Advise     and                student editors and reporters in                      the subject
of   journalism and relevant        professional standards                          commend and
critique   the  work  product  of  student  journalists offer fiscal and
technological     guidance   to   the  newspaper   staff in business and
production     operations   and    provide   whatever  assistance to the
newspaper    and the student journalists the faculty adviser deems
appropriate




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                                                                                                  USA000878
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              b A faculty adviser may make nonbinding recommendations
to the student editors which they may in their sole discretion
take into consideration in the free exercise of their independent



                     Although
                          faculty aadviser of the Association may
freely       offer         assistance
                      advice    and    to   etudent   members of the
Association  neither  the  faculty  adviser   nor  any  other Haskell
officer or employee has the right to censor edit or modify in any
way the content of The Indian Leader

              d The faculty adviser
                                  is under an affirmative
                                                allocated
                                                              duty to
                                                              to  the
facilitate  the  disbursement  of   such funds
Association as directed by the Editorial Board and the   Association
by  majority vote    supported by written   resolution    which   are
reasonably related to the management and publication  of  The  Indian
Leader

              e   faculty adviser shall to the best of his or her
                     The
ability  adhere to the ethical standards set forth in the attached
Code of Ethics of College Media Advisers


        5   Responsibility  of  Student   Journalists       Sole   legal
responsibility for the contents of The Indian Leader         shall   rest
with the individual members of the Indian Leader       Association     as

recognized in 25           CFR
                         S 423         1988
                                          No legal responsibility     for
the contents of The Indian Leader shall be imputed to Haskell          or
the  faculty adviser the Bureau of Indian Affairs or         the United
States Department of the Interior    Plaintiffs understand that they
may be held personally accountable    for the contents   of The Indian
Leader  in a   court of   law  if  those   contents  are   libelous    or
obscene   or infringe copyrights or trademarks      or otherwise     give
rise    to   civil    liability

        6Newspaper Recount in the Student Bank     Those monies which
may   be received   or   collected   by  Haskell  on   behalf  of  the
Association    such  as   the  Associations   allocation   of  student
activity fees if any shall be maintained in the Haskell Student
Bank in strict   compliance   with the applicable rules contained in
the Bureau of Indian Affairs Manual              nBIAM
                                                  this section of the
Settlement Agreement and the Plan of Operations      Such monies shall
be

              a      the   subject of a separate accounting in   the   Haskell
Student      Bank    and   assigned a separate account number

              b
             the subject of a monthly account  statement prepared
                                                              the
by    theHaskell Student  Bank which shall  be  presented  to
President of the Indian Leader Association and

              c    disbursed in accordance
             attached
                                           with this Settlement    Agreement
and    the              Plan of operations

                                         3




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             7 Off Campus flank Account Those monies which are received
       collected   or raised off campus       by the Association         without any
       intermediation by Haskell may be deposited at the eleeteLee et tle
JkeesacJAWArneesisneeethertherleterretTTMMM7FFEUUTst           ar in an off campus
       account   maintained     at  a  local   bank   in  Lawrence      Kansas       No
       disbursement    from    an  off campus    bank    account    shall    be   made
       however    without the signature of at least two officers of the
       Association   on the draft drawn on such local bank                copy of the   A
       monthly accounts of such off campus bank account shall            be  published
       regularly   in   The   Indian    Leader      Nothing   in    this    Settlement
       Agreement   shall   be   read to prohibit Haskell         from devising      and
       implementing procedures       for managing   and accounting     for   on campus
       revenue raising activities       of students


               8  Elections  As soon as possible following the execution
       of  this Settlement  Agreement the President of the Association
        shall call a meeting of the membership of the Association for the
       purpose       of  electing  the editors of The   Indian Leader  and  the
       officers       ofthe Association for the 19891990   academic year   This
       meeting       shall be called within the first 30 days of the beginning
       of    the    fall     1989   semester    at    Haskell

             9    Control of Contributions   for Subscriptions   voluntary
       contributions   made by individuals for subscriptions to The Indian
       Leader shall no longer be paid to the Haskell Indian Junior College
       Foundation   and shall instead  be paid directly to the Association
       Club Account   in the Student  Bank

               10      Waiver       of   Claims       This   Settlement
                                                     Agreement represents
       the     final               between  the  parties   concerning    the
                            understanding
       resolution of the issues before the United States District Court
       for the District of Kansas in Indian Leader Association v      United
       Statqs Department of Interior Case No 894063e      filed March      0
       1989 All parties to this Settlement Agreement hereby release the
       others  from any claims or causes of action    and the parties and
       their counsel  agree not to initiate or cause to be initiated     any
       further proceedings  between any of the parties or their counsel
       or make       any     further     requests     regarding the        facts   of   this     case

               11          Covenant     of      and Fair Dealing
                                             Good    Faith           The parties
       agree to interpret        implement this Settlement Agreement in good
                                       and
        faith and with due regard fot both the First Amendment         rights of
       student    journalists     and     the    legitimate    educational    and
       administrative   interests of Haskell        It is the central purpose of
       this Settlement Agreement to secure the regular publication of The
       Indian Leader free from any prior restraint or censorship             This
       Settlement Agreement is contingent       upon the reciprocal  performance
       of the specified    obligations by all of the parties        In the event
       that  any  party   acts  in bad     faith or breaches    this  Settlement
       Agreement   the aggrieved party shall be free to pursue appropriate
       legal  remedies   in a court    of   law     Nothing  in this  Settlement




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Agreement shall be construed to restrict or limit the right of any
of the parties to commence litigation if any party fails to comply
with all of the terms and conditions of this Settlement Agreement

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of the  federally authorized  printing                       press     Haskell is subject
                                                                          at
to the Government Printing and Binding                       Regulations published by the
Joint Committee on Printing of the                       US    Congress     see 44          USC
SS    103       501    502

      13   Recognition of Mutual Rights       Any and all rights and
responsibilities under this Agreement are set forth in recognition
of the mutual rights of the defendant     Haskell and the rights of
the students to free speech press and expression        The Agreement
recognizes  various  rights of Haskell
of Operation in conjunction
to reduce or eliminate
                                         hereunder to


                                                    3b
                                                      alter
                                with the student journalists
                          funding
                                                             the Plan


                                           and to dispose of or sell
                                                                                           3e
the printing presses    under various provisions of this Agreement
12     These rights may not be exercised by Haskell in response to
or as a result of    articles photographs    or any other content of
The Indian Leader     Further such actions may not legitimately be
performed  under  this Agreement as a form of prior restraint      or
otherwise as intended to limit or restrict the free expression of
ideas  or rights to the students    as recognized   in this Agreement
Any exercise  by Haskell of  the rights noted  in this  paragraph shall
be done following notice to The Indian Leader Association stating
the action to be taken and the reasons therefor       Such notice shall
be delivered   to the   editor in chief   and posted    on  the Student
Activities bulletin board at least thirty            days prior to any   30
such contemplated  action

           14
            Signature and Court Approval        This Agreement shall be
signed   by all the parties named in section 1 of this Settlement
Agreement    or   their  duly    authorized    representatives         This
Settlement Agreement shall be submitted to the Honorable Richard
D Rogers Judge for the United States District Court for the
District   of   Kansas   for  final   approval   and shall    not   become
effective until such final approval is obtained         After  such  final
approval   has  been  obtained    the Plaintiffs    shall  agree   to the
dismissal   without   prejudice    of  the  action   against   all   named
defendants   except  Haskell     The Settlement    Agreement shall then
immediately           remaining parties to all of its provisions
                      bind      the
and    a
      pidgment    dismissalofof the action subject to the terms of
the Settlement Agreement shall then be jointly submitted to the
court by the remaining parties


           IN   WITNESS      WHEREOF        the   parties have caused this Settlement
Agreement        to   be     executed       by   their duly authorized representatives
on    this                       day   of                                1989




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 Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 354 of 386
THE                LEADER ASSOCIATION         HASKELL    INDIAN   JUNIOR
      INDIAN                                                               COLLEGE




MARCEL  STEVENS                                tTPM BAKER
Managing Editor and President                  Acting President
The Indian Leader Association                  Haskell    Indian Junior College




CYNTIIIA     GRANT                             DAVID M COOPER
Student      Journalist                         Assistant     US
                                                              Attotney
                                                  Counsel    for the   Defendant




Student      Journalist




 ORDELL      WHITETREE
Student      Journalist




DARIO    F    ROBERTSON
Counsel      for    Plaintiffs




PATRICK      R     NICHOLS
Counsel      for    Plaintiffs




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       Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 355 of 386
                       THE           LEADER ASSOCIATION
                                INDIAN
                       Haskell      IndianJunior College
                             Lawrence   Kansas  66046




I       N


        The name of this organization is The Indian Leader Association
and    shall hereafter be referred to as the Association

II      PURPOSE

     The purpose of the Association              is   to produce   The     Indian Leader
newspaper   an independent student      publication       the        and
                                                               Haskell
Yearbook      The  Indian   Leader  newspaper  will  be produced    and
published approximately     sixtimes each semester and the Haskell
Yearbook will be produced and published the spring semester of each
school year    The Association will also maintain a separate account
to accept  funds and donations on behalf of the newspaper      and for
disbursing  cash  payments as incentives   to students who  contribute
articles photographs     and illustrations to The Indian Leader

       The      Leader is a nationally distributed Native American
             Indian
newspaper edited and published by students at Haskell Indian Junior
College for the purpose of promoting the free and informed debate
and  discussion of         1       of  special  interest  to  Haskell
                            2
                          topics
students  and alumni        issues of special   importance to Native
Americans generally and       3
                              all newsworthy topics and public issues
of    general   interest   toAmerican        citizens

     The Indian Leader is published      by the students   at Haskell
Indian  Junior College and the members of the Association in the
exercise of their individual rights to free speech and freedom of
the press guaranteed   by the First Amendment of the United States
Constitution    These fundamental First Amendment rights have been
expressly recognized as rights which individual students enjoy who
attend Bureau of Indian Affairs schools in Part 42 of Title 25 of


                                             f 1988
the Code of Federal Regulations      Student  Rights and Due Process
Procedures   25       CFR          423e           These basic rights
have also been reaffirmed in Part III   of the Code of Student Rights
and Responsibilities of Haskell   Indian Junior College                      1988
       The    Indian Leader Association is committed to improving the
ability      of  Native Americans to  determine their own destiny by
providing an open public      forum in which all   concerned citizens
regardless of race creed color sex religion or national origin
might freely discuss the important public issues of the day         The
members of the Association believe that by providing such a public
forum     readers    and   contributors    alike will   improve   their
understanding   of  the  true  meaning  of leadership  citizenship  and
democracy   in contemporary American society through an open honest

                                             1




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                      exchange of Views
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III     MEMBERSHIP        AND    OFFICERS OF THE          ASSOCIATION

        A      General

        To    qualify as    a    member of the Association                  an    individual        musts


               a     be    an        enrolled    student       at       Haskell    Indian       Junior
College

               b     submit a news          story essay proposed editorial                          poem
short story photograph or any other journalistic or literary work
not including   advertisements letters to the editor and notices
for  publication   in  The Indian  Leader  or  participate  in the
production  or circulation   of The Indian Leader or the Haskell
Yearbook


               c     receive  written notice that the submission
                                  in The Indian Leader and
                                                                                              has    been
accepted       for   publication


intention
               d     inform          theAssociation orally or in writing                               an
                to   become      a    member of the Association

         Editor in Chief shall be responsible for keeping a current
        The
list of Association members and publishing said list  at least once
per semester in The Indian Leader

      In the event that any member fails to attend three consecutive
meetings of the Association without excuse        that person may be
removed from the membership rolls of the Association by majority
vote

               Officers

        The    officers         of    the   Association        shall      include    a   President
Vice  President  Treasurer  and  Secretary    The  person elected
President of the Association shall also serve as Editor in Chief
of The Indian Leader and the person elected  Vice President shall
also serve as Executive Editor of The Indian Leader


        Officers      must maintain             academic       good      standing        as    defined
on page 35 of the Haskell Bulletin 19881990     in order to receive
a seqary as specified in Appendix I containing the 19891990  Budget
for The Indian Leader    Decisions made at duly convened   meetings
Of the Association are binding on members


         officers of the Association shall have taken or shall be
        All
currently enrolled in at least one course in English or Journalism
at Haskell  Indian Junior College at the time his or her term of
office shall commence in order to be eligible to hold such office




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        Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 357 of 386
        The     President         shall be   the  Editor    Chief    in
                                                                   and shall   be
responsible             for   the                        of  the  paper  and the
                                    general   operation
Association               The   President   shall pick   up and  distribute mail
dail


     The Editor in Chief shall conduct regular and special                                     meetings
of student  reporters assign stories     edit manuscripts                                       oversee
reporters and lay out The Indian Leader


          Executive
        The          Editor shall   assist the    Editor      Chief in               in
carrying out his  or her assigned  duties  and   shall  succeed   to the
position of  Editor in Chief  in  the  event   of  a  vacancy   in  that
office prior to next regularly scheduled   election


the
          circulation manager shall
        The
                  number            of
                                                          1
                                           recommend to the printers
     approximate         of issues     the newspaper to be published
2
                                                                                           4
      coordinate         distribution                            day   of
                         3
                   the                  of   issues   on   the
publication          maintain   a  current   mailing   list          make
additions deletions corrections and other appropriate changes in
mailing list             5
                    make labels or have labels made           coordinate            6
the process of labeling The Indian Leader for mailing             keep a                  7
file  of  correspondence    and      make  a   8
                                               weekly  report    oral  or
written   to  the Association

        Other
           positions  in the Association shall be established upon
the  majority  vote  of   the members  of the  Association     The
Association shall make the guidelines and prescribe the duties of
all new positions    Officers may be removed from office upon the
vote of twothirds of the members of the Association


IV      PARLIAMENTARY            AUTHORITY

        The               in the current edition of Roberts
              rules contained                                 Rules
                                                          all
of        Newly Revised shall govern the Association
      Order                                            in     cases
to which they are applicable and in which they are not inconsistent
with this Plan of Operation and any special rules of order the
Association         may adopt

V       MEETINGS


        Meetings of the Association shall be held weekly                                 and    will   be

open    to all  Haskell students and to the public

        At    the       beginning       of   each   semester             the   Association        shall
decide    upon      a   day  place for such regular weekly meetings
                                 time and
Once    the   day   and place has been decided by the Association
                         time
and notice  of            such
                     has been   posted on the bulletin board at the
Student  $enate Building no further notice shall be required for
the  Association  to   conduct   business   at such  regular weekly
meetings

        Any meeting of            the   Association       not       held   on the   day        time and

                                                    3




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                                                                                                            Hearinneee
                                        may be properly convened only
placeCase
       of 2:21-cv-02113-JAR-TJJ
           the regular weekly Document
                                meeting 29-3 Filed 07/19/21 Page 358 of 386
upon  three   days prior written notice      Such notice shall be made
to the Association by posting an announcement       of the meeting on The
Indian Leader Bulletin                Board    This    notice requirement shall apply
to any meeting of  the                Association       other than regular meetings
ek4eeleneeetleehisP+aeefelereteeteieneknelerziielgisetxet1ielei4edt
meetings mentioned in Sections                 IIIB
                                         VI and VIIIB of this                                        Plan
of Operation
         A majority of         the members of        the    Association           shall   constitute
a    quorum

VI       EDITORIAL       BOARD   AND    EDITORIAL     CONTROL

      The Editorial Board shall consist of the Association President
and Editor in Chief the Vice President and Executive Editor Copy
Editor the Circulation Manager and the Darkroom Manager        Other
positions   and members of the   Editorial   Board may be added by
majority vote of either the Editorial Board or the members of the
Association     A majority of the members of the Editorial Board
shall constitute  a quorum


     The Editorial Board shall haveprimary responsibility for and
control of the editorial content ofThe Indian Leader   Daytoday
editorial decisions shall be made by the Editor in Chief but any
question of editorial policy may be put to the vote of the Board
Of Editors at any regular or special meeting of the Board of
Editors

         In    the    event
                   that the faculty adviser      any member of the
Editorial       or any member of the Association requests
                 Board                                        prior
to pulplication a special review of any portion of an issue of The
Indian Leader to determine whether  it is libelous or obscene   the
entire        Editorial    Board      shall


to
                a
                carefully read and evaluate the identified
      determine whether it is libelous or obscene
                                                                                               material



                b      seek     the advice
                              in the field
                                                of
                                          faculty  adviser
                                                       the and    if

possible experts                of student press rights and the law
                                     legal counsel  and journalists
of  libel and
                                                                                           DC
               obscenity  such   as
designated by the Student Press Law Center in Washington        the
Journalism Education Association or College Media Advisers and


                c
             consult when appropriate authoritative treatises for
     detailed
morizi
                guidance in  determining whether   the identified
material is libelous or obscene  such as

                      1       Louis    E  Ingelhart  Freedom  for the                           College
Student       Press    Westport         Conn  Greenwood  Press 1985                             125151
on libel             159168 on obscenity                   and


                      2 Student        Press   Law Center                Law of the Student       Press




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Washington        DC           Student    Press    Law   Center   1985     3138      on
libel 3841         oe obscenity
              d identified
                 make    final independent determination
                          a                                          of   whether    to
publish the                          material
                                      and

              e report        its    determination to the faculty adviser within
24    hours   following       such    decision


      Any student who has submitted an article for publication may
withdraw that article prior to publication upon reasonable written
notice  to the Editor in Chief provided   that   such withdrawal can
be accomplished  without a substantial delay  in  publication

VII     FACULTY   ADVISER

     One or more   faculty advisers  may                  be  appointed  by Haskell
Indian Junior College to assist students                  in the publication of The
Indian    Leader

     The      faculty adviser to          the  may freely advise and
                                                Association
instruct      student editors and               subject of journalism
                                          reporters in the
and relevant professional  standard commend    and  critique the work
product of student   journalists    offer fiscal   and   technological
guidance  to  the  newspaper  staff   in  business   and   productions
operations and provide whatever assistance to the newspaper and the
student jourealists the faculty adviser deems appropriate

     A faculty adviser may make nonbinding recommendations to the
student editors which they may in their sole discretion  take into
consideration in the free exercise of their independent  editorial
judgment

      Although a faculty adviser of the Association may freely offer
advice   and  assistance   to  student  members of  the  Association
neither   the  faculty   adviser  nor any  other Haskell  officer  or
employee has the right to censor       edit or modify in any way the
content of The Indian Leader

      The faculty adviser is under an affirmative duty to facilitate
the  disbursement of such funds belonging     to the Association   as
directed by the Editorial Board and the Association by majority
vote supported by written resolution which are reasonably related
to the management and publication   of The Indian Leader


      The faculty adviser shall to the best of his or her ability
adhere to the ethical standards set forth in the attached Code of
Ethics of College Media Advisers


         right of the Association to publish The Indian Leader
        The
shall not be conditioned   upon the prior appointment of a faculty
adviser  by  Haskell    Indian   Junior  College     Consequently




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                                                                                          U SA000887
              of        Indian Leader
      Case 2:21-cv-02113-JAR-TJJ
publication        The                    29-3 not
                                       shall
                                 Document       Filedbe
                                                      07/19/21   Page 360 as
                                                          interrupted         a
                                                                          of 386
result of the inability or unwillingness of         Haskell    Indian  Junior
College to appoint     a faculty adviser to work with the Association
in   the   event   of   a   vacancy    in that      position

                                                                  to facilitate the
disbursement of funds reasonably                    related to the management an
publication of The Indian  Leader                   as determined by the Editorial
Board or the Association by majority vote


VIII       SALARIED     POSITIONS     OF   THE   INDIAN   LEADER

              Officers With        Salaries

      Salaried positions in the   Association   shall  be  those of

President    Vice President  Copy   Editor    Circulation   Manager
Darkroom Manager   The Typesetter shall also receive    a salary


       B      Assistant      Officers

       Assistant  officers shall be elected by majority vote Of the
members  of the Association at the beginning      of the last semester
prior   to   the   graduation   of   each  salaried   officer   of  the
Association      Such assistant officers shall serve as apprentices
to  the                officers  for   the           of  receiving  the
          graduating                        purpose
necesslry training and experience to assume the responsibilities
of  the   graduating   officer  after   commencement     The  assistant
officers         assume the
               shall           office  and  responsibilities  of  the

graduating officers on the date of the   next commencement at Haskell
Indian   Junior College  following   their appointment as assistant
officers    Any office not so filled by an assistant officer shall
be filled  by majority vote of the members of the Association in a
regular or special election

IX     COMPENSATION         AND   AWARDS

       Compensation         and   awards    shall   be as specified      in   this Section
VIII

     Salaried positions shall be compensated  according to the rates
and amounts specified  in Appendix I containing the 198990    Budget
for The Indian Leader    Students holding salaried positions shall
not be paid any Other compensation  specified in this section

      Student reporters  shall be paid   $125 per column inch for
articles published    Student photographers shall be paid $500 for
each photograph published    Student artists shall be paid an amount
to  be determined by majority vote    of  the Association   for each

published illustration or cartoon

         amount and disbursement of monies for any type of contest
       The
sponsored by The Indian Leader must be approved by majority vote




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           Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 361 of 386
of    the       Association

X          ACCOUNTS

           A      Activity      Fund

      Any funds allocated to The Indian Leader Association from the
student  activity fee paid by each student of Haskell Indian Junior
College each semester shall be deposited      in The  Indian Leader
Association   Activity  Fund in  the  Student  Bank    Other monies
received or collected by Haskell on behalf of the Association shall
alao be deposited in that Activity Fund


     Any officer editor or any other member of the Association or
any currently enrolled student or alumnus of Haskell Indian Junior
College may upon written request examine the records of account
of The Indian Leader Association Activity Fund in the Student Sank
and may obtain a copy of any such records of account at his or her
own expense

           A    summary     of   the records           of   account     shall    be        published
annually          in The    Indian Leader


           In    the    absence    of a  finding by           the     Association      of     First
Amendment   Grounds                        by Students
                                for Funds Withdrawal     as described
in     thefollowing  paragraph  withdrawal   from the  Indian  Leader
Association Activity Fund shall be made by a faculty          adviser
supported    by signatures from a student   member of the Editorial
Board and the Association President


           Tn    the    event      Association or the Editorial
                                  that   the                           Board
passes  by             23
                    twothirds       vote   a  resolution   finding   First
Amendment    Grounds   for Funds withdrawal     by Students withdrawal
from the Indian Leader Association Activity         Fund shall be made by
President    of   Haskell  Indian  Junior College      if  the  request   is

reasonably related to the management or publication of The           Indian
Leader supported by the signatures of the Association President
and  another member of       the  Editorial    Board      First Amendment
grounds  for Funds Withdrawal      by  Students    exist  whenever  Haskell
Indian Junior College has failed to appoint          at least one faculty
adviser   to   the Association or whenever       the Association     by 23
twothirds vote reasonably determines that a faculty adviser                                       1
is in any way obstructing     the publication of The Indian Leader                                2
refetes    to   comply with    requests   from the    Association   or   the
editorial     board   for  disbursements                  related   to   the
                                                                                3Indian
                                             reasonably
management or publication of The Indian Leader or                                   attempts      in
anyway to censor edit or modify the content of The                                      Leader

           Each    withdrawal  Indian Leader Association Activity
                                    from   The
Fund must be approved by a majority vote of the Editorial Board or
the Association and  supported by written resolution     Each such
resolution must explain the purpose of every withdrawal of funds

                                                   7




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   Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 362 of 386
Receipts  shall be collected
disbursement of all funds
                              within five       days          5
                                                      following the
                            A full written accounting of any monies
withdrawn pursuant to a resolution finding First Amendment Grounds
for Funds  Withdrawal  by  Students   shall be given to a faculty
                          4                    to the President   of
                                                              5
                     =                adviser
Haskell Indian Junior College within five        days following t
withdrawal transaction


        Nothing    herein   binds   the federal government or Haskell                     to
spend    federal    appropriated     funds to publish The Indian Leader


               Club Fund


      Money  raised   by  members   may    at  the   election  of   the
Association be deposited into a Club Fund at the       Student Bank  or
in an off campus account   at a local bank in Lawrence    Kansas  Such
money        be  withdrawn    for          1
                                        student    entertainment                          2
                                           3
        may
contracting outside services and       such other uses benefiting the
Association as the Editorial Board may in its         sole discretion
determine to be necessary or appropriate

      In the absence of a determination by the Association of First
Amendment   Grounds for Funds Withdrawal  by Students   as described
in the following paragraph   withdrawal from a Club Fund maintained
at the student Bank shall be made by faculty adviser    supported by
signatures from any two student officers of the Association

        In   the   event    that Association or the Editorial
                                   the                                 Board
passes   by majority vote    a  resolution    finding    First    Amendment
Grounds for Funds Withdrawal by Students withdrawal           from the Club
Fund shall be made by the        President of Haskell       Indian    Junior
College supported by the signatures of the Association            President
and another officer of the Association          First Amendment Grounds
for Funds Withdrawal    by Students     exist whenever     Haskell    Indian
Junior College has failed to appoint at least one faculty adviser
to the Association or whenever     the Association      by majority vote
reasonably determines    that               adviser                 1
                                                           is in any way
                                                                         2
                               a  faculty
obstructing   the publication  of The    Indian Leader           refuses to
comply  with  requests from the Association or       the  editorial    board
for   disbursements                  related    to   the   management      or

                                                      3
                      reasonably
publication of The Indian Leader or              attempts in any way to
censor edit or Modify the content of The Indian Leader

        Eachwithdrawal   from the Club Fund      must be approved by a
majority   vote   of the    Editorial  Board    or the  Association   and

supported by written resolution       Each such resolution must explain
the  purpose   of  every   withdrawal   of   funds    Receipts  shall be
collected following the disbursement of all funds         A full written
accounting  of any monies withdrawn pursuant to a resolution finding
 First Amendment Grounds for Funds Withdrawal by Students shall
be given to a faculty adviser or if        there is no faculty adviser
to the President of Haskell Indian Junior College within five                             5



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days    following    the   withdrawal    transaction

       C     Contributions     for Mailed    Subscriptions

       The  Indian L
       neinterested   in receiving    a copy     Any person wishing    to
receive a mailed subscription to The Indian Leader will be asked
to  make    a  $500    contribution   directly   to  the  Indian   Leader
Association    Activity  Fund  by   check   or money   order    The  next
edition of the Haskell Bulletin shall be amended to provide for the
payment of such $500 contributions       directly into The Indian Leader
Association Activity Fund rather than the Haskell Foundation            a
tax exempt organization which has not direct relationship with and
provides no funding to The Indian Leader Association

             Off Campus     Bank   Account

       Those    monies     whichreceived
                                   are      collected  or raised  off
campus by      the
               Association  without   any intermediation  by Haskell
may be deposited at the election of the Association in either the
Student Sank account  or in an off campus    account maintained at a
local bank in Lawrence   Xansas   No disbursement from an off campus
bank account  shall be made however      without the signature of at
least two officers of the Association on the draft drawn on such
local bank   A copy of the monthly accounts of such off campus bank
account shall be published   regularly in The Indian Leader




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                                     APPENDIX         I




                              AGET    FOR       THE   INDIAN   LEADER                                 fifty



                                                                                                       Itti




   Position                           Salary                     Times       12    Issues



Editor in Chief               $3350                                     40200

Executive    Editor            3350                                     40200

Copy Editor                    3350                                     40200

Circulation    manager         3350                                     40200

Darkroom    Manager            33450                                    40200

Typesetter                     3350                                     40200

Assistant    Circulation       3350                                     40200

Assistant    Darkroom          3350                                     40200

Assistant    Typesetter        3350                                     40200

Freelance    Compensation     50000     per sem                  $100000               x2   sem
Miscellaneous                 30000     per sem                      60000             x2   sem
Travel   Expense              75000     per sem                   150000               x2   sem

                   TOTAL    $315800     per           sem        $671800               x2 sem




                                            0




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                            PLAN   OF   OPERATION   APPROVAL



        College    Officials                                Date   Approved




PRESDENT




DIRECTOR    OF    STUDENT   ACTIVITIES




STUDENT    SENATE    PRESIDENT




ALishvkciA
SPONSOR



       Organization    Officers                                Date   Approved




PRESIDENT                                            DATE




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VICE    PRESIDENT




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Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 366  of 386
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                                                                                      OISTPICI       OF XANSAS
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                                                                                  JEP                 1414   M 8q
  THE   INDIAN       LEADER     ASSOCIATION            ET    AL
                                                                                      El   r
                                                                                                             Vq

                                     Plaintiffs
                                              114                                              I
                                                                                                             Wfmry
                                                                                                             KS
                                                                                                               VI   I




  VS                                                          Case    No    894083R

  UNITED     STATES      DEPARTMENT         OF   THE    INTERIOR
  ET    At
                                     Defendants



                         ORDER       APPROVING         SETTLEMENT         AGREEMENT

           NOW ON this 18th day of               September  1989   the parties appear
  before     the Court  to announce              a  eattletent  of  the claims  of the
  Plaintiffs         herein          The   Plaintiffs appear through their attorney
  Patrick        R
             Nicholsy                the   Defendants appear through   their attorney
  David  Cooper

           WHEREUPON        the parties announce  to the                        Court          that      they have
  settled        and     resolved  their  differences                           and        entered          into  a

  settlement         agreement        in   writing          which    is   appended                 hereto

       WREREuPON  the   Plaintiffs move orally  to dismiss  without
  prejudice all parties hereto with the exOeption of Haskell Indian
  Junior College   The Court sustaine Said motion


        THEREUPON  the Court reviews the settlement agreement between
  the  parties guaranteeing      the  rights of free expression  to the
  Indian  Leader  Aesociation   and the student  journalist Plaintiffs
  and find said agreement    is   valid just and equitable    The Court
  approves       the    agreement

       Pursuant   to   Paragraph   14 of   the  settlement  agreement    the
  Plaintiffs move     to dismiss the     remaining party    Haskell   Indian
  Junior College of the Bureau of Indian          Affairs subject    to  the
  provisions  and    terms   of  the  settlement    agreement    The   Court
  sustains the motion     and orders that the action     be dismissed upon
  the terms of said motion


           The   Court orders         that hereafter           the   settlement    agreement shall
  immediately          bind    the    parties     to    all    of    its    provisions and govern
  their     conduct      accordingly

                                             isLEICHARD                   ROMS
                                            Honorable      Richard D Rogers
                                            United      State District Judge




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Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 367 of 386




   atrick    R   Nichols
  Attorney at Law
  700 Jackson   Suite 703
  Topeka  Kansas   66603
  913    3574050
  Ks S Ct No         09396
  Attorney   for   Plaintiffs




  David Cooper
  Assistant United     States  Attorney
  US   Department     of justice
  444  SE  Quincy
  Topeka Kansas       66603




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   Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 368 of 386
                          SETTLEMENT       AGREEMENT

      This Settlement Agreement is made between   the Indian Leader
Association  Marcel Stevens LaereY ChaPPenteArdinaGlenneeCynthiae
Grant TenaMeltoniEareeyR6SgTCordell        Whitetree and Catherine
Williams and Haskell Indian Junior College of the Bureau of Indian
Affairs of the United States Department of Interior to settle and
compromise issues before the United States District Court for the
District of Kansas in Indian Leader Association           v
                                                       United States
Department of the Interior Case No 894063R         filed March 30
1989
      1    Parties to Settlement Agreement            The parties  to this
Settlement Agreement are the plaintiff         Indian Leader Association
an unincorporated    student association which publishes The Indian
Leader the Association          and plaintiffs     Marcel Stevens    Laurey
Chapman Ardina Glenn Cynthia Grant Tina Melton Harvey Ross
Cordell Whitetree and Catherine Williams individually and in their
capacities   as   editors                  and   representatives    of   the
                             reporters
Association Plaintiffs           and   defendant    Haskell Indian   Junior
College  of  the   Bureau  of  Indian    Affairs of the     United   States
Department of the     Interior   Haskell          which enters into this
Settlement   Agreement through      the   agency   of   Jim Baker    Acting
President of Haskell

      Nothing in this Settlement Agreement shall have any bearing
on the academic  standing of the named plaintiffs or any member of
the Indian Leader Association   Not Shall this Settlement Agreement
bear on the eligibility of a student to serve as          an officer of the
Indian  Leader Association  under  the  colleges           rules  governing
extracurricular activities

      2   Student  Editorial Control    The parties agree that the
members of the Association and the Editorial Board of The Indian
Leader have the right to editorial control of the contents of The
Indian  Leader  newspaper  as described   in the  attached Plan of
Operation of the Indian Leader Association Plan of Operation

      3    No Prior Restraint or Censorship Haskell agrees           that no
officer    agent instructor or employee of Haskell shall

           a censor     edit  or modify the contents
                   in violation of the First Amendment
                                                       of The
                                                        of the
                                                                     Indian
                                                                     United
Lealer newspaper
States Constitution


            b restrain obstruct
          Leader
                                            the publication of The
                                     or prohibit
Indian         newspaper or otherwise inhibit the free expression
of members of the Association in violation of the First Amendment
of  the United   States  Constitution   however  nothing   in this
Settlement Agreement shall prevent Haskell the BIA the Department
of the Interior or Congress from withdrawing  any federal funding
for The Indian Leader or from disposing of the printing press             on
                                       1




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      Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 369 of 386
the    Haskell                       to  the provisions  of the  Federal
                    campus pursuant
Property     and    Administrative Services Act or other applicable law

             c suspend           the   publication of The          Indian Leader      newspaper

adviser     to   the    Indian    Leader newspaper        or       the   Association

             d         any written request for the disbursement of
                    refuse
funds reasonably related to the Management or publication of The
Indian Leader   from the Indian    Leader Association Activity Fund
the  Club  Fund or   any  other  Indian Leader   Association  account
containing  student  monies in the Haskell    Student  Bank which   is

supported  by a written   resolution of the Editorial Board of     The
Indian Leader or the full     membership of the Association finding
 First Amendment    Grounds  for  Funds Withdrawal   by Students    as
described in the attached   Plan of Operation

             e  refuse   to  approve    a   Plan   of   Operation     for the
Association    substantially     similar    to   the     attached    Plan     of
Operation which is incorporated herein by reference               and made an
integral part hereof and which shall be the Plan of Operation in
effect  for the 19891990     school year or suspend the publication
of The Indian Leader on the grounds       that the Plan of Operation has
not  been   approved    provided     that   nothing    in    this  Settlement
Agreement shall prevent Haskell from establishing a journalism or
communications department and incorporating         The Indian Leader into
the  curriculum Of     such  an   academic    program that if          such   an
academic   program  is  established    Haskell    and   the   members   of  The
Indian Leader Association may revise the Plan of Operation of The
Indian Leader Association     to reflect incorporation          of The   Indian
Leader under the curriculum of that program provided further that
nothing   in this Settlement    Agreement is intended to prevent the
members  of The Indian Leader Association        from adopting      a Plan of

Operation     or other   organic    operating charts       or substantially
dissimilar to the attached Plan of Operation or


             f      have   the right to excise any material from The Indian
Leader     on the      grounds that it  is either libelous or obscene


       4  Role of Faculty Adviser     The   parties agree that   the
faculty  adviser  shall  discharge his    or  her  responsibilities
consistent with the following guidelines

             ainstruct
                    The    faculty adviser   to the Association                     may    freely
Advise     and                student editors and reporters in                      the subject
of   journalism and relevant        professional standards                          commend and
critique   the  work  product  of  student  journalists offer fiscal and
technological     guidance   to   the  newspaper   staff in business and
production     operations   and    provide   whatever  assistance to the
newspaper    and the student journalists the faculty adviser deems
appropriate




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              b A faculty adviser may make nonbinding recommendations
to the student editors which they may in their sole discretion
take into consideration in the free exercise of their independent



                     Although
                          faculty aadviser of the Association may
freely       offer         assistance
                      advice    and    to   etudent   members of the
Association  neither  the  faculty  adviser   nor  any  other Haskell
officer or employee has the right to censor edit or modify in any
way the content of The Indian Leader

              d The faculty adviser
                                  is under an affirmative
                                                allocated
                                                              duty to
                                                              to  the
facilitate  the  disbursement  of   such funds
Association as directed by the Editorial Board and the   Association
by  majority vote    supported by written   resolution    which   are
reasonably related to the management and publication  of  The  Indian
Leader

              e   faculty adviser shall to the best of his or her
                     The
ability  adhere to the ethical standards set forth in the attached
Code of Ethics of College Media Advisers


        5   Responsibility  of  Student   Journalists       Sole   legal
responsibility for the contents of The Indian Leader         shall   rest
with the individual members of the Indian Leader       Association     as

recognized in 25           CFR
                         S 423         1988
                                          No legal responsibility     for
the contents of The Indian Leader shall be imputed to Haskell          or
the  faculty adviser the Bureau of Indian Affairs or         the United
States Department of the Interior    Plaintiffs understand that they
may be held personally accountable    for the contents   of The Indian
Leader  in a   court of   law  if  those   contents  are   libelous    or
obscene   or infringe copyrights or trademarks      or otherwise     give
rise    to   civil    liability

        6Newspaper Recount in the Student Bank     Those monies which
may   be received   or   collected   by  Haskell  on   behalf  of  the
Association    such  as   the  Associations   allocation   of  student
activity fees if any shall be maintained in the Haskell Student
Bank in strict   compliance   with the applicable rules contained in
the Bureau of Indian Affairs Manual              nBIAM
                                                  this section of the
Settlement Agreement and the Plan of Operations      Such monies shall
be

              a      the   subject of a separate accounting in   the   Haskell
Student      Bank    and   assigned a separate account number

              b
             the subject of a monthly account  statement prepared
                                                              the
by    theHaskell Student  Bank which shall  be  presented  to
President of the Indian Leader Association and

              c    disbursed in accordance
             attached
                                           with this Settlement    Agreement
and    the              Plan of operations

                                         3




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             7 Off Campus flank Account Those monies which are received
       collected   or raised off campus       by the Association         without any
       intermediation by Haskell may be deposited at the eleeteLee et tle
JkeesacJAWArneesisneeethertherleterretTTMMM7FFEUUTst           ar in an off campus
       account   maintained     at  a  local   bank   in  Lawrence      Kansas       No
       disbursement    from    an  off campus    bank    account    shall    be   made
       however    without the signature of at least two officers of the
       Association   on the draft drawn on such local bank                copy of the   A
       monthly accounts of such off campus bank account shall            be  published
       regularly   in   The   Indian    Leader      Nothing   in    this    Settlement
       Agreement   shall   be   read to prohibit Haskell         from devising      and
       implementing procedures       for managing   and accounting     for   on campus
       revenue raising activities       of students


               8  Elections  As soon as possible following the execution
       of  this Settlement  Agreement the President of the Association
        shall call a meeting of the membership of the Association for the
       purpose       of  electing  the editors of The   Indian Leader  and  the
       officers       ofthe Association for the 19891990   academic year   This
       meeting       shall be called within the first 30 days of the beginning
       of    the    fall     1989   semester    at    Haskell

             9    Control of Contributions   for Subscriptions   voluntary
       contributions   made by individuals for subscriptions to The Indian
       Leader shall no longer be paid to the Haskell Indian Junior College
       Foundation   and shall instead  be paid directly to the Association
       Club Account   in the Student  Bank

               10      Waiver       of   Claims       This   Settlement
                                                     Agreement represents
       the     final               between  the  parties   concerning    the
                            understanding
       resolution of the issues before the United States District Court
       for the District of Kansas in Indian Leader Association v      United
       Statqs Department of Interior Case No 894063e      filed March      0
       1989 All parties to this Settlement Agreement hereby release the
       others  from any claims or causes of action    and the parties and
       their counsel  agree not to initiate or cause to be initiated     any
       further proceedings  between any of the parties or their counsel
       or make       any     further     requests     regarding the        facts   of   this     case

               11          Covenant     of      and Fair Dealing
                                             Good    Faith           The parties
       agree to interpret        implement this Settlement Agreement in good
                                       and
        faith and with due regard fot both the First Amendment         rights of
       student    journalists     and     the    legitimate    educational    and
       administrative   interests of Haskell        It is the central purpose of
       this Settlement Agreement to secure the regular publication of The
       Indian Leader free from any prior restraint or censorship             This
       Settlement Agreement is contingent       upon the reciprocal  performance
       of the specified    obligations by all of the parties        In the event
       that  any  party   acts  in bad     faith or breaches    this  Settlement
       Agreement   the aggrieved party shall be free to pursue appropriate
       legal  remedies   in a court    of   law     Nothing  in this  Settlement




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            Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 372 of 386
Agreement shall be construed to restrict or limit the right of any
of the parties to commence litigation if any party fails to comply
with all of the terms and conditions of this Settlement Agreement

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of the  federally authorized  printing                       press     Haskell is subject
                                                                          at
to the Government Printing and Binding                       Regulations published by the
Joint Committee on Printing of the                       US    Congress     see 44          USC
SS    103       501    502

      13   Recognition of Mutual Rights       Any and all rights and
responsibilities under this Agreement are set forth in recognition
of the mutual rights of the defendant     Haskell and the rights of
the students to free speech press and expression        The Agreement
recognizes  various  rights of Haskell
of Operation in conjunction
to reduce or eliminate
                                         hereunder to


                                                    3b
                                                      alter
                                with the student journalists
                          funding
                                                             the Plan


                                           and to dispose of or sell
                                                                                           3e
the printing presses    under various provisions of this Agreement
12     These rights may not be exercised by Haskell in response to
or as a result of    articles photographs    or any other content of
The Indian Leader     Further such actions may not legitimately be
performed  under  this Agreement as a form of prior restraint      or
otherwise as intended to limit or restrict the free expression of
ideas  or rights to the students    as recognized   in this Agreement
Any exercise  by Haskell of  the rights noted  in this  paragraph shall
be done following notice to The Indian Leader Association stating
the action to be taken and the reasons therefor       Such notice shall
be delivered   to the   editor in chief   and posted    on  the Student
Activities bulletin board at least thirty            days prior to any   30
such contemplated  action

           14
            Signature and Court Approval        This Agreement shall be
signed   by all the parties named in section 1 of this Settlement
Agreement    or   their  duly    authorized    representatives         This
Settlement Agreement shall be submitted to the Honorable Richard
D Rogers Judge for the United States District Court for the
District   of   Kansas   for  final   approval   and shall    not   become
effective until such final approval is obtained         After  such  final
approval   has  been  obtained    the Plaintiffs    shall  agree   to the
dismissal   without   prejudice    of  the  action   against   all   named
defendants   except  Haskell     The Settlement    Agreement shall then
immediately           remaining parties to all of its provisions
                      bind      the
and    a
      pidgment    dismissalofof the action subject to the terms of
the Settlement Agreement shall then be jointly submitted to the
court by the remaining parties


           IN   WITNESS      WHEREOF        the   parties have caused this Settlement
Agreement        to   be     executed       by   their duly authorized representatives
on    this                       day   of                                1989




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 Case 2:21-cv-02113-JAR-TJJ Document 29-3 Filed 07/19/21 Page 373 of 386
THE                LEADER ASSOCIATION         HASKELL    INDIAN   JUNIOR
      INDIAN                                                               COLLEGE




MARCEL  STEVENS                                tTPM BAKER
Managing Editor and President                  Acting President
The Indian Leader Association                  Haskell    Indian Junior College




CYNTIIIA     GRANT                             DAVID M COOPER
Student      Journalist                         Assistant     US
                                                              Attotney
                                                  Counsel    for the   Defendant




Student      Journalist




 ORDELL      WHITETREE
Student      Journalist




DARIO    F    ROBERTSON
Counsel      for    Plaintiffs




PATRICK      R     NICHOLS
Counsel      for    Plaintiffs




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                       THE           LEADER ASSOCIATION
                                INDIAN
                       Haskell      IndianJunior College
                             Lawrence   Kansas  66046




I       N


        The name of this organization is The Indian Leader Association
and    shall hereafter be referred to as the Association

II      PURPOSE

     The purpose of the Association              is   to produce   The     Indian Leader
newspaper   an independent student      publication       the        and
                                                               Haskell
Yearbook      The  Indian   Leader  newspaper  will  be produced    and
published approximately     sixtimes each semester and the Haskell
Yearbook will be produced and published the spring semester of each
school year    The Association will also maintain a separate account
to accept  funds and donations on behalf of the newspaper      and for
disbursing  cash  payments as incentives   to students who  contribute
articles photographs     and illustrations to The Indian Leader

       The      Leader is a nationally distributed Native American
             Indian
newspaper edited and published by students at Haskell Indian Junior
College for the purpose of promoting the free and informed debate
and  discussion of         1       of  special  interest  to  Haskell
                            2
                          topics
students  and alumni        issues of special   importance to Native
Americans generally and       3
                              all newsworthy topics and public issues
of    general   interest   toAmerican        citizens

     The Indian Leader is published      by the students   at Haskell
Indian  Junior College and the members of the Association in the
exercise of their individual rights to free speech and freedom of
the press guaranteed   by the First Amendment of the United States
Constitution    These fundamental First Amendment rights have been
expressly recognized as rights which individual students enjoy who
attend Bureau of Indian Affairs schools in Part 42 of Title 25 of


                                             f 1988
the Code of Federal Regulations      Student  Rights and Due Process
Procedures   25       CFR          423e           These basic rights
have also been reaffirmed in Part III   of the Code of Student Rights
and Responsibilities of Haskell   Indian Junior College                      1988
       The    Indian Leader Association is committed to improving the
ability      of  Native Americans to  determine their own destiny by
providing an open public      forum in which all   concerned citizens
regardless of race creed color sex religion or national origin
might freely discuss the important public issues of the day         The
members of the Association believe that by providing such a public
forum     readers    and   contributors    alike will   improve   their
understanding   of  the  true  meaning  of leadership  citizenship  and
democracy   in contemporary American society through an open honest

                                             1




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                      exchange of Views
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III     MEMBERSHIP        AND    OFFICERS OF THE          ASSOCIATION

        A      General

        To    qualify as    a    member of the Association                  an    individual        musts


               a     be    an        enrolled    student       at       Haskell    Indian       Junior
College

               b     submit a news          story essay proposed editorial                          poem
short story photograph or any other journalistic or literary work
not including   advertisements letters to the editor and notices
for  publication   in  The Indian  Leader  or  participate  in the
production  or circulation   of The Indian Leader or the Haskell
Yearbook


               c     receive  written notice that the submission
                                  in The Indian Leader and
                                                                                              has    been
accepted       for   publication


intention
               d     inform          theAssociation orally or in writing                               an
                to   become      a    member of the Association

         Editor in Chief shall be responsible for keeping a current
        The
list of Association members and publishing said list  at least once
per semester in The Indian Leader

      In the event that any member fails to attend three consecutive
meetings of the Association without excuse        that person may be
removed from the membership rolls of the Association by majority
vote

               Officers

        The    officers         of    the   Association        shall      include    a   President
Vice  President  Treasurer  and  Secretary    The  person elected
President of the Association shall also serve as Editor in Chief
of The Indian Leader and the person elected  Vice President shall
also serve as Executive Editor of The Indian Leader


        Officers      must maintain             academic       good      standing        as    defined
on page 35 of the Haskell Bulletin 19881990     in order to receive
a seqary as specified in Appendix I containing the 19891990  Budget
for The Indian Leader    Decisions made at duly convened   meetings
Of the Association are binding on members


         officers of the Association shall have taken or shall be
        All
currently enrolled in at least one course in English or Journalism
at Haskell  Indian Junior College at the time his or her term of
office shall commence in order to be eligible to hold such office




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        The     President         shall be   the  Editor    Chief    in
                                                                   and shall   be
responsible             for   the                        of  the  paper  and the
                                    general   operation
Association               The   President   shall pick   up and  distribute mail
dail


     The Editor in Chief shall conduct regular and special                                     meetings
of student  reporters assign stories     edit manuscripts                                       oversee
reporters and lay out The Indian Leader


          Executive
        The          Editor shall   assist the    Editor      Chief in               in
carrying out his  or her assigned  duties  and   shall  succeed   to the
position of  Editor in Chief  in  the  event   of  a  vacancy   in  that
office prior to next regularly scheduled   election


the
          circulation manager shall
        The
                  number            of
                                                          1
                                           recommend to the printers
     approximate         of issues     the newspaper to be published
2
                                                                                           4
      coordinate         distribution                            day   of
                         3
                   the                  of   issues   on   the
publication          maintain   a  current   mailing   list          make
additions deletions corrections and other appropriate changes in
mailing list             5
                    make labels or have labels made           coordinate            6
the process of labeling The Indian Leader for mailing             keep a                  7
file  of  correspondence    and      make  a   8
                                               weekly  report    oral  or
written   to  the Association

        Other
           positions  in the Association shall be established upon
the  majority  vote  of   the members  of the  Association     The
Association shall make the guidelines and prescribe the duties of
all new positions    Officers may be removed from office upon the
vote of twothirds of the members of the Association


IV      PARLIAMENTARY            AUTHORITY

        The               in the current edition of Roberts
              rules contained                                 Rules
                                                          all
of        Newly Revised shall govern the Association
      Order                                            in     cases
to which they are applicable and in which they are not inconsistent
with this Plan of Operation and any special rules of order the
Association         may adopt

V       MEETINGS


        Meetings of the Association shall be held weekly                                 and    will   be

open    to all  Haskell students and to the public

        At    the       beginning       of   each   semester             the   Association        shall
decide    upon      a   day  place for such regular weekly meetings
                                 time and
Once    the   day   and place has been decided by the Association
                         time
and notice  of            such
                     has been   posted on the bulletin board at the
Student  $enate Building no further notice shall be required for
the  Association  to   conduct   business   at such  regular weekly
meetings

        Any meeting of            the   Association       not       held   on the   day        time and

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                                                                                                            mAnnnanA
                                        may be properly convened only
placeCase
       of 2:21-cv-02113-JAR-TJJ
           the regular weekly Document
                                meeting 29-3 Filed 07/19/21 Page 377 of 386
upon  three   days prior written notice      Such notice shall be made
to the Association by posting an announcement       of the meeting on The
Indian Leader Bulletin                Board    This    notice requirement shall apply
to any meeting of  the                Association       other than regular meetings
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meetings mentioned in Sections                 IIIB
                                         VI and VIIIB of this                                        Plan
of Operation
         A majority of         the members of        the    Association           shall   constitute
a    quorum

VI       EDITORIAL       BOARD   AND    EDITORIAL     CONTROL

      The Editorial Board shall consist of the Association President
and Editor in Chief the Vice President and Executive Editor Copy
Editor the Circulation Manager and the Darkroom Manager        Other
positions   and members of the   Editorial   Board may be added by
majority vote of either the Editorial Board or the members of the
Association     A majority of the members of the Editorial Board
shall constitute  a quorum


     The Editorial Board shall haveprimary responsibility for and
control of the editorial content ofThe Indian Leader   Daytoday
editorial decisions shall be made by the Editor in Chief but any
question of editorial policy may be put to the vote of the Board
Of Editors at any regular or special meeting of the Board of
Editors

         In    the    event
                   that the faculty adviser      any member of the
Editorial       or any member of the Association requests
                 Board                                        prior
to pulplication a special review of any portion of an issue of The
Indian Leader to determine whether  it is libelous or obscene   the
entire        Editorial    Board      shall


to
                a
                carefully read and evaluate the identified
      determine whether it is libelous or obscene
                                                                                               material



                b      seek     the advice
                              in the field
                                                of
                                          faculty  adviser
                                                       the and    if

possible experts                of student press rights and the law
                                     legal counsel  and journalists
of  libel and
                                                                                           DC
               obscenity  such   as
designated by the Student Press Law Center in Washington        the
Journalism Education Association or College Media Advisers and


                c
             consult when appropriate authoritative treatises for
     detailed
morizi
                guidance in  determining whether   the identified
material is libelous or obscene  such as

                      1       Louis    E  Ingelhart  Freedom  for the                           College
Student       Press    Westport         Conn  Greenwood  Press 1985                             125151
on libel             159168 on obscenity                   and


                      2 Student        Press   Law Center                Law of the Student       Press




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Washington        DC           Student    Press    Law   Center   1985     3138      on
libel 3841         oe obscenity
              d identified
                 make    final independent determination
                          a                                          of   whether    to
publish the                          material
                                      and

              e report        its    determination to the faculty adviser within
24    hours   following       such    decision


      Any student who has submitted an article for publication may
withdraw that article prior to publication upon reasonable written
notice  to the Editor in Chief provided   that   such withdrawal can
be accomplished  without a substantial delay  in  publication

VII     FACULTY   ADVISER

     One or more   faculty advisers  may                  be  appointed  by Haskell
Indian Junior College to assist students                  in the publication of The
Indian    Leader

     The      faculty adviser to          the  may freely advise and
                                                Association
instruct      student editors and               subject of journalism
                                          reporters in the
and relevant professional  standard commend    and  critique the work
product of student   journalists    offer fiscal   and   technological
guidance  to  the  newspaper  staff   in  business   and   productions
operations and provide whatever assistance to the newspaper and the
student jourealists the faculty adviser deems appropriate

     A faculty adviser may make nonbinding recommendations to the
student editors which they may in their sole discretion  take into
consideration in the free exercise of their independent  editorial
judgment

      Although a faculty adviser of the Association may freely offer
advice   and  assistance   to  student  members of  the  Association
neither   the  faculty   adviser  nor any  other Haskell  officer  or
employee has the right to censor       edit or modify in any way the
content of The Indian Leader

      The faculty adviser is under an affirmative duty to facilitate
the  disbursement of such funds belonging     to the Association   as
directed by the Editorial Board and the Association by majority
vote supported by written resolution which are reasonably related
to the management and publication   of The Indian Leader


      The faculty adviser shall to the best of his or her ability
adhere to the ethical standards set forth in the attached Code of
Ethics of College Media Advisers


         right of the Association to publish The Indian Leader
        The
shall not be conditioned   upon the prior appointment of a faculty
adviser  by  Haskell    Indian   Junior  College     Consequently




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              of        Indian Leader
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publication        The                    29-3 not
                                       shall
                                 Document       Filedbe
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                                                          interrupted         a
                                                                          of 386
result of the inability or unwillingness of         Haskell    Indian  Junior
College to appoint     a faculty adviser to work with the Association
in   the   event   of   a   vacancy    in that      position

                                                                  to facilitate the
disbursement of funds reasonably                    related to the management an
publication of The Indian  Leader                   as determined by the Editorial
Board or the Association by majority vote


VIII       SALARIED     POSITIONS     OF   THE   INDIAN   LEADER

              Officers With        Salaries

      Salaried positions in the   Association   shall  be  those of

President    Vice President  Copy   Editor    Circulation   Manager
Darkroom Manager   The Typesetter shall also receive    a salary


       B      Assistant      Officers

       Assistant  officers shall be elected by majority vote Of the
members  of the Association at the beginning      of the last semester
prior   to   the   graduation   of   each  salaried   officer   of  the
Association      Such assistant officers shall serve as apprentices
to  the                officers  for   the           of  receiving  the
          graduating                        purpose
necesslry training and experience to assume the responsibilities
of  the   graduating   officer  after   commencement     The  assistant
officers         assume the
               shall           office  and  responsibilities  of  the

graduating officers on the date of the   next commencement at Haskell
Indian   Junior College  following   their appointment as assistant
officers    Any office not so filled by an assistant officer shall
be filled  by majority vote of the members of the Association in a
regular or special election

IX     COMPENSATION         AND   AWARDS

       Compensation         and   awards    shall   be as specified      in   this Section
VIII

     Salaried positions shall be compensated  according to the rates
and amounts specified  in Appendix I containing the 198990    Budget
for The Indian Leader    Students holding salaried positions shall
not be paid any Other compensation  specified in this section

      Student reporters  shall be paid   $125 per column inch for
articles published    Student photographers shall be paid $500 for
each photograph published    Student artists shall be paid an amount
to  be determined by majority vote    of  the Association   for each

published illustration or cartoon

         amount and disbursement of monies for any type of contest
       The
sponsored by The Indian Leader must be approved by majority vote




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of    the       Association

X          ACCOUNTS

           A      Activity      Fund

      Any funds allocated to The Indian Leader Association from the
student  activity fee paid by each student of Haskell Indian Junior
College each semester shall be deposited      in The  Indian Leader
Association   Activity  Fund in  the  Student  Bank    Other monies
received or collected by Haskell on behalf of the Association shall
alao be deposited in that Activity Fund


     Any officer editor or any other member of the Association or
any currently enrolled student or alumnus of Haskell Indian Junior
College may upon written request examine the records of account
of The Indian Leader Association Activity Fund in the Student Sank
and may obtain a copy of any such records of account at his or her
own expense

           A    summary     of   the records           of   account     shall    be        published
annually          in The    Indian Leader


           In    the    absence    of a  finding by           the     Association      of     First
Amendment   Grounds                        by Students
                                for Funds Withdrawal     as described
in     thefollowing  paragraph  withdrawal   from the  Indian  Leader
Association Activity Fund shall be made by a faculty          adviser
supported    by signatures from a student   member of the Editorial
Board and the Association President


           Tn    the    event      Association or the Editorial
                                  that   the                           Board
passes  by             23
                    twothirds       vote   a  resolution   finding   First
Amendment    Grounds   for Funds withdrawal     by Students withdrawal
from the Indian Leader Association Activity         Fund shall be made by
President    of   Haskell  Indian  Junior College      if  the  request   is

reasonably related to the management or publication of The           Indian
Leader supported by the signatures of the Association President
and  another member of       the  Editorial    Board      First Amendment
grounds  for Funds Withdrawal      by  Students    exist  whenever  Haskell
Indian Junior College has failed to appoint          at least one faculty
adviser   to   the Association or whenever       the Association     by 23
twothirds vote reasonably determines that a faculty adviser                                       1
is in any way obstructing     the publication of The Indian Leader                                2
refetes    to   comply with    requests   from the    Association   or   the
editorial     board   for  disbursements                  related   to   the
                                                                                3Indian
                                             reasonably
management or publication of The Indian Leader or                                   attempts      in
anyway to censor edit or modify the content of The                                      Leader

           Each    withdrawal  Indian Leader Association Activity
                                    from   The
Fund must be approved by a majority vote of the Editorial Board or
the Association and  supported by written resolution     Each such
resolution must explain the purpose of every withdrawal of funds

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Receipts  shall be collected
disbursement of all funds
                              within five       days          5
                                                      following the
                            A full written accounting of any monies
withdrawn pursuant to a resolution finding First Amendment Grounds
for Funds  Withdrawal  by  Students   shall be given to a faculty
                          4                    to the President   of
                                                              5
                     =                adviser
Haskell Indian Junior College within five        days following t
withdrawal transaction


        Nothing    herein   binds   the federal government or Haskell                     to
spend    federal    appropriated     funds to publish The Indian Leader


               Club Fund


      Money  raised   by  members   may    at  the   election  of   the
Association be deposited into a Club Fund at the       Student Bank  or
in an off campus account   at a local bank in Lawrence    Kansas  Such
money        be  withdrawn    for          1
                                        student    entertainment                          2
                                           3
        may
contracting outside services and       such other uses benefiting the
Association as the Editorial Board may in its         sole discretion
determine to be necessary or appropriate

      In the absence of a determination by the Association of First
Amendment   Grounds for Funds Withdrawal  by Students   as described
in the following paragraph   withdrawal from a Club Fund maintained
at the student Bank shall be made by faculty adviser    supported by
signatures from any two student officers of the Association

        In   the   event    that Association or the Editorial
                                   the                                 Board
passes   by majority vote    a  resolution    finding    First    Amendment
Grounds for Funds Withdrawal by Students withdrawal           from the Club
Fund shall be made by the        President of Haskell       Indian    Junior
College supported by the signatures of the Association            President
and another officer of the Association          First Amendment Grounds
for Funds Withdrawal    by Students     exist whenever     Haskell    Indian
Junior College has failed to appoint at least one faculty adviser
to the Association or whenever     the Association      by majority vote
reasonably determines    that               adviser                 1
                                                           is in any way
                                                                         2
                               a  faculty
obstructing   the publication  of The    Indian Leader           refuses to
comply  with  requests from the Association or       the  editorial    board
for   disbursements                  related    to   the   management      or

                                                      3
                      reasonably
publication of The Indian Leader or              attempts in any way to
censor edit or Modify the content of The Indian Leader

        Eachwithdrawal   from the Club Fund      must be approved by a
majority   vote   of the    Editorial  Board    or the  Association   and

supported by written resolution       Each such resolution must explain
the  purpose   of  every   withdrawal   of   funds    Receipts  shall be
collected following the disbursement of all funds         A full written
accounting  of any monies withdrawn pursuant to a resolution finding
 First Amendment Grounds for Funds Withdrawal by Students shall
be given to a faculty adviser or if        there is no faculty adviser
to the President of Haskell Indian Junior College within five                             5



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days    following    the   withdrawal    transaction

       C     Contributions     for Mailed    Subscriptions

       The  Indian L
       neinterested   in receiving    a copy     Any person wishing    to
receive a mailed subscription to The Indian Leader will be asked
to  make    a  $500    contribution   directly   to  the  Indian   Leader
Association    Activity  Fund  by   check   or money   order    The  next
edition of the Haskell Bulletin shall be amended to provide for the
payment of such $500 contributions       directly into The Indian Leader
Association Activity Fund rather than the Haskell Foundation            a
tax exempt organization which has not direct relationship with and
provides no funding to The Indian Leader Association

             Off Campus     Bank   Account

       Those    monies     whichreceived
                                   are      collected  or raised  off
campus by      the
               Association  without   any intermediation  by Haskell
may be deposited at the election of the Association in either the
Student Sank account  or in an off campus    account maintained at a
local bank in Lawrence   Xansas   No disbursement from an off campus
bank account  shall be made however      without the signature of at
least two officers of the Association on the draft drawn on such
local bank   A copy of the monthly accounts of such off campus bank
account shall be published   regularly in The Indian Leader




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                                     APPENDIX         I




                              AGET    FOR       THE   INDIAN   LEADER                                 fifty



                                                                                                       Itti




   Position                           Salary                     Times       12    Issues



Editor in Chief               $3350                                     40200

Executive    Editor            3350                                     40200

Copy Editor                    3350                                     40200

Circulation    manager         3350                                     40200

Darkroom    Manager            33450                                    40200

Typesetter                     3350                                     40200

Assistant    Circulation       3350                                     40200

Assistant    Darkroom          3350                                     40200

Assistant    Typesetter        3350                                     40200

Freelance    Compensation     50000     per sem                  $100000               x2   sem
Miscellaneous                 30000     per sem                      60000             x2   sem
Travel   Expense              75000     per sem                   150000               x2   sem

                   TOTAL    $315800     per           sem        $671800               x2 sem




                                            0




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                            PLAN   OF   OPERATION   APPROVAL



        College    Officials                                Date   Approved




PRESDENT




DIRECTOR    OF    STUDENT   ACTIVITIES




STUDENT    SENATE    PRESIDENT




ALishvkciA
SPONSOR



       Organization    Officers                                Date   Approved




PRESIDENT                                            DATE




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VICE    PRESIDENT




                                             11




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                                   Haskell Indian Nations University

             W
                         Guidelines for Registration of Clubs                                Organizations


General Statement

        All clubs and organizations at Haskell                 Indian Nations University are required tO register with

the Haskell      Student     Senate     Registration     provides    for   official   recognition as a group use of University

facilities   and services       and the coordination        and communication of the groups                    activities   with the


campus       administration       and other student groups



Classification

        The                   types of organizations are eligible
                 following                                                    to register    with Haskell      Indian Nations


University through         the Haskell Student          Senate



    1   Residential     Halls organized living groups            and their associations
    2   Academic
                       groups related to academic           discipline     or interest of the University

    3   Re4gious groups           affiliated   with or promoting religion religious beliefs or lack thereof

    4   Common Interest groups formed                  for social interaction to promote or relate to a defined                  interest




Responsibilities of Student                 Clubs       Organizations
        Each     student group        must adhere to the following which                is   taken    from Section   IV of the Haskell
Student Senate         Constitution



    1 Must have          a fulltime Haskell Indian          Nations University Staff or Faculty as SponsorAdvisor

    2   Must submit an Organizational                  Registration Application
                                                                                        and Plan of Operations by the

        deadline       to the Student       Senate   for approval

    3   Must appoint one            1 Senator and one 1             Alternate     who are in Good Academic                  and Social

        Standing to attend           meetings of the Student            Senate

    4   Report major changes             of their Plan of Operations to the Haskell                  Student    Senate Changes must

        be written and documented                in a new version of the Plan of Operations



Duties of Student          Senate      Representatives
Each Senator must adhere              to the following       which is taken       from Section I Article        G of the Haskell
Student Senate Constitution



    1   Represent       their
                                group is aware of opinions and ideas prevalent                   to   their respective       organization

        and votes       accordingly

    2   Serve     on   at least   one committee per semester and               stay
                                                                                      with that committee          they have    chosen

        for the remainder of their              term
    3   Relay information to their groups                so that they may be informed                and aware of important        details


        given     at the Haskell      Student     Senate   meetings
    4   Present a verbal presentation and written report of their group to the Haskell Student Senate

        on a monthly basis

    5   Follow and abide by all other obligations and                    duties as    detailed in the Constitution            of the

        Student      Senate




Organization      Recognition      Packet      201420151 HINU       Student    Senate




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  ole of a SponsorAdvisor

           All sponsorsadvisors               must provide          constructive     leadership         to their student        group in addition
to requirements            regarding                                                  This                   is   required    to
                                        organizational responsibilities                          person


      1    Attend     as   many cluborganization Meetings                     as   possible in accordance               with each organizations

           plan of operations          constitution or bylaws whichever                      may apply
      2    Have knowledge            regarding operational procedures banking                           policies     and federal ethics

      3    Ensure the Senate           Representative        of the cluborganization                   is   attending   Haskell     Student    Senate


           meetings        to strengthen      the communication              between      all   clubs



The       Registration Process
Student ClubsOrganizations must register once each academic           Haskell                                                  Indian Nations

                                                      5
                                                            year with

University Student            Senate    Steps     1        need to be completed by the designated deadline                           date Any

applications    that are received             after this   date without        prior approval will be referred to the General

Assembly of Haskell Student                   Senate    for a sanctioning          vote



      1     Recruit at least 10 members to
                                           your group hold a meeting
                                                                                                        and elect officers

      2 Have        the    SponsorAdvisor and Senate                    Representative          fill   out the Organizational Registration

           Application
      3    Complete the Signature               Sheet

      4    Register with the Haskell              Student Bank          and submit a copy of the Organizational Registration

           Application        with Plan of Operations attached

      5 Submit a completed and updated Organizational Registration Application with Plan of
           Operations attached            to the      Student       Senate   Office in Stidham              Union


The       Haskell Student Senate               Executive            Board will review the registration                   materials and

determine


      1    If the group       is   eligible   to register with Haskell             Indian Nations University

      2    The groups request for classification                category
      3 The responsibility             for verification      of membership rests with the student group and its

           sponsoradvisor
      4    When      a student      cluborganization is granted                official    recognition            sanctioned       they will   receive

           notice    in writing delivered             to the organizations           President Senate Representative                   and

           Alternate Senate                                at their     respective     addresses            as listed in the Organization
                                     Representative

                              Packet and the date of the first General Assembly meeting                                      that their Senate
           Recognition

           Representative          will be required to attend

      5    Denial will be issued in writing



                                                             about registration                        should     submit a petition in writing
      Groups wishing to appeal                a decision                                  status


                  why they deem their group should be sanctioned to the
                                                                         Haskell Student Senate
stating    reasons

Executive     Board The petition will be presented to the General Assembly on their next meeting date
and brought to a vote              A twothitds         23       majority vote of the General Assembly is required to

reverse the decision




Organization        Recognition      Packet 20142015            I
                                                                    HINU Student Senate                                                                  2




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